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                   STATE    V.    MARK    ANTHONY         SOLIZ         MARCH      2     2012



 1                                         REPORTERS              RECORD

 2                                     VOLUME        42   OF    75     VOLUMES

 3                                TRIAL    COURT          CAUSE      NO.     F45059


 4                   COURT        OF     CRIMINAL         APPEALS           NO.    AP-76768

 5   STATE    OF    TEXAS                                              IN    THE    DISTRICT       COURT


 6   VS.                                                               JOHNSON         COUNTY      TEXAS

 7   MARK    ANTHONY        SOLIZ                                      413TH       JUDICIAL       DISTRICT

 8




 9


----------------------------------------------------------10
                                                 JURY          TRIAL


11                                       GUILT/INNOCENCE                PHASE

12


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14


15


16


17                          On     the    2nd    day       of     March           2012     the   following

18   proceedings           came     on    to    be    heard       in    the       above-entitled        and

19   numbered       cause        before        the    Honorable             William       C.    Bosworth

20   Jr.     Judge    presiding                held       in   Cleburne            Johnson       County

21   Texas

22                          Proceedings               reported         by    Machine        Shorthand      and


23   Computer-Aided              Transcription.

24
                                                                                   ORIGINAL
25
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                                                                                                         2




 1                                       A   P   P   E   A   R   A   N   C    E   S



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23


24


25
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                                                                                                                                                             5                                                                                                                                                                      7
     1                                                           PROCEEDING                                                                                        1     to    cross-examine                     him on                 that         as     though                        like    I
                                                                                                                                                                                                                                                                                                      said

    2                               Open                 court Defendant                               present                                                     2     under 806 as though Jose                                                 Ramos were                              sitting          in   that


    3                              Jury not present.                                                                                                               3     chair.


    4                              THE COURT                                  State            ready           to       proceed                                    4                                MR.    STRAHAN                                The response                                we would have
    5                              MR.             STRAHAN                          Yes           sir.                                                             5     Judge            is   the door          to       anything                        specifically                        Jose Ramos

    6                              THE COURT                                  Defense                  ready            to       proceed                           6     may have              said        that         door        was opened                                 not only                in       the

    7                              MR.             WESTFALL Yes                                       Your Honor.                                                  7     Defenses opening                           statement                             also        in   their              own
 8                                 THE COURT                                  Defendant                       is   present.                                        8     cross-examination of                             this          witness.                  And               I     think       what

 9                                 THE DEFENDANT                                            Yes           sir.                                                     9    theyre attempting                        to      do     is
                                                                                                                                                                                                                                         profit             by a door                         that    they

 10                                MR.             WESTFALL                              We       have a                little     issue       just to             10    already opened.                     And           I
                                                                                                                                                                                                                               dont                think         theyre allowed                                 to    do
 11       take    up      real fast.                                                                                                                               11   that        open        the door themselves                                        and then                       try to       get       in this

 12                                THE COURT                                  Okay.                                                                                12    particular            plea agreement.

 13                                MR.             WESTFALL                              Yesterday of course                                                       13                           Everything                 thats                  been          testified to                     at this

 14       Detective           Paine                 testified            pretty            extensively                     on      Direct                          14   point has nothing                      to       do     with               whether              or not                  Jose Ramos

 15       Examination the hearsay statements                                                                  of    Jose Ramos.                                   15    ever                         to testify           or                       Statements                                    him
                                                                                                                                                                                    agrees                                      not.                                                      by                   that

16        Therefore                under                Rule        806             that       gives           us the            ability       to                 16    were made                   at   the time as a basis                                    of     this              investigation

17        cross-examine the declarant.                                                                                                                            17    two completely                                                                          And so on
                                                                                                                                                                                                           separate              entities.                                                       that

18                                 THE COURT                              The what                                                                                18    rationale              we would                 object.

19                                 MR.         WESTFALL                                  Cross-examine the declarant                                         as   19                            THE COURT                               Well               as    it    stands the Court has
20        though         Jose            Ramos were                                              on    the stand.                      And            Jose        20    not
                                                                              sitting                                                          if
                                                                                                                                                                                approved                 any plea bargain agreement with regard                                                                           to

21        Ramos were                     sitting           on the stand we would                                             surely                               21    Ramos.             Isnt          Ramos            in    the 413th                       Court

22        cross-examine him                               on the plea agreement                                           that         he has worked              22                            MR.        STRAHAN                                Yes           sir    he               is.



23        out    with    the State                      whereby                 he        will
                                                                                                  plead             guilty         and get a                      23                            THE COURT                               And           I    dont            recall              approving                  any
24        life   sentence                for              the acts                  that       weve been                                                          24
                                                    all
                                                                                                                                 hearing                                plea        bargain          agreement                  or       any              visiting             Judge approving                                 any
25        about.         This           agreement as the State knows and the Court                                                                                25    plea bargain                 agreements.                         It
                                                                                                                                                                                                                                                  may -- seems                                like     this       may

                                                                                                                                                             6                                                                                                                                                                      8
 1        probably            knows was worked                                           out     prior to this                   trial                             1    come up            at       some       point            but           I    dont see why                                its    come up
 2        beginning.                                                                                                                                               2                Can you elaborate                           or explain
                                                                                                                                                                        yet.                                                                                    why            it       would          be
 3                                 THE COURT                              I
                                                                                dont know                      of       anything           about                   3    necessary              at this       point
 4        Ramos.                                                                                                                                                   4                            MR.       WESTFALL                                 Absolutely                             Your Honor.                     First

 5                                 MR.         WESTFALL                                  Oh      okay.                                                             5    of    all    he    testified         on         Direct           Examination                                    before         we
 6                                 THE COURT                             Other than                            know              that    the                       6    cross-examined                      him as             to       statements                         made                        Jose Ramos.
                                                                                                                                                                                                                                                                                                by
                                                                                                          I




 7        District    Attorney has not                                filed          a     certification                     with the                              7    And then secondly                           I

                                                                                                                                                                                                                         mean we                          received                      a notice from the

8         Court saying                  hes seeking                           the death                  penalty.                 But Ive                          8    State       that       Jose        Ramos and                          the State                    have reached                              an

9         appointed           Bill           Mason             to     represent                   Ramos                  until      such time as                   9    agreement and                      this         agreement                          is   for        a    life          sentence.

10        that   declaration                                          and Ive               not        seen                            And                        10
                                                   is   filed                                                           that.                                           They waive the death                              penalty.                        That        certainly                  goes            to    his

          thats               know about Ramos.
11                 all    I

                                                                                                                                                                  11    credibility.            I
                                                                                                                                                                                                    mean         under              the            rules         of        evidence                        I   think

12                                 MR.         WESTFALL                              Okay.               Well            then then                  Ill           12    its    pretty      clear          that   would go                         to his          bias              and

13        correct    myself                  for         the   Courts information. Jose Ramos                                                                     13                            And so you know                                            he were                      to    have been                   in
                                                                                                                                                                        credibility.                                                                 if




14        and the State struck a                                 --   an agreement before                                          this    trial                  14    here                             himself               then           we would be                                able         to       use    this
                                                                                                                                                                                    testifying

15        began      for      Jose Ramos                            to   receive                 a    life     sentence                  on these                 15    to    impeach               his credibility                 because                      he has a bias                                 for   the

16        cases.      They              will        waive the death                              penalty                in return         for        a            16    State.        Hes           trying     to       get     his           life        sentence.

17        plea   of guilty              and         --    and         his       testimony.                     The States                                         17                           THE COURT                            I    understand                            that           part.            What        I




18        Motion     in       Limine which we agreed                                                  to initially                                                18    was                                                                                                                                    any
                                                                                                                                  is                                                           to
                                                                                                                                                                                trying               get at             isnt this officer                         a stranger                          to

19       directed        at    that                 presume the Motion                                                  Limine                                    19
                                                                                                               in                                                       plea bargain                 agreement between the State of Texas and
                                               I




20       regarding            plea agreements.                                                                                                                    20    Mr.    Ramos
21                             I   would                 argue Your Honor                                     that        in light                                21                           MR.        WESTFALL                                 Except              that              he     is    the State                of

22       of Rule     806 and                                             the testimony from yesterday                                                             22                                                    Hes
                                                   in    light      of                                                                                                  Texas Your Honor.                                           an agent.

23       that    the plea               --   that         the plea                  agreement                      is   now                                       23                           THE COURT                            I   dont understand                                        why             this

24       admissible                            relevant                  and              am                                                                      24                 would           be the one                                   would           have knowledge
                                   it   is                                           I

                                                                                                  pretty            certain                                             officer                                                 that                                                                                 and
25       the Detective                   knows about                                     But     we      should                  be able                          25                                     and
                                                                              it.
                                                                                                                                                                        understanding                            authority                        with      regard                  to        a plea bargain
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                                                                                                                                                      9                                                                                                                                                 11
    1    agreement                that       may or may not                          exist with                  Ramos.                                     1                         THE COURT                            Was            there    any objection                          to   any
 2                               MR.         WESTFALL                       Well                I
                                                                                                    dont         think          806                         2   hearsay        statements                           Were         they       identified              to        the Court             and

 3       hinges       on     --    on the character                         of       the person                           who     delivers                  3   what the hearsay statements                                          were
 4      the testimony                   of    the declarant.                         You know                     if       he doesnt                        4                         MR.      WESTFALL                              No.     I

                                                                                                                                                                                                                                                  mean              but he             certainly

         have personal                                                 mean Im                                                         even                                           what Jose Ramos                                             And
 5                                      knowledge                  I                                      not sure              that                        5   testified      to                                                    said.                 that          is     I
                                                                                                                                                                                                                                                                                     mean




--15
 6       matters        either.              We     --    as     soon as the hearsay                                        statements                      6   its    --
                                                                                                                                                                            opening          the door                is
                                                                                                                                                                                                                          something                that        you have                 to     do

 7      are out there                   were allowed                   to       impeach the declarant                                       as              7   at    your   own        peril.           You cant depend on the other side                                                      to


 8      though         he        were here under Rule 806.                                                                                                  8   object and 806 doesnt require                                             that.


 9                               THE COURT                       Response.                                                                                  9                         THE COURT                            Okay.            Im going                to    overrule              the

10                               MR.         STRAHAN                   I   would say                        to    that          Judge                      10   request       at this         time.


11      first   of    all    the statements                      that       he made                        at    that       time                           11                         State         ready            to    proceed

12      there     was no            offer       of anything                 in       exchange                         for his                              12                         MR.      STRAHAN                          Yes         sir.



13      testimony.               What          hes        talking          about doing                           is
                                                                                                                          impeaching              a        13                         MR.      WESTFALL                              Youre going                    to    deny our
14      witness        that        is   not     here has not                         testified                  on statements                              14   request             Im sorry because

        that     he would               have made before he was ever offered                                                                               15                         THE COURT                            At    this      particular               time with                this


16      anything            in
                                 exchange                 to testify.                So      at       the time                  he made                    16   particular         witness               Im going               to    deny your request                                without

17      the statements                   that       are being               spoken                   of        its        impossible                       17   prejudice       to      reurging                    when you                think     its
                                                                                                                                                                                                               it
                                                                                                                                                                                                                                                                appropriate

18      for     him   to     have had               that       type of bias                         for this              particular                       18   to    reurge    it.




19      agreement                that    was made.                                                                                                         19                         MR.      WESTFALL                              Thank you Your Honor.

20                               And so         at this          point           I   think                that   it       would                            20                         MR.      HEISKELL                         Thank you Judge.

21      be not relevant                  until      such time as he                                 did testify.                 Then                      21                         THE COURT                            Please           bring         in   the        Jury.

22      they could get                                                               him            on                    because           hes            22
                                        in to       impeaching                                             that                                                                       Jury present.
23      testifying          and        his    motives            for       doing            so            at that          time.                           23                         THE COURT                            Thank you.                You may be seated.

24      Thats our            position.                                                                                                                     24                         You may continue.

25                               THE COURT                       When was                           the plea bargain                                       25                         MR.      STRAHAN                          Thank you.


                                                                                                                                                      10                                                                                                                                                12
 1
        agreement                offer        extended                                                                                                      1                                                        DANNY PAINE
 2                               MR.     STRAHAN                       In       December                         of 2011.                                  2           Having         been previously                        duly          sworn          testified                 as follows

 3                           THE COURT Was                                      there               any        offer        of    that      prior          3                FURTHER                 REDIRECT                     EXAMINATION                             Continued
 4      to   that                                                                                                                                          4    BY MR. STRAHAN

 5                               MR.     STRAHAN                       No            sir.                                                                  5           Q.    Detective                  Paine you understand                               youre               still



 6                               THE COURT                       So        at    the time                   that           this                            6    under       oath correct

 7      Detective           was involved                    wasnt               that        prior to                                                       7           A.    Yes        I
                                                                                                                                                                                            do.

8       indictment                                                                                                                                         8           Q.    Okay.           Yesterday                    there       were some                     similarities                and

9                                MR.     STRAHAN                       Yes            sir.           It    was June 30th of                                9    some differences                        noted         between Jose Ramos and Mark                                                     Solizr


10      2010.                                                                                                                                              10   the Defendant                 in    this       case.            Can you            tell
                                                                                                                                                                                                                                                           me            if
                                                                                                                                                                                                                                                                              you know
11                           THE COURT                           The relevant                             time period                  the    way          11   from your investigation                              Mr.     Ramoss                date         of birth

12      Im      approaching                  this   would be                at       the time                   of        the   offer       was            12         A.     Yes.           7/22        of 1983.

13      extended            or    at least          post-indictment but not                                                                                13          Q.    Thats Mr.                  Ramos
14      pre-indictment                  when         it   was back                   in     a       point        where            nobody                   14         A.     Yes.

15      had been charged                       with        a crime              yet.                                                                       15          Q.    Okay.           What          is       Mr. Solizs date of birth

16                               MR.     WESTFALL                          Your Honor 806 says when                                                        16         A.     1/27       of82.

17      hearsay        statements                   have been admitted the                                                 credibility of                  17          Q.    Okay.           So         just    looking              at   that     whats on the

18      the declarant               may be attacked                             and          if      attacked                   may be                     18   board which one of these                                   individuals              is    actually                  the

19                                                                                                                                                              eldest
        supported            by    any evidence                    which               may                be     admissible                 for            19

20      those     purposes               if   the declarant                     had          testified                    as a                             20         A.     Mr.      Soliz.


21      witness.        And         its       not                not                                time period                                            21          Q.                    When we                                  yesterday the two
                                                     --    its              tied          to                                                                                                                                    off
                                                                                                                                                                             Okay.                                    left



22                    for    when the hearsay statements come out what                                                                                     22                                                             Ramos had been
        except                                                                                                                                                  written      statements                  by Mr.                                                     admitted                   into


23      could     effect                                                                                  And                                              23                                      correct
                                  his credibility                at that             time.                            I

                                                                                                                          say as                                evidence           is   that


24      of yesterday               this       plea deal           was highly relevant                                           and    is                  24         A.     Yes.

25      highly    relevant.                                                                                                                                25          Q.    Im sorry                                                 would
                                                                                                                                                                                                   --    Mr.        Soliz.       I                 like        to   go
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                                                                                                                                                                                  13                                                                                                                                                                         15   t


1
      through                 them with you                                    at this point.                          Do you have                    that          on                 1             A.         My       full     name                is   Mark Anthony                                  Soliz.           I
                                                                                                                                                                                                                                                                                                                              am         28


2     your       screen                                                                                                                                                                2    years          of    age.           My         date           of    birth              is    1/27/82.                  I    live        at


3             A.          Yes                I    do.                                                                                                                                  3    not      available.                 My         contact                   telephone                      number                is




4             Q.                                  At the                                 at       the very top                         of   States                                     4    817-806-8069.                                  have completed                                     nine years                 of         school.
                          Okay.                                          start
                                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                      I




5     Exhibit             No.           2         there             is     a    State of Texas County                                                of                                5    can read                 write        and understand                                    the English                         language.

6     Tarrant and theres a                                                     starting                time           when             this        was                                 6             Q.         Again           all        of that          he would                          have had the

                                                              correct                                                                                                                  7    opportunity                  to     read            and correct                               he wanted                      to prior to
7                                                that                                                                                                                                                                                                                               if

      beginning                         is



                          Yes.                                                                                                                                                         8    signing             this     document                               that         correct
8             A.                                                                                                                                                                                                                                           is




9             Q.          And            this           is    the          one           that          was done during the                                                             9             A.         Yes.


10              time                                                           out      of        the   room                       that       right                                    10             Q.        Can you see the very                                        first             statement                  after       that
      first                     yall              stepped                                                                     is



                                                                                                                                                                                            the very                                             sentences                                Could                         read
11            A.          I     believe                 so          yes.
                                                                                                                                                                                       11                        first      couple                                                                            you                    that      to



12            Q.          Okay.                   And can you                             tell         us        what          that         first                                      12   us.


                                                                                                                                                                                       13                                             on mine                         you could squeeze                                              a
                                                               you can see it                                                                                                                        A.         Actually
13                                      says
                                                                                                                                                                                                                                                                if                                                             it

      paragraph                                          if




14            A.          Would                   you              like        me        to       read           it    entire           or    just                                     14   little     bit       its     cutting                off       the        left
                                                                                                                                                                                                                                                                            edge on mine.                                 Right

15    describe                  what               it   is                                                                                                                             15   there.              Im     sorry.              Which                part        would                  you        like      me          to    read

                          You can read                                                                                                                                                 16             Q.        Could           you         start          with the                 body             of       the statement.
16            Q.                                                         it.




17            A.          Okay.                   I      Mark Soliz                               prior to              making               any                                       17            A.         I got out of prison                                  in
                                                                                                                                                                                                                                                                            May               of this year.                    I




18                                                             been duly warned                                             by Detective                                               18                       with     my       cousin                  Yolanda                   off        Berry by Riverside                              in
      statement having                                                                                                                                    T.                                stayed

19    Boetcher No.                                 1795 the person                                      to       whom                  this   statement                      is        19   those           apartments.                         My         cousin              knew                this       guy named Joe and

20    made               understand                                that         one               I   have the                    right      to     remain                             20   he had the same nickname                                                      as       me           Kilo          and we became

21    silent            and not make any statement                                                                    at    all    and        that    any                              21   friends             and      started                hanging                   out.


22    statement                     I    make                 --        that        I   make may be used against                                                    me        at       22             Q.        Let    me        stop            you        right           there.                 The         first
                                                                                                                                                                                                                                                                                                                          thing           he


23    my trial                  two any statement                                             I       make may be used                                as                               23   says           is   he got out                  of       prison            in
                                                                                                                                                                                                                                                                               May              which              is
                                                                                                                                                                                                                                                                                                                         just        a


24    evidence                                                me                                                             have the                                                  24                       months before this                                          that              correct
                                                                                court three                                                                    to                           couple                                                                     is
                                   against                               in                                             I

                                                                                                                                                    right


25    have a lawyer present                                                    to       advise           me            prior to             and during any                             25             A.        Yes.



                                                                                                                                                                                  14                                                                                                                                                                         16

                                                 four                    am             unable          to        employ a lawyer                                                      1              Q.        Okay.           And while he does not                                                 list     a       home address
1
      questioning                                             if                                                                                               I
                                                                    I




      have the                                           have a lawyer appointed                                                             advise            me                      2                                                              he        had a place
                                                                                                                                                                                                 says not available
                                                                                                                                                                                                                                                                                                    to
2                                right to                                                                                              to                                                   it                                                                                                            stay clearly

3     prior to                and during any questioning and five                                                                              I    have the                           3              A.        Yes        his            cousin           Yolanda.


4     right      to       terminate the interview                                                      at    any            time.           Having             been                    4              Q.        In   fact        if
                                                                                                                                                                                                                                          you know                     if
                                                                                                                                                                                                                                                                            you dont thats                                    fine



5     informed                   of these                     rights
                                                                                    --       Im         sorry.               Having                 been                               5    too when someone                                      paroles                   out of T.D.C.                              do they have                     to



6     informed                   of these my rights and understanding                                                                                same                I             6    have a place                        specifically                    they parole                          out       to

7     hereby              freely                  intelligently                          voluntarily                         and knowingly                                             7              A.        Yes        sir.




8     waive these                                                  not desiring a                            lawyer                                                                    8              Q.        Somebody                        has        to        have a plan                        for     a place                  to live
                                                 rights                                                                                voluntarily


9     choose                  to    make                the following                                 statement.                                                                       9    whenever                  they get                  out        if   thats the                      way parole                      works

10             Q.         Okay.                    And those whenever                                                  you-all at                  Fort    Worth                       10             A.        Yes and                    for    monitoring                        reasons.


11    P.D. take a                        written                   statement from                                     someone who                         is   a                       11             Q.        Okay.            If
                                                                                                                                                                                                                                          you could keep going a                                                little        bit



12    suspect                   like         we         talked                  do you always                                add those                rights to                        12   please.

13    the top of                   that            statement or                              somewhere on                                   the     statement                          13             A.        The         first          robbery              that           I
                                                                                                                                                                                                                                                                                    tried          to     do was               getting


14             A.         Yes.                                                                                                                                                         14   this      car from                this         man.             He was                       at    a    little
                                                                                                                                                                                                                                                                                                               grocery

15             Q.                                 we          heard                                                                                but                                 15                       He was                                                                        to drink             and he had a
                          I     think                                           yesterday                        off        camera                         you                              store.                                getting                  something

                                                                                                                                                     him                                                                                        --                                                                       be Saturn
16    could             still      hear              that           Detective                         Boetcher                    is
                                                                                                                                       telling                     to                  16   car Dodge slash                                           I   think.its                 supposed                       to



17    read               and make any corrections                                                            he wants                       before         he signs                    17   turquoise                                           had a gun 9                              millimeter pistol                               and
                                                                                                                                                                                                                      green.
                                                                                                                                                                                                                                                                                                                                               I

                   it                                                                                                                                                                                                                       I




18         is   that             correct                                                                                                                                               18   walked               up    to       him and                   told        him          to     get out of the car                               and
      it



19             A.         Yes.                                                                                                                                                         19   give           me     the keys.                     And he said                             all    right          and he got out

20              Q.                                 And so he would                                      have had the opportunity                                                       20    of      the car          and gave me the keys.                                                   And             asked                for his
                          Okay.
                                                                                                                                                                                                                                                                                                          I




              read that                          those                                  one more time before                                        he read                            21   wallet.              Got no more than a couple                                                         bucks.              And we              left
21    to                                                           rights


22    before              he signed the document                                                            is        that        correct                                              22    and       I    have had                  that        car ever                  since.


23             A.         Yes.                                                                                                                                                         23             Q.         Okay.           Lets stop                      right there.                         And based                       on

24              Q.        Okay.                     Now would you                                      read            that        second            paragraph                         24    your
                                                                                                                                                                                                           --   what youve already                                        testified                 to    in    our time                  line



25    thats             in      bold please.                                                                                                                                           25    which              offense          is        he speaking                         of
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                                                                                                                                                                               17                                                                                                                                                                          19

 1           A.            The 604 North Riverside Sammy Abu-Lughod                                                                                                                  1           Q.       And again he says I                                        did    it.       I       did       it.            I   did


 2    Abu-Lughod.                                                                                                                                                                   2    it.     Is   there          any mention                          of        Jose     Ramos
 3           Q.            Does he say                     in    that          statement                        that            he        used a gun                                3           A.        None.

 4    in that              robbery                                                                                                                                                  4            Q.       Was             there a              gun involved

 5           A.            Yes.                                                                                                                                                     5           A.        Yes.

 6           Q.            Does he say hes                                with           anyone                 or        alone                                                     6            Q.       And someone                               actually              got       shot

 7           A.            He does not                     indicate                     that       he was                  with           anyone.                                   7           A.        Yes.

 8           Q.            Okay.                                                                                                                                                    8            Q.       Would                you go               to   the next            one                   please.

 9           A.            In    fact       he       refers to                 I.                                                                                                   9           A.        The             next       one            at    Ridgmar                   Mall.           You say you have

10           Q.            Okay.           Okay.               Could                you           start        with the next                            one                         10   me on video and                              I       was not even there but now                                                            I




11    then please.                                                                                                                                                                  11   remember.                    I
                                                                                                                                                                                                                           was alone.                     A man             by        Penneys                                   he was             in his


12           A.            The         next time                was on                   East Belknap.                                    Man           with          a             12   car and               I   do not remember what kind                                                       of   car and                         I   walked

13    Dodge                pickup.              Also        me            by myself.                      It    was green                           in color.                       13   up     to   him and                   I
                                                                                                                                                                                                                                   pointed               the    gun and                   I    demanded                                 his wallet


14    He was                at   a    store.              He was Hispanic                                      guy.             He was walking                                      14   and     I   told          him         that       I   wanted                his debit                 card            number.                        And       I




15    to his          truck           and       I   walked                up            to   him and                 I        told        the       guy          to                 15   tried       to   use       it     at      a store               down the               street              and found out

16    give           me     his       keys and                 wallet.                   And        I    have the same gun                                            with          16   it    was fake.

17    me     as        before.              And he gave me                                        his    keys                 and         wallet.            And           I        17          Q.        Okay.                Who            was the               victim           in       that            offense

18    took           off    in   his       truck           parked                  it    about           a block                     away           from                            18          A.        Justin               Morris.




--8
19    Fuzzys house on Nichols.                                                 Got a couple bucks                                              only from                            19          Q.        Weve                 seen the video                         of that                 in    court                  today             is



20    him also.                                                                                                                                                                     20   that    correct

21          Q.             Okay.           Lets stop                      right          there.                Which offense                                is                      21          A.        Yesterday yes.

22    he    talking              about there                     based on your investigation                                                                                        22          Q.        Or yesterday Im                                 sorry.           And you said Miriam

23          A.             The offense                    at    3416 East Belknap.                                                                                                  23   Oliveras           was            in      the        car.        According                  to        that            video                    did      he

24          Q.             And who              is    the        victim                                                                                                             24   act    alone

25          A.             That       is
                                            Jorge Contreras.                                                                                                                        25          A.        During               the        robbery yes.                      Afterwards they                                             were


                                                                                                                                                                               18                                                                                                                                                                          20
 1          Q.             He     starts        that           part           of        the statement                               off   with the                                  1
                                                                                                                                                                                         together.

2     words I was also by myself                                                                                                                                                    2           Q.        Okay.                Was            a   gun involved                       in that                  one
3           A.             Yes.                                                                                                                                                     3           A.        Yes.

4           Q.             Is    he    referring               back up                       to   the      first              one                                                   4           Q.        Okay.                What            is   the next               one                 Or keep going

5           A.             Yes.                                                                                                                                                     5    please.           Im        sorry.


6           Q.             So hes saying he was by himself on both                                                                                  of                              6           A.        No        thats            fine.           The next one was on the 28th

7     these            both           of   these           robberies and he had a gun both                                                                                          7    June         at   2800 Azle Avenue.                                         It    was before the Bud

      times                                                                                                                                                                         8    Bus-wiser shooting.                                      They were coming                                      out                of   a   bar.          We
9           A.             Yes.                                                                                                                                                     9    were        driving              down Azle Avenue.                                     I   was             driving                     the green

10          Q.             What        is   the next                  one                    Where              does                 it   start                                     10   Dodge            Stratus                  and Joe was                      in    the       passenger side and we

11          A.             Here.                                                                                                                                                    11   saw about four people                                      in    the parking                         lot       of the                  bar.         Joe

12          Q.             Okay.           Go        ahead.                                                                                                                         12   had the gun as he was on the passenger                                                                               side              and he went up

13          A.             The        next          thing        I    was involved                              in   was a shooting                                                 13   to    the people                  and demanded                              their wallets.                                I
                                                                                                                                                                                                                                                                                                                           got out            of


14    on Woodland                          a friends                  house a female.                                          He was making                                        14   the car          to       help him                   collect       the       wallets.                     Altogether                               we

15    too   much noise and banging                                                      on the windows                                    and asking                      for       15   got about                 $1700.             We            split      it
                                                                                                                                                                                                                                                                     up    in       half.           We                     trashed            the


16    money.                I    was over there                           visiting                when the guy                             started.                                 16   wallets.          We             did       not        keep them.

17    And        I    tried      to    leave              and they started                                fighting                        and       I   ran                         17          Q.        Okay.                And on               this    one he says hes                                                with         Joe

18    up    to       them         with          a gun on them and raised                                                       it
                                                                                                                                     up        in   the      air                    18   Ramos             but       now hes saying                                 in    this       one he says                                    that         Joe

19    and    it       went        off      and        I    did       not       know where                                it    hit        him.          I
                                                                                                                                                                                    19   had the gun on                            that        one        is    that       correct

20    was not aiming                        to       hit    him.                                                                                                                    20          A.        Yes.

21          Q.             Okay.           And he says                         in that              one         --        first           of   all                                  21          Q.        Okay.                Can you go                   to       the next                  one             please.                       Im

22    which           offense              is   he        talking             about                                                                                                 22   sorry.           Where                did this             occur                Which one                            is           he   referring


23          A.             Referring            to        the        --   I   believe                   its     1220 Woodland.                                                      23   to

24          Q.             And who              is    the       victim                                                                                                              24          A.        That            is   the        2800 Azle Avenue                                     in   the parking                              lot




25          A.             Luis Luna.                                                                                                                                               25   near the           bar.
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                                                                                                                                                                                                  21                                                                                                                                           23
     1                   Q.       What are the names                                                               of     the victims                 associated                       with                                              the ground.                     And the guy turned around                                and
                                                                                                                                                                                                        1
                                                                                                                                                                                                            pointed        it    to


 2            that       one                                                                                                                                                                            2   started       running.                   And        I   shot        at   the ground              a couple           times

 3                   A.           Jorge                          Tamayo                 and Maximino Chavez.                                                                                            3   as he        ran     away.
 4                       Q.       Okay.                           And what                       is           the next                   one                                                            4          Q.     And which offense                                   is   he    referring       to
 5                   A.           The                       morning                    of the                  Budweiser                       shooting               we were                           5          A.     The 6000 Quebec Lowes                                                parking       lot.



 6            driving             around                           and        I
                                                                                  was             driving                  the           Dodge Stratus and we                                           6          Q.     Who             is    the       victim         in     that

 7            were passing by the Texaco                                                                           station               to    get    some             cigarettes                       7          A.     Kenny Dodgin.
 8            and Joe came up with the idea                                                                               to    rob the beer                     man.          Joe                      8          Q.     And there the Defendant                                            admits     that    he had the

 9            said        he thought                                   they would                             have a bunch                           of    money             from the                   9   gun and hes the one                                 that did             the robbery             even though

 10           delivery.                                had the gun and                                                  parked            the car          in    the next                              10   Ramos was                    with        him              that
                                                                                                                                                                                                                                                                is
                                                                                                                                                                                                                                                                                   right
                                           I                                                                   I




 11                           and                                                       the car with the
              block                                         got out                                                                           gun and
                                                                                  of                                                                                                                   11          A.     That           is     correct.
                                                       I
                                                                                                                                                                  I




 12           followed                 Joe as he went                                            up            to       the         store.          The beer guy was                                   12          Q.     And            is   that        the       end of the               narrative                of
                                                                                                                                                                                                                                                                                                             part

 13           inside          and                      I
                                                            stayed            by the dumpsters.                                                And Joe was                                             13   that

 14           supposed                             to       go by the pay phones.                                                        The beer man came back                                        14          A.     Yes.                                                                                                                      f.




 15           outside.                             went around                              to    the drivers                                 side of          his                                     15          Q.                          And then theres a statement
                                                                                                                                                                                                                          Okay.                                                                                after       that
                                       I




 16       truck.                   came                          out from behind                                         the        dumpster                     where             he                  16   about
                                                                                                                                                           to                                                           making                statements                   to      police      or    falsely    doing           that
                              I




 17       was.            I
                                  pointed                         the       gun athome and                                                told       him        to     come                            17   is   that    correct

 18           here dont go nowhere.                                                              He                said        all
                                                                                                                                         right       all       right.                                  18         A.     Yes             sir.



 19       And then                         I
                                                       grabbed                    him by the                             shirt           sleeve         and the gun                                    19          Q.    And theres an ending time and                                                  is   there     a

20        went                             He               did        not give                   me                his wallet.                    He      tried                                       20                                                                 the      bottom
                          off.                                                                                                                                         to                                   signature           that          appears               at


21        give           me            his                  phone.                While                   I
                                                                                                              was          pulling                 him     on the            shirt                     21         A.     Yes.

22        the     gun went                                      off.       When              I    had the gun pointed                                            at    him             it              22         Q.     And whose signature                                       does        that    appear        to    be
23        was pointed                                       high.           Before                all              this        happened the                                                            23         A.     Mark             Soliz.
                                                                                                                                                                                                                                                                                                                                                    f

24        Budweiser                                         Budweiser                        driver                     gave             his wallet             to     Joe who                         24         Q.                                there anything                      else     on            report
                                                       --
                                                                                                                                                                                                                         Okay.                 Is                                                      that


25        was standing                                          by the            pay phone.                                                                                                           25         A.     No          I   dont believe                      so.




                                                                                                                                                                                                  22                                                                                                                                           24   1
 1                                                     On          the report                     date of 6/29/10                                    at    629 a.m.                                     1         Q.     Okay.                 Now         there          was a          lot    of    conversation

 2        I
              was with Joe and we were                                                                         in       the     Dodge Stratus                           and        I
                                                                                                                                                                                            was         2   before       and during when these statements                                                    were put together
 3        driving                 and we wanted                                             to    go               try     and make some money.                                               I
                                                                                                                                                                                                        3   is   that    correct

 4        had the gun and                                              I   seen the white                                      --    I   seen --                                                       4          A.     Yes.

 5               Q.               Lets stop before                                           that                  one.             On        the    one before                                         5         Q.     Okay.                And you could hear on the video which                                                 is



 6        that           Ruben Martinez                                                is    that                  who         that           refers       to                                          6    before       the Jury already                            how Detective                     Boetcher            is


 7               A.           Yes.                                                                                                                                                                     7    telling      Hey              this       is
                                                                                                                                                                                                                                                           your statement                       your     statement
 8               Q.           And what was the address                                                                          of that             one                                                8    correct

 9               A.           2700 Azle Avenue.                                                                                                                                                        9          A.     Yes.

10               Q.           And the Defendant                                                       admits                   that           he had the gun and                                       10         Q.     And do you                       recall         if   Mr.     Soliz      said anything

11        he     actually                              shot Mr. Martinez                                                is that          right                                                         11   about       knowing                    Yes          this      is
                                                                                                                                                                                                                                                                                my statement
12               A.           Yes.                                                                                                                                                                     12         A.     Yes.

13               Q.           Okay.                              And        in     --    ultimately Mr.                                   Martinez               died         is                       13         Q.     Okay.                So he said that he acknowledged                                               Yeah           I




14       that                                                                                                                                                                                          14   know                                                                And they go on
                     right                                                                                                                                                                                              this    is
                                                                                                                                                                                                                                         my        statement.                                                  at that


15               A.           Yes.                                                                                                                                                                     15               And                                the
                                                                                                                                                                                                            point.                earlier             in             video could you hear Detective
16               Q.           Now                           sorry           go         to    the next                          one            please.                                                  16   Boetcher            talking             about something                           about     seeing        Mark        Soliz


17               A.                will                    start       back             at       the               --    where                 think           was                                     17   at   the    Texaco station                              He confronts                 him with           that    during
                              I                                                                                                           I
                                                                                                                                                           I




18       supposed                          to               leave           off.        On                    the report                  date of 6/29/10                      at                      18   the statement                     in    the video                 part      is   that     correct

19       629 a.m.                              I       was with Joe and we were                                                               in    the        Dodge Stratus                           19         A.     Yeshe                  does.

20       and         I    was driving and we wanted                                                                            to        go    try   and make some                                     20         Q.     Okay.                And         did       he   tell      him I see you crouching
21       money.                        had the gun and                                                        seen                        white                                                             down by a dumpster
                                   I                                                                  I                        this                       guy         pull   up                        21

22       into     the parking                                      lot      of     Lowes.                               We      both           saw him and we                                          22         A.     Yes.

23                                                               him and the dude                                                                  want                        me                      23
         parked               next                         to                                                                  did        not                   to    give                                        Q.     Wearing                    white           tennis shoes.                    Why do you             think      I




24       his wallet.                               I

                                                           got out of the car                                           and went               to    the        dude and                               24   took the       shoes correct
25       said                          me your                                               and                        showed
                         give                                              wallet                                   I                          him        my gun and                                   25         A.     Yes.
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                                                                                                                                                                    25                                                                                                                                                            27
     1           Q.        So there was some knowledge                                                                    I

                                                                                                                                   guess        with          you         1    stuff           what offense                         is    that

 2        and/or          Boetcher                   at that              time about                           something                      that       had gone         2           A.         You said                     if
                                                                                                                                                                                                                                    they        do not have

 3        on                                                                                                   Texaco
                 specifically                   with           Mr.    Soliz at                  the                                  station             in               3               Q.         If
                                                                                                                                                                                                          they have a gun but theyre                                               forcing      their      way
 4        relation         to    Ruben Martinez                                                                                                                           4    into           someones home                                without            permission.

 5               A.       Yes.                                                                                                                                            5           A.         Oh          aggravated                         robbery.

 6               Q.        Can you                   tell      me         if   there            was a video any video                                                     6           Q.         Well               forcing              into    the    home
 7        from the convenience                                       store                     the        Texaco                                                                                          guess Im not clear on the question.
                                                                                     at                                             station          at       the         7           A.         I




 8        time       of    the       murder                   of    Ruben Martinez                                                                                        8           Q.         Would                              be a burglary
                                                                                                                                                                                                                         that                                            if
                                                                                                                                                                                                                                                                              somebody              is   going

 9               A.       Yes          there was.                                                                                                                         9    into       someones home                                    without           consent

 10              Q.       And was                    that          video            reviewed                        by Detective                     Boetcher             10          A.         Okay.                   Thats why                 I   was asking about the gun.                                             No
 11       or    you        Detective                     Boetcher                    prior to                  having                the                                  11   gun            just        going           in.



 12       conversation                     with Mr.                 Soliz                                                                                                12           Q.         Either              way.

 13              A.       Yes.                                                                                                                                           13           A.                                 Yes.
                                                                                                                                                                                                Okay.

14               Q.       Okay.             And               did    Mr.            Soliz            in    his          statement               that           we        14           Q.         Im asking you.

15        saw admit              that           he was the one crouching                                                           by the       dumpster                 15           A.        Yes             burglary.

16               A.       Yes he                actually                  detailed                   what we saw on the                                                  16           Q.        Okay.                    So        at this particular                                    in   the
                                                                                                                                                                                                                                                                              point

17       video            he detailed verbally                                      to us.                                                                               17                                 has                                  admitted                          himself committing
                                                                                                                                                                               statement                                  Mr.       Soliz                                     to


18               Q.       Okay.             Lets take a look                                    at        States                   Exhibit                               18    the act          of                                                           and burglary against
                                                                                                                                                                                                           aggravated                      robbery                                                                 Nancy
19        No.    3 which              is    the           second                   statement.                           And again                    I    wont           19    Weatherly

20       ask you           to    read               it    but       does             it    have the same admonition                                                      20           A.        Yes.

21       of    his rights            at     the very top                            just like                  the other                  one did                        21           Q.        Okay.                    Go        on.


22               A.       Yes         it   does.                                                                                                                         22           A.        And                 she backed                   up and she                        --   and   just told             her

23               Q.       Okay.            And then                       it       also        has the same                               in   bolded or                 23    to   sit       down on the couch                                    and me and Joe started
                                                                                                                                                                                                                                                                                                              looking

24       capitalized                 all
                                            capped                   statement says                                      his         name and he                         24    for    things               to take.                We      found two                     flat-screen            TVs        a

25       can read               write           and understand                                  the English                              language                        25    computer and some quarters.                                                              was looking
                                                                                                                                                                                                                                                                I
                                                                                                                                                                                                                                                                                                for stuff                   too


                                                                                                                                                                    26                                                                                                                                                            28
                A.        Yes.                                                                                                                                                 and            sat the               gun down on the dining room table and
 1                                                                                                                                                                        1               I
                                                                                                                                                                                                                                                                                                                        I




 2               Q.       And        is    this           --   this        is       the        second                    statement                  that                  2    started                                   for       stuff.       And           asked Joe whats she
                                                                                                                                                                                                looking                                                  I




 3       was taken another time where                                                          more information was learned                                               3    doing since                      I    left      the        gun on the                    table.          And Joe went                        in

 4       and     yall      exited               the         room or Boetcher                                            and Mr.           Soliz          exited           4    there          and got the gun.                                  was                                       for
                                                                                                                                                                                                                                            I           still
                                                                                                                                                                                                                                                                         looking                things

 5       the     room           is   that            right                                                                                                                5    and     that               was       it    and time               to    go.          I
                                                                                                                                                                                                                                                                         was out by the car
 6              A.        Yes.                                                                                                                                            6    and then the gun went                                        off.       Joe was the one                          in   the       house

 7              Q.        Okay.            Can you read what                                              that          statement                                         7    when the gun went                                                And Joe closed the garage                                          door.
                                                                                                                                                    says.                                                                           off.



 8              A.        We         were                just driving                     around                    until          we     got the                         8    And we                left    and came back                             to Fort                Worth.

9        idea     to      get    some money.                                        was                                  the green                  Dodge                 9           Q.        Okay.                And so                                                   he
                                                                                                driving                                                                                                                                    at this      point                      is   blaming saying
                                                                               I




10       Stratus          and we ended up                                      in    Godley.                        I
                                                                                                                        was         familiar             with            10    that    hes there and a participant and but blaming the

11       that    area and we found                                        this       house                     out       in        the middle of                         11    actual          shooting                   of       Ms. Weatherly                         on        Jose Ramos                  is   that


12       nowhere.               Joe said we could                                                                                  the door              and ask         12
                                                                                          just        go up              to                                                    right

13       for    directions                 and we parked the Dodge                                                             in   the driveway                         13           A.        Yes.

14       and went up                 to         the house.                          We         both             went up                  to    the       front           14           Q.        And you obviously                                  have seen the video and

15       door and knocked                                 on the door.                                was a white female                                                 15    theres           more conversation
                                                                                                It                                                                                                                                                 with        him and eventually                                  he       does

16       elderly          opened                the door.                      Joe asked                            for             asked her                            16    admit                       hes the one                                 shot             Nancy Weatherly
                                                                                                                              --                              for                             that                                          that


17                               And                 had the gun and
         directions.                            I                                                          I    raised              it
                                                                                                                                         up and                          17    correct

18       kind    of walked                  in       the        house as she backed                                                 up.                                  18           A.        Yes.

19              Q.        Let   me          stop              you     right               there.               If       somebody                    just                 19           Q.        Can you read the                                 last thing                   that      he wrote         in    his


20       based         on your training                              if
                                                                               somebody puts a gun                                             to                        20    own handwriting                              with         his    own          initials.



21       somebody shows                                   a    gun and                    is
                                                                                               attempting                           to    take       their               21           A.        It        was me                   that    shot the            woman                    M.    period A.

22       stuff       what kind                  of       an     offense                   is   that                                                                      22    period          S.
23              A.     Aggravated                           robbery.                                                                                                     23           Q.       So          the       last thing                 he says                 in    that      statement             it




24              Q.        Okay.            If
                                                somebody                            using             a        gun        or        not forces                           24    was him                that          shot           that    woman               correct

25       their   way        into           someones home                                       in     order              to         take       their                     25           A.        Yes.
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                                                                                                                                        29                                                                                                                                                 31
 1          Q.        So according                to    his     statement                ultimately              he shot                      1          Q.        And robberies

 2   and     killed         two       different         people         in   the     presence            of       Jose                         2          A.        Yes.

 3   Ramos                 correct                                                                                                            3          Q.        So    if       that     is       correct              if     he    actually           received

 4          A.        Yes.                                                                                                                    4   the    gun and                   by     he             I
                                                                                                                                                                                                             mean             the Defendant                     Mr.    Soliz from

 5          Q.        And     ultimately              he says hes the one                            that    did                              5   Jose Ramos he would have gotten                                                            it    before           any    of   these

 6   both                                                                                                                                     6   shootings              or robberies                         started                is   that     correct

 7          A.        Yes.                                                                                                                    7          A.        Yes.

 8          Q.        Yet    you can also see what we                               just       wrote         or       what          I         8          Q.        So the gun would have been                                                  in   whose possession

 9   just    wrote          on the board and from these he also                                                  did                          9   the    moment                   the violence                      started

10   robberies              and shot people completely without                                         Jose            Ramos                 10          A.        Mark Anthony                              Soliz.


11          A.        Yes he           did.                                                                                                  11                           MR.             STRAHAN                             Ill
                                                                                                                                                                                                                                     pass the witness.
12          Q.        Okay.           So he could act alone or he could act                                                  with            12                               FURTHER RECROSS-EXAMINATION
13   Ramos                                                                                                                                   13   BY MR. HEISKELL

14          A.        Yes.                                                                                                                   14          Q.        Detective                  Paine             I    have a few more questions                                    for


15          Q.        Okay.           Part of your investigation                           you were able                                     15   you     sir.          And want                    to       talk    about            some          of   the things             that


16   to   find    that       a couple            of the        guns stolen from the                                                          16   was referenced                          yesterday concerning                                      Ramoss             statements           to


17   Circellis             house was pawned on the 23rd of June 2010                                                                         17   you and Detective                                 Boetcher.                       Okay
18   correct                                                                                                                                 18          A.        Yes            sir.



19          A.        Yes.                                                                                                                   19          Q.        And             believe                                                   us as
                                                                                                                                                                                                                         you
                                                                                                                                                                                                                    --               told                     well    that
                                                                                                                                                                              I
                                                                                                                                                                                                         yall


20          Q.        Okay.           By a person               by the       name         of    Ramon Morales                                20   Ramos had                   indicated                      that    he         didnt       like     guns didnt touch
21          A.        Thats          correct.                                                                                                21   a   gun         didnt           want         to        be around                   guns some words                         to that


22          Q.        Who        I   think      said     --    testified      he got them the day                                            22   effect          isnt that               true

23   before.                                                                                                                                 23          A.        Yes.

24          A.        Witness              nods.                                                                                             24          Q.        And        that        he        also indicated                        in that        same         context

25          Q.        From Mark Soliz                     tried      to     buy   that     handgun                     that                  25   and conversation                            about            Soliz            not having               it   all
                                                                                                                                                                                                                                                                     up here.


                                                                                                                                        30                                                                                                                                                 32
 1   9 millimeter             that      Soliz      had other plans for                                                                        1   Remember                    that        part       we were                    talking           about
2           A.        Correct.                                                                                                               2          A.         Yes.

3           Q.        Youve heard                 that        before.        You werent                 in       here                        3           Q.        Now            with regard                       to   Ramoss                statements                  youve
4    while       he was              testifying         but     youve         heard        that        before                                4    heard       that       axiom                                                that    actions            speak         louder
                                                                                                                                                                                               if
                                                                                                                                                                                                     you       will


5    correct                                                                                                                                 5    than    words
6           A.        Yes.                                                                                                                   6          A.         Yes.

7           Q.        And there was some                         talk       yesterday           when             --   or not                 7           Q.        And as a matter of fact Ramoss actions you look

8    yesterday               but      earlier     about         the       possibility that              Mark                                 8    at    we    discover                   that        back on June 22nd when we                                             talk   about

9    Soliz       actually            got   that   gun          the     9 millimeter from                                                     9    the    Circelli         burglary

10   Ramos.                Have you heard                     that   also                                                                    10         A.         Yes            sir.



11          A.        Yes.                                                                                                                   11          Q.        That           is   likely        that           hes the one                    that       kicked       that


12          Q.        Okay.           And so       if   Ramon             Morales         says that                   and you                12   door       in    to   begin             the burglary                        of that        home              isnt that


13   know from records when the guns were pawned                                                                 if   he says           it   13   true

14   happened               on       June 22nd the                   fact    that    Mark Soliz had the                                      14         A.         Yes            sir.



15   guns        to    give him            or   whatever             and had a use                   for that           gun                  15         Q.         And you know from your own                                                     investigation              that


16   puts the 9             millimeter           in     Mark Solizs hand even                               if    its                        16   once entering                        that     home                that            he took the guns wrapped

17   from    Jose Ramos on June                                 22nd                                                                         17   them        up    in   the             quilt       and the long                         rifles    as        well    as

18        A.          On     or before then.                                                                                                 18   taking      the        handgun                     is      that        correct

19          Q.        On     or before          then          right.        Okay.         So    if    he got            it                   19         A.         Yes.

20   from    Jose Ramos he would                                 have got                on    or before                                     20         Q.         And                    he as
                                                                                    it                                   this                                                 that                           well        gave or sold                that        9

21   date correct                                                                                                                            21   millimeter             to       Mark Anthony                           Soliz            isnt that           true

22        A.          Correct.                                                                                                               22         A.         Yes.

23        Q.          June 22nd 2010.                         When          did   the shootings                       in this                23         Q.         And we also know                                  that           when he          talks          about       not

24   case start                                                                                                                              24   being       --
                                                                                                                                                                   wanting                to        be around                       guns and not wanting                        to    be

25        A.          In   --on the 24th                of    June          2010.                                                            25   associated              with            guns and words                              to that        effect           we   also
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                                                                                                                                                 33                                                                                                                                                  35
    1    know        that           on June 29th                   at    around          330 a.m.                  the      Ramirez                     1       correct

 2       drive-by                  you referenced                   that       remember                                                                 2                 A.           Yes.

 3             A.         Yes.                                                                                                                          3                 Q.           And he could have easily walked away from                                                        that    or


 4              Q.        And Ramirez                       is    a 26-year-old                     is   that    correct                                4       run       away from that but he was there along                                                       with     Mark

 5             A.             I   believe        so.                                                                                                    5       Anthony                     Soliz   when           that      took      place             isnt that        true

 6              Q.        And you also know                              that    there             was a        relationship                            6                 A.           Yes        he was.

 7      between                   Jose       Ramos and members                                     of that      particular             family           7                 Q.           And        this      thing        about        being        mortified          about        what

 8      on Pearl                  Street.         You knew that didnt                               you                                                 8       happened                         and     Oh          I
                                                                                                                                                                                                                         was horrified                   yet    he continued              to


 9             A.         Based on the                       investigation               and the interviews                            it               9       stay with                   Mark       Soliz       during            this entire          episode             isnt


10      was my understanding                                      that    there      was some                   sort        of   knowledge             10       that      true

11      of    one another.                                                                                                                             11                 A.           Yes        he     did.


12             Q.         Right.            And        it   was     that       particular                address Pearl                                 12                 Q.           And yet he continued                            on when they went                        to


13      Avenue where Ramos had                                            a    relationship                   with    someone               in   the   13       Benbrook.                        Well        lets        stop    at    the    Lowes             first.        Go
14      Ramirez family where                                     this   drive-by         shooting               took place                             14       ahead.

15      with        Ramos              present              isnt        that   true                                                                    15                 A.           No        youre        fine.


16             A.         Yes.                                                                                                                         16                 Q.           With       the       Lowes           first.     And he            participated              in



17             Q.         And          that      Ramos             could       have           if    he said he was                                     17       that      incident                 did      he not

18      mortified                 and didnt want                    to    be    around he could have                                                   18                 A.       Yes            he     did.


19      easily       left          or turned            around           or walked                 away or drove away                                  19                 Q.           In   fact       he was the getaway                          driver        for     that

20      or whatever                    from       that       residence.               He could have done that                                          20       wasnt             he
21      couldnt                   he                                                                                                                   21              A.          Yes.

22             A.         I       dont believe               he was            driving.                                                                22                 Q.       And he could have easily                                   if    he were so                horrified


23             Q.         Well walking                      away then                                                                                  23       by    all        this turned                 that        vehicle       around            and run Mark                   Soliz


24             A.         He could have exited the vehicle yes.                                                                                        24       over couldnt he have

25             Q.         Right.            And then he continued                                  on with            if   you                         25              A.          Yes he                could have.



                                                                                                                                             34                                                                                                                                                      36
 1      look    at    what             his       actions          are     compared                  to his       words            with                 1                  Q.           But       he continued                with him.             He stayed with him

 2      respect               to   the Enrique                   Samaniego               --    and        I
                                                                                                              always            torture                2        shoulder                    to   shoulder                didnt        he
 3      that    last              name      --   shooting               is    that   right                                                             3               A.          Yes            they       remained                together        throughout               the day.

 4             A.     As           far   as                                                                                                            4               Q.          And then he went                           to      Benbrook            and kicked the doors

 5             Q.         Him being present him being with.Mark                                                            Soliz.                      5    in       in     Benbrook                   at    the         homes there               Jose Ramos didnt                           he
 6             A.     Yes.                                                                                                                             6               A.          The doors were forced                                                 Im not sure               that
                                                                                                                                                                                                                                        entry.

 7             Q.     Okay.                 And he didnt run away from                                         that        incident                    7    he        did         it        but yes.

 8      did    he                                                                                                                                      8               Q.          And            well       you knew                that   was          his   role      to    use      his


9              A.     No.                                                                                                                              9    foot          to kick                the doors               in in   burglaries              didnt        you
10             Q.     He            likely       was egging                  Soliz    on wouldnt you                                                   10              A.          He has done                            before       or appears               to    have done
                                                                                                                                 agree                                                                             it                                                                      it




11      with    that                                                                                                                                   11   before.

12             A.     I           dont know what                    he was           participating                   in    as    far                   12              Q.          He shared                  in   the      proceeds           there           as well didnt

13      as    words whether                         he was agging him on                                  or not.                                      13   he
14             Q.     But he                also shared                 in    the proceeds                     of this       and                       14              A.         Yes.

15      other robberies                       and so                                                                        isnt                       15              Q.         And then we get                                Johnson
                                                                 forth       with    regard              to   Soliz                                                                                                         to                       County and he was
16      that    true                                                                                                                                   16   there shoulder                             to    shoulder with                  Mark Anthony                  Soliz

17             A.    Yes               he    was a           criminal.                                                                                 17   correct

18             Q.    All           right.        And continuing                     on   that            same evening                                  18             A.          Yes             he was.

19      June 29th around                           5        or   600      that       evening              the    --        Im    sorry                 19              Q.         And            after      the poor lady                   Ms.     Weatherly was

20      that    morning excuse                              me      the        Ruben Martinez                         shooting                         20   killed               he was the one                          that    chose        to    get        into   her truck

21             A.    Yes.                                                                                                                              21   take            it   closer           to     the    home and                load        it   up     with     the    TVs
22             Q.    Hes seen on                            that    video                                                                              22   with          other              items       and head                to   Fort    Worth             isnt that          true

23             A.    Yes.                                                                                                                              23             A.                dont believe he chose                               that    on     his     own        solely.
                                                                                                                                                                                   I




24             Q.    And hes seen there                                   participating.                      We      also       saw                   24   I    think           that        was a mutual agreement.

25      the    footprint               that      was referenced                      earlier             is   that                                     25              Q.         Well            he could               have        easily    chose not                 to   do that
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                                                                                                                                       37                                                                                                                                      39
    1          A.     Yes                he could have.                                                                                      1                              MR.         STRAHAN                Ill
                                                                                                                                                                                                                     pass the witness.

    2          Q.     He could have                              easily           stated         Hey man              Im out                 2                               FURTHER               RECROSS-EXAMINATION

    3   right       now.             But        he continued                      on   shoulder           to    shoulder        with         3   BY MR.               HEISKELL

        Mark Soliz didnt                          he                                                                                         4                    One                                            and




--15
    4                                                                                                                                                   Q.                   other            Detective                    I    think    youll

    5          A.     Yes he                    did.                                                                                         5   hopefully get a chance                              to   go home.

    6          Q.     And as a matter                              of   fact        back when              that                             .           A.        Thats           fine.


    7   Budweiser                    Mr.        Martinezs situation                              he was the one               that           7          Q.        Youre            familiar with           gunshot              residue           testing


    8   suggested                   to    Mark Soliz                    Hey         hell     probably           have some                    8   procedures are you not

    9   money as a                   result           of these               deliveries            to    egg him on            to            9          A.        Im sorry
10      do this didnt                     he                                                                                                10          Q.        Gunshot               residue         testing       procedures forensic

11             A.     According                   to        Mr. Solizs statement                           yes       thats                  11   testing          for      gunshot            residue are             you        familiar that                was

12      what happened.                                                                                                                      12   done        in this         case

13             Q.     And also according                                     to   Ramos.            Didnt       he    tell
                                                                                                                             you            13          A.        The most Im                     familiar     with        is   that    a    swab can be

14      that                                                                                                                                14   taken           off of      an item a hand and submitted                                        for


               A.     I    dont           recall        that       he stated                that    he said          that                   15          Q.        Sure.

16      was the case.                       I   believe            if    I   remember correctly Ramos                                       16          A.        --
                                                                                                                                                                       analysis.              And how they do that                           I   have no

17      just    indicated                 that     they believed                       he would have money not                              17   idea.


18      that    hes        --
                                    personally believed                             that     that        they                               18          Q.        Well           Im not asking how they do                              it       but        youre

19      collectively                 believed               that   that           would      happen or            that       that           19   familiar with               it    correct

20      delivery          man would have money.                                                                                             20          A.        Yes.

21             Q.     But           once again                    his        actions         the    like       his   words                  21          Q.        Okay.            And you know from                           this   case gunshot

22      he was shoulder                          to    shoulder with                    Mark Soliz                                          22   residue              appeared               not only      on Mark              Soliz       but also               Jose

23             A.     Yes.                                                                                                                  23   Ramos
24             Q.     And you see                           in   the statement                   that     Mark       Soliz                  24          A.        I    believe          so.


25      gave on the video the                                    written           statements             here        that                  25          Q.        Not only              his   hands        but       on    his clothing                 as well



                                                                                                                                       38                                                                                                                                      40
1       Soliz       eventually                  became cooperative                               with     you-all      and     told          1   is   that       correct

2       you what           you-all               wanted            to        get from him                essentially          isnt          2           A.        Yes        I    believe         so.


3       that    true                                                                                                                        3                              MR.          HEISKELL Thank                          you.     Thats              all.



4              A.     For the majority                             yes.                                                                     4                                FURTHER               REDIRECT               EXAMINATION

5              Q.     Yet           Ramos              is    the   one who refused                        to    sign    that                5    BY MR.           STRAHAN
6       last   statement                   and invoke                   his right           to   counsel         and end the                6           Q.        Were you aware                        that   in    gunshot            residue theres

7       interview                                                                                                                           7    two    different                kinds       of   residue            Theres characteristic

8              A.     Yes.                                                                                                                  8    which           is    from the primer                    and then theres other types of

.                                   MR.         HEISKELL                      Pass the witness.                                             9    residue              that   are        commonly associated                           with       it.




10                                   FURTHER                 REDIRECT                  EXAMINATION                                          10          A.        Yes my understanding                               is   that    even           if    you dont

11      BY MR. STRAHAN                                                                                                                      11   fire   a    weapon                if
                                                                                                                                                                                        youre       in    close      proximity              to   someone              who
12             Q.     Is       it   clear from everything                              you know about                   this                12   does        fire      a   weapon              you      can have clothing                        or particles             of

13      case        that       Mark         Soliz           is   perfectly             capable           of robbing          and            13   that     residue            on         about      you     or inside            the vehicle                 or

14      shooting           people               whether            Ramos               is   there or        not                             14   anywhere                  else.


15             A.     Yes            it   is.                                                                                               15          Q.        Okay.           And         particles        can be           different              based on

16             Q.     In       fact        he did didnt                      he                                                             16   your       proximity              to    a    firearm. that          has gone off                      is   that


17             A.     Yes.                                                                                                                  17   right

18             Q.     Do you have                       information from                          any source other                          18          A.        Yes.

19      than    Soliz               himself       that           Ramos had                  the    gun     in   any     of    these         19          Q.        Where            the       characteristic           closer           to    the actual

20      offenses                                                                                                                            20   firing      of the          gun
21             A.     No.                                                                                                                   21          A.        Correct.

22             Q.     So outside                   of that              Defendant                right    there       youve                 22          Q.        And you               just testified         that       you are            aware           that


23      never heard                  from         anybody                that       Ramos was               the      one wielding           23   Jose        Ramos had some                          particles            of    one     of   those            types       on

24      the    gun        in     any       of    those           offenses                                                                   24   him        is    that       correct

25             A.     No.                                                                                                                   25          A.        Yes.
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                                                                                                                                                     41                                                                                                                                                                         43
 1            Q.        And Mark                  Soliz        also         had some of those                                 particles                    1   Medical           Examiner pictures and one                                                                 of     the things                 that    the

 2    on him one                      of   those       two kinds or both                              of       those          kinds            is          2   Prosecutor                  argued              and under the law                                                 is   appropriate               is       that


 3    that     correct                                                                                                                                     3   they are          just       little
                                                                                                                                                                                                          8-by-10s                        but then                         he showed them on

 4            A.        Yes.                                                                                                                               4   the screen.                 This           is    much worse                                 than those                        pictures.


 5            Q.        Were you aware                             that       Nancy Weatherly                              also         had                5                           And under Rule 403 Your Honor we believe

 6    particles              on her                                                                                                                        6   they should                 be excluded                          for        being number one

 7            A.        I
                            was       not.                                                                                                                 7   substantially                more               prejudicial                      than             probative.                        And wed

 8                                MR.       STRAHAN                         Ill
                                                                                   pass         the witness.                                               8   ask the Court                  to         look        at        the video                        in        camera.                 And then

 9                                MR.       HEISKELL                        Nothing             further              Your Honor.                           9   number two cumulative                                           of     what             certainly                           promises to               be an

10                                THE COURT                           May          the witness                  be excused                                10   awful       lot    of       crime          scene photographs                                                    that        may      contain              the

11                                MR.       HEISKELL                        Yes          sir.                                                             11   exact       same            thing.


12                                MR.       STRAHAN                         Yes          sir.                                                             12                           We        would               also object                            to you                     know         a

13                                THE COURT                           Thank you.                     You may be excused.                                  13   multitude              of   crime           scene photographs                                                     which            depict       that


14                                MR.       STRAHAN                         Our next witness                             is    five                       14   picture.          If
                                                                                                                                                                                      they are going                            to         be these huge large




--24
15    minutes from here.                            Can we take a short break Judge                                                                       15   blown-up               things             we         just think                  that                 Your Honor                         is



16                                THE COURT                           Ladies          and gentlemen while were                                            16   substantially                more               prejudicial                      than probative                                    but    I




17    getting           ready          for   the next                 witness well take a 15-minute                                                       17   havent            seen those                    exhibits.


18    recess.               Well come back                            at five       minutes                   after 11             sic.                   18                           MR.           HEISKELL Your Honor and                                                                      furthermore

19                                Recess            taken             from         948          to    1006 a.m.                                           19   under       403         that      I   think               its    unduly                 necessary                             in light         of


20                                Jury not present.                                                                                                       20   what we already have on the record and also what we

21                                THE COURT                           You may be seated.                                      Lets        go on           21   anticipate             from the crime                            scene                  officers                       at    the Weatherly
                                                                                                                                                                                                                                                                                                                                     f


22    the     record.              The attorneys                       for        both     sides are present                                              22   home.         And the videotape                                        I    believe                        Mr.         Chambless has

23    Mr.     Soliz          is    present          and the Jury                      is    not present.                           Were                   23   represented                  is   about               12        to     15


      going        on the record.                                                                                                                         24                           MR.           CHAMBLESS                                       Roughly yes.

25                                We       had a short off-the-record                                          discussion                 with            25                           MR.           HEISKELL                              --   minutes                           in    length.              And     I




                                                                                                                                                     42                                                                                                                                                                         44
 1    regard          to      trial      schedule and                       it    seems              that      the current                                 1
                                                                                                                                                               agree       with        Co-Counsel seeing                                             that                 is     very graphic                 and

 2    pace         of       the    trial    and the current                         pace         is       appropriate                   for                2   very    prejudicial                   I

                                                                                                                                                                                                          guess                for        lack of a                        better           term Your

 3    both the State                       and Defense and neither side has asked                                                                   me     3   Honor.            And we              think           the        --        that       certainly                         outweighs               the

4     to   increase               the       amount             of hours             or     to    change the pace of                                       4    probative              value          of    what we already know and whats already

5     the     trial         at this        particular point.                                                                                               5   in   the    record.


6                              And Mr. Chambless has a matter                                                        to    bring          to    my        6                            MR.           WESTFALL                                   We              have two photographs Your

7     attention              before         we      get the Jury in                        is    that          correct                                     7   Honor         that          State          is
                                                                                                                                                                                                                going               to     seek                 to         admit both                   of    which

8                                 MR.       CHAMBLESS Yes                                       sir       in    order           to   save                 8    are    in   the        sort of            16 by            20        or     24 range                              that       show the

9     time.        There            is     a witness anticipated                                shortly Mike                                              9    crime       scene as the detectives                                              found                      it.        And we believe

10    Gaudet.                He was the              first            Johnson             County Detective                                to              10   that   the video               would                 certainly                   be cumulative                                of that          and

11    arrive       and take                 control           of      the crime scene.                           And the very                             11   therefore          not probative                           at        all    and only                              prejudicial.                 So

12    first
              thing           he did          I

                                                  expect              his    testimony                to       be he               took                   12   we     would           ask the Court                            to    exclude                     the              video and                  certainly


13    a videotape                   of     the    exterior             and then                 in   the inside                    of the                 13   review       it   in    camera                  if   the Court                    needs                           to   do so        to    make a

14    house           of     Nancy Weatherly.                               Its     approximately 12                               to     15              14   ruling.


15    minutes.               And were going                           to    ask permission                           to       --   that    he             15                           MR.           CHAMBLESS                                       Ill
                                                                                                                                                                                                                                                                represent                    to    the        Court
                                                                                                                                                                                                                                                                                                                                     II




16    play that              this      CD         which         has been provided.                                   And thats                            16   and Mr. Westfall                          can correct me                                    if    Im wrong                         but    of    the

17    our     --   thats the issue                        I    think.                                                                                     17   12    minutes perhaps                                a     minute maybe a minute and a                                                                half       of


18                             MR.          WESTFALL                          And Your Honor as the Court                                                 18   the 12 minutes                    shows                   --
                                                                                                                                                                                                                               depicts                 the                --
                                                                                                                                                                                                                                                                                 Nancy Weatherlys

19    is   aware by now certainly we can represent                                                                  it   will                             19   body and               position             of       the        body             in     relation                        to   evidence               that


20    continue               this     way we           are            not contesting                      anything                  like                  20   was    later       collected.                        The balance                                 of    the videotape                          just


21    cause         of       death crime scene preservation                                                    of   the         scene                     21   shows the condition                                  of    the        living            room and                             different


22    anything               like that.           This         is     a videotape                    of   a     murder scene                              22   bedrooms               in    the house.

23    where         the       deceased               is       still    on the            floor.           It   is   going            to                   23                           MR.           WESTFALL                                   Well                 if        that     part       of   the

24    be shown                to    the Jury           on what                    looks     like          a    10-foot-                                   24   video would                 be relevant then we would                                                                  ask    it    be    --   that


25    by-6-foot screen.                           We      had         this        conversation                      about            the                  25   the minute.and                        a half which                          is    an extremely long time be
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                                                                                                                                                                               45                                                                                                                                                                           47

 1   redacted.                      Its just piling                       on as cumulative                                              and    its                                  1
                                                                                                                                                                                                               Recess                   taken           from                   1017             to       1032 a.m.

2    substantially                    more            prejudicial                          than               probative.                                                            2                          THE COURT                                You may be seated.                                                       The States

3                                   THE COURT                                   Ill       review the video                                    in                                    3    attorneys            are present                         Defense                      attorneys                      present

4    chambers.                       Do        you want                   me              to       do         that           at this point                   now                    4    Defendant             is   present.                      Jury       is           not present.                            I    reviewed


5    Do you               plan        on playing                     it    if         I   allow               it                                                                    5    States         Exhibit          No.            188 upstairs                           in    chambers                              find            that


6                                   MR.            CHAMBLESS Yes                                                       sir.                                                         6    the objection              to    its
                                                                                                                                                                                                                                    admissibility                              as stated                      would              be

7                                   THE COURT                                 Can              I        have the video and                                      Ill                 7    overruled.            The       exhibit                  would                  be admissible                                if   offered


8    look                           And              also        note                                   the video                       screen                                      8                                other                   foundation                                                                                                be
                at       it.                  Ill                                     that                                                               that                            subject        to    any                                                              requirements                                that            might

9    Mr.       Westfall               talks          about                being large                              is        on the clear                                           9    needed.


10                             side of the courtroom                                               from the Jury Panel.                                                  is         10                         The question                            is            that        exhibit                 is       offered
     opposite
                                                                                                                                                                  It                                                                                        if




11   not presented                            in front      of the                                            Its        on the opposite                                            11   and played                for   the            most part theres                                        just          a       few sounds
                                                                                          Jury.


12   side       of       the courtroom.                                                                                                                                             12   on there        that       cant be transcribed                                             by the Court Reporter.

13                                  MR.            WESTFALL                                I

                                                                                               agree Your Honor                                            it     iis.              13   There      may        or    may            not           be something                                 thats              more or less                                   F




14                                  THE COURT                                   I   think                the           measurements of the                                          14   unintelligible             said by something                                          that        I    think             would                    be


15   courtroom                      are                     the packet                                                  the Sheriffs                                                15   Officer    Fuller                                    recognized                         his       voice                  but
                                              part of                                                    that                                                                                                        just          if    I                                                                                   I




16   Department                      has            with    regard                        to       security                    plans.                                               16   dont know             that       I   could               really                 ascertain                   what              he        said.            So

17                                  MR.            CHAMBLESS                                       Judge                      if    I
                                                                                                                                        could        I   would                      17   basically        the point the Court                                    would                make                is          that       if        that



18   mark           that tentatively                       as            Exhibit                   188             I     believe.                                                   18   video     is   played           in     court the Court Reporter                                                              would                not


19                                  MR.            WESTFALL                                Thats the videotape                                             is         188           19   transcribe            any       of    the audio                     in that                 particular                       video


20                                  MR.            CHAMBLESS Yes                                                       sir.                                                         20   unless     theres a request                                   otherwise.


21                                  MR.            WESTFALL                                We                also discussed                              those            two       21                         MR.       CHAMBLESS                                             Thank you Judge.

22   pictures                  if
                                    you want               to    do             that           for           the record.                                                            22                         THE COURT                                All              right.            Everybody                        ready               for


23                                  MR.            CHAMBLESS                                        Judge we                             would           be glad to                 23   the Jury        to    come in

24   as    far      as the            photographs the                                          still
                                                                                                              photographs                          of     Nancy                     24                         MR.        HEISKELL                               Yes.


25   Weatherly we                             would         --       I    would                     be        --       Ill     restrict        that         to                      25                         Pause                in        proceeding.



                                                                                                                                                                               46                                                                                                                                                                           48

1    one       of        the two              if    the Court allows                                         that.            Ill       offer this                                   1                         MR.        CHAMBLESS One                                                    other              thing.


2    one and not                      this          one.                                                                                                                            2                          At     the          bench.

3                                   MR.            WESTFALL                                And                at this                   point Your Honor                            3                          MR.        CHAMBLESS                                            There            was one other                                   thing.


4    I
         mean              our objection                    is           to         the video                          as being               cumulative                            4    They had a Motion                              in    Limine                     about anything                                that           identified


5    of these                  photographs.                      I
                                                                          mean                      I    think               that        there       is    a                        5    Nancy Weatherly                        as a cancer                                   patient.               I
                                                                                                                                                                                                                                                                                                         anticipate

6               reason                to           have these                         photographs so were not going                                                                 6    testimony            to    be Gaudet says there was a                                                                letter             addressed
     legal


7    to   --
                certainly                 I   think        picking                        one            is   a        good              idea.       But          I
                                                                                                                                                                                    7    to    Nancy Weatherly                               in   the mailbox.                             It    opens with                                that.


8    understand                      that           those        are relevant                                  and             theres not a                       403               8    The purpose                of videotaping                               that           is   to         show who had

                                                                                                                                                             and a                                                                                                                                                                         does
9    issue.              My         objection              is    directed                           towards                        the minute                                       9    ownership              right         to        possession                            of the premises.                                        It




10   half of          the video.                                                                                                                                                    10   have a         return       address                      of   Texas                    Oncology.                             Im     just


11                                  THE COURT                                   Is        there               any            benefit          of     me          taking             11   bringing        it
                                                                                                                                                                                                               up because                         there              was a Motion                                 in       Limine.

12   this      in    chambers                       since        the Jury                               is    not here or just                                                      12                         MR.        WESTFALL And                                                Your Honor we object                                                  to


13   playing              it    here          in    the    courtroom                                                                                                                13   it.   We   believe              its       victim              impact.                   And            it       is




14                                  MR.            CHAMBLESS                                        Thats                    fine.                                                  14   certainly        --   her address                         is       not a contested                                       issue           in this



15                                  MR.            HEISKELL Thats                                              fine.                                                                15   case.      Theres no reason                                    to       prove               it.        Its       going              to            be

16                                  THE COURT                                   Play               it    here then you can                                                          16   assumed.              Its    going                  to   be accepted.                                  Theres no probative

17                       the exact spot                                                                                       a problem.                                            17   value whatsoever.                              And        like                  said         victim                  impact and
     identify                                                   that                you            think               is                                                                                                                                        I




18                                  MR.            CHAMBLESS Yes                                                       sir.                                                         18   also    therefore            not relevant                          in           the Guilt/Innocence                                               case

19                                  Pause             in    proceeding.                                                                                                             19   and also             Rule 403.


20                                  MR.            WESTFALL                                Your Honor would                                              you mind                   20                         MR.        CHAMBLESS                                            Our         position                    is   that            its


21   doing          it    in        chambers                                                                                                                                        21   admissible            for       reasons                  stated.


22                                  THE COURT                                 Thats                      fine.                                                                      22                         MR.            HEISKELL                               But there                   are other                       mailings.

23                                  MR.            WESTFALL                                Yeah.                                                                                    23                         MR.            CHAMBLESS                                        That            was the only one.

24                                  THE COURT                                 Thank                      you.                Ill        be back           in      a      few        24                         MR.            HEISKELL                               I    recall           there              was another.

25   minutes.                                                                                                                                                                       25                         MR.            WESTFALL                                    I
                                                                                                                                                                                                                                                                              mean              --
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                                                                                                                                                        49                                                                                                                                   51

 1                              THE COURT                           The        fact       that     that           letter      --    I                        1
                                                                                                                                                                  spelled        out on the          form States                     Exhibit           No.     189 and she

 2   saw the               letter      on the video.                      That           letter    alone            does not                                 2    transported               those without           any tampering or anything                                     to   the


 3   describe               her as a cancer                         patient              or indicate              that       shes                            3    Medical        Examiners                Office.       So       I   would             offer   189 by

 4   receiving              anything                   other than a                 lab    report          or whatever                       the             4    stipulation.


 5   envelope                says.            I
                                                   would        allow the video                       as     it    was                                       5                          MR.       WESTFALL                  And we have no                           objection.


 6   presented                  in    188          and        overrule         your objection                       with       regard                        6                          THE COURT                   189      is       admitted.

 7   to   the         letter      at       the beginning                  of       the     video but Im                                                      7                          States           Exhibit    No.          189 admitted.

 8   not    --    Im        not expanding                       that      to       allow        any     discussion                      of                   8                          MR.       CHAMBLESS                      States            Exhibit           190     is   also       a

 9   her medical                     condition                with regard                 to   cancer             at this                                    9    chain     of    custody          form.        And     I
                                                                                                                                                                                                                            anticipate                 the testimony

10   particular point.                                                                                                                                       10   that    were covering on                   this   would             be    that         Mike    Gaudet                on

11                              MR.          WESTFALL                      And we also                       --    we        also object                     11   September 13th 2010 transported                                          two items             that        were

12   to   the     video Your Honor on the grounds                                                       that           it   contains                         12   collected        from           Nancy Weatherlys house                                  Exhibit          BRB-01            a

13   hearsay               and also testimonial statements                                              that           would            be       in          13   fired   shell        casing        and BRB-16 a spent                                bullet    lead and

14   violation             of    the confrontation                        clause                so.                                                          14   that    he transported                 those     items from the                        Johnson             County

15                              THE COURT                           What statements are contained                                                      on    15   Sheriffs        Department               to   Jennifer Nollkamper                            in Fort        Worth

16   the video              that       fit        in   that    category                                                                                      16   Texas on September                        13th 2010.                     So we would                 offer      190        for


17                              MS. JACK                       Judge           I    think       we can              turn      the                            17   that    purpose.

18   volume            down            if    theres            an   objection.                                                                               18                         MR.       WESTFALL                  Did        you say spent                   bullet          lid

19                              MR.          WESTFALL                      Turning                the   volume                down would                     19                         MR.       CHAMBLESS                      Lead.

20   take care               of that              as long as the Jury                          doesnt get access                                             20                         MR.       WESTFALL                  Lead.           We          have no objection

21   to   the     volume               later           on.                                                                                                   21   Your Honor.

22                              THE COURT                           Well the only time                              that      that                           22                         THE COURT                  Admitted.

23   video        would              be replayed                 for      the Jury              would             be    in   the                             23                         States           Exhibit    No.          190 admitted.

24   courtroom.                                                                                                                                              24                         MR.       CHAMBLESS                      Also       offering            190 sic and

25                              MR.          HEISKELL                     Okay.                Good.                                                         25   191     which        are major           case     prints           for    Mark A.            Soliz that




                                                                                                                                                        50                                                                                                                                   52
 1                              THE COURT                           So     at that             point       we       would               have           to    1    were     utilized          in   this   case by        Bill         Walker            and Tom             Ekis.


2    have a reminder that theres no audio.                                                                                                                   2                          MR.       WESTFALL                  No        objection.


3                               MR.          WESTFALL                      All           my    other objections                          still               3                          MR.       CHAMBLESS                          191    and 192.             And         that      the

4    stand        for       the record                   Your Honor.                                                                                         4    person the Defendant                          in this     case Mark Soliz                           is   one      in



5                               THE COURT                           Okay.                                                                                    5    the    same      person whose photographs                                       are     shown on States

6                               In open court.                                                                                                               6    Exhibit    191            and 192.

7                               THE COURT                           Yes            sir    bring       in     the        Jury.                                7                          MR.       WESTFALL                  191        and 192 are both Mark

8                               Jury present.                                                                                                                8    Soliz

9                               THE COURT                           You may be seated.                                                                       9                          MR.       CHAMBLESS Yes                                 sir.



10                              Please                 call   your next witness.                                                                             10                         MR.       WESTFALL                  No objection Your Honor.

11                              MR.          CHAMBLESS                              Yes Your               Honor.              As we get                     11                         THE COURT                   191 192 are admitted.

12   started           now with the next witness                                         and before the next                                                 12                         States           Exhibit    Nos. 191                -     192 admitted.

13   witness theres been a                                     stipulation                agreed           to      between the                               13                         MR.       CHAMBLESS                      Also       finally            193 and 194

14   State        and the Defense                              with regard                to    certain            documents.                                14   represent            --   these    are major case                    prints           of   Jose Clemente

15   And     if   I

                       may           Ill
                                             just       speak        --                                                                                      15   Ramos          that       were    utilized       in   the examination                        by     Bill    Walker

16                              MR.          HEISKELL                     Right.                                                                             16   and Tom          Ekis       in   this    case Co-Defendant                              to   Mark          Soliz.


17                              MR.          CHAMBLESS                              --
                                                                                         speak        to     those.                First                     17                         MR.       WESTFALL                  And we                stipulate          those        are

18   theres            a   document                     marked            States           Exhibit           No.            189 and               it         18   indeed     Jose Ramoss                    prints.


19   is   a chain            of      custody              form      and        it    shows         --   it     represents                                    19                         MR.       CHAMBLESS We                             would             offer    193 and 194.

20   that   on March 10th 2011 Tina Hodnett of the Johnson                                                                                                   20                         MR.       WESTFALL                  No        objection.


21   County Sheriffs Department                                           took the evidence                                 items         listed             21                         THE COURT                  Admitted.

22   on the form States                                 Exhibit       189            from the           Johnson                    County                    22                         States           Exhibit    Nos.             193    -     194 admitted.

23   Sheriffs              Department                     to   the Tarrant                 County Medical                                                    23                         MR.        CHAMBLESS                     States                Exhibit       No.     195       which

24   Examiners                   Office            in    Fort    Worth.                  And her testimony would                                             24   we     offer    is    a evidence           release           that        shows          that       on July

25   be   that         she collected                      those       items.              Those            items are                                         25   20th of        2010 Max Courtney                          of       the Mansfield               Police
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                                                                                                                          53                                                                                                                                                      55
 1
      Department released                             the items           listed     on   this    document                       1          Q.           Okay.         How                  long           have you been                     in   law    enforcement

 2    States       Exhibit        195           to    Garit        G-A-R-I-T            Bennett         of   the                 2          A.           Been       in   law enforcement                                      since         77.    Ive       been

 3    Johnson        County Sheriffs Department and                                             that   Garit                     3   employed                  by the Sheriffs                              Office            since 94.

 4    Bennett       transported                  those         items      in   a secure          way and placed                  4          Q.           Okay.       And                                               describe
                                                                                                                                                                                           just briefly                                     your    --   I

                                                                                                                                                                                                                                                             guess
 5    those      into   evidence                        the   Johnson           County Sheriffs                                  5   the                                                                                                            where you
                                                 at                                                                                         entirety of              your law enforcement                                             career

 6    Department             on       that      date.         Offer      195    for that         purpose.                        6   worked              and what youve done.

 7                        MR.         WESTFALL                       No   objection             Your Honor.                      7          A.           Originally                   I
                                                                                                                                                                                           started              out with the               Military      Police

 8                        THE COURT                           Admitted.                                                          8   in   the     Army          for      seven years then went out                                                to     Lockheed             for


 9                        States             Exhibit           No.      195 admitted.                                            9   ten years.                 And then became a reserve                                                   with    Johnson             County
10                        MR.         CHAMBLESS                          States      Exhibit       196 consists                 10   Sheriffs Office                     and eventually                                     became          full-time         employee

11   of   two pages.            And we                  offer this for         the      purpose         of                      11   with    Johnson                 County                      Sheriffs                  Office.


12   showing        that      on October                    18th 2011 Max Courtney                            released          12          Q.           On June 30th 2010                                            did    you receive            a    call         about

13   major       case     prints           of    Jose         Ramos         major         case     prints       for             13   a    situation            at    14356 FM 2331                                     in    Godley Texas

14   Mark Soliz four                      latent      prints       from a       television        set        and                14          A.       Yes we              did.


15   known impressions of shoe out soles                                                 Garit    Bennett                       15          Q.       What was the source
                                                                                   to                              that                                                                                               of    your information

16   being on October                       18th 2011.                  Testimony would                 be he                   16          A.           Fort   Worth P.D.                            had contacted                        my     office      and spoke

17   received       those             items        and transported                 those        items the                       17   to   another              one       of               my detectives                      and advised               that       a

18   major case           prints           of    Soliz        and Ramos and four                       latent                   18   possible homicide                                    out     at that             address and we were                              in   the

19   prints      from the television                          to   the Tarrant           County Medical                         19   process              of   obtaining                        the information.

20   Examiners            Office            on October                  18th 2011.          I   believe       that              20          Q.       Okay.           So                   did    you and other                       officers      go        to that


21   is   the    stipulation              with     regard          to   those      items.                                       21   location             go    to     Godley Texas

22                      MR.           WESTFALL                       Youre       offering        this    as     196             22          A.       Yes         sir     we                did.


23                      MR.           CHAMBLESS                          Yes.                                                   23          Q.       Did        you yourself go                                  to that         location

24                      MR.           WESTFALL                       Your Honor we have no                                      24          A.       Yes         sir     I        did.


25   objection       to      States 196.                                                                                        25          Q.       And describe generally                                                the outside the exterior



                                                                                                                          54                                                                                                                                                      56
 1                      THE COURT                             Admitted.                                                          1   where you went what                                         it    looks           like.



2                       States               Exhibit          No.       196 admitted.                                           2           A.       Residence                            is    located               in   the      rural    section          of


3                       MR.           WESTFALL                       Is that    all                                             3    Godley Texas.                           Its            more           of     a ranch            style    where the house

4                       MR.           CHAMBLESS                         Thats      all    for    now.                           4    is   set    off      the       highway about 300 200                                             feet.       Its    got a

5                       Judge we                     call     Mike Gaudet               at this time.                           5    cattle      guard a white pipe fence surrounded                                                                   by a

6                       THE COURT                             Please       raise     your       right    hand.                  6    three-strand bob-wire                                       fence.               The      --    its    a ranch          style


7                       Witness sworn.                                                                                          7    house           red brick                    I       believe               its    white        trim.     Had        a pool

8                       THE COURT                           Thank         you.       Have a        seat.                        8    to   the     back on the right-hand                                              side with a pool                   house          that


9                                                MICHAEL                GAUDET                                                  9    was surrounded                          by a                chain-link                 fence.          And then there was

10               Having         been            first
                                                         duly      sworn        testified        as follows                     10   livestock            roaming                         freely       about the property.

11                                           DIRECT            EXAMINATION                                                      11          Q.       Okay.           What time                             did        you get there

12   BY MR. CHAMBLESS                                                                                                           12         A.        I    believe            it           was 9 something.

13          Q.    Please        state           your        full   name.                                                        13          Q.       Okay.           Were                       the other              officers         who had              arrived


14          A.    Michael             Joe    Gaudet.                                                                            14   there        had they received                                        instructions               as    far   as     what they

15          Q.    And        Mr.          Gaudet whats your occupation                                                          15   were       to       do where                         they        were            to    be      prior to      your       --    before

16          A.    Im a Lieutenant                       with the         Johnson          County                                16   your       getting          there

17   Sheriffs       Office.                                                                                                     17         A.        Yes         sir     they were.

18          Q.    What       are your                 responsibilities             as a Lieutenant                              18          Q.       What was the protocol or procedure

19   with    Johnson          County                                                                                            19         A.        Detective                    --
                                                                                                                                                                                           Deputy                Truitt       had already                gone out
20                Im                                                                                                            20
            A.          in   charge              of the Criminal Investigations                                                      to   the scene.                 They had                          verified              that    there        was a deceased

21   Division      where                  supervise           16     detectives.           Im the Crime                         21                        They then secured the                                                                                    a crime
                                  I

                                                                                                                                     person.                                                                                front     gate        started


22   Scene       officer      the videographer                           the    photographer                 latent             22   scene        log and waited                                 arrival              of    the other         detectives.


23   print   examiner.                I   also       assist in          supervision         of    the                           23         Q.        Okay.           And was                          it   --    were they              instructed            no      one

24   school      resource                 officers        courthouse             personnel             and                      24   was     to   enter the                  house                    until
                                                                                                                                                                                                                  you got there
25   warrants       and      transport.                                                                                         25         A.        Correct.
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                                                                                                                                         57                                                                                                                                                    59
 1          Q.    All       right.             And why                is   that                                                               1            A.     Yes          they do.

 2          A.    To protect the scene.                                                                                                       2                              MR.             CHAMBLESS                            Okay.

 3          Q.    And           is   --        what        is
                                                                your        responsibility                 with    regard                     3                              MR.             WESTFALL                        No       objection                   Your Honor.

 4   to   crime           scene or your                      responsibility that                      day        with regard                  4                              THE COURT                             Admitted.

 5   to   crime           scene                                                                                                               5                              MR.             CHAMBLESS                            Its      197             I    believe        the    last


 6          A.    Initially               my responsibility                          is   to    determine                                     6    number             is     208 we               offer       those              at this             time.


 7   whether              theres           an actual death.                           Make sure                 that   the    scene           7                              THE COURT                             197 through 208 are admitted.

 8   is   protected             by crime                scene tape                        either   enlarge             or narrow              8                              States                Exhibit             Nos.        197          -    208 admitted.

 9   it   down.           Assign               --   make sure somebody                                is
                                                                                                           assigned           to              9            Q.     BY          MR.            CHAMBLESS                             Mike               if
                                                                                                                                                                                                                                                           you wouldnt mind

10   conduct              a crime              scene            log    at   the       front      gate or          wherever          we        10   come on down and                                lets       --
                                                                                                                                                                                                                   okay.              If
                                                                                                                                                                                                                                           you would                    stand over

11   determine the entrance                                     to    be.       Then hand out assignments                                     11   here please.                      All      right.         First          of.all         this            marked             197
12   as   far    as       who        is
                                               going        to   do photography who                               is   going        to        12   tell    us   what were looking                                  at   here.

13   do videography who                                 is      going       to       be the assigned                   case agent             13           A.     That         is        a   picture          of the Weatherly                                  residence

14   and so       forth.                                                                                                                      14   standing             in    the driveway                        proceeding                        up     to    the residence.


15          Q.    Now            approximately                             an   hour           and a       half after         you             15           Q.     Okay.              This          one       is    --   I

                                                                                                                                                                                                                             guess              to    go        in   order          we

16   were there                 did       something                    change as                far   as the                                  16   would go here.                            This       one       is    marked              198.                What          are   we
17   responsibility for                        crime            scene processing                                                              17   seeing         here

18          A.   Yes            sir.                                                                                                          18           A.     Standing                   at    the       --
                                                                                                                                                                                                                  standing                 at        the       end of the

19          Q.    And what changed                                                                                                            19   concrete             driveway                  that       leads          into      the            garage            of     the

20          A.    I       was advised                   that          Max Courtney from Mansfield                                             20   residence.

21   P.D. who              is   a crime                scene specialist was                                in   route    to       the         21           Q.     Okay.              199 please.

22   scene       at       the    direction                 of the          District         Attorneys             office.                     22           A.     Thats              interior           of    the garage.

23          Q.    And so                  at    some            point       did      Max        Courtney arrive                               23           Q.     I   believe                the next             one would be 200.                                    Where         are

24          A.    Yes he                  did.                                                                                                24   we      at this         location

25          Q.    Did          he     bring           others           with      him                                                          25           A.     Standing                   outside              the       chain-link                fence            at     the   edge


                                                                                                                                         58                                                                                                                                                    60
 1          A.    Yes           he        did.                                                                                                1    of the       garage               looking            into       the       back          yard.


2           Q.    Was Brandon                              Blansit          one       of       the other         individuals                  2            Q.     201 what                    is    shown here

3           A.    Yes he                  was.                                                                                                3            A.     Standing                   on the back covered                                      patio          looking        at    a

4           Q.    Was           the crime                   scene Nancy Weatherlys house                                                      4    pair     of French                doors with                    one door open.

5    released             to   them             for their            work                                                                     5            Q.     Okay.              This          is   on the backside                               of       the     house

6           A.    Correct.                                                                                                                    6            A.     Yes          it    is.



7           Q.    Okay.              And            at that           point      did       you and Johnson                                    7            Q.     Okay.              Now 202
8    County           I

                           guess back                      off       and allow them                   to    take       control                8            A.     Its        the     interior            of the residence                                  to   the     left




9    of   the crime             scene                                                                                                         9    side of the               doorway                looking             back towards the door.

10          A.   Yes            sir        we       did.                                                                                      10           Q.     All        right.          Is   this       perspective                        if    you were                to


11          Q.    Okay.               I   want         to       show you a group of pictures                                                  11   enter the            house from the                            patio          in   the            back         is   this        kind

12   and     starting           with           197         take a           minute see                if
                                                                                                           you recognize                      12   of     the   first        perspective                   inside           the       house

13   these       photographs please.                                                                                                          13           A.     Well          if
                                                                                                                                                                                         you went from                       right         to left              yes.

14          A.    Witness complied.                                                                                                           14           Q.     Okay.              203 whats shown here

15          Q.    Do you                  recognize                  the photographs                       shown on these                     15           A.     The garage                       door from the                       interior                 of the        house       to


16   exhibits                                                                                                                                 16   the     garage and the                           left     wall           of   the       interior              of the

17          A.   Yes            sir        I    do.                                                                                           17   living       room.

18          Q.   And were these photographs                                                    taken       at    or near the                  18           Q.     204 what do we see here
19   time    that         you    were there                                                                                                   19           A.     This         would              be the entertainment                                         center         on the

20          A.   Yes            they were.                                                                                                    20   left    wall       and the                front      door           of   the residence                         on the

21          Q.   And do they                          fairly      and accurately                      show the           --   I               21   opposite             wall.


22   guess the condition                              of    the       house the bedrooms and                                                  22           Q.     What              is   the       location             of this            one             the    205
23   different            portions              of the          house           at   the time          you        arrived                     23           A.     That         would              be the master bedroom.                                             One       of    the

24   that   morning              about approximately 9 a.m.                                           on June 30th                            24   drawers            on the             floor          have been                 pulled              out from the

25   2010                                                                                                                                     25   armoire cabinet                            whichever                 you           prefer               to call      it.
              STATE VSDocument
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                                                                                                                                                                                  MARCH  2.     5472
                                                                                                                                                                                             2012
                                                                                                                                                    61                                                                                                                                                    63
 1            Q.         What                 are     we       looking            at     here      on    206                                              1        A.     Yes            I   have.

 2            A.         Thats the                    night           stand         next      to      the     bed        in   the                         2        Q. On July 8th was                                        it   taken        to               Max Courtneys

 3     master            bedroom.                                                                                                                         3   location        where            Max Courtney                              was                for fingerprint


 4            Q.         207 Mike what                                are         we     seeing         here                                              4   processing

 5            A.         I   believe                 that      was back                in    one of the other                                             5        A.     Yes           it    was.

 6     bedrooms                where                  she          had her work materials and her                                                         6        Q.     Okay.               And was                   it        returned                  to       the   Johnson           County
 7    computer                and so                  forth.                                                                                              7   Sheriffs        Office           the very                 same day                            I    believe       July         8th

 8            Q.         Okay.                 208 whats shown on this                                                                                    8   2010
 9            A.         Thats the                    wall         with       the      back door and from the                                             9        A.     Yes           sir.



10    corner         nearest                    the       garage             door towards                   the        back door.                        10        Q.     Okay.               If
                                                                                                                                                                                                           you would place                             it       in    here.


11            Q.         Okay.                 Thank you.                     So these                photographs                  is    it              11        A.     Witness complied.

12    correct            this   gives                 us a          little    bit   of a      sense              of    the                               12                     MR.                CHAMBLESS                                  Ive               marked the bag as 209-A

13    interior           of the               house when you                           --   when you                  first   walked                     13   and the item                   within          the       plastic            as 209.                      Offer        that    at


14    in   is      that       correct                                                                                                                    14   this time.


15            A.     Yes                 it    is.                                                                                                       15                     MR.                WESTFALL                              No        objection                  to    209     for   all



16            Q.         So you were                           active         in this for             an hour hour and                                   16   purposes and 209-A                                   I

                                                                                                                                                                                                                       guess             for       the record                       Your Honor.

17   a half         two hours                        until         Max Courtney                       and Brandon                  Blansit               17                     THE COURT                                         209 and 209-A are admitted.

18    arrived            from Mansfield                               is     that   correct                                                              18                     States                       Exhibit               No.    209 admitted.

19            A.     Correct.                                                                                                                            19                     States                       Exhibit               No.    209-A admitted                              for


20            Q.     Okay.                     Now        1    want          to   jump ahead                  just for          the                      20                     record purposes                                     only.

21    moment.                 On              July 1st following                         the date            that        the crime                       21        Q.     BY        MR.                    CHAMBLESS                           Did you also                         receive        certain


22    scene Nancy Weatherlys house was processed                                                                                   did        you        22   items from Detective                                Boetcher                    on       that           day
23    meet with Detective                                      Boetcher             in      Fort      Worth                                              23       A.     Yes        sir                I   did.


24            A.     Yes             I        did.                                                                                                       24        Q.    What were                           those           items

25            Q.     Where                     did     you go and meet him at                                                                            25       A.     Two        telephones                          that        had been recovered                                      from    Jose


                                                                                                                                                    62                                                                                                                                                    64
 1            A.     I
                             met him                 at   the Target                   at    Las Vegas                  Trail   and                       1   Ramos.

2                                                                                                                                                        2         Q.    Okay.                What were the                                   what                   kind                   phones
      1-30.                                                                                                                                                                                                                              --                                  of cell


3             Q.     Okay.                     Did you also                   meet with                Officer           --                              3    what brand were they

4     Detective               Officer                Tim Lee                 at that        time                                                         4        A.     One was                           a Kyocera.                And           I
                                                                                                                                                                                                                                                            believe          the other            one

5             A.     The        first               time       I   met Boetcher was                           at      the     Fort                       5    was a Nokia.

6    Worth P.D. impound                                        yard.                                                                                     6         Q.    Okay.                Show                           what         has markings                          on           two
                                                                                                                                                                                                                  you                                                                  it



7             Q.     Okay.                    And         did      you meet Tim Lee and Boetcher                                               at        7    envelopes.            Would                    you examine those see                                             if
                                                                                                                                                                                                                                                                                     you recognize
8    that     place                                                                                                                                      8    those     items            please.                  Do you recognize                                     these         items

9           A.       Yes             I        did.                                                                                                       9        A.     Yes        I        do.


10            Q.     Did        you receive                          an item from Tim Lee                                at that                         10       Q.     What                are           they
11   time                                                                                                                                                11       A.     The one                       is   a Kyocera                phone one Samsung                                           phone.

12          A.       Yes         I            did.                                                                                                       12   Both those        I       received                  from             Detective                         Boetcher         that


13            Q.     Okay.                    Show you                   this item.             Ill    represent              to    you                  13   morning.

14   it   was opened                          here        in       court       in   front      of the Jury by                                            14       Q.     Did    he represent                             to        you        that              these       cell     phones

15   Officer         Lee.            Would                you look                at     this      see      if
                                                                                                                 you can                                 15   had been taken from the person                                                   of           whom
16   identify            this   please                    sir.                                                                                           16       A.     Jose Ramos.

17          A.       Witness                         complied.                                                                                           17       Q.     Okay.                Did           you        later        at   a point                     within    the past

18          Q.       Do       you               recognize                  that     item                                                                 18   year      did   you process                          these            cell       phones                      for fingerprint


19          A.       Yes         I            do.                                                                                                        19   evidence

20          Q.       And        did             you take possession of                                  that          on July 1st                        20       A.     Yes        sir            I       did.


21   2010                                                                                                                                                21       Q.     What was                           the   result            of   that

22          A.       Yes         I            did.                                                                                                       22       A.     There were no usable                                            latent                 prints       recovered            off


23          Q.      And         did             you       --       have you retained                        it   within         your                     23   either.


24   possession                 or            position              of     Johnson            County             Sheriffs            Office              24       Q.     However                           did    you pursuant                                  to   search warrant                and

25   since         that       time                                                                                                                       25   legal    authority               did           you obtain some information                                                   regarding
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                                                Z                                                                                                                                         Page 20 of 109 PageID
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                                                                                                                                                           65                                                                                                                                                                 67
     1        the   cell      phone the                              cell       phone usage                                                                      1     it.    Just take a look                                        at   these.

    2               A.        Yes                    sir     we          did.                                                                                    2             A.         Witness complied.

    3               Q.        Tell      the Jury about                                 that.                                                                     3             Q.         All                                  Do you recognize                                  the items                 that
                                                                                                                                                                                                     right.                                                                                                         you

    4               A.        Utilizing                     a      cell    phone             Cellebrite             device we were                               4     have looked                            at       in       each of these                          packages
    5     able       to extract                        the information                            off   the        phones the                                    5             A.         Yes                 sir          I
                                                                                                                                                                                                                               do.


 6        address              book contacts                                     instant            messages so                     forth.                       6             Q.         And where                               did       you       first       see            them
 7        Contained                  in              there          was the name                         of       Tat   Man      a person             of         7             A.         Those were provided                                               to     me            by     Mr.      Hinojosa.

 8                            where                    stolen                                     had been released                               And            8
          interest                                                         property                                                        to.                                 Q.         Okay.                    I    believe              that        was on July 3rd 2010                                        is


 9        I    then copied                            that         number and released                                  that   phone number                      9    that     correct

 10      to     Detective                            Boetcher               to   see         if   he can locate                 that                             10            A.     Yes                     sir.



 11       individual               in            Fort            Worth.                                                                                          11            Q.         On         this              one            I
                                                                                                                                                                                                                                           believe          its        a Hewlett-Packard                              CD
 12                 Q.        Okay.                    You say Tat Man.                                 What was the                  full   name                12   is     that   correct

13       or the           legal             name                   of     that    person                                                                        13            A.      Thats                     correct.


14                  A.        Robert                   Lee Hinojosa.                                                                                            14             Q.     And                this           one           is    marked                --             this
                                                                                                                                                                                                                                                                        is
                                                                                                                                                                                                                                                                                           your marking

15                  Q.        Okay.                    Did         you meet with                    that           individual                                   15    where         it
                                                                                                                                                                                           says                 11
16                  A.        Yes                I    did.                                                                                                      16            A.      Yes                     sir       it      is.



17                  Q.        On     July                  3rd 2010                    did        you meet              with                                    17            Q.      On             your marking                                says         10       is        also a          CD          operating

18       Mr.        Hinojosa                          also         known as Tat                     Man                                                         18    system              CD              is     that             correct

19                  A.        Yes                I    did.                                                                                                      19            A.      Correct.

20                  Q.    And           did                you           obtain        from him               certain         items of                          20            Q.     And your marking                                             9          a Hewlett-Packard
                                                                                                                                                                                                                                                       is
                                                                                                                                                                                                                                                                                                                  battery

21       evidence                                                                                                                                               21    is     that   correct

22                  A.    Yes                I       did.                                                                                                       22            A.      Correct.

23                  Q.    On         the               --
                                                                   you would                 step around                  and help me                           23            Q.      Now                     at       a       later       time              August                        2011
                                                                                                                                                                                                                                                                                      of                    did     you
                                                              if
                                                                                                                                                                                                                                                       in



24       pull       this out.                                                                                                                                   24    process              those                 three                items        for       possible                   fingerprints

25                  A.    Witness                            complied.                                                                                          25            A.      I    did.




                                                                                                                                                           66                                                                                                                                                                 68
 1                  Q.    All      right.                    This         item what                 is   this                                                    1            Q.     And what was the                                             result           of       that

 2                  A.    This              is        a     LCD           TV.                                                                                    2            A.     No              usable                     latent           prints       were recovered                                from the

 3                  Q.    Okay.                       And           it   was      --    came            into       your       possession                         3    items.


4        through              Mr.       Hinojosa                           also        known as Tat                     Man         July     3rd                 4            Q.     Okay.                       Now              with respect                     to       your marking                      on 7 and
 5       2010            is   that               correct                                                                                                         5    8      what         is        in   these                  two         packages                   here
6               A.        Yes                         did.                                                                                                       6            A.     Its             a    pair of cell                       phones a Nokia                                 cell      phone
                                            it




 7                  Q.    Now                    was             this     TV     taken             by Garit Bennett                   from                       7    and a Motorola                                   cell       phone.

8        Johnson               County                        to     Max Courtneys                         place of business                      at              8            Q.     And                 did           you do               --   did     you           find       out           any
9        Mansfield                                                                                                 believe                 8th
                                for fingerprint                                 processing                    I

                                                                                                                                July                             9    information                        about the ownership                                           of    these              two        phones
10       2010                                                                                                                                                   10            A.     Yes                  I    did.             With         a search warrant                                   we    obtained

11              A.        Yes               it        was.                                                                                                      11    information                        off     of the                   phones            utilizing              the          Cellebrite


12              Q.        Okay.                       Was           it    returned                back    to       you back            to    the                12    extraction                    device.                      One phone we were                                         able not           to    obtain

13       Johnson               County Sheriffs Department                                                          on   that    same day                        13    any information                                   there              was none stored                                 in   the        memory and
14              A.        Yes               it       was.                                                                                                       14    there        was not a SIM                                      chip.        And on the other phone we were

15              Q.        From your memory                                             of   the     living          room of Nancy                               15    able     to    obtain                     the contact                       list      conversations                                  basically

16       Weatherlys house was there indications                                                                          to    you    that       one            16    all    the information                                    off       the phone.

17       or    more TVs had been taken                                                                                                                          17            Q.    And what                                   did    that       information                      link      to        if




18              A.        Yes           there was.                                                                                                              18    anything
19              Q.        And        did                           was the space                                  the    TV          the                        19                  That information                                                          back                          phone number
                                                              --                                         for                   in                                             A.
                                                       it
                                                                                                                                                                                                                                             linked                              to    a

20       living      room was                               it     similar in           size       to this particular                  TV                       20    that     says            my              desk on                      the phone.                       I
                                                                                                                                                                                                                                                                                  contacted                  the

21              A.        Yes           it           was.                                                                                                       21    number.                  It    was a phone number based                                                              at    Lockheed.                I




22              Q.        Did      you                 also receive                     other items from                                                        22    called        spoke                      to      her supervisor.                                 He advised                    that      it   was

23       Mr. Hinojosa                            that            particular            day                                                                      23    Ms.     Weatherlys phone.                                                  And then               I        contacted                  Industrial


24              A.        Yes           I            did.                                                                                                       24    Security             and                notified                them         that       I    had the phone.

25              Q.        Show you whats marked                                                     as various                markings           on             25            Q.    Okay.                       Now               which           phone was that                                   Do you            recall
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                                                                                                                                                                                             MARCH
                                                                                                                                             69                                                                                                                                                            71
     1    which        one                 this      was                                                                                               1                                    MR.           CHAMBLESS                               Marked the packaging                              as

     2            A.                 believe               was the Motorola.                                                                                211-A and the shoes
                                I                     it                                                                                           2                                                                     of   Jose Ramos as 211.

     3            Q.            Okay.             And so              this cell      phone which through                              this         3                                        MR.           WESTFALL                          And A         is    for    the        record
     4    process was                           linked       to       Nancy Weatherly                   is   marked               as your          4                                        MR.           CHAMBLESS                               Yes.

     5    Exhibit               8         is   that   correct                                                                                      5                                        MR.          WESTFALL                           No      objection              as     offered.

     6           A.             Yes.                                                                                                               6                                       THE COURT                               Admitted.

     7                                     MR.        CHAMBLESS                          Okay.      Ive      marked              the               7                                       States                   Exhibit         No.       211        admitted.
 8        envelope                        as    210-A        the        cell   phone as            210.                                            8                                       States                   Exhibit         No.       211-A admitted                       for

 9                                         MR.       WESTFALL                       No    objection          as offered                Your        9                                       record                  purposes           only.

 10       Honor.                                                                                                                                   10              Q.            BY          MR.          CHAMBLESS                                All   right.       On September                       13th

 11                                        THE COURT                        Admitted.                                                              11       of   2010                did          you     transport two evidentiary                                    items        to

 12                                        MR.       CHAMBLESS                           Offer    210   for      all
                                                                                                                           purposes                12       Jennifer                 Nollkamper
 13      210-A         for record.                                                                                                                 13              A.            I
                                                                                                                                                                                     did.

 14                                        THE COURT                        Admitted.                                                              14              Q.            I   believe              weve            already offered                       the    document
 15                                        States           Exhibit         No.      210 admitted.                                                 15       showing                  that         you      did        that         but would              you       just     look        for

 16                                        States           Exhibit         No.      210-A admitted                    for                         16      this    moment                         at     these        two.          Theyre marked                          BRB-01 and                 16.

 17                                        record          purposes            only.                                                               17      And do not open them                                           at this          time but are those the items
 18              Q.         BY                 MR.    CHAMBLESS                          Also did you process                                      18      that    you took
 19      both                        phones
                  cell                                 for   possible           fingerprints at              a    later                            19              A.        Yes                  sir    they        are.

20       time                                                                                                                                     20                                                      Where
                                                                                                                                                                   Q.        All       right.                                 did    you take them from                                                         l


21               A.                 did.                                                                                                          21                                                               them from my evidence
                                                                                                                                                                   A.                recovered                                                                             room and                 they
                            I

                                                                                                                                                                             I




22               Q.     What was the                                           of   that                                                          22
                                                              result
                                                                                                                                                           were transported                                to       the       Fort       Worth P.D.                 Crime Lab.
23               A.     There                   was no usable                   latents          recovered             off either                 23               Q.    And                did          you personally release them                                         to    Jennifer

24       phone.                                                                                                                                   24       Nollkamper                       at          that       location

25               Q.     Okay.                     On       July 9th of          2010        did you obtain                   a                    25              A.     Yes                  I    did.




                                                                                                                                             70                                                                                                                                                            72
 1       search         warrant                      for   shoes of a               certain       person                                                          Q.     At a               later                         on March 2nd 2011                                        you
                                                                                                                                                   1                                                                                                                       did
                                                                                                                                                                                                          point

 2               A.                 did.                                                                                                           2
                        I


                                                                                                                                                           pursuant                  to     legal         authority                 obtain           saliva         samples              of   Mark
 3               Q.    And                 tell      us about           that    and what you                 did       in that                     3       Soliz       and Jose                         Ramos
 4       regard.                                                                                                                                   4              A.     I           did.


 5               A.                 was requested                      to   obtain        the    shoes       of    Jose                            5              Q.                                    How                                              how you
                                                                                                                                                                         Okay.                                     did    you       --     tell    us                        --    how
                        I




 6       Ramos                      at    which       time        I   sent Detective               Bennett             to   Tarrant                6       thats done.

 7       County             to verify                that    they        were       available.          We        then                             7             A.      Basically                        theyre              known as a buccal swab.                                     I




 8       generated                        search warrant                    and                              went                Tarrant           8       obtained
                                                                                     I

                                                                                         personally                         to                                                       two          sterile           swabs          still     in    their        container

 9       County                           and met with Lieutenant                           Skidmore              and presented                    9       sealed then proceeded                                                   Blue           West where                 the two inmates
                                                                                                                                                                                                                                                                                                                ý
                        jail                                                                                                                                                                                                  to

10       him with a copy of the search warrant and obtained                                                                      the              10       were being detained                                       at that         time advised                     them of my
11       shoes.                                                                                                                                   11       purpose                   for    being          there              removed               the     sterile        swabs from
12               Q.    Okay.                      And whose shoes were you seeking                                                                12                                                    then
                                                                                                                                                           their   container                                        swabbed the                     interior          of   their     cheek
13           A.        Jose                    Ramos.                                                                                             13       and gums and placed the swabs                                                           inside       a     sterile       white
14           Q.        Okay.                      Show you              this   package and ask you                               if               14       plain      white               box container                        and sealed                 it.




15       you can take a look                                                and see
                                                            at that                         if
                                                                                                 you can          identify                        15             Q.     Okay.                       I
                                                                                                                                                                                                        want         to   show you whats marked                                      I

                                                                                                                                                                                                                                                                                         guess
16       that.                                                                                                                                    16                         number 17 and 18 and ask you
                                                                                                                                                           by your                                                                                               if   you recognize
17           A.        Witness complied.                                                                                                          17       those        items

18           Q.        And whats contained                                                          package
                                                                               within       this                                                  18             A.     Yes                 sir.         Those            will      be the          --   those        will      be the
19           A.        A             pair of         sneakers.                                                                                    19       buccal       swabs                      that        I   obtained              from both of them.

20           Q.                      that       what you obtained                        from Lieutenant                    or                    20             Q.     Would                                  open those please.
                       Is
                                                                                                                                                                                                   you

21                     Skidmore                             Tarrant
         Officer                                      at                     County on the July                        I
                                                                                                                            believe               21             A.     Witness complied.
22       9th of       2010                                                                                                                        22             Q.     All           right.              First       one                     package               marked           17
                                                                                                                                                                                                                                   your                                                        is


23           A.                                                                                                                                   23       the buccal                  swab contained
                       It           is.
                                                                                                                                                                                                                                   within          that
24           Q.                                 Would you remove                          those please.                                           24
                       Okay.                                                                                                                                     A.     Yes                 it     is.



25           A.        Witness complied.                                                                                                          25             Q.     Would                      you         remove              that           please.
 --3
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 1



 2




 4

 5

 6

 7

 8
     the




     offer
             STATE VS.Document

            A.


            Q.


             date

            A.




     packaging.
                 States
                       Yes
                            I
                               24-32 Filed
                        MARK ANTHONY




                                 guess



                                 MR.




                                 MR.
                                       SOT 08/02/16

                       Witness complied.

                       And the swab
                                            Z




                                      the time

                                           CHAMBLESS
                                                      that
                                                             itself



                                                              you took

                                                           and my
                                                                       has the name Mark Soliz and

                                                                                  it

                                                                             initials




                                      212 being the buccal swab 212-A being the



                                           HEISKELL                        No
                                                                                 Okay.




                                                                                  objection
                                                                                              also.


                                                                                                 At   this    time




                                                                                                       Your Honor
                                                                                                                         I   would
                                                                                                                                        73
                                                                                                                                              1



                                                                                                                                              2

                                                                                                                                              3

                                                                                                                                              4

                                                                                                                                              5

                                                                                                                                              6

                                                                                                                                              7

                                                                                                                                              8
                                                                                                                                                  can




                                                                                                                                                  witness
                                                                                                                                                          A.


                                                                                                                                                          Q.
                                                                                                                                                                 Page 22 of
                                                                                                                                                                Yes.

                                                                                                                                                                 If




                                                                                                                                                           and beer



                                                                                                                                                                  on
                                                                                                                                                                            109 PageID
                                                                                                                                                                         MARCH


                                                                                                                                                                       you could

                                                                                                                                                                            MR.



                                                                                                                                                                            MR.

                                                                                                                                                                            voir
                                                                                                                                                                                2.
                                                                                                                                                                                       5475
                                                                                                                                                                                    2012




                                                                                                                                                                                        CHAMBLESS
                                                                                                                                                                                   bottle




                                                                                                                                                                            THE COURT
                                                                                                                                                                                               as

                                                                                                                                                                                        WESTFALL
                                                                                                                                                                                                    214


                                                                                                                                                                                        dire just for
                                                                                                                                                                                                                    At    this


                                                                                                                                                                                                              the packaging

                                                                                                                                                                                                               Your Honor may

                                                                                                                                                                                                          one second

                                                                                                                                                                                                         Yes
                                                                                                                                                                                          VOIR DIRE EXAMINATION
                                                                                                                                                                                                                   sir.
                                                                                                                                                                                                                                 time    offer


                                                                                                                                                                                                                                        as 214-A.

                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                         the beer




                                                                                                                                                                                                                                                        take the
                                                                                                                                                                                                                                                                         75




 9   212-A        for           record            only        and 212            for    all    purposes.                                      9   BY MR. WESTFALL

10                               THE COURT                            Admitted.                                                              10           Q.    Lieutenant                  when these were collected they were

11                               States                Exhibit         No.      212 admitted.                                                11   given separate separate                                item      numbers evidence-wise

12                               States                Exhibit         No.      212-A admitted                    for                        12   werent they

13                               record               purposes             only.                                                             13           A.    Yes              they were.

14          Q.        BY          MR.         CHAMBLESS                              Would         you look         in       the             14           Q.    Were              the items 15           and       16
15   package                marked                18.        You have already                      done       that.          Is              15           A.    They were.
16   that    the buccal                   swab of Jose Clemente                                    Ramos                                     16           Q.    And          it   does not appear                  that    theyre    marked                  in   any
17          A.        Yes          it   is.                                                                                                  17   way on the                --    for    the    number        of   the evidence           item            on the

18                               MR.      CHAMBLESS                              If
                                                                                      you would go ahead and                                 18   bottle       and can.

19   place       it    in       there.                                                                                                       19           A.    First         time Ive          seen them outside                  of the      bag
20                               Offer        at this           time       213-A record purposes                                             20   sir.



21   213 being buccal swab of Jose Ramos.                                                                                                    21                             MR.         WESTFALL               Okay.        Thank you.

22                               MR.      HEISKELL                         No     objection           Your Honor.                            22                             Your Honor we would ask                          that    these              be    at


23                               THE COURT                           Admitted.                                                               23   least        made         two separate              exhibits just for            the record

24                               States                Exhibit        No.       213 admitted.                                                24   because                         confusing.         Theyre not marked
                                                                                                                                                                      it    is                                                            in    any way as
25                               States                Exhibit        No.       213-A admitted                    for                        25   evidentiary               items         and theres no way                 to    separate               them out


                                                                                                                                        74                                                                                                                               76
 1                               record               purposes             only.                                                              1   for future           witnesses.

 2          Q.        BY          MR.         CHAMBLESS                              Was       there a vehicle                               2                                    DIRECT EXAMINATION                         Continued
 3   recovered                  from      Fort             Worth Texas                  by the        Johnson            County               3   BY MR.        CHAMBLESS
4    Sheriffs           Department                                                                                                           4            Q.    Do you have records                           that      indicate    which               exhibit


 5          A.        Yes         there               was.                                                                                    5   is   which number-wise

6           Q.        Was          that           a   2003 Tundra                    pickup        owned by Nancy                            6            A.    Yes           sir.



 7   Weatherly                                                                                                                                7           Q.    All        right.       And what         is   that

 8          A.        Yes         it    was.                                                                                                 8            A.    The Bud                 Light     beer    can      is     15 and    the beer                 bottle


 9          Q.        Who          was dispatched                          to    escort         the   Tundra from Fort                       9    is     16.


10   Worth                  Cleburne                                                                                                                                                    you would remove                   one of the items
                 to                                                                                                                          10           Q.    Okay.              If




11          A.        Detective                   Terry Dalton                and Detective                  J.   Kniffen.                   11   please.

12          Q.        Okay.             And           in   the course                 of that      did   Detective                           12           A.    Witness complied.

13   Kniffen          submit a beer                          can and beer                  bottle     into        evidence         at        13                            MR.          CHAMBLESS Weve                           marked        the beer             can as

14   the    Johnson                   County Sheriffs Department                                                                             14   214-15 the beer                        bottle     as   214-16 and then the                            original


15          A.        Yes         he      did.                                                                                               15   packaging                as 214-A.

16          Q.        All       right.        I   want          to   show you               this   item      and ask                         16                            MR.          WESTFALL               Your Honor may                   I
                                                                                                                                                                                                                                                        just      have

17   you    if
                 you would examine                                   that    and see whats contained                               in        17   one moment.

18   that    package.                                                                                                                        18                            No objection             as    offered.


19          A.        Witness complied.                                                                                                      19                            THE COURT                     Thank you.              Admitted.

20          Q.        And from what                          location           in    the     Tundra were these                              20                            States           Exhibit      No.    214-15           admitted.

21   items       taken                                                                                                                       21                            States           Exhibit      No.    214-16           admitted.

22          A.        They were located                               in   the       bed of the Tundra.                                      22                            States           Exhibit      No.    214-A admitted                 for


23          Q.        Okay.             They were located                             in   the     bed of the Tundra                         23                            record         purposes        only.

24   pickup and removed                                    by   Officer         Kniffen          before       the       Tundra               24           Q.    BY          MR.         CHAMBLESS                    Did   you also       --    after


25   was driven                  to     Cleburne                is    that      correct                                                      25   Detective                Blansit       and Max Courtney                  finished      their           crime
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                                                                                                                                          77                                                                                                                                                       79
     1    scene processing under your                                             direction         was a Wells                 Fargo           1   Gaudet read                           into           the record.

 2        checkbook                   removed                     from the        Nancy Weatherly                    house                      2                               MR.              WESTFALL                              Your Honor agreed and no

 3             A.      Yes              it    was.                                                                                              3   objection                 as          offered.


 4             Q.      And would you please examine whats marked                                                                     on         4                               THE COURT                                      Admitted.

 5       your records                        as No.            2   item.                                                                        5                               States                     Exhibit               No.    215 admitted.

 6             A.          Witness complied.                                                                                                    6                               States                     Exhibit               No.    215-A admitted                            for


 7             Q.      What                  is    No.        2                                                                                 7                               record                    purposes                only.

 8             A.          It    is   two checkbooks.                                                                                           8          Q.        BY              MR.             CHAMBLESS                            One        of   the           first
                                                                                                                                                                                                                                                                                   things

 9             Q.                             Did you process                       those      checkbooks                       a               9   the         what was
                       Okay.                                                                                              at                                                                              guess the very
                                                                                                                                                           --                                                                              first
                                                                                                                                                                                                     I

                                                                                                                                                                                                                                                      thing             that       you

10       later      time         for         possible              fingerprint       evidence                                                  10   did    when you                        arrived                  at    Nancy Weatherlys house

11             A.      Yes              I    did.                                                                                              11          A.        After               signing                in    to   the crime             scene              I    initiated


12             Q.      What was                             the    result    of   your       processing                                        12   a crime              scene video.

13             A.      There                 was no usable                    latent       prints       recovered.                             13          Q.        Okay.                     Did        you operate                   that     equipment                        yourself

14             Q.      On August 22nd                                 of    2011      did    you      take     certain                         14          A.        I    did.


15       items        to        the     --    of        latent       print   evidence          to   the Tarrant                                15          Q.    What                     do you do                       that    --   whats the purpose                                of


16       County Medical                            Examiners office                                                                            16   doing       that

17             A.      I        did.                                                                                                           17          A.    To document                                    the        scene as is make sure                                    that     we
18             Q.      Okay.                  If
                                                   you would take a look                           at   the    --   this                       18   have the proper colors make sure                                                            that      if   theres               any
19       package                 which             I    believe          youve opened               this   morning with                        19   sound        in       the             house             that           its    on audio on the video.

20       me      is   that            correct                                                                                                  20          Q.    Okay.                      Did you begin                          the videotape                        outside          the

21             A.      Yes              sir.                                                                                                   21   house

22             Q.      All        right.               Take a look and                tell    us    whats           in                         22          A.    Started                       at        the        front      gate.


23                                                                                                                                             23          Q.                              And was there any                                     any envelopes any
         there.                                                                                                                                                  Okay.                                                                     --



24             A.      These are                            latent    prints      that     were recovered                  off                 24   mail    in   the            --        at   the         front          gate
25       the vehicle                  and          at       the crime scene.                 And there          is       also       --         25          A.    Yes                 there was.



                                                                                                                                          78                                                                                                                                                       80
 1             Q.      Weve                  taken            the major           case       prints     out.                                    1          Q.    All          right.                 And        did        you photograph                      that          as     well

 2             A.      All        right.               This contains              strictly     latent      print                                2          A.    Yes                 sir         I       did.


 3       cards        taken             from the vehicle                      and from the crime scene.                                         3          Q.    Whats                         your reason                       for    doing        that

 4             Q.      All        right.               And on the date                that     you took them                                   4           A.    Normally                            we open                   the mailbox            and we photograph

 5       did   you         place             them            within        that   envelope          that   youre                                5   whats                 the mailbox                           to        ensure        that     were                   same
                                                                                                                                                                 in                                                                                            --
                                                                                                                                                                                                                                                                                        people

 6       holding                                                                                                                               6    belong       to that                   residence.

 7             A.      Yes.                                                                                                                     7          Q.    Trying                    to identify                    the     owner or the resident                                 of

 8             Q.      Okay.                 And how many                         latent     prints     were taken                  by         8    the    house                is        that           correct

 9       you   to     Tarrant                 County Medical                       Examiners             office      on August                 9           A.    Or possible                                                      that     live           the residence.
                                                                                                                                                                                                           suspects                                  at


10       22nd 2011                                                                                                                             10          Q.    Okay.                     And             did       you continue the videotape
11             A.      10.                                                                                                                     11   throughout                  the            house
12             Q.      And            for      the record                  would     you read those                      just                  12          A.    Yes                 I    did.


13       which        ones were taken.                                                                                                         13          Q.    Did you                       go          into       each room and look                                at   it   from

14             A.      BRB-11 BRB-21 BRB-22 BRB-23 BMC-01 BMC-02                                                                               14   different            perspectives
15       BMC-18 BMC-36 BMC-37-A BMC-37-B.                                                                                                      15          A.    Yes                 I    did.


16             Q.      Okay.                 And are                     those                           youve                                 16          Q.    This                was the                                                         documentation
                                                                                                                                                                                                                     guess
                                                                   all                         that                                                                                                                                    earliest
                                                                                    prints                               just                                                                                   I




17       spoken        of are they here contained                                          within       that   envelope                        17   visually             of   Nancy Weatherlys house by law enforcement                                                                           is



18             A.      Yes              sir        they        are.                                                                            18   that   correct

19             Q.      All        right.               If
                                                            you would place them here                          within                          19          A.    It       is.



20       this plastic                 bag          please.                                                                                     20          Q.    The videotape                                       is
                                                                                                                                                                                                                          approximately                   how long

21             A.      Witness                         complied.                                                                               21          A.            have no                         idea.           Its                     15 20              minutes.
                                                                                                                                                                 I

                                                                                                                                                                                                                               probably

22                                    Sotto voce discussion.                                                                                   22          Q.                              That location                          14356 FM 2331
                                                                                                                                                                 Okay.                                                                                                       its    in



23                                MR.             CHAMBLESS                        Offer the packaging                     as        215-A     23   Godley Texas                               is        that        correct

24       and the           prints            themselves                    collectively        as 215.          Each           print           24          A.    Yes                 it    is.



25            marked                        .represen                      the    manner                                                       25          Q.    And                                        Gaudet                                   Johnson                    County
         is                       Ill                                 in                        that     Officer                                                                         Officer                                  is    that    in
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                                                                                                                                                         81                                                                                                                                       83
 1   Texas                                                                                                                                                        1                          THE COURT                           Well recess                for lunch.                Be back

2          A.    Yes                  it    is.                                                                                                                  2    at   115.

3          Q.    Okay.                      Im going               to    show you whats marked                                           as                      3                           Recess              taken from                  1153          a.m.       to       122 p.m.

4    States      Exhibit                        No.    188.        Ask you                   if
                                                                                                  you recognize                    this                          4                           Jury            not present.


5    item                                                                                                                                                        5                           THE COURT                           State       present              and ready

6          A.    Yes                  sir         I
                                                      do.                                                                                                        6                           MR.         CHAMBLESS Yes                                 Your Honor.

7          Q.    What                      is   States         Exhibit             No.            188                                                            7                           THE COURT                           Defense             present          and ready

8          A.    This                 is    a         DVD    with       my     crime                scene         video           on      it.                    8                           MR.         WESTFALL                       Yes Your                  Honor.

9          Q.    Okay.                      And        --
                                                             okay.           Does            this fairly           and                                           9                           THE COURT                           Defendant                present

10   accurately                 show the condition                                 of the            Nancy Weatherly                                house        10                          MR.         WESTFALL                       He     is.




11   and   of   Nancy Weatherly                                    when you                       first    got    there                                          11                          THE COURT                           Jury      ready             If
                                                                                                                                                                                                                                                                  they are            ready

12         A.    It        does.                                                                                                                                 12   please        bring         them         in.




13                              MR.             CHAMBLESS                              Offer          188       at this          time.                           13                          Jury present.

14                              MR.             WESTFALL                       Your Honor no                                further                              14                          THE COURT                           Thank you.                 You may be seated.

15   objections                 to         188.                                                                                                                  15            Q.   BY       MR.             CHAMBLESS                        Detective               Gaudet           to    go back

16                              THE COURT                               Can        I
                                                                                           see both up here                        for      a                    16   you      arrived       at       the     Nancy Weatherly                          house          at       approximately

17   question          about                    that.                                                                                                            17   9 a.m.        on June 30th                     is    that       correct

18                              At          the        bench.                                                                                                    18            A.   Correct.


19                              THE COURT                               We         have an agreement                                to     play        it        19            Q.   And approximately 1030 or thereabouts Max

20   without     the             audio and the                          officer testified that                               he                                  20   Courtney          and Detective                          Blansit       arrived         and           I

                                                                                                                                                                                                                                                                               guess took

21   videoed          it    with the                   sound on               to       capture             the sounds                  in       the              21   over the crime                    scene             is   that   where we were

22   house so               I    dont want                    to   leave               anybody              with the              wrong                          22            A.   Yes          sir.




23   impression                  on          that.                                                                                                               23            Q.   Okay.              This morning                   we     looked          at    several            pieces

24                              MR.             CHAMBLESS                              I    did     hear that except                            I                24   of   evidence.                  For    example 2 and                         3   yours          marked 2 and

25   could      see         --        but there              was nothing                          effectively               captured                             25   yours         marked            3      what are those according                                  to      your    list




                                                                                                                                                            82                                                                                                                                    84
1    sound-wise.                                                                                                                                                  1            A.   2 are two                checkbooks                 from Wells                 Fargo and No. 3

2                               MR.             WESTFALL                       Right                nothing             just                                     2    is   a   Kyocera                Domino red phone.

3    background                       voices.                                                                                                                    3             Q.   Okay.              What          is   4
4                               THE COURT                               Just       ask him                 that        question.                                 4             A.   4   is   a        Samsung                  phone red             in    color.


5                               In open court.                                                                                                                   5             Q.    Okay.             Now       is       this   correct             you processed                     all   of


6                               THE COURT                               188        is       admitted.                                                            6    these         items the                checkbook                and two             cell    phones          for


7                               States                  Exhibit          No.       188 admitted.                                                                 7    possible          fingerprint             evidence                is    that        correct


8                               MR.             CHAMBLESS                              All        right.    Thank you Judge.                                     8             A.   Yes          it    is.




9          Q.    BY              MR.                  CHAMBLESS                             Detective             is        there    --         was              9             Q.   And the               result      was a negative                       result


10   there anything                          --
                                                      you said the sound was on                                        for       what                            10            A.    Correct.

11   reason                                                                                                                                                      11                          MR.          CHAMBLESS                          All   right.         Offer the


12         A.    Just             to        document                the       sounds                 that       are         within     the                       12   checkbook              as item            216 and               packaging                  as   216-A           for    record


13   house       like            if     they           had    their          radio going                   or   TV          turned         on                    13   purposes.

14   things     of     that                nature.                                                                                                               14                          MR.         WESTFALL                       No     objection               Your Honor.

15         Q.    Was                  there            anything              evidentiary-wise                          that       was                            15                          THE COURT                           Admitted.

16   effectively            captured                        by sound-wise                         on your video                                                  16                          States             Exhibit          No.       216 admitted.

17         A.    No             there                 was    not.                                                                                                17                          States             Exhibit          No.       216-A admitted                       for


18                              MR.             CHAMBLESS                              Okay.              Judge              I   would          like             18                          record           purposes                only.

19   permission                  to        play        States           Exhibit               No.         188     if    I
                                                                                                                            might.                               19                          MR.          CHAMBLESS                          Offer the Kyocera                        cell    phone

20                              THE COURT                               Granted.                                                                                 20   as    217      packaging                 as 217-A.


21                              Off-the-record                           discussion.                                                                             21                          MR.          WESTFALL No                          objection.


22                              States                  Exhibit          No.           188 DVD                  with         no audio                            22                          THE COURT                           Admitted.

23                              played                 in
                                                            open court.                                                                                          23                          States             Exhibit           No.      217 admitted.

24                              THE COURT                               Is   that the                end of the video                                            24                          States             Exhibit           No.      217-A admitted                       for



25                              MR.             CHAMBLESS                              It    is     Your Honor.                                                  25                          record           purposes                only.
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                                                                                                                                            85                                                                                                                             87
 1                              MR.            CHAMBLESS                              And     offer    the Metro             PCS        cell      1
                                                                                                                                                      packaging             as item 10               and 11 which items are they

 2   phone as 218 and the packaging                                                      as    218-A          --
                                                                                                                   Samsung.                      2          A.     10       is       a    Operating         System         CD     disk        and        11   is   a

 3   Sorry.                                                                                                                                      3    hp    quickrestore                     operating        systems           disk.


 4                              MR.            WESTFALL                          Okay.        No objection Your                                  4          Q.     Did you also process                            these       items    for   possible

 5   Honor           to    Exhibit                  218         for   all
                                                                               purposes and 218-A                         for    the             5    fingerprints

6    record.                                                                                                                                     6          A.     I   did.


 7                          THE COURT                                     Admitted.                                                              7          Q.    What was the result

8                               States                       Exhibit       No.    218 admitted.                                                  8          A.     Negative                 usable      latent      prints.


9                               States                       Exhibit       No.    218-A admitted                    for                          9                          MR.            CHAMBLESS                 Okay.        Offer       the operating

10                              record                  purposes               only.                                                             10   system           CD    as           221     the packaging            as 221-A.

11         Q.        BY          MR.           CHAMBLESS                               Your    exhibit         marked            No.    7        11                         MR.            WESTFALL                No    objection       as offered                 Your

12   what       is   that                                                                                                                        12   Honor.

13         A.        Its    a Nokia                          cell   phone.                                                                       13                         THE COURT                       Admitted.

14         Q.        Okay.                And we looked                          at that this          morning.             You                  14                         States                Exhibit    No.    221        admitted.

15   processed                  as    well                for   fingerprints             is   that     correct                                   15                         States                Exhibit    No.    221-A admitted              for


16         A.        Yes             sir       it    is.                                                                                         16                         record               purposes     only.

17         Q.        Tell        the       Jury                basically         how do you do that                                              17                         MR.            CHAMBLESS                 Offer      the Hewlett-Packard

18         A.        Depending                               on the shape              and texture             of   the item           to        18   quickrestore                   system recovery                CD    as    222 and         packaging               as

19   be fingerprinted you can                                             either      do a physical                process        or             19   222-A.


20   a chemical                 process.                                                                                                         20                         MR.            WESTFALL                No objection          as    offered.


21                              Chemical                       process           is   where you           treat      the                         21                         THE COURT                       Admitted.

22   exterior of           the item                          with    different         chemicals            that     will                        22                         States                Exhibit    No.    222 admitted.

23   adhere          to    it        to    the fats                  amino acids and                    salts       and                          23                         States                Exhibit    No.    222-A admitted              for


24   solids that            are           in        a        fingerprint.         Use       DFO         anhydride                                24                         record               purposes     only.

25   several          other chemicals.                                                                                                           25         Q.    BY         MR.            CHAMBLESS                   Earlier this      morning             you


                                                                                                                                            86                                                                                                                             88
1                           Or you can do a physical                                          process where                  you                 1    indicated         this          television       that   you       recovered         from

2    literally       do whats                       called           cyanoacrylate               ester        fuming                             2    Mr. Hinojosa.                       Do you     recall   the date          that    you    did       that

3    commonly known as super glue place                                                          it    into    a    chamber                      3          A.    Not        really.


4    super glue                 it    determine                      whether           theres         any     prints        on    it             4          Q.    Would                   that   have been on July 3rd of                     2010
5    or   not.       Then using a physical                                       process you use a black                                         5          A.    Yes            sir.



6    graphite             dust        and            fingerprint               brush dust the                 print                              6                          MR.            CHAMBLESS                 Okay.        Its   been marked                    now
7    itself     and then                   lift         it    with    fingerprint           tape.                                                7    as item No.             223 and would                   offer      the    television          recovered

8          Q.        Okay.                In        the        case       of   items your item 7 and your                                        8    from Hinojosa                       as item 223.

9    item     9      what was the                              result of         your    processing                                              9                          MR.            WESTFALL                No objection Your Honor.

10         A.        It   was negative                              for   usable        latent        prints.                                    10                         THE COURT                       Admitted.

11                          MR.             CHAMBLESS                                 Okay.      Offer item           219         being          11                         States                Exhibit    No.    223 admitted.

12   the Nokia             cell           phone marked as 219 packaging                                              as 219-A.                   12         Q.    BY         MR.            CHAMBLESS                   Now      following          --   the       point


13                          MR.            WESTFALL                              No    objection         as        offered.                      13   at   which       Garit              Bennett     recovered          all    of the items

14                          THE COURT                                     Admitted.                                                              14   processed             from the              Nancy Weatherly                house were               retrieved


15                          States                           Exhibit       No.    219 admitted.                                                  15   and taken          by          Garit       Bennett      to   Johnson        County            Sheriffs

16                          States                           Exhibit       No.    219-A admitted                    for                          16   Department                     is   that    correct

17                          record                   purposes                  only.                                                             17         A.   Yes             they were.

18                          MR.            CHAMBLESS                                  Offer States            Exhibit        No.                 18         Q.    Okay.                  And during the time               that   those        items          were

19   220 being the Hewlett-Packard                                                    battery         packaging             is   220-A.          19   at   the Sheriffs                   Department          did    you evaluate             certain          of


20                          MR.            WESTFALL                              No    objection         as        offered.                      20   those      items        at          our request        for    possible      fingerprint


21                          THE COURT                                     Admitted.                                                              21   evidence

22                          States                           Exhibit      No.     220 admitted.                                                  22         A.    Yes            I   did.


23                          States                           Exhibit      No.     220-A admitted                    for                          23         Q.    Okay.                   Now     just for    the record          some         of   these

24                          record                   purposes                  only.                                                             24   the   ones from the Nancy Weatherly                                      house have the

25         Q.        BY         MR.            CHAMBLESS                              These items marked                         by your         25   beginning          letters             BRB      is   that    correct
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                                                                                                                                                  89                                                                                                                                                   91
     1             A.                 Yes.                                                                                                              1          A.        Yes     sir.



  2                 Q.            And the ones                           --   items      of    evidence              taken       from the               2                           MR.     CHAMBLESS We                                        would        offer           the contents

  3       Tundra begin with                                      BMC            is   that      correct                                                  3   of    BRB-16 being a                      bullet            portion        of       a    bullet        and the

  4                A.                 Correct.                                                                                                          4   contents           of   BRB-01                 a     shell    casing both                      of      which            Ill



  5                 Q.                Okay.              Did    you process                   on July 28th 2011                        BMC              5   represent             were recovered                        from the            home             of    Nancy Weatherly.
  6       item          15                a keyless              entry         device                                                                   6                           MR.     WESTFALL                          Your Honor no                          objection.

  7                A.                 I   did.                                                                                                          7                           THE COURT                           How     are those                    marked What                           are

  8                Q.             What was the                           result      of    that                                                         8   the markings              on the               --   the evidence                    and markers

  9                A.             Negative                   usable            latent      prints.                                                      9                           MR.     CHAMBLESS                           The 225 would                            be the                bullet

 10                Q.             Okay.                  Did    you process                   on the           same date BMC-17 a                      10   fragment.              224                be the            shell
                                                                                                                                                                                           will
                                                                                                                                                                                                                                casing casing                         cartridge.

 11       Dairy          Queen sack on                                   that    date                                                                  11                           THE COURT                           225 and 224 are admitted.

 12                A.                                                                                                                                  12                                                                        224                 225 admitted.
                                          did.                                                                                                                                      States            Exhibit           Nos.                    -
                                  I




 13                Q.         What was the result                                                                                                      13                           MR.     CHAMBLESS Yes                                       sir.      Thank you.                           Pass
 14                A.             Negative                   usable            latent     prints.                                                      14   the witness.

 15                Q.         Okay.                      On     July          28th 2011                 did    you       process                       15                                             CROSS-EXAMINATION

 16       BMC-22                           a     cellular        phone           plastic        holder                                                 16   BY MR.       WESTFALL
 17                A.             I       did.                                                                                                         17          Q.    Hello Lieutenant                          Gaudet.

 18                Q.         And what was the                                  result of          that                                                18          A.    Morning.

 19                A.         Negative                       usable            latent     prints.                                                      19                          MR.      WESTFALL                          Your Honor may                             I
                                                                                                                                                                                                                                                                              move              this


20                 Q.         Okay.                      Also from the                Tundra BMC-9                         a earring                   20          out       of   view
                                                                                                                                                            just

21       did       you process                               that   on August                 24th        2011                                         21                          THE COURT                           Yes      sir.



22                 A.         I
                                          did.                                                                                                         22                          MR.      WESTFALL                          What          I   want         is    that       list         of


23                 Q.     What was the result                                                                                                          23   the evidence.

24                 A.         No                 usable         latent                                                                                 24          Q.                     So                    States                              No.
                                                                               prints.                                                                                   Okay.                    this                        Exhibit                      189 thats                      in


25                 Q.     On August 24th 2011                                                                                BRB-20                    25                                                                                                                    Im
                                                                                          did      you process                                              evidence           already.            This          is    the chain                of custody.                               just



                                                                                                                                                  90                                                                                                                                                   92
 1                  and                           bottles                                                                                                   going       to          this     on the overhead.                           Now BRB
         pills                            pill                                                                                                          1
                                                                                                                                                                              put                                                                                   is   --    is         that


 2                 A.     I               did.                                                                                                          2   Brandon Blansit

 3                 Q.     And what was the                                      result        on        that   date                                     3          A.    Yes        sir.



 4                 A.     No                   usable           latent         prints.                                                                 4           Q.    And he was one                           of          Crime Scene
                                                                                                                                                                                                                        the                                        officers               that

 5                 Q.    All                                 You                                                                                       5    came from Mansfield
                                             right.                 testified           that       you transported
 6       BRB-01 and BRB-16 on September 13th                                                                             2010          Jennifer        6
                                                                                                                    of            to                              A.     Mansfield                yes           sir.



 7       Nollkamper                               is     that    correct                                                                               7           Q.    And        BMC          is    I
                                                                                                                                                                                                            think       Byron We                       all   know him as

 8                 A.    Yes                      sir.                                                                                                 8    Max Courtney

 9                 Q.    All                                 Ask          you would                      you would be                                  9          A.     Yes




--18
                                            right.                  if                             if                                                                               sir.



10       kind       enough                         to       open those packages                               please.                                  10         Q.     And hes from

11                 A.    Witness                             complied.                                                                                 11         A.     Mansfield               P.D.


                                                                                                                                                                                                                 They came together
12                 Q.    Okay.                         If
                                                            you would                place the contents                     of   BRB-01                12         Q.     Mansfield               also.                                                             and worked

13       in   --    in   this.                                                                                                                         13   the    scene          after               had been there                        for       a
                                                                                                                                                                                           yall                                                           little    bit.        I




14                 A.    Witness complied.                                                                                                             14   guess they showed up around                                         10
15                 Q.    Okay.                         Weve         marked the contents                              of   BRB-01        in   to        15         A.     Around then.

16       an envelope                              now marked 224                          is   that       correct                                      16         Q.     And then these                          15 16 17 18 when you                                        sent

17                 A.    Yes                      sir.                                                                                                 17   Detective             Kniffen        and

                   Q.    And the packaging                                       being         224-A                                                   18         A.     Dalton.

19               A.      Correct.                                                                                                                      19         Q.          Dalton                                    Worth to you know one
                                                                                                                                                                         --
                                                                                                                                                                                            up        to        Fort                                                                      of


20                 Q.    And                     that       corresponds               to      BRB-01                                                   20   the things                            was                           the                             secured                   the
                                                                                                                                                                                  they     did                   retrieve               truck             or                                                r




21               A.      Yes                      sir.                                                                                                 21   truck.      These items were                           in    the truck the                    Tundra              that         was
22                 Q.                                  Have we now placed the contents                                                 BRB-16          22
                         Okay.                                                                                                   of                         taken       from       Nancy Weatherlys house
23       into      a    package                          marked               States      Exhibit             No.    225                               23         A.    Those were                    in    the        bed of the               truck.

24               A.      Yes                      sir.                                                                                                 24         Q.    And two             of    these            items are on the                        list     theyre

25.              Q.      And the packaging                                       now marked                    225-A                                   25   15    and 16 right
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                                                                                                                                                   93                                                                                                                                                                      95
     1             A.        Yes         sir.                                                                                                            1             Q.            Driver side door.                                     Okay.                 Also         in   here        I

                                                                                                                                                                                                                                                                                                   guess




 --13
 2                 Q.        And                 beer           can and whats the                                                                                   one
                                     its                                                                            letters        next       to         2     in            of        these                envelopes                          is       a    BRB-23                right

 3           it                                                                                                                                          3             A.            Correct.

 4                 A.        DNA.                                                                                                                        4             Q.            Its    not on                   here but BRB-23 do you remember

 5                 Q.        Does         that         mean                     that       some DNA                 testing        was going       to    5     that       as being                 a        fingerprint                        from a cassette                           box       that   was

                                                                                                                                                                                                          Nancy Weatherlys house
 6       take place                or      did        take           place                                                                               6     taken        inside               of

 7                 A.        That        was the request.                                                                                                7             A.        Yeah              I    believe                  so.


 8                 Q.        That        was the request.                                                      And 16              beer                  8             Q.        Thank you.                                Another
                                                                                                Okay.                         is
                                                                                                                                                                                                                                                    thing             that        you    did       some work
 9       bottle         and requested                             for           DNA                                                                      9     on was                this       Samsung                         phone right
 10                A.        Yes.                                                                                                                        10           A.         Yes             sir.



 11                Q.    The beer can                                       214-15               and the beer                 bottle                     11            Q.                   a                   red                                      This                the    phone
                                                                  is                                                                     is                                          Its         little                     --       here.                            is



 12      214-16                                                                                                                                          12   that     Detective                       Boetcher                       took from                       Jose Ramos

                   A.    Yes             sir.                                                                                                            13           A.         Yes             sir.




 --2
 14                                Pause                   in     proceeding.                                                                            14           Q.         --    when he was arrested                                                           And you            actually         did                    C

 15                                Sotto voce discussion.                                                                                                15   some          forensics                       on        this.               You can go                         in   with   some           software

16                                MR.            WESTFALL                                   Im     going        to    have         to   open up         16    and      pull           all   the information                                    out          of   it

17       States              Exhibit          No.          215.                                                                                         17            A.                                                                                have a
                                                                                                                                                                                 I

                                                                                                                                                                                      personally                          did     not.              I
                                                                                                                                                                                                                                                                             individual            at   my                       rk




18                                 Sotto voce discussion.                                                                                               18    office        certified                  to      use Cellebrite and he performed the

19                 Q.    This       is      kind           of     what your                      fingerprints               look     like               19    examination.

20       when they get sent                                  to      the lab right                                                                      20            Q.         He                                  under
                                                                                                                                                                                            did that                                      your supervision.                               I
                                                                                                                                                                                                                                                                                              guess
21                 A.    Yes         sir         thats               one form.                                                                          21    youre         the             one        that            had           it   done
22                 Q.    And        this         is     a piece                     of     tape                                                         22           A.      Yes                sir.



23                A.     Yes                                                                                                                            23           Q.      And there were phone numbers
                                     sir         it    is.
                                                                                                                                                                                                                                                                                   extracted

24                 Q.    And              was used                          to             the    powder            that                had             24           A.      Yes
                                                                                                                              you
                                    it                                              lift                                                                                                        sir.



25       applied             to   get the              print            is          that        right                                                   25           Q.      What was                            this           exhibit                 called                Not the States



                                                                                                                                                   94                                                                                                                                                                      96
                  A.         didnt                                                  do           but thats           how                                                              What was                                                  when
 1                       I

                                            specifically                                   it                                  its                       1    Exhibit.                                                it    called                               it    came         to


         done           yes.                                                                                                                             2           A.      My             Exhibit                  No.        4.


 3                Q.     Oh        okay.               Well                 I
                                                                                    mean         just     generally so the                               3           Q.      4.            Its     recognizable                                 I

                                                                                                                                                                                                                                                        guess           it    was analyzed
 4       Jury can understand                                    how a                                                                                    4
                                                                                       fingerprint             is   lifted.                                   under         the            name Samsung phone                                                         right

 5                A.    A     fingerprint                    is      generally                   lifted
                                                                                                           utilizing          the                        5           A.      I       would             have                to    look           at          the actual              document.
 6       adhesive              side        of         a clear                   clear           acetate        or clear         tape.                    6           Q.      Okay.                 Well say                           4        Samsung                       phone from Joe
 7                Q.    And then                                                    can get                    focus.         Does                       7    Ramos.                  And                                                 phone was a phone number
                                                      this      --                                        in                                                                                      inside                   that
                                                                       if                           it
                                                                                                                                                                                                                                                                                                             for       a
                                                                                                                                                                                                                                                                                                                           guy
                                                                                I




 8                 appear                  be                focus                                                                                            name                         Man                        you called
         that                      to                                                                                                                    8
                                                      in
                                                                                                                                                                            Tat                        that


 9                A.     Pretty           close.                                                                                                         9           A.      I
                                                                                                                                                                                     did        not       call            Tat        Man.
10                Q.                       And                                             here                        of                                                    You                                                               Man.
                        Okay.                            this thing                                 this sort                 circle                    10           Q.                      did        not           call       Tat                             Somebody                     called      Tat

11       thats going               to      be the                 print             that        ultimately gets looked                                  11    Man though                         right

12       at                                                                                                                                             12           A.      Detective                         Boetcher.

13                A.    That        is     correct.                                                                                                     13           Q.                            And               this        number though                                    came        out of
                                                                                                                                                                             Okay.                                                                                                                        that

14                Q.    And as                   stands                                    here would
                                            it
                                                                            right                                   you       call      this            14    phone right
15       a    latent         print                                                                                                                      15           A.              believe
                                                                                                                                                                             I
                                                                                                                                                                                                            so.


16                A.    Yes.                                                                                                                            16           Q.      That phone.                                   And             I

                                                                                                                                                                                                                                               mean               I   dont want you                     to   go
17                Q.    And        this particular                                              was taken            from the                           17    on memory here.                                         have the
                                                                                    print                                                                                                                        I

                                                                                                                                                                                                                                                    report.              Thats the                 report

18       drivers side door                            of     something thats what                                      it   purports                    18    that     came                from the forensic                                    analysis                   of     the    phone right
19       to       be                                                                                                                                    19           A.      Yes                sir       it    is.



20                A.    Correct.                                                                                                                        20           Q.      What are you looking for

21                Q.    Do you know                          that               this       was Nancy                Weatherlys                          21           A.     Tat             Man.

22       truck                                                                                                                                          22           Q.      Oh             Ive         got          it    marked.                       The phone numbers are                                    in



23                A.    The BMCs were taken from the Tundra yes.                                                                                        23                  Does                            refresh                                                                      whether
                                                                                                                                                              front.                         this                                    your               memory as                  to                     Tat

24                Q.    Okay.             And thats                             BMC-18                                                                  24    Mans number                              is      in    the         phone
25                A.    Yes         sir.                                                                                                                25           A.     Yes                 sir.
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                                                                                                                                97                                                                                                                                       99
 1         Q.        Okay.            And theres also a number                              for     a    Whitney           in         1                          THE COURT                                Please           raise      your    right       hand.

 2   the   phone right                                                                                                                2                          Witness sworn.

 3         A.        Yes       sir.                                                                                                   3                          THE COURT                               Thank you.

 4         Q.    Tat       Man             told    them        to    check    this.        His      phone                             4                                        JENNIFER                          NOLLKAMPER
 5   number          is   817.             And Whitney                    817-995-0959.                  Am      I   correct          5                Having               been       first            duly      sworn         testified      as follows

 6   on    that                                                                                                                       6                                             DIRECT                     EXAMINATION

 7         A.    Yes           sir.                                                                                                   7   BY MR. STRAHAN

 8         Q.    And Tat               Man          through           your    own personal                                            8          Q.        Would you              state             your          name          please.

 9   investigation              you know                is    --   whats      his   name                                              9          A.        Jennifer Marie                   Nollkamper.

10         A.    Robert               Lee Hinojosa.                                                                                  10          Q.        And how are you employed

11         Q.    Robert               Lee.                                                                                           11          A.        Im a Senior Forensic                                   Scientist        with the Fort

12         A.    I   believe               its     H-I-N-J-O-S-A.                                                                    12   Worth Police                     Department                    Crime Laboratory.

13         Q.    Okay.                Do you           recognize            this   guy                                               13          Q.        Okay.            Im sorry                I    can barely              hear you.              Can you

14         A.    Yes           sir.                                                                                                  14   pull that         microphone                  a   little             bit     please.

15         Q.    Jose Clemente                         Ramos                                                                         15          A.        Im a Senior Forensic                                   Scientist        with the Fort

16         A.    Yes.                                                                                                                16   Worth        Police              Department                    Crime Laboratory.

17         Q.    And those are the shoes he was wearing                                                                              17          Q.        And how long have you held                                           that    position




 100-1
18         A.    Appears                   so.                                                                                       18          A.        Ive    been with the Crime Lab                                       for    almost           five


19         Q.    Appear               to    be the same shoes                       that    you collected                            19   years.

20   right                                                                                                                           20          Q.        And                                 what kind                   of   work do you do
                                                                                                                                                                  specifically

21         A.    Yes           sir.                                                                                                  21   there       in   the    Crime          Lab
22         Q.    You see the tread pattern                                                                                           22          A.        Im a firearms examiner.

23         A.    Yes                                                                                                                 23          Q.                        And          there                a
                               sir.
                                                                                                                                                           Okay.                  is                              field    of scientific


24         Q.    Let      me ask                       this.        Are you aware                that      Max                       24                                                  has                     do             firearm       and
                                                 you                                                                                      analysis          or   study        that                       to            with                              tool


25   Courtney         developed                    a   electrostatic          print       of   a    --    of a                       25   mark analysis


                                                                                                                                98
     footprint       impression                    on newspaperon the scene                                                           1       A.       Yes         there         is.



2          A.    Yes           sir     I
                                            am.                                                                                      2           Q.        Could           you please                   tell      us   basically        whats

3          Q.    Are       you also aware                          that   Max     Courtney               discovered             a    3    involved          in   that       field      of   study.

4    footwear         impression on the                            driver    side    step        on Nancy                            4        A.           Firearm analysis                         is                          the study of
                                                                                                                                                                                                             basically

5    Weatherlys pickup truck                                                                                                         5    identifying            cartridge             cases                 and/or        bullets      or other

6          A.    Yes           sir.                                                                                                  6    ammunition components                                         to     firearms which             they          were     fired


7          Q.    And there was a footwear                                   impression              on the other                     7    from.

8    side of     Nancy Weatherlys truck                                    that   was examined                       and             8        Q.                           And you                      have you ever                                     as an
                                                                                                                                                       Okay.                                   --                                      testified


9    evaluated            as    well        on the            passenger           side.     Did      you know                        9    expert      regarding               firearm               analysis

10   that                                                                                                                            10       A.       Yes         I   have.

11         A.    No        sir.                                                                                                      11       Q.       Okay.               And how many times have you                                             testified      as

12                        MR.         WESTFALL                       Okay.         Okay.         Give       me       just   one      12   an expert

13   second.          Okay.                                                                                                          13       A.       Approximately seven.

14                        Your Honor                    Ill
                                                               pass the witness.                                                     14       Q.       What            is   your educational                              background           and your work

15                        Thank you Lieutenant.                                                                                      15   experience             that        qualifies                  you as an expert                 in   firearms

16                        MR.         CHAMBLESS                           Nothing     further.             Thank you                 16   analysis
17   Detective.                                                                                                                      17                    have a Bachelors                                       Science
                                                                                                                                              A.       I                                                  of                     degree            in



18                        THE COURT                           May     the witness              be    excused                         18   Microbiology                 from      Montana State                            University.          I    have a

19                        MR.         WESTFALL                       He may.                                                         19   Masters          of    Science            degree                   in    Forensic        Science              with a

20                        Witness excused.                                                                                           20   concentration                    in criminalistics                       and advanced                investigation


21                        MR.         STRAHAN                       State    would        call     Jennifer                          21   from the University                     of     New Haven                         in   New Haven
22   Nollkamper.                                                                                                                     22   Connecticut.                 I
                                                                                                                                                                            have completed                             a two-year         training             program

23                        Pause               in   proceeding.                                                                       23   which       is   modeled             after        the Association                        of   Firearms               and

24                        MR.         STRAHAN                       She hasnt been sworn Your                                        24   Tool    Mark Examiners                         training                  manual.         This       training


25   Honor.                                                                                                                          25   program           included           both         practical                  and      written     exercises             and
 --2
 3

 4

 5

 6

 7

 8

 9
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    1    testing




         correct
                STATE VS.Document



         also attended

         manufacturers

         firearms.


                Q.

         the State




               A.


               Q.
                          in




                          Okay.




                          Yes

                          Okay.
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                                    of
                                          SOL 08/02/16
                                               Z


                                    the area of firearms




                                                 I
                                                      a    number

                                                          armors courses



                                                      And you have

                                                 Texas as an expert



                                                     have.

                                                      Now
                                                                                 of
                                                                                                 and

                                                                                      conferences workshops

                                                                                                      dealing




                                                                                                testified




                                                                      what exactly does a firearm examiner
                                                                                                          in
                                                                                                               tool




                                                                                                               this field
                                                                                                                           marks.




                                                                                                                          in
                                                                                                                               with specific




                                                                                                                               courtrooms

                                                                                                                                      is
                                                                                                                                               I




                                                                                                                                            that
                                                                                                                                                   have

                                                                                                                                                             and




                                                                                                                                                             in
                                                                                                                                                                         101

                                                                                                                                                                                1



                                                                                                                                                                                2

                                                                                                                                                                                3

                                                                                                                                                                                4

                                                                                                                                                                                5

                                                                                                                                                                                6

                                                                                                                                                                                7

                                                                                                                                                                                8

                                                                                                                                                                                9
                                                                                                                                                                                    that


                                                                                                                                                                                    could

                                                                                                                                                                                    match up any

                                                                                                                                                                                    good enough

                                                                                                                                                                                    characteristics


                                                                                                                                                                                    the

                                                                                                                                                                                    fired


                                                                                                                                                                                    fired
                                                                                                                                                                                            shell




                                                                                                                                                                                           A.
                                                                                                                                                                                                it
                                                                                                                                                                                                       Page 29 of




                                                                                                                                                                                                           where
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                                                                                                                                                                                                     you have enough
                                                                                                                                                                                                                      2.




                                                                                                                                                                                                     and say conclusively

                                                                                                                                                                                                through

                                                                                                                                                                                                      Thats possible yes.
                                                                                                                                                                                                                         2012




                                                                                                                                                                                                                         that
                                                                                                                                                                                                                             5482
                                                                                                                                                                                                mark microscopically could you



                                                                                                                                                                                                                          shell


                                                                                                                                                                                                                          mark
                                                                                                                                                                                                                              of       I
                                                                                                                                                                                                                                           if   its


                                                                                                                                                                                                                                                Can you
                                                                                                                                                                                                                                                          characteristics




                                                                                                                                                                                                                                           guess marks made

                                                                                                                                                                                                                               you can compare



                                                                                                                                                                                                                                      weapon
                                                                                                                                                                                                                                                           in        good shape and the




                                                                                                                                                                                                                                                                      that
                                                                                                                                                                                                                                                                            --    do you have enough




                                                                                                                                                                                                                                                                                  that
                                                                                                                                                                                                                                                                                       that to
                                                                                                                                                                                                                                                                                                         tell




                                                                                                                                                                                                                                                                                                         shell
                                                                                                                                                                                                                                                                                                                in
                                                                                                                                                                                                                                                                                                                     specific


                                                                                                                                                                                                                                                                                                                      some




                                                                                                                                                                                                                                                                                                                    into


                                                                                                                                                                                                                                                                                                                     the
                                                                                                                                                                                                                                                                                                                                      cases

                                                                                                                                                                                                                                                                                                                                      --




                                                                                                                                                                                                                                                                                                                           the metal of


                                                                                                                                                                                                                                                                                                                           weapon

                                                                                                                                                                                                                                                                                                                      casing
                                                                                                                                                                                                                                                                                                                                           its




                                                                                                                                                                                                                                                                                                                                           was
                                                                                                                                                                                                                                                                                                                                                  a




                                                                                                                                                                                                                                                                                                                                                  that
                                                                                                                                                                                                                                                                                                                                                      to
                                                                                                                                                                                                                                                                                                                                                           103




10      do                                                                                                                                                                     10           Q.        Okay.                  And can you also look                                                       at         the

11             A.                                examine                the firearms evidence                                         using                                    11   characteristics                           of a                                        or                              thats            gone
                                  will
                                                                                                                                                                                                                                           projectile                            bullet
                          I




12      various               equipment a compound                                                         microscope and                               I   will    look       12   through            the       barrel                of       a firearm                    and kind of the same way

13      at that       and determine                                        if   that        ammunition items of                                                                13   look        at    the markings                              that          are         made and                                  determine                   whether    a

14      ammunition were                                      fired              from       that           particular             weapon.                                       14   bullet           was        fired         through                     a   particular                            weapon
15             Q.         Okay.                       Well            lets talk                 about           weapons                    first        of                     15          A.         Yes.

16      all.    How                is       it
                                                     possible something                                        has got           to   get          you        all              16          Q.         Okay.                  Now               whenever                     you are going                                   to        decide          to


17      the    way            to        the microscope.                                     In       other          words what happens                                         17   do that what                         is    the very                   first
                                                                                                                                                                                                                                                                          thing                if    I
                                                                                                                                                                                                                                                                                                          were            to     ask                                 F

18      how         exactly                      does a firearm work                                                                                                           18   you     to       compare                   this particular                              weapon                              say a firearm

19             A.     A            firearm                   the        definition                   of a firearm                    is    a                                   19   thats a            handgun 9 millimeter                                                 if    I
                                                                                                                                                                                                                                                                                       were                   to      ask you               to


20      mechanical                           device which                            propels a                  projectile                 using            the                20   compare                 that         to       a   shell                                 found                               the       scene of an
                                                                                                                                                                                                                                                          casing                                         at


21      forces        of combustion.                                            When            a firearm                  is   manufactured                                   21   offense            and they were not found together two                                                                                      different


22                                          number of marks                                                                            on the metal                            22
        there        are a                                                                      that       are placed                                                               things how would you                                          specifically                         start                  your

23      during        the manufacturing                                              process.                   Those marks                         will      impart           23   investigation                        to   determine whether                                                that shell                                        was
                                                                                                                                                                                                                                                                                                                            casing

24      a unique                  and random                               set       of individual                        marks onto those                          --         24   fired       through                  that                                        firearm
                                                                                                                                                                                                                                      particular

25      onto the                  bullet              or the cartridge                               case.                 can    then             compare                     25                                        receive                 the request                                    would                                 the
                                                                                                                      I                                                                    A.         After          I                                                                     I

                                                                                                                                                                                                                                                                                                                      go       to




                                                                                                                                                                         102                                                                                                                                                                               104
 1      test    fires             from               the     weapon                   to        the evidence                      items            and                          1
                                                                                                                                                                                    property               room or transfer the evidence                                                                        maintain the chain

 2      determine                            they            were or were not                                                  from                                            2    of custody.                                            check                                                                    would
                                       if                                                                      fired                   that         weapon                                                       I       would                                  it    for safety.                               I
                                                                                                                                                                                                                                                                                                                                      perform

 3      using those                          unique marks.                                                                                                                     3    a function               test            to   make                sure            that        it       is        functioning

 4             Q.     Okay.                          And              --        so   that             understand                           were                                4                            Excuse me.                                                                     time                      would                       down
                                                                                                                                                                                                                                                  During                   that                                                       write
                                                                 if
                                                                                                                                                                                    properly.
                                                                                                 I                                    if                                                                                                                                                                        I




 5      talking       about a                          handgun with a                                --    with a              hammer and                         the          5    any     identifying                       marks.              I       would             examine the class
6       hammer                    would                hit   a        firing         pin        which               hits       the    shell         casing                     6    characteristics                           such as the                            rifling           number of grooves                                           and

 7      and     that          explosion                       occurs                 forcing               a    bullet                                  the                    7    direction              of   twists                where the                                                          are located
                                                                                                                                 through                                                                                                                                  safeties                                                         if




8       barrel        is          that               fair to          say                                                                                                      8    any any                other              unique             items                that        may be associated                                              with

9              A.     Thats                                                                                                                                                    9                                         Then                                                                                                              where we
                                                     correct.                                                                                                                       that    weapon.                                        I    would                go     to        our                firing        range

10             Q.     And when                               that          pin       is    --    is       made             of   metal              is   that                   10   have a water tank and                                             I   would             use laboratory                                       ammunition                      f




11      right                                                                                                                                                                  11   to   fire        into    the water tank                                   and         retain                    the             barrel       --
                                                                                                                                                                                                                                                                                                                                                                 ý.




12             A.     Usually                             yes.                                                                                                                 12   sorry            excuse              me           retain              the         projectiles                             and the cartridge

13             Q.     A           metal                   pin hits              the   back of the                          shell.                                              13   cases            for    examination.

14      Thats        --       I

                                   mean                    its        metal           coming                   in   contact           with metal                               14          Q.         Okay.               Now              you said something                                                       about        lands and/or

15      pretty       hard                   is       that     right                                                                                                            15                      and           twists.                   What                              that
                                                                                                                                                                                    grooves                                                                     is    all



16             A.     Correct.                                                                                                                                                 16          A.         When               a    barrel             is       manufactured there                                                   is     a    set    of

17             Q.     Crushing the primercausing                                                                    combustion                     and the                     17   spiral                                that             are manufactured                                              inside            that        barrel
                                                                                                                                                                                                 grooves                                                                                                                                              to


18      explosion                  propelling                         the       bullet           through                  the barrel                is                         18   make the                projectile                     more stable during                                                                  That
                                                                                                                                                                                                                                                                                                              flight.


19      that    right                                                                                                                                                          19   manufacturing                                                     causes those                                            those            lands            and
                                                                                                                                                                                                                              process                                                                    --



20             A.     Thats                          correct.                                                                                                                  20   grooves            to       be imparted                               on the            projectile                              as they           come
21             Q.     Okay.                          And so when the                                 firing          pin actually                   hits                       21   out.        There           will          be actual dips and high areas on the

22      the    back               of     the          shell           casing               it    leaves              a dent or a                   mark                        22   projectile              that         we can                 view.                That             is       where a                     lot      of     the

23      is   that    right                                                                                                                                                     23   unique            individual                      marks               that        I   will         use               to         do my

24             A.     Thats                          correct.                                                                                                                  24                                are found.
                                                                                                                                                                                    comparison

25             Q.     Okay.                          And      if
                                                                      you        were            to       look        at that         dent              and                    25          Q.        And so those lands and grooves when a                                                                                                bullet      is
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                                                                                                                                                                 105                                                                                                                                                           107
    1    forced       through                               the barrel the lands                                  and grooves                    are   what             1     cases       in    each                                     and kind of have a master
                                                                                                                                                                                                                    report                                                                                 list    in



 2       makes                 start                   to        spin         as    its     going              through          the barrel                              2                                   that              contains                            of                                 on            the
                                                                                                                                                                              every       report                                                                        your findings
                          it                                                                                                                                                                                                                            all                                                 all



 3       correct                                                                                                                                                        3     casings

 4              A.        Thats correct much                                                    like       throwing            a football              a                4            A.    Yes              I       did.


 5       spiral football.                                                                                                                                               5            Q.    And         bullets.                                              Is this          States            226 a             the
                                                                                                                                                                                                                                     Okay.                                                                 --



 6              Q.        And because                                        --   and           guess the                  point      would         be                  6    actual       report                that                       came up                     with                     case
                                                                                                                                                                                                                               you                                               in    this
                                                                                            I




 7       that    a   bullet                   flies              faster            straighter                   harder          more                                    7            A.           a
                                                                                                                                                                                           Its              copy               of     it        yes.

 8       accurately                               its            spinning           through                    the    air                                               8            Q.    But     does                                                           be       the report the exact
                                                                                                                                                                                                                               appear                   to
                                 if                                                                                                                                                                                       it




 9              A.        Thats                        correct.                                                                                                         9                 without                   any
                                                                                                                                                                             report                                            alterations                            or   changes
10              Q.        Okay.                            And sometimes                              or       that    will      I

                                                                                                                                     guess make                        10            A.    Yes          it          does.

11      marks onto the                                       bullet           from the firearm                            is   that    right                           11                         MR.                    STRAHAN                              I       would      offer        States 226.

12              A.        Yes                     it   will.                                                                                                           12                         MR.                    HEISKELL                             No           objection            Your Honor.

13              Q.        Okay.                            And you said class                                  characteristics.                   Do                   13                         THE COURT                                            Admitted.

14      certain           makes                                   firearms            have a                                   number                                  14                                                                                              226 admitted.
                                                           of                                                  certain                           of twists                                        States                            Exhibit             No.

15      and a certain                                  I

                                                            guess way                     of        right-to-left              lands        and                        15            Q.    BY      MR.                    STRAHAN                                 I
                                                                                                                                                                                                                                                                      have also              laid   in front        of


16      grooves                that                a       certain                manufacturer                     will    have        in   most or                    16   you      some         States                       Exhibits                that            have already been admitted

17      all   of   its         firearms                                                                                                                                17    into this         case.                 Each one                       of       them has a States                            Exhibit


18            A.          Yes                 they are usually                                  within           one class a                                           18    number along with a                                      projectile                       or a   shell         casing         inside


19      manufacturer                                                  have one                                                                                         19   them.         Okay.                 And there also                                         a    bag                 these
                                                       will
                                                                                          particular style.                                                                                                                                                       is                   that                 things

20              Q.        Okay.                        And were you asked                                        in this       particular           case               20   had come              to            court          in     sealed                 with a                    of
                                                                                                                                                                                                                                                                              lot           markings

21      to    compare                 different                              bullets        and        shell          casings          found           at              21   considered             with                  chain              of                              and things
                                                                                                                                                                                                                                                    custody                                         like    that.


22      various            scenes                           that           are related               to        this   case                                             22   For      example                             States                 225 can                             look        on the bag
                                                                                                                                                                                                                in
                                                                                                                                                                                                                                                                           you                                          that


23                    Yes                                                                                                                                                        came
              A.                              I
                                                       was.                                                                                                            23   it             in.     Do you see your markings                                                            on     this   bag
24            Q.      Okay.                            And as                 part    of        your practice                        whenever              you         24            A.   Yes           I       do.


25      do these comparisons do you generate                                                                               a   written           report                25            Q.    Okay.                    And                          represent
                                                                                                                                                                                                                                I   will                                    to    you        that    your


                                                                                                                                                                 106                                                                                                                                                           108
 1            A.      Yes                     I        do.                                                                                                              1   markings well theyre on                                                    all        of these.                Chain     of    custody

 2            Q.      And             did                   you generate                        a    written           report         in this                           2        complete.                      These items are already                                                in   evidence.
                                                                                                                                                                            is
                                                                                                                                                                                                                                                                                                                   Okay.

 3      case                                                                                                                                                            3   And Im going                            to    ask         you           which              items          you compared and
4             A.      Yes.                                                                                                                                              4   make a         list    if           I
                                                                                                                                                                                                                    could                of      all     the items                you compared                     in



 5                               MR.                        STRAHAN                         May            I

                                                                                                               approach Your Honor                                      5   your      report.

6                                THE COURT                                           Yes             sir.                                                               6            A.   Okay.

 7            Q.      I        have handed                                    you whats been marked as States                                                           7            Q    Do      you               have your report your own copy                                                         in front


8       Exhibit       No.        226.                            Can you             tell       us what               that      is                                      8   of   you
9             A.     This             is               a     copy            of    my     report               and notes from my                                        9            A.   Yeah                  let       me         take a look here.

10      case number FW10-06104 and                                                                     I       believe         the    Johnson               County     10            Q.   First       of            all        Im going                      to       have you take a look

11      number S10-15645.                                                                                                                                              11   at   States         29              which               is     contained                       within          States       Exhibit


12            Q.     Okay.                             If    there           were         different               crime         scenes            that                 12   29-A.         Can you take a look                                            at           States        29.       You can see how

13      shell      casings                         and                bullets       came from and we wanted                                            to              13   thats marked.                            And            tell        us     what            that      is.



14      compare                them                        all        would         your report contain                              several           case            14            A.   Its     a Hi-Point                          Model C9                         pistol          9    millimeter.


15      numbers                                                                                                                                                        15            Q.   Okay.                     And can you                          tell          us   specifically             something

16            A.     Yes.                                                                                                                                              16   about the Hi-Point                                 as a manufacturer                                    of      those     types        of


17            Q.     Okay.                             And              in   fact     did           you generate                     multiple                          17   pistols.

18      reports       in this                          specific               case                                                                                     18            A.   Hi-Point                       is
                                                                                                                                                                                                                               unique               because                   the manufacturer

19            A.     Yes                  I        did.                                                                                                                19   rifles    the barrels                        in    a nine                left             which      is    very

20            Q.     Okay.                             And             did    you also                 in       each one of those                                      20   uncommon.                       In       fact           its         the only                   known manufacturer                           to


21      reports       entitled                              --    I

                                                                      guess         the top                of    it   the      case report                             21   use the nine                left              left-handed                             twist     on the land/groove

22      having       to        do with the Fort Worth                                                  P.D.           cases          that   it   was                   22   impressions.

23      associated               with                       or        in   this    case             the        Johnson               County case                       23            Q.   Okay.                     And so                 if   a   bullet             were         to     be   fired


24            A.     Yes                           did.                                                                                                                24                                                                                                                       had those
                                                                                                                                                                            through        that        or                 you found                      any           bullet         that
                                      I
                                                                                                                                                                                                                    if




25            Q.     Okay.                             And            did     you     also           list       all   the associated                                   25   specific       nine             left         lands              and grooves can you conclude
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 1
     just       based on that                                             that                was           at    least          fired     through             a                  1           Q.        And          did         you assign a                              specific         number             in   your
                                                                                        it




 2   Hi-Point                     pistol                                                                                                                                          2   report            to    the          magazine
 3             A.            Yes                I    can.                                                                                                                         3           A.         I
                                                                                                                                                                                                              assigned                  the             same number                         the 8443-03.

 4             Q.            Can you also determine by looking                                                                             at   the                               4           Q.        Okay.

 5   projectile                        if
                                            you have enough                                                 of    it       the      size   of the                                 5           A.        Sorry.              Excuse                       me.            Its       8443-04.           Im sorry               I




 6   round whether                                         it        be a 38 or 9 millimeter whatever                                                         it   is             6   misspoke.

 7             A.                can                put         it    in       a    caliber                 class           yes.                                                  7           Q.        All      right.           Theres a                           lot   of                   on       there
                                                                                                                                                                                                                                                                                   writing                           is
                             I




 8             Q.            And so you can take a look                                                                    at   a     bullet       with your                      8   there        not
 9   microscope                             and look                           at       these               lands           and grooves                  and                      9           A.        Yes           there             is.



10   determine                                                                 a 9 millimeter                                                                                                           Can you
                                       that              this             is                                                fired       through          a                       10           Q.                                 tell         us something                              about       that       magazine
11   Hi-Point                    9 millimeter                                  handgun                       is    that         correct                                          11   How many                       bullets            or        how many                         shells      does        that     particular

12             A.        Yes.                                                                                                                                                    12   magazine                  hold

13             Q.        And you                           --        is    there                  some            specific              history         with                     13           A.        Ill     have         to        refer to                    my notes               quickly.         That

14   the manufacturer                                                      Hi-Point                    why                   the only           one                              14
                                                                     of                                            its                                    that                        magazine                  has a capacity                                    of eight              rounds.

15   has       that              particular                           land              and groove                          setup                                                15           Q.                            And
                                                                                                                                                                                                        Okay.                                is    it    possible                  for this particular


16             A.        The manufacturer                                                         attends              a    number                 our                           16   Hi-Point                                               have one                                     chamber              and
                                                                                                                                              of                                                             weapon                   to                                   in      the                                   all
                                                                                                                                                                                                                                                                                                                                 eight

17   conferences and over time he has learned                                                                                                                                    17          those
                                                                                                                                           that         his    weapons                of                      rounds             within                 the        magazine                altogether

18   are       used by criminals                                                   to    do bad things so he                                       in   order       to           18           A.        Yes           it   is.



19   help us                     out has manufactured                                                        them uniquely                         so   that       we can        19           Q.        And so does the                                       pistol          itself     have the             capability

20   easily identify                                 that            particular                        class           of    weapon.               We                            20   of     having            nine         live         rounds                    in   it

21   cant           --   the nine                          left           doesnt allow us                                   to      identify       back                          21           A.        Yes.

22   to    a   specific                         Hi-Point                           but        we can                            its     from a                                   22           Q.                            Can you                                  us      one thing what                         the
                                                                                                                   say                                                                                  Okay.                                             tell                                                 is




                                                                                                                                                                           --110
23   Hi-Point                    firearm.                                                                                                                                        23   difference                between                      centerfire                                             and
                                                                                                                                                                                                                                                                           cartridges                         rimfire


24             Q.        Okay.                       And so the manufacturer knowing                                                                               that          24
                                                                                                                                                        --    is
                                                                                                                                                                                      cartridges

25   an expensive                                        like really                     good handgun                                                                            25           A.        Ina          rimfire                                            the primer which
                                                                                                                                                                                                                                        cartridge                                                              is




                                                                                                                                                                                                                                                                                                                                         112
 1             A.        In           my            personal                       opinion                   its       not       an expensive                                     1   the primer material                                    is    basically a                     --    an explosive               which

2    handgun                          no.                                                                                                                                        2                                   when                                         with something.                        So         the
                                                                                                                                                                                      will
                                                                                                                                                                                              explode                                  it     is        hit                                                    in


3              Q.        Okay.                       And                   guess theres                                     everybody               has                          3                                   material                                                around         the      edge
                                                                                                                       --                                       their                                   that
                                                                      I

                                                                                                                                                                                      rimfire                                                 is
                                                                                                                                                                                                                                                        placed                                                  of       the

4    own opinion                                about that                              would               you agree                                                            4    cartridge               case around                                the bottom.                     So    it   is   hit   there            on

5           A.           I
                                 --
                                       yes.                                                                                                                                      5    the     rim.


6              Q.        And so have you personally seen and had the                                                                                                             6                               In        a centerfire                           there           is    a primer containing

7    occasion                     to        do some                            scientific                   testing             based           specifically                     7    that    same              material                           the middle.                          And so       that
                                                                                                                                                                                                                                             in
                                                                                                                                                                                                                                                                                                               primer

8    on States No.                                       29          States                       Exhibit         No.           29      the                                      8    when         it   is     hit         the primer                         will      explode           and cause the

9    9    millimeter                        pistol                                                                                                                               9    reaction               with the            gunpowder                              inside           the   cartridge.

10          A.           Yes                I
                                                    did.                                                                                                                         10           Q.        Again are those types of weapons                                                                 specific of a

11          Q.           Okay.                       Did             you assign                         a    specific                 number            in   your                11   particular               pistol                                                   to
                                                                                                                                                                                                                                 is     it
                                                                                                                                                                                                                                              specific                            only being-able               to


12   lab    so       that              you can keep track of                                                      this          item     number was                              12   fire    rimfire           versus                centerfire                        or    can the same weapon                                fire



13   tested              against                     all         these              other item                         numbers                                                   13   both
14          A.           Yes                I       did.                                                                                                                         14          A.         It    will
                                                                                                                                                                                                                       only           fire        one             or    the        other.


15          Q.           What                       is   the          lab          number you used                                      for this        item                     15          Q.         Okay.

16          A.           8443-03.                                                                                                                                                16          A.         Generally.

17          Q.           Now Im                           also             going                  to   hand you States                             Exhibit                       17          Q.         All     right.           And so                       I
                                                                                                                                                                                                                                                                  guess you would                        have       to     know

18   No.       75.               Will           you             take a look                                 this            and 75-A.              Take a                        18                              about                                                                    were going
                                                                                                       at                                                                             something                                   that             weapon                    if
                                                                                                                                                                                                                                                                                  you                               to   go buy
19   look      at        what               is           75-A and                            if
                                                                                                   you would                     tell    me        please                        19   some new ammunition
20   what       that              item               is.                                                                                                                         20          A.         Correct.

21                       Its          a Hi-Point                                                                                                                                 21          Q.         Because
            A.                                                                 pistol              magazine.                                                                                                                     if
                                                                                                                                                                                                                                       you didnt know something                                                about            that


22          Q.           Okay.                       And was                                        something                              came          with                    22   weapon and you were
                                                                                    that                                            that                            this                                                                                to        buy      rimfire        versus         centerfire               it           L


23   particular                       Hi-Point                       9 millimeter                           pistol          whenever               you                           23   wouldnt                actually            work would                                it

24   received                    this           in       evidence                            from           Mike Gaudet                                                          24          A.         Correct.

25         A.            Yes.                                                                                                                                                    25          Q.         You would                      have               to       put     some           thought          into     that
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 1   before                you reloaded                              it   or    bought          some new ammunition                                                1   come         with the States                                                Exhibit             No.       29 were            they together

 2   would             you not                                                                                                                                     2   with    that

 3           A.                Yes you                         would.                                                                                              3          A.         Yes.

 4           Q.                You would have                               to     be accurate          for       it        to    work                             4          Q.         Okay.                         And were there a couple                                                   of extra      live


 5           A.                Correct.                                                                                                                            5   rounds                that        also                   came with that

 6           Q.                Okay.                    Now Im             also going            to   show you States                                              6          A.         Yes                     there were.

 7   Exhibits                       73-A and 74-A.                             Can you take a look                           at that            and                7          Q.         So you had a                                             total        of     four           is   that    right

 8   tell    me                if
                                    you have seen those before                                                                                                     8          A.         Total                       of     four                  correct.


 9           A.                Yes             I        have.                                                                                                      9          Q.             Did     you                    actually                    fire
                                                                                                                                                                                                                                                                    any         of    those       rounds           in
                                                                                                                                                                                                                                                                                                                        your

10           Q.                What                 are        they                                                                                               10   testing

11           A.                They are                        unfired       cartridges             9 millimeter                                                  11          A.         Yes                     I    consumed                               two      in testing.


12   Federal.                                                                                                                                                     12          Q.         And so                           if    originally                     you were brought with four

13           Q.                Okay.                    And are there many many brands                                                     of                     13   when         it       left
                                                                                                                                                                                                     your lab                                     its    going             to   have two and                   that


14   9 millimeter cartridges                                               out there         that     are   easy                 to    come                       14   would         be        why
15   by     on the market from Walmart or you know Target                                                                                                         15          A.         Because                                I       consumed                      two        in testing.            The         fired


16   wherever                        --                                                                                                                           16   rounds                are maintained                                             at     the     Crime Laboratory.

17           A.            Yes                 there            are.                                                                                              17          Q.         Okay.                         Im going                          to     hand you what has been

18           Q.                --
                                    Academy Yes                                    there     are                                                                  18   admitted                into                  evidence                           as States 224 and 225.                                     Would       you

19           A.                Uh-huh.                                                                                                                            19   tell   me         if
                                                                                                                                                                                               you have seen those before.
20           Q.            And             just           if
                                                                you could estimate you may not know                                                               20          A.         Yes                     I
                                                                                                                                                                                                                      have.

21   this about                           how many                        different        brands      can        the general                                     21          Q.         Okay.                         And can you                                  tell    us       what 224 is

22   public            get                of       ammunition                  for    a 9 millimeter                                                              22          A.         224             is           a        cartridge                     case Federal 9                        millimeter.


23           A.                I    would                have        to    completely            guess            ten        --
                                                                                                                                      maybe       a               23          Q.         Okay.                         And can you look on                                                this   bag and see what

24   hundred.                         Theres a very                            large       number of         different                                            24   the original                      whenever                                   that        was collected what                             that


25   manufacturers                                       for    9   millimeter.                                                                                   25   original              item                was

                                                                                                                                                            114                                                                                                                                                                   116
 1           Q.                Okay.                    And also            in   those say okay                         lets talk                                  1          A.         The             original                            item         number                 is       BRB-01.

2    about Federal                                      particular             ammunition.             Federal                   makes                            2           Q.         Okay.                         And               I    will
                                                                                                                                                                                                                                                         represent                   to    you    that    this


3    9 millimeter obviously                                               ammo or ammunition                                for   9 millimeter                    3    shell       casing                    came                        near the                   body         of       Nancy Weatherly                   who was

4    handguns                             is        that        right                                                                                             4    murdered                     in
                                                                                                                                                                                                                 Godley Texas.                                        Theres been testimony                                 to that


5            A.            Correct.                                                                                                                               5    already.                And what                                      is   the other                 one 225 what                   is       that

6            Q.            And do you as                                   part       of   your job     have                to    go out                          6           A.         Its        a            fired                  projectile.


7    and          I

                      guess                         obtain          test       fire   ammunition            in         some cases                  if              7          Q.         Okay.                         And can you                                  tell    us       if   youve seen               that


8    you get a                       weapon                     where you need more ammunition                                                  to test      it   8    before

9    or a    weapon                                that        you dont see very often                                  Do you have                     to        9           A.         Yes                 I       have.

10   get or           --
                                    you know                     get       some new ammo sometimes                                                                10          Q.         Okay.                         And               that fired                  projectile              were        talking


11           A.            Yes we                         do.       We       try      to   maintain a       comprehensive                                         11   about a                bullet                  thats already                                 been             fired   through           a    weapon
12   ammunition                                library              but    its     difficult.                                                                     12   correct

13           Q.            Okay.                        And      just      generally            speaking               if
                                                                                                                             you were                             13          A.         Correct.

14   to     go        to           Walmart or Academy some place the Federal                                                                                      14          Q.         Okay.                         Can you                          tell    what the                  original      number was

15   ammunition                                    if
                                                        you know                how many generally comes                                          in    a         15   when        that         was                       originally                     collected

16   box     if       its           centerfire                   9 millimeter                                                                                     16          A.         BRB-16.

17           A.            Anywhere                             from       20    to 50.                                                                           17          Q.         And             I           will       represent                       to     you again                 that    this


18           Q.            Okay.                        And so you dont have boxes                                      of        10 do                           18   particular               bullet                         was found on the kitchen                                            table       in   Nancy

19   you              Have you ever seen that                                                                                                                     19   Weatherlys home                                                   in       Godley Texas.                             Now      did    you assign

20           A.            I        havent                personally                  seen one but            I    wouldnt be                                     20   specifically                     in
                                                                                                                                                                                                                      your               own            report             a corresponding                  number so

21   surprised                       if
                                           they           existed.                                                                                                21   that    you could keep                                                 track            of   your         own number                for      these      two

22           Q.            Okay.                        But generally                 speaking 20             to            50        is   that                   22   items

23   correct                                                                                                                                                      23          A.         I    did        not.                       I    maintained                        the       Johnson         County

24          A.         About yes.                                                                                                                                 24   numbers.

25           Q.            Okay.                        And are these                  particular       ones do they                                              25          Q.         Oh             you                    did.               Okay.             So your number                       for   States
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                                                                                                                                             117                                                                                                                                                       119
       224 would                       be BRB-01                               that    correct                                                                  Q.             Okay.            And                   represent                                    we have had
                                                                                                                                                                                                                                                   you
 1                          still                                         is                                                                        1                                                          Ill                          to             that


 2           A.     Thats            correct.                                                                                                       2   testimony                    that           those            cases        were found               at    the       scene        of    a

 3           Q.     And your number                                for     --
                                                                                 yeah your number                          for     the              3   Lowes                  parking               lot   of        a     scene       of    an attempted                   robbery and

 4     fired      bullet    would             also           be then BRB-16                                                                         4   shooting a firearm having                                                been                     Did
                                                                                                                                                                                                                                             fired.                you also look
 5           A.     Thats           correct.                                                                                                        5   at     those                and       test       those             against          this    particular             States

 6           Q.     All    right.            Okay.                Im going             to        hand you two                                       6   Exhibit                No.       29         Hi-Point               9    millimeter              handgun
 7     exhibits       that        have been admitted as States                                                 Exhibit      96-A                    7           A.         Yes            I    did.


 8     and 95-A.            Can you                   tell     us    what those are                            Can you           tell               8           Q.         Okay.                And            finally           going       to    hand you what has

 9     us   what         States          Exhibit               96 is                                                                                9   been marked States 164-A-1-A                                                        through          A-4-A           and States

10           A.     96 are four Federal                                   9 millimeter cartridge                       cases.                      10                          164-A-5-A.                      Would
                                                                                                                                                        Exhibit                                                                  you look through those please.
11           Q.     And       did        you assign                   a        specific          lab    number         of   your                   11           A.         These are four cartridge                                         cases         and one

12    own      to   those                                                                                                                          12   projectile.


13           A.     The number                        I

                                                          assigned               to   these            are 8410-01            A.                   13           Q.         Okay.                And do they have a                                 Fort    Worth            P.D.        number

14    through         D.                                                                                                                           14   thats assigned                              to     them as well

15           Q.     Was           there           a Fort          Worth             P.D.         case number                                       15           A.         Yes            it    is    10-068307.

16    associated            with those                       particular             cases                                                          16           Q.         And            this       is    four cases                 and one             projectile             is



17           A.     Yes.           The        Fort           Worth             P.D.    number             is    10-068302.                         17   that     correct

18           Q.     Okay.            And                          represent                                      those                             18                      Thats
                                                  I   will                             to        you    that                                                    A.                              correct.



                                                                                                                                                                                                                                you weve
19    cases were collected                                at   the        scene of a drive-by                        shooting                      19           Q.         I    will      represent                      to                         had testimony based

20    at    the     home          of   Juan Ramirez based on                                            that    Fort   Worth            case       20   on      that           particular                case number                       that     that    has       to    do with a

21    number.             Can you also take a look                                          if
                                                                                                 you would            at                           21   attempted                    robbery               and shooting                      of    an     individual             on 26th

22    States No.             95-A and                     just      tell       us   what          that    is                                       22   Street            in Fort              Worth Texas                        by the          name       of    Samaniego.                      I




23           A.     These are                   six fired                                                                                          23   neglected                             ask                                               but     on these can you
                                                                    projectiles.                                                                                                     to                you           this       before

24                                   And                     you assign your own                                                                   24
             Q.     Okay.                         did                                                                              by                           us             you have assigned                                  your own
                                                                                                                             --                                                                                                                                                 lab
                                                                                                               specific                                 tell          if
                                                                                                                                                                                                                                                         particular

25    the    way does                this         come            from the exact                      same       Fort      Worth                   25   number thats                            related               to   these the four cases                            and the one                       ý.




                                                                                                                                             118                                                                                                                                                       120k
 1    P.D.       case number as what                                  I
                                                                          just      represented                 to   you were                       1   fired     bullet

2     the    cases found                     at   the        scene of the Juan Ramirez drive-by                                                    2            A.         Yes.               My      lab        number              for    the     cases are 8452-01                         A.


3     shooting                                                                                                                                     3    through                D.        and the               projectile             is   8452-02.

4            A.     Yes       it    does.                                                                                                          4            Q.         What                is   the purpose                   of       assigning         all      these

5            Q.     Okay.            And what                     number            did          you assign your                 lab               5    numbers                     here Theres                               already        numbers assigned                           from

6     for   these        six fired            projectiles                                                                                          6    different               agencies                         suppose but you have                                 to    assign
                                                                                                                                                                                                           I

                                                                                                                                                                                                                                                                                          your

7            A.     8410-02              E.       through             J.                                                                           7    own          is    that           correct

8            Q.     And have you seen these                                           before                                                       8            A.         We            assign            our           own through                generation              of our

9            A.     Yes       I     have.                                                                                                          9    laboratory                   information                         management                     system.            Its   actually

10           Q.     In    fact         all   the items                that          Im showing you                    to                           10   the     last           four       digits of                  the      Fort    Worth         Police         Department
11    this   point         you received                        those           in   evidence             and you also                              11   tag number.

12    tested        them      in       relation              to   States              Exhibit           No.    29    this                          12           Q.         Okay.                And the tag number                                 is   what they               actually

13    specific       9 millimeter Hi-Point                                 firearm               is   that     correct                             13   put on these                          particular                 items        and then             its   associated

14          A.      Thats           correct.                                                                                                       14   with a        case                number but the tag number                                         is    a    little     bit



15           Q.     Okay.           All      right.            Im going               to     hand you what                  has                    15   different                   is   that        right

16    been admitted                    as States                  Exhibit           No.          130.     Can you           tell        us         16           A.         Correct.

17         you have seen                                  before
                                             that                                                                                                  17           Q.             didnt ask                   you on 130 youve                              already
      if                                                                                                                                                                   I




18          A.      Yes       I     have.                                                                                                          18   represented                       that        youve looked                         at   those.           We        talked       about

19           Q.     And what                 is   that                                                                                             19   that      but           I   didnt ask                   what your              lab       number was on States

20          A.      They are two cartridge                                      cases.                                                             20   Exhibit            No.           130.

21           Q.     Okay.           And do they have an associated                                                   Fort   Worth                  21           A.         8510-01                   A.    and             B.


22    P.D.     number on them as well                                                                                                              22           Q.         Okay.                Now            looking           at    your report States

23          A.      Yes       they           do.                                                                                                   23   Exhibit            No.           226         did        you go through                      and do the               testing

24          Q.      Can you                           me what                                please                                                24                                    talked          about                              determine             whether
                                         tell                              that       is                                                                like    youve                                                      to try     to                                                any
25          A.      10-068316.                                                                                                                     25   of     these            shell                                 were                                 fired            whether
                                                                                                                                                                                               casings                            specifically                        --
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 1
     you can           tell
                                  scientifically                      whether             they       were            specifically                    1            Q.      And the capacity                                        of that      weapon                     is       how many

 2   fired       through               States No.                     21    --      29    that           9 millimeter                               2    total

 3   pistol                                                                                                                                         3             A.      Nine.

 4           A.    Yes             I   did.                                                                                                         4             Q.      And whenever                                 you received                       it        it   had four                live


 5           Q.    And can you                        tell      us based on                         your report what                                5    rounds correct

 6   was your conclusion                                  as    to     BRB-01               the           case found              at   the          6             A.      Thats                correct.


 7   home         of    Nancy Weatherly                                      Was          that       fired           through        States          7             Q.      Okay.                 And so                 if    it    had four          live             rounds               in


 8   No.     29                                                                                                                                     8    there          and you know                              that            11    had been                     fired              correct         so

 9          A.     Yes            it    was.                                                                                                        9    that      would            be a            total         of 15 rounds                       at    some                    point        through                  i


10           Q.    Was             --
                                            turning        now             to    States             Exhibit           No.    96                     10   that      weapon                      is   that         right

11   which        would                be your            lab         numbers 8410-01                            A.    through           D.         11            A.      Thats                correct.


12   those four               cases found outside the home                                                      of   Juan Ramirez                   12            Q.     Which                  means                 is     there        any        possibility                        of   firing      11


13   were those four cases                                 fired           from States No.                            29    the                     13   bullets         through                    this    weapon without                                having                   to     reload        it   at


14   9 millimeter                 handgun                                                                                                           14   some point
15          A.     Yes            they were.                                                                                                        15            A.      Its       not possible.

16          Q.     Looking                   at   States               130          which           would            be the two                     16            Q.      Okay.                 Now              did         you also do a comparison                                             as      to


17   cases your                   lab        number 8510 or item number 8510-01                                                          A.         17   the      particular bullets                              that            we have            talked                   about the

18   through           B. A. and B. are those two cases were they                                                                                   18   fired         bullets            in    these            cases
19   fired    through                  States         No.             29     that      particular                9 millimeter                       19            A.     Yes              I    did.


20   handgun                                                                                                                                        20            Q.      Okay.                 And        tell            us again            how         did           you go about

21          A.     Yes            they were.                                                                                                        21   doing          that

22          Q.     And the four cases                                   from the            Samaniego                       shooting                22            A.      Basically                   the        same               fashion.              After               I    obtained           the

23   your        lab   item No.                   8452-01              A. B. C. and D. were                                   all   four            23   test     fires         I
                                                                                                                                                                                    placed                them on the comparison                                                   microscope                  and

24   of   those        cases                fired    through                 States No.                   29         that                           24   looked          for individualizing                                      characteristics                         to       make an

25   particular          Hi-Point                 9 millimeter semi-automatic                                              handgun                  25   identification.




                                                                                                                                              122                                                                                                                                                                  124
 1          A.     Yes            they were.                                                                                                        1             Q.      Let       me          ask        you              this.       Just        in    a general                       sense a

2           Q.     Okay.                And        tell    us a            little    bit   again            about           how                     2    shell         casing             in    a semi-automatic                                    well            this particular


3    you went about                          specifically                  testing         this          handgun.             Tell       us         3    semi-automatic Hi-Point                                               9 millimeter                    if        Im standing                    here

4    about the           fired              casing         and how you compared                                         those.                      4    and       I   shoot does the                                 shell         casing           automatically                              eject

5           A.     After           I   obtained              the        test        fires       I

                                                                                                     place           them on                        5             A.      If   its        --
                                                                                                                                                                                                yes         it        does.

6    our comparison                          microscopes which                                  is
                                                                                                         basically two                              6             Q.     Okay.                  Semi-automatic.                                 And so                   it   would             eject        and

 7   microscopes                       that    you have                    like     in    your high school                        biology           7    another           one pops up and                                        its    ready           to    shoot                again          is    that


8    class        but theyre connected                                      with a special                       optical       bridge               8    correct

9    which allows                      an    examiner or anyone                                 really to              see both                     9             A.     Thats                 correct.


10   sides        of   the microscope                           through               one set of occulars.                             Its          10            Q.     And whats the difference                                                   between an automatic

11   much         like   looking                  through              a    pair     of binoculars                         and so the               11   and semi-automatic

12   screen        is    cut           in   half    and           I
                                                                      can see whatever                               Im                             12            A.     An         automatic                         if
                                                                                                                                                                                                                            you         pull   the trigger                         it    will



13   comparing.                                                                                                                                     13   continue              to    fire           until        the         weapon             is
                                                                                                                                                                                                                                                     empty.

14                            In this          case the evidence                                was on one side                                     14            Q.     Okay.                 And so                 for         a semi-automatic                                  it    reloads            as

15   and the           test       fires       were on the                        other.         And         I
                                                                                                                was able            to              15   long as there are                                shell             casings            in   the        magazine                         but     you

16   line    up the           individual              characteristics                       and determine                         that              16   still    have         to      pull         the     trigger                 each time

17   they    were indeed                       fired       from            that      particular pistol.                                             17            A.     That             is    correct.


18          Q.     Okay.                And so            that         would          be a          total        that       you                     18            Q.     And the                    shell         casings                on     this particular                              weapon
19   tested       that        I   have got                written            here.         What            is        the    total                   19   how do they eject

20   number of cases                          that        were tested                     that       I    have        written       up              20            A.     Im sorry                     I    dont understand.

21   here How many                                total      are       we        just      now           talking           about                    21            Q.     Whenever                         you          fire        a    shell       casing                    it   doesnt stay

22          A.     11.                                                                                                                              22   in      the    weapon does it
23          Q.     So     11           cases         tested             and         all    11       were         fired      from                    23            A.     No          it       does         not.


24   this particular                   weapon                is       that       correct                                                            24            Q.     Okay.                  Does             it    eject           out

25          A.     Thats               correct.                                                                                                     25            A.     Yes              thats            correct.
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                                                                                                                                                                                      125                                                                                                                                                        127
 1                   Q.              How does                           it        do     it    on        this       one                                                                      1    of    a    persons body                         or find           them                  at   a crime          scene           dig       them

 2                   A.          As the                     slide                 moves rearward the extractor                                                         will                  2    out of a wall theres                                 lots       of     things                  correct

 3        pull        the            projectile                       --          or sorry the cartridge                                         case out                                    3              A.    Correct.

 4        and the ejector                                    will               hit     the cartridge                          case and                         will                         4              Q.    Okay.                And so does a                                 bullet       itself       generally
                                                                                                                                                           it




 5        fly        out the                   ejection                      port.                                                                                                           5   speaking                   is    a    bullet          in better                     shape           or     worse shape as a

 6                   Q.         And do the manufacturers                                                                  of    not        just this                 one but                 6   piece           of    evidence                  in    your experience                                than      a    shell      casing

 7        all
                  weapons do they                                                      specifically                  make             it    come                out    at        an          7   that       simply ejects and                               falls       to           the       ground
 8        angle             in            a    direction                          so number one                                 it    doesnt pop up and                                      8              A.    A     projectile                will       often              hit
                                                                                                                                                                                                                                                                                          something             in
                                                                                                                                                                                                                                                                                                                      flight.


 9        hit
                     you        in            the      face                                                                                                                                  9    It   has       to    stop           in    some          fashion                     so       its    often     damaged.
10                   A.                   believe                                                          to       do so yes.                                                              10              Q.                         And              and                     whether
                                                                   they attempt                                                                                                                                   Okay.                                                                                      yeah whether
                                 I                                                                                                                                                                                                                --               if      it                          --



11                   Q.         Okay.                       All       right.                  And do a                lot       of    them              have           like                 11   it
                                                                                                                                                                                                       goes through                        a   persons bones                                   or through            a   wall        or

12    a      right              ejection                      up             to        the      right          or something                           like       that                       12   whatever generally speaking unless                                                                    it   falls    and then

13    something                                like          that                                                                                                                           13   just falls            from the sky                      and gently                                    on the ground
                                                                                                                                                                                                                                                                                           lays

14                   A.         Under                     ideal                 circumstances.                                 There             are a           lot    of                  14   theres probably                               some damage                                to   that         correct

15    factors                   that                 can play                          into     that       though.                                                                          15           A.       Thats                correct.


16                   Q.         It        could              jam                  it    could            hit    something                        on the way                                 16              Q.    And are the components                                                   of a general               projectile           of

17    out             it   could                     flip    a        different                     direction                                                                               17   a bullet              is   that           made          of      the       same                thing        as the jacket

18                   A.         Thats                     correct.                                                                                                                          18   that       --   and the               shell          casing

19                   Q.         But the                      point                 is    for that to                 automatically                              eject                       19           A.       Im        sorry could                      you repeat.
20    away from the weapon                                                               so         its    ready               to    fire        again                                      20           Q.       The            bullet          is   made            --        the                            itself
                                                                                                                                                                                                                                                                                           projectile                      is



21                   A.         Thats                     correct.                                                                                                                          21         different            from the jacket                        that              its       fired                      and
                                                                                                                                                                                                 it
                                                                                                                                                                                                                                                                                                            through

22                   Q.         Okay.                     All         right.              And so a                    shell           casing when                           it              22   the        shell      casing

23    comes out of a gun                                                          just        generally                   speaking                    it        would         fly           23           A.       Oh         the casing                     and the                   projectile             are usually

24   off          and land somewhere                                                            is   that           fair to          say                                                    24   made            of    different               material.


25                   A.         Thats                     correct.                                                                                                                          25           Q.       Okay.                And        is   the        bullet              generally               made        of lead



                                                                                                                                                                                      126                                                                                                                                                        128
 1                   Q.         Okay.                     And                if    conditions                       were perfect no                               --   if                    1   or    some            kind           of    component                      like           that

2    its             outside                         no                         or wind              or something                                                    over                    2           A.
                                                            rain                                                                            running                                                               In    this          case they were                                 all    jacketed           with      copper
3    it         if   it    --        it    would              fall                and         sit    there            is       that        right                                             3   with a lead                 core.


4                    A.         Thats                     correct.                                                                                                                          4            Q.                            So the jacketing
                                                                                                                                                                                                                  Okay.                                                               copper which means the
5                    Q.         Okay.                     What happens generally speaking                                                                              to     a              5   shell       casing              had copper

6    bullet                whenever                              it    comes out of a                                 gun                                                                   6            A.       The        projectile                 was a copper                             jacket.            The casing

7                    A.         It        will
                                                     fly     through                          the        air    in   a parabolic                        shape                                7   itself      was brass.

8    with             a curve                        on      it.           It     will        start        off      nice        and          flat.              And                         8            Q.       Okay.                And so the                  projectile                    itself       would       be

9    then                 as         it
                                           go        --     as        it        continues                      in   its
                                                                                                                               path         it   will           go                          9    copper jacketed                             but      its     lead              on the inside

10   down.                                                                                                                                                                                  10          A.        Correct.

11                   Q.         Okay.                     And so how many                                            --    I   --    this        is
                                                                                                                                                      probably                              11           Q.       Okay.                Is      lead a hard or                             soft   substance               compared
12   an           unfair                  question                           but         how many                     bullets               and         shell                               12   to    these           other materials
                                                                                                                                                                       casings

13   do you                     think                youve reviewed                                        in       your        career                     Big       number                 13          A.        It   is    a        soft     substance.

14                   A.         Ive            completed                                approximately a                               hundred over                                          14           Q.      And so does                                     tend                                                    more than a
                                                                                                                                                                                                                                                                                                     damaged
                                                                                                                                                                                 --                                                                    that                          to    get

15   Ive             completed                              over a                     hundred cases                            dealing                 with firearms                       15   harder substance                              would
16   in      my            career.                                                                                                                                                          16          A.       Yes             it   will     be damaged                             more.

17                   Q.         And              I

                                                     guess what Im                                        getting              at     is   when a bullet                                    17          Q.        For those                    reasons                  is      it    easier          for     you based on
18   if
           youre asked                                      to        compare                        a    bullet          with a            shell               casing                      18   how you get these types                                         of     things                 into     your lab          is    it




19   its          because                            that          bullet               was or the                    shell           casing                were                            19   harder or easier                           to    do your comparison                                        and get conclusions

20   believed                             to   have been involved                                                     a        crime correct                                                20   on a                       or the
                                                                                                                in                                                                                           bullet                            shell        casing
21                   A.         Thats                  correct.                                                                                                                             21          A.        In    general                  shell        casings                      are easier           to    make           an

22                   Q.         Okay.                     And              in that              particular                     case they are                                                22   identification                       from.

23   retrieved                            as         evidence                                                                                                                               23          Q.       Okay.                 But       its     still    possible                     to     get an

24                   A.     Thats                      correct.                                                                                                                             24   identification                       from       both
25                   Q.     And so somebody                                                     would               have             to either dig                     them out             25          A.       Yes             of    course.
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 1             Q.            If    a      bullet              is    in
                                                                                  poor          shape           or a             particular                                              1            Q.                Okay.          Let        me        ask    you        this.    We         --   in
                                                                                                                                                                                                                                                                                                             regard               to


 2    weapon                      doesnt make good enough                                                              individual                   markings              on   it    2       other things                         like           fingerprints                are you       familiar with


 3    can you                               see              in    cases based                              on other types                              of                           3                                        not                 youre an expert
                                                                                                                                                                                             generally                                                                                                 area but are
                                  still                                                                                                                                                                                               that                                            in that


 4    markings                      like             the lands                      and grooves                             that         it   came from a                            4       you       familiar                 with         how        fingerprints                work where they look

 5    particular                    type              of      weapon                                                                                                                 5       at       you know                        these           different             markings             specifically                and

 6             A.        Yes                        can.                                                                                                                             6                     and whatever                                 Are
                                                                                                                                                                                             curls                                                                you
                                                I




               Q.        And               did           you do a comparison on                                                       all     of   the       bullets                 7                A.            Right.

 8   in   --   that               Ive               written         on the board                            that                 youve included                                      8                Q.            Do you understand                                  how     that    kind        of   works
 9   in
          your           report                                                                                                                                                      9                A.            In       general              terms yes.

10             A.        Yes                I       did.                                                                                                                            10                Q.        And do you know whether                                             or not        in    the past there

11             Q.        Okay.                       Lets           talk            about             BRB-16                     in    your        report.                          11       has been specific                                     like     FBI or other              rules        as       to       how many

12   Bullet         found                   next              to    the             body of Nancy Weatherly.                                                      What              12       specific                   markings                            have        to    have before you can
                                                                                                                                                                                                                                                 you                                                                             call           it




13   can you                      tell     us                Do         you          know can you                                 say          scientifically                       13       the      same                   print

14   that      that               bullet              was          specifically                        fired          through                  this                                 14                A.            I   believe             theres           some            debate        whether                   or not

15   9 millimeter                           handgun                                                                                                                                 15       there         should                be a             certain         threshold           of    identifying                    marks

16           A.          I        cannot.                                                                                                                                           16       within        the               latent         print      field.



17             Q.        Okay.                       And why can you not                                                                                                            17                Q.        What              Im                         at        is    do you have                that          in
                                                                                                                                                                                                                                             getting

18                       There                      were                 there              was damage                                done               the                        18       yours                      Can you                        marks                    match
             A.                                                    --                                                                              to                                                                                        find                       that                     up     but          is    there

19   projectiles                          and                was unable to without                                                a      doubt                    my                19       a                                                     number                                                             need
                                                                                                                                                                                                                                                                               you say hey
                                                         I                                                                                                in                                      certain                threshold                                     that                                      I




20   experience say                                          that       it        was       fired          from             that         particular                                 20       two      more                   to call        it
                                                                                                                                                                                                                                                  conclusively                fired    through              a        weapon
21   weapon.                                                                                                                                                                        21       or       need               this         many differences                         to                 absolutely                    was
                                                                                                                                                                                                  I

                                                                                                                                                                                                                                                                                    say     it




22           Q.          Okay.                       And so                   if    you dont have enough                                                on    that                  22       not
23   basic          bullet                  does               that               mean                was most                        definitely              not                   23                A.                dont                                      use a        certain           number but
                                                                                                                                                                                                                                      particularly
                                                                                                 it                                                                                                                 I
                                                                                                                                                                                                                                                                                                                                     in



24   fired       through                            that      weapon                      or     does                 mean               you                      dont              24                case                                        some                                                                werent
                                                                                                                                                   just                                      this                             did find                        similarities.                They
                                                                                                                it
                                                                                                                                                                                                                                                                                                        just
                                                                                                                                                                                                                         I




25   have enough                                    to       say    scientifically that                                     it   was                                                25       enough                     for   me         personally                to       determine            that    that          was            --   the



                                                                                                                                                                           130                                                                                                                                                                        132.
             A.               cant say whether                                                   was or was not                                           from                                                           was                                                   weapon.
 1                                                                                                                                             fired                                                                                  fired
                                                                                                                                                                                     I
                                                                                                                                                                                             projectile                                            through             that
                         I
                                                                                           it




2    that      weapon.                                                                                                                                                              2                 Q.        Let           me       ask you              this.           The casing themselves

3            Q.          So            specifically                           your              results              on your                  results          on                   3        weve had                        a conversation                       about         how    theyre generally                                    in



4    this projectile                                found           in            the     home             of        Nancy Weatherly you                                            4        better        shape.                     Were            they        in    better      shape than the
5    didnt believe                                  you had enough                                    to   say yes out of                                this                       5        projectiles                      overall            in   all   these            cases
6    specific                weapon                          or     no correct                                                                                                      6                 A.    Yes                 they             were       in better          shape        overall              and

7            A.          Correct.                                                                                                                                                   7                                          marked
                                                                                                                                                                                             theyre also                                              better.


8            Q.          So you didnt say                                            it    was and you also didnt                                                 rule              8                 Q.        Marked                   better.            And again you looked                                 at       all



9    it   out                                                                                                                                                                       9        those found they were                                          fired       through        that        particular

10                                     MR.               WESTFALL                                 Object               to        leading                Your Honor.                 10       weapon correct
11           A.      Correct.                                                                                                                                                       11                A.    Correct.

12                                     THE COURT                                          Sustained.                                                                                12                Q.        Do you                 think          that    any reasonable                       firearm examiner

13           Q.      BY                   MR.                STRAHAN                             Could               you          tell
                                                                                                                                              anything             else             13       would         differ              with         your opinion                     on the cases

14   If
          you cant                        tell       specific                      to this            handgun were you able                                                         14                A.        I       dont believe so                           no.


15   to   determine anything                                                  else               Did       you have enough                                                          15                Q.    Thats                     real        obvious                      there        correct
                                                                                                                                                                                                                                                                   right

16   characteristics                                 to       do that                                                                                                               16                A.    Correct.

17           A.      I        had enough                                characteristics                               to         determine                that       it             17                Q.    Okay.                     Lets         talk      about the              six fired          bullets

18   was nine                     left      and              that            it    was          fired      from a Hi-Point                                                          18       your      lab              numbers 8410-02                                E.    through       J.      Were you able
19   firearm.                                                                                                                                                                       19       based         on your analysis                                  of    those        through           the       microscope                               to


20           Q.      So while you didnt have enough                                                                               markings                   and                    20       find     enough                    characteristics                        to    say conclusively                        that       it




21   characteristics                                 in
                                                             your own                      mind            to    determine                         that      it    was              21       was or was not                              fired        from        these        --   this   particular


22   with      this specific                                 handgun you can                                         tell        us      that      it   was                         22       handgun
23   fired     through                          a Hi-Point                         9 millimeter semi-automatic                                                                      23                A.                       not
                                                                                                                                                                                                            I           did                 find      enough            individual          characteristics


24   handgun                                                                                                                                                                        24       to   determine                      if    it   was or was not                     fired       from        that


25          A.      That                                                                                                                                                            25                                   weapon.
                                           is        correct.                                                                                                                                particular
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                                                                                                                                                    133                                                                                                                                                            135
 1          Q.     Okay.               And were you                          --    and       this       is   kind of the                                   1                                                             CROSS-EXAMINATION

2    same discussion                          we        just       had on the other one.                                 Did         it    have           2    BY MR. WESTFALL

3    similarities                                                                                                                                         3              Q.        Ms.             Nollkamper Im Greg                                       Westfall.


4           A.     There were some                                 similarities                    yes.                                                   4              A.        Hello.


5           Q.     Just not                 enough               for   you          to    say conclusively                      it                        5              Q.        Tell            us again                   --    I
                                                                                                                                                                                                                                         represent              Mark Soliz by the

6    was     fired          out       of this particular                          weapon                                                                  6    way.           Tell           us again about                                the school             that      you went through

7           A.     That           is    correct.                                                                                                          7    after      you got your masters degree.

8           Q.     Did       you            find    enough               characteristics                      to     determine                            8              A.        It    was a in-house                                   Fort       Worth        Police       Department

9    whether           what type                   of       handgun               that       all    six of      these       fired                         9    Crime Laboratory and                                                 it    was a two-year                    program.            It       was

10   bullets       came from                                                                                                                              10   modeled                       after           the Association                          of   Firearms            and Tool Mark

11          A.     Yes           they         were           all      nine        left    which              would                                        11   Examiners                          training               manual.                 And       it   included        modules on

12   indicate          they           were from a Hi-Point                                firearm.                                                        12   cartridge                     case comparison firearm                                             functionality             testing

13          Q.     Okay.               All    of    them                                                                                                  13   bullet         comparison                                 serial           number restoration a number of

14          A.     Yes.                                                                                                                                   14   other modules.                                     There were                     practical         and       written


15          Q.     Okay.               And         finally            the         one     fired         bullet      in                                    15   examinations as                                         well    as practice                  homework-type                   materials.


16   Samaniego                case your item No. 8452-02 were you able                                                                         to         16             Q.    And                 it       sounds             like        what         yall     learned        in   there

17   find    enough              characteristics                       to         determine conclusively                                                  17   was the                  state-of-the-art                                of the       art   and science               of tool


18   whether           it   was or was not                            fired        out of          this particular                                        18   mark examination                                         in    what you               do
19   weapon                                                                                                                                               19             A.    Yes                  it       was.

20          A.     I
                       was not able                         to   determine.                                                                               20             Q.    And youre with the Fort Worth                                                           P.D.     right       Fort


21          Q.     Okay.               Were you                    able        to find         enough                                                     21   Worth           P.D. Crime                               Lab
22   characteristics                    to    determine                  what type of weapon what                                                         22             A.    Yes                      I   am.

23   class of          weapon                actually              fired          that                                                                    23             Q.    And do                        yall         have            --    use       state-of-the-art


24          A.     Yes           it    was         fired         from a Hi-Point                        firearm.                                          24   equipment there up                                             to    date
25          Q.     Okay.               So to            I

                                                            guess summarize and                                      in    your                           25             A.        It    is       the         --       we have                 the normal microscopes                           that




                                                                                                                                                    134                                                                                                                                                            136
1    written       report              in    looking             at    all        of   these          items you            --                             1    most labs have.

2    all   these        items establish conclusively                                               to   a    scientific                                   2              Q.        Okay.                     And the microscope                                 that    youre using                  is        a

3    certainty          that          all   the     cases weve                         listed         there         were    fired                         3    comparative                                  microscope

4    through           this particular                      weapon                                                                                        4              A.    Thats                        correct.


5           A.     That          is    correct.                                                                                                           5              Q.    And how long has                                            that      technology              been around

6           Q.     Okay.               And while you didnt have enough                                                     to   say                       6              A.        Since                    the30s.

7    whether           each and every                            projectile               was         fired     through               that                7              Q.    And so the comparative                                                     microscope            that       youre

8    particular             weapon you                       did       say         that      based on what you                                            .    using          is        --    I
                                                                                                                                                                                                   mean                 they didnt                   come        out with       some new

9    could       see on those                       items they were                             all     fired       through               a               9    invention                     in    the world                       of    comparative               microscopes                 and

10   Hi-Point          9 millimeter semi-automatic                                              handgun                                                   10   yall       are behind the                                 times right

11          A.     That          is    correct.                                                                                                           11             A.        No             its        basically                   the     same           microscope           that      was

12          Q.     Okay.               And you said you personally                                              I
                                                                                                                    guess                                 12   developed                          by         Dr.       Goddard                  in   the 1930s.              Mine      of    course

13   could not              make            the     call         on    all     of      the    bullets.              They                                  13   is   --    has newer optics has a camera                                                            attached.            And          I




14   didnt       have enough                       characteristics                        for      you        is    that                                  14   believe             we             got        it    three           years         ago        so    its    a   new scope.

15   correct                                                                                                                                              15             Q.        Okay.                     Im picking                    up on the upshot                    of    all   of


16          A.     That          is    correct.                                                                                                           16   this      is   that                there            are class                   characteristics               of bullets


17          Q.     On any               of those                 bullets            did      any        of   them have                                    17   and then theres                                     --    or    of        the     tool     marks         that   the     rifle



18   enough            characteristics                       for      you         to     rule      them out as having                                     18   makes           or            the            pistol        makes                 theres class                characteristics


19   been        fired       through               that      particular                weapon                                                             19   and then theres                                     individual                  characteristics

20          A.     No        they           did     not          have enough                       characteristics                        to              20             A.    Thats                        correct.


21   rule    out.                                                                                                                                         21             Q.    And                 that            the class                   characteristics               would      make              it




22          Q.     All      of    them were                      fired       through               a Hi-Point                                             22   consistent                         that        a round                   was      fired     out     of   a    particular


23   9 millimeter                                                                                                                                         23   weapon                    right                    If
                                                                                                                                                                                                                        you        looked            at   the class          characteristics


24          A.     That          is    correct.                                                                                                           24   and you knew the class characteristic you could say those

25                           MR.            STRAHAN                      Ill
                                                                                  pass        the witness.                                                25   are consistent
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                                                                                                                                                              137                                                                                                                                               139
 1            A.     Those                    fired      out of a class                       of        weapons                    not a                             1   of     a primer of the items 8510-01                                        A     and          I   was comparing                  it




 2    particular           weapon.                                                                                                                                   2   to     test       fire    from      the Hi-Point                pistol            8443-03.

 3            Q.     Okay.                    So   for      the           particular                    weapon               then                 guess              3             Q.       Ive     just     given        you a laser                 pointer.                Could           you
                                                                                                                                             I




 4    we need              the           individual                 characteristics                                                                                  4   please            just     kind      of    show us the                    different                things          that    we
 5            A.     Thats                correct.                                                                                                                   5   see on this

 6.           Q.     Did     you               bring            any       of   your pictures                                                                         6                             THE COURT                       You can stand                             up.


 7            A.     I   do have some                                of    my       pictures yes.                                                                    7             A.      This      right        here     is   whats              called             the primer

 8            Q.     I   have copies of them.                                                                                                                        8   pocket            --     or sorry the            firing        pin        impression.                     Thats

 9            A.     Of     --       I   have a number                           of      --                                                                          9   where             the     firing    pin     actually           hits         the primer                  and




--21
10            Q.    Are they Xeroxed                                      copies                                                                                    10   causes             the pressure-sensitive explosion                                                to     occur.          These

11            A.     No      theyre                     not.         I    have a number of                                  --    these            are              11   marks here are                      all    breech             face marks.                     They occur when

12    the     ones         related               to this             particular                case.                                                                12   the cartridge                 case or cartridge                       case primer                         in   this


13            Q.     Okay.                    Then hold on                     to    these.                   Am        I

                                                                                                                            remembering                             13   particular               instance           hits    against               the breech                    face of

14    right that           you           did       competitive                  shooting                      when you were                                         14   the       pistol.


15    young              Thats how you got interested                                                         in   guns                                             15                             So where the                   --   theres a               flat          area.        In


16            A.    Yes              I   did       do competitive                             shooting              when                 I   was                    16   that       flat     area theres a hole where the                                             firing       pin


17    younger yes.                                                                                                                                                  17   will      come           through.          That area                 will    have some

18            Q.    And          tell          me        how long you been working                                                       with       guns            18   manufacturing                      marks         that         are    --
                                                                                                                                                                                                                                                     microscopically                          show up

19    now                                                                                                                                                           19   like      this.


20            A.     Oh          Ive           been around                      guns my                      entire              life        but as                 20                             This      line right           here        down the middle




--5
      far    as a firearms                       examiner been                                five           years.                                                 21   sorry my hand                       is
                                                                                                                                                                                                                   shaking.             This         line     you           can see down the

22            Q.    Okay.                     You       still    liking         it                                                                                  22   middle thats where                              my scope               splits.               So on the               left-hand


23            A.    Yeah.                                                                                                                                           23   side       is     the     evidence              and on the right-hand                                   side         is   the

24            Q.    See what                        I   dont want                   to        do         I   dont want                       to                     24   test      fire.



25    take yours            away                from you.                      So        want                to   put these                      into               25             Q.      Okay.          And the          test                was one of the                           bullets




--10
                                                                                     I                                                                                                                                                 fire




                                                                                                                                                              138                                                                                                                                               140
 1    evidence but                        I
                                              want        to        use these                  if       the Court                 will       allow                   1   that      was          actually          recovered right

2     me      just to       put           them on the screen.                                           Thats why Im doing                                          2              A.      Test      fire    No.     2    would not                  be.          I   believe           5   and 6

 3    this.        Do you have                          these            two    in       your deal                 there                     Tell       you         3    were the ones                      that    were recovered.                           I       fired      three        from our

4     what those                 are           good enough arent they                                                                                               4    lab       and then

              A.    Yeah.                                                                                                                                           5              Q.      Oh       okay.          So     this    would              be some from your stock

6                           MR.                WESTFALL                         Can                 I   have these two marked.                                      6              A.      True       yes.


7                           Defendants                                   Exhibit         Nos. 9               -    10       marked.                                 7              Q.      Fired out of the                 same             pistol        into         the      water
8                           MR.                WESTFALL                         Thank you.                                                                          8              A.      Right.


9             Q.    Im showing you what have been marked now                                                                                            as          9              Q.      And so on               this   side over                here               this    is   the

      Defendants 9 and                                  10.         Do you recognize                                those                                           10   this split right              here         is   where the microscope                                      has two

11            A.    Yes          I       do.                                                                                                                        11   different              lenses

12            Q.    And are those pictures through                                                            your          --
                                                                                                                                   your                             12             A.      Correct.

13    comparative                    microscope                           on   tool       marks having                              to       do     with            13             Q.      And      this     round        thing         here are we looking                                    at   the

14    this    case                                                                                                                                                  14   primer            here         Is   that        what      this       is

15            A.    Yes          they              are.                                                                                                             15             A.      Thats       correct.            The primer                    is   what looks                     in


16                          MR.                WESTFALL                         Your Honor we move                                                 for              16   this       because            its        magnified              the       half       moon               area       would        be

17    admission of                       Defense                9        and    10.                                                                                 17   the       --   where the primer                    is.



18                          MR.                STRAHAN                         Oh         I    have no                  objection.                                  18             Q.      And then           this right           here would                         be     the    dividing


19                          THE COURT                                     Defendants 9 and 10 are                                                                   19   line      between two                    different        bullets.              This           is    the       one

20    admitted.                                                                                                                                                     20   youre           trying      to     match         up
21                          Defendants                                   Exhibit         Nos. 9               -    10 admitted.                                     21             A.      Thats       correct.


22                          MR.                WESTFALL                         Thank you Your Honor.                                                               22             Q.      What       conclusion                were you able                          to     reach           based upon

23            Q.    BY       MR.                WESTFALL                            Ms.             Nollkamper                          this      here              23   this

24    please        tell    us           what           this        is.                                                                                             24             A.      That      this     particular               cartridge              case was                  fired       in



25           A.     That         is           a photomicrograph                                of the breech                             face area                  25   a    --   in    the Hi-Point              firearm.
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 1           Q.           Okay.                 And how were you able                                                      to    tell                                                    1
                                                                                                                                                                                             yes.

 2          A.            Well as you can see                                                 this particular                             one has                                        2          Q.      Yeah                something                        have                to     do        with this                       case        or this


 3   lots    and               lots of           marks.                      It    starts              all   the           way up              at      the                               3   whole         situation                          This       one too

 4   top and you can see how they come across                                                                                              all        the     way           all         4           A.      Yes            it    is.



 5   the     way down                           really.                                                                                                                                  5                                MR.         WESTFALL                                   Could                I    have these marked.

 6           Q.           Now             does              it    matter               --     what               is    this thing                    right                              6                                 Defendants                            Exhibit                   Nos.            11           -        12    marked.

 7   here Does                            that         thing                 matter                                                                                                      7          Q.      Now            I    did that                 backwards.                             Im showing you whats

 8          A.        When                  I   line             them up                 --       it    does not matter.                                    When                         8   marked              11       and         12.          These are the ones you                                                             just     said          that


 9   I    line   them                up because                                   Im   --     I        have a small area Im                                                             9    you    identified                    right

10   taking           a    picture                   of      I
                                                                  cant always get everything                                                           in    in                         10          A.      Yes            they               are.


11   the frame.                      We          dont              actually                   do the              identifications                            off                        11                                MR.         WESTFALL                                   Your Honor                                     Ill   move             for


12   of    the photographs.                                       The photographs                                          are        basically               just                      12   admission                of        Defendants                            11        and             12.


13   notes        that           we keep                         to         remind us                    for      the           future         what we saw                              13                                MR.         STRAHAN                               I    dont have any                                        objection.


14   that    day instead                             of      having                 to      pull          all     the evidence                              out                         14                            THE COURT                                      Admitted.

15   again because                                   its     usually                 here               in court.                                                                       15                                Defendants                            Exhibit               Nos.                11           -        12 admitted.

16          Q.        I

                           get        it.        I

                                                     get          it.        Now            this             here          is                                                           16          Q.      BY            MR.             WESTFALL                                   Please                tell                 us    what were

17   Defendants No. 10 and kind of looks                                                                                   like      were looking                                       17   looking         at       here.               I   --   first        of all               is    it   in        focus                       Is



18   at    a primer right                                                                                                                                                               18   this   in     focus

19          A.        Yes             thats the                             same         general                      area.              Its     lower                                  19          A.      It   looks                relatively                in     focus.

20   down on the primer.                                              Because these                                   are        my       notes              and                        20          Q.      Okay.                Please                  tell        us     what                this        is.



21   theyre           to        remind                me                I
                                                                             try to      take                a   --    I   dont           --     I
                                                                                                                                                      try                               21          A.      This upper                         region                here            is    a micrograph                                    of a

22   to    take pictures                             of different                      places on the primer so                                                I                         22   land impression. This area                                                    right           here             is        what we

23   have a good representation.                                                              Back before they had                                                                      23   call   slippage.                   And            basically                   slippage                       is          when the

24   photomicrographs                                       ability                 they would                        actually                 draw these                               24   projectile              is
                                                                                                                                                                                                                          going down the barrel as                                                          it        first



25   out.        So        this       is        just        a easier                   way and more accurate                                                      way                   25   engages             that           barrel              it   will
                                                                                                                                                                                                                                                                      slip       a        little          bit         on the


                                                                                                                                                                              142                                                                                                                                                                                   144
1    of taking                 notes            basically.                                                                                                                               1   land impressions                                 like       as      it
                                                                                                                                                                                                                                                                       get           --
                                                                                                                                                                                                                                                                                           grabs                  purchase

                      And more thorough                                                                           sure                                                                                               and                                                                                               The lower area




--11
2           Q.                                                                         way              for                                                                             2    basically                           it   will         cause those marks.

3           A.        For            sure.                                                                                                                                              3    with    the fewer                   markers                   on         it   is        the groove                                 impression                   a

4           Q.        And these are                                         called       breech                   face           marks                                                  4    photo         of    a groove                     impression. So                                    its        all         one            little



5           A.        Thats                 correct.                                                                                                                                    5    square         of       the        --    the          projectile.


6           Q.        What                is     a breech                         face                                                                                                  6           Q.      Okay.                Tell          us please                         about                    the lands                     and

7           A.        As         I   said previously                                     in       the        chamber on the back                                                        7    grooves.                Weve                 heard            that            term several                                times.                  Could          you
8    of the       slide              in     this particular                              case there                             is   a    flat        area                              8    just   tell     us       what            that         is You can draw                                               it        if
                                                                                                                                                                                                                                                                                                                                you need

9    where the                  firing               pin         comes through.                                   The cartridge                              case                       9    to.



10   the    head of the cartridge                                                 case            rests           upon               that      when               it   is               10          A.      Actually                  I       have a

     in   battery and ready                                      to         fire.        When                the           firing         pin         comes                             11          Q.      Oh            okay.

12   through              and         strikes                    that         primer                   that       --       the       power from                                         12          A.      So        basically                    this         is    a     little          plastic


13   that    explosion                      of the primer                              and then subsequently                                                 the                        13   representation                          of       what would be a                                   really big barrel                                 if    it




14   gunpowder                       within             the cartridge                                  causes                   that      cartridge                    case             14   was complete.                            The land and grooves                                                  are manufactured                                     into


15   and         in   this           case             the primer                            to         hit   against                 that            flat                               15   the barrel               and they                     spiral             down.                 You can see how they

16   area.        And during manufacturing marks were                                                                                          left         behind by                   16   have a         little        bit        of       a diagonal                        in   them.                 You can imagine

17   the    different                 finishing                       processes                         that          are imparted                          on the                      17   that   they would                        continue                   spiraling                      that        direction.                         The

18   primer.                                                                                                                                                                            18   land impressions are the                                            ones                that          are raised                              hence

19          Q.        Okay.                 So         it    just            --    these               lines          and            stuff                                              19   land          and the grooves                                  are the lower ones.                                                       This      adds

20   from forming the breech                                                      face actually                        just          get       pounded                                  20   stability          to    the        projectile                     in    flight.



21   into    the          --    because                     of          the force                  from the                     bullet         going                                    21          Q.      Makes                it       spin

22   backwards                                                                                                                                                                          22          A.      Correct.

23          A.        Essentially yes.                                                                                                                                                  23          Q.      And hopefully                                not tumble                        out right

24          Q.        Is this               another                         picture         from the                       --                                                           24          A.      Correct.

25          A.        Its        a    picture                    from             one of the related                                     cases                                          25          Q.      So then please show us what makes the land
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 1   impression                     what makes the groove or what are the land                                                                           1           Q.         Thats amazing.                                          So     I
                                                                                                                                                                                                                                                   mean what does                                      Taurus        do

 2   impressions                        and groove impressions on this                                                                                  2    or    Bersa Theres                                     other               cheap             brands right

 3          A.          The upper area with                                        all   the    marks would                    be made                  3           A.          Im         --       off       the top              of    my head                    I   dont know what

4    by     this        raised           portion                 here and the lower the lower                                         part              4    their particular                            class characteristics                                   are but                     I    know

 5   of the        picture               with the fewer                            marks would                    be made by                            5    Hi-Point                is    a nine              left.



6    the    --
                   by this the                  groove the lower                                 part.                                                  6            Q.     And youve                               actually                  met the manufacturer

 7          Q.          So      this          here          is   in    a groove                 and        this    is   a     land                      7           A.          I    have met him                                 yes.


8           A.          Basically               yes.                                                                                                    8            Q.     Where                        are they                  made
9           Q.          And         is   this        one          of      the       --   one of the                bullets         you                  9           A.          I    believe                  in    Ohio.

10   were asked                     to    look         at                                                                                               10           Q.     What                        did   you         --      did         you study shoe comparisons

11          A.          Yes         it   is.                                                                                                            11   and     stuff           when you were                                      in
                                                                                                                                                                                                                                              your masters                             program
12          Q.          And         this       is    the actual                     projectile             obviously                                    12          A.          I   had a                half       a class                   on   it     but not                 much.

13          A.          Yes.                                                                                                                            13           Q.     Just                    I

                                                                                                                                                                                                        mean Im                         not going              to       ask            you       to    make
14          Q.          Thats got the lands and grooves                                                                                                 14   any comparisons but                                             this        deal with the class

15          A.          Correct.                                                                                                                        15   characteristics                             and            individual                 characteristics                               they use

16          Q.         What              conclusion                       if
                                                                                any were you able                             to   reach                16   the     same                --    same                sort of thing                     in    the          shoe comparison                              I




17   as a         result           of    this       examination                                                                                         17   guess         tire           comparisons

18          A.          I   did     see some                     similarities                   here        but     I   was                             18          A.      Correct.                          Its       the        same general                              standard

19   inconclusive                       because                  they          werent           --
                                                                                                      they        werent of                             19   operating                   procedure yes.

20   quality           and quantity                      that         would              allow        me     personally               to                20                                 MR.            WESTFALL                                 You can                   sit       down.

21   make          a        identification.                                                                                                             21                                 THE WITNESS                                         Okay.            Wasnt                    sure          what was

22          Q.         And          this      has a              --   a        line      down the middle                       is   that                22   next.


23   --   thats your                    stereoscope                                                                                                     23                                 MR.            WESTFALL                                 Thank you so much                                       for   doing

24          A.         Thats             --   thats              with          a   comparison scope                                                     24   that.


25   correct.                                                                                                                                           25                                 Im            finished.                  Your Honor.                         Thank you.                         Thank


                                                                                                                                                 146                                                                                                                                                                      148
1           Q.          Now             different                manufacturers                         I

                                                                                                           guess have                                   1
                                                                                                                                                             you.        Pass the witness.

2    different              amounts                 of      lands              and grooves                                                              2                                                      REDIRECT                        EXAMINATION

3           A.         That         is    correct.                                                                                                      3    BY MR. STRAHAN

4           Q.         Why                                                                                                                              4           Q.      This                is       Defendants                           Exhibit          No.           9         and thats a

5           A.          Its their             choice.                 Its       their      --   from         my                                         5    great        picture.                       You said                  that        this       --   these                   photographs

6    personal                reading            of       literature                   theres always                     been some                       6    you make                     to        refresh              your           memory                 later

7    debate             as     to       whether                  more or less lands and grooves                                            and          7           A.      That                is       correct.


8    which         twist           is    better             but       really its            just           a choice           of                        8           Q.      Okay.                        And        I

                                                                                                                                                                                                                        guess as a                        lay   person we want                                  to


9    the manufacturer.                                                                                                                                  9    just    sit    and say                           wow            if    it
                                                                                                                                                                                                                                        goes         like       that              it    must be

10          Q.          I   dont know                       just      common sense                            it    would           seem                10   the    same.                  Thats a great picture right




--22
11   like         you had more                           of      those             things             would                        slow                 11          A.      Yes                 thats a                      thats             a very nice looking
                                                                                                                                                                                                                        --
             if                                                                                  it                     like


12   your         bullet           down                                                                                                                 12   picture.


13          A.          I   cant comment                              on       that.       Im not versed                      in that                   13          Q.      Who                 took           that          picture

14   particular subject.                                                                                                                                14          A.      I       was             quite          happy with                      that        picture.


15          Q.         And when you say a twist what do you                                                                   mean                      15          Q.      Its            a nice              picture.                  It    shows a                  lot.           And        I




16          A.         That         would             be the              spiral.          Its        going        to    --   the                       16   cant help                    it    I

                                                                                                                                                                                                        guess            its       human nature                               I

                                                                                                                                                                                                                                                                                   just      want          to


17   spiral        is       going        to twist                one           direction         or the            other.                               17   look    at that                   picture              and go standing                                 right              here with your

18          Q.         And some                     of      them are right-hand and some                                              of   them         18   black        and white                           picture               I   can        tell    that          those            two cases

19   are left-hand                                                                                                                                      19   were from the same exact weapon.                                                                       Thats not                         fair for   me
20          A.         Thats             correct.                                                                                                       20   to   do       is       it

21          Q.         And Hi-Point                         is   the only                one     that        uses nine                                  21          A.      No.                These are                          just        notes        that          I

                                                                                                                                                                                                                                                                             keep            in
                                                                                                                                                                                                                                                                                                      my
            A.         It    is.    Nine            left.                                                                                               22   my     --
                                                                                                                                                                         during                 my            examination.

23          Q.      And they do                          that         because               they           know         that       their                23          Q.      Okay.                        But       is    there a               lot      more            to        your           scientific


24   guns get used                        in    crimes                                                                                                  24   opinion                than            looking              at       these            comparison                          on these two

25          A.         That         is    correct.                                                                                                      25   pictures               and saying yep thats it
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                                                                                                                                                                                  149                                                                                                                                                                             151
    1                  A.         Yes                there     is.                                                                                                                       1   the     entirety of                        the        projectile.                      We         arent going                         to     --    we
 2                      Q.        So theres a                        lot        more                  to    it   than        that.          Now             tell                         2   arent            going                to    make                --       its     rare      that            we    would                make an

 3              me about again what                                             is      a slippage                     mark                                                              3    identification                        off       of       a single               land and/or                     groove.

 4                                                           occurs               when the                                       said                                                    4           Q.                                       And what                                              guess what Im
                       A.         Slippage                                                                         like                      before                                                               All                                                                   --
                                                                                                                                                                                                                             right.                                           part
                                                                                                                             I
                                                                                                                                                                                                                                                                                               I




 5              when the                bullet              starts traveling                                through              the barrel                  it                          5   getting              at     is        how        big            in real          life    is       this       picture              that


 6              needs             to    get purchase                            on those lands and grooves.                                                        And       it          6   were looking                              at What                         percentage                       of   that          bullet             or

 7              will    --
                             theyll slip just                        a         little            bit    and cause                     --                                                 7   whats            left           of    a     bullet              are        we                                              at




--17
                                                                                                                                                                                                                                                                                really             looking                         if
                                                                                                                                                                                                                                                                                                                                         you                            k



 8              theyre not                       up there anymore                                      --    but       cause those                     marks.                            8   can put               it    in    those               terms
 9                     Q.         Now                 does      it
                                                                     always                       slip       exactly             the        same                                         9          A.            Well             its        been magnified                                 55 times so                           that        would

 10                    A.         Its        often           you can                    find           some            individual             marks                in                   10   be     --    its       hard               to     really              quantify              but         its      like          the top

11              slippage.                   It       doesnt          --    there                  isnt always                     slippage                                              11   of a pin               like           a    stick           pin.


12              though            either.                                                                                                                                               12           Q.       That area                                 this           top of a           stick                        like        a




--21
                                                                                                                                                                                                                                               is                                                         pin

13                     Q.         Okay.                    And so whether                                   there       is   slippage                  or not                           13   needle

14              slippage               would                make          a difference                            even           in    bullets          fired                           14          A.        Yeah                     like    a        little         flat    stick           pin.          Its       a   very
15              through            the               same      barrel                   correct                                                                                         15   very small area.

16                     A.         Yes.                                                                                                                                                  16          Q.                                  And youre
                                                                                                                                                                                                              Okay.                                                         talking

                       Q.                                  And the difference
                                  Okay.                                                                          in    the slippage                                                     17          A.            In     my         best guestimation.

18              because                 I

                                             guess the                     bullet                 through               the explosion                        has        to              18          Q.        The             tip       of a pin                      needle

19          catch            and then                       start    spinning                           correct                                                                         19          A.        The             part            you push.
20                     A.         Correct.                                                                                                                                              20          Q.        Oh              okay             like


                       Q.         Okay.                    And so          that              is       not going              to       be necessarily                                    21          A.        Not the                    tip of              the        pin    but the                  head of the                      stick


22          as accurate                              because              theres                      more variables                        with the                                    22   pin.


23          slippage                   and whether                        theres slippage                                    at   --       there        at all                          23          Q.                                                                  And so something
                                                                                                                                                                                                              I

                                                                                                                                                                                                                   got you.                    Okay.                                                                         that         tiny

24          is     that      fair to                 say                                                                                                                                24   looking              at that               portion                       and     its    magnified                         55 times                to


25                     A.         Thats                correct.                Theres more variables                                              in                                    25   where we can see                                      it    like          this         correct


                                                                                                                                                                                  150                                                                                                                                                                           15
 1
            projectiles                     in        general.                                                                                                                           1          A.        Correct.

 2                     Q.         Okay.                And so you said before                                                its       a    lot   easier                                 2          Q.        And again on                                        this                                                                   one
                                                                                                                                                                                                                                                                             particular                 bullet             this


 3               guess                      do cases than                                                    do bullets correct                                                          3                 BRB-16                                       have represented                                               you was the
                                   to                                                                  to
            I
                                                                                        it       is                                                                                          being                                      that       I
                                                                                                                                                                                                                                                                                                             to                                          bullet


 4                     A.         Thats               correct.                                                                                                                           4   found                 the             home                                                                        and so                                    one
                                                                                                                                                                                                           at                                      of        Nancy Weatherly                                                             this       is



 5                     Q.         Okay.                I

                                                            guess          if     I
                                                                                        were               to    step        on a wet              floor                                 5   where            you said there were not enough                                                                 to        make              --    to    confirm

 6      and                        twice                    two      days                                                              the    same way                                                    came
                        slip                           in                                    I
                                                                                                 might not                  slip                                                         6   that    it                       out           of that                   particular           weapon                      yet also                 not

 7      twice                is    that              fair to     say                                                                                                                     7   enough               differences                            I

                                                                                                                                                                                                                                                             guess              to      say         that          it   did         not
8                      A.         Fair.                                                                                                                                                  8          A.        Thats                    correct.                        didnt         have enough                                                or
                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                                                                           quality

9                      Q.         So        in        Defendants                        Exhibit                  No.     11       it       looks       really                            9   quantity.

10      clear there                          kind of           in    the mid-section                                    that       theres              --    and                        10          Q.        Okay.                     So     its           just       inconclusive                      then
11      I        hate        to    even                say this but theres                                        seven or eight or                                                     11          A.        Yes.

12      nine            lines that                     match          up perfectly                                just       as       what were                                         12          Q.        However                         you            did        have an opinion                                as     to         whether           or

13      looking                                      know thats not the                                      scientific               term        and you                               13   not    this particular                            bullet                 was      fired                                   a Hi-Point
                                  at.            I

                                                                                                                                                                                                                                                                                               through

14      probably                       hate that                 but theres several                                         of these              marks                                 14   9 millimeter                     specifically                             yes
15      that            line       up            perfectly           at         the bottom                        in    the       middle                                                15          A.        Yes              I    did.


16                     A.     Yes                    there are            some                    similarities               there            but                                       16          Q.        Okay.                    And         in        your           test     firing             you            test        fired


17      thats only                          one of the nine lands and grooves.                                                                    There            are                  17   more         than               one         shell          or            one     bullet           yourself                 is    that


18      nine of               them we have                                to      examine and determine you know                                                                        18   correct

19      if       theres            enough                    for     them               to        be        called.                                                                     19          A.        Thats                    correct.


20                     Q.     Okay.                    And so                    the only thing                                        were looking                                     20          Q.                                 And when you                                                                                                 a
                                                                          if
                                                                                                                         you                                                                                  Okay.                                                             test           fire       you           fired            into


21      at        was        that            particular               land              and groove you might say                                                   this                 21   tank        of   water                      How does                           that     work
22                                                         was                                                                                                                          22
        particular                     bullet                        fired            through                    that       particular                 gun                                          A.        Its            really           important                     for      us      to     get a nice

23               thats a               good one                  that                   similar or                           that          not    fair                                  23                                                                                         to              we                      One                  the
                                                                                                                                                                                                                                                        compare
                                                                                 is                                    is                                                                                                                     to
        if
                                                                                                                                                                                             pristine projectile                                                                          if              can.                           of


24      either                                                                                                                                                                          24   methods                    is   to        fire    into           a large               tank           of   water.                Our tank

25                     A.          dont believe thats                                            fair       because               we        look       at                               25   is   about           4 by 15 by                           4.     And what                    that          does            is              just
                              I

                                                                                                                                                                                                                                                                                                                              it
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                                                                                                                                                  153                                                                                                                                                                                           155
 1   absorb        --        the water               will    absorb                 all     of   the energy               of the                         1   the     same gun                           that            you watched                                 being            fired          and then theyre

 2   projectile              and the             projectile              will            fall    nicely      to     the                                 2    really      not                any good                    for        comparison

 3   ground           or     to       the bottom                  of the tank without                             any damage                 to          3          A.             Thats not necessarily                                                   the            truth.          It       could            be

 4   the     projectile               itself.         And then we use a                                retrieval           device                       4    from wear.                            Even            what you would consider you know

 5   to    get out           and take a look                        at    it.                                                                           5    high-end                       guns can have wear and the                                                               barrel               can not mark

 6           Q.    Okay.                   So   in    a controlled                        environment                like       that                    6    well.       It            might            be the actual ammunition. Every

 7   if
          you     test       fired         two bullets               both                of     them are going                    to                    7    manufacturer                               manufactures                              their projectile                                  just           a      little



 8   be     in   as    good and                  pristine            after               having        been         fired         of                    8    bit    different                      with    a           different             amount                            of   --
                                                                                                                                                                                                                                                                                          you know                           its


 9   shape         as they                 can possibly be in                                                                                           9    a     copper jacket                          but            its       not pure                         copper                so theres

10          A.     Yes            hopefully.                                                                                                            10   different                  --        its   an alloy                   so   it
                                                                                                                                                                                                                                                 might                    be harder or

11           Q.    And thats not going through                                                   a   wall         or going                              11   softer      than                     others.               Theres a number                                             of    reasons                         why they

12   through          someones body                                or    bone or anything                            like       that                    12   might not                      mark         well.




--22
13          A.     Thats               correct.                                                                                                         13          Q.             Whats                 the           most popular semi-automatic pistol




--25
14          Q.     Okay.                   Did you          compare                      the     two    test       fired                                14          A.             I   do not know                           that       answer.

15   projectiles              that         you       personally                     test        fired                                                   15          Q.             I   dont mean brand                                       I
                                                                                                                                                                                                                                                      mean                 caliber.


16          A.     Yes            I    did.                                                                                                             16          A.             I   do not know                           that       answer                            for sure.


17          Q.     Okay.                   And   did        you     --     these                are    ones under your                                  17          Q.             Certainly a 9                             millimeter                        would                be     one you                        see
18   control       into that                water           is    that          right                                                                   18          A.          A       9         millimeter                  is
                                                                                                                                                                                                                                   very               common                             yes.

19          A.     Yes.                                                                                                                                 19          Q.          And the ammunition tends                                                                  to    be        quite               a    bit



20          Q.     Did        you have an opinion based on your                                                           scientific                    20   cheaper                   than say a 10 millimeter some other handgun

21   evidence                about those                    two     projectiles                      that    you personally                             21   because                    even a 40                       caliber


     fired       holding              the    same gun do you have an                                               opinion         as to                22          A.             In       my experience yes                                                  buying               9 millimeter

23   scientifically                   based on              that         analysis                 whether            those         were                 23   ammunition                            is   cheaper                    than           40.

24   fired       out of the                same                                     Hi-Point           handgun                                          24          Q.                            us the process
                                                                                                                                                                                Tell                                                                                                                you
                                                                                                                                                                                                                                         --                           of all             did
                                                       particular                                                                                                                                                                                     first



            A.     The         test         fires      did        not    mark               well      either         so     I                           25   did    anything                        I
                                                                                                                                                                                                        say            sound        like              I    was arguing with you about


                                                                                                                                                  154                                                                                                                                                                                           156




--10
 1
     actually           even knowing                        that         they            were fired you know                            me              1
                                                                                                                                                             your     conclusions

2    personally               firing        them and knowing                                    that   they         came          from                  2           A.             No.

3    that    particular                weapon                it   was           still      difficult         to    make an                              3           Q.          Okay.                   Good.                 The process                                  that          you did                   just            let



4    identification.                   So       in    my         notes          I
                                                                                    put inconclusive                                                    4    us     know the process                                         that    you did because                                                I   understand                            the

5    meaning             the          individual            marks               didnt            really      show up very                               5    pictures                  are your                    notes but what                                     I   was            trying to                 discover

6    well    and        it   was           difficult        to     see where they had any                                                               6    is    what was the procedure                                               that                   you used                        to       make              the

7    agreement.                                                                                                                                         7    comparisons                                 And            will       the pictures                                help            you        to       explain

8           Q.     So having                    fired       them yourself you had                                     to        write                   8    it

9    in   your     own            report         that       it    was inconclusive                            even though                               9           A.          Actually                  if       I

                                                                                                                                                                                                                        might grab a

     you had          fired           them from the same                                      weapon                                                    10          Q.          Yeah                    please               do.


11          A.     Thats               correct.             And      I    use the word                                                                  11          A.          These are                              big    plastic                 projectiles.                             Basically                    it




12   inconclusive                      more           in    my      notes                to     term    --    I    know         their                   12   would        be the same                                   thing       as           if       we were on you know                                                       --   if




13   identification.                   I   did   it    myself             so.                                                                           13   were looking through                                             the microscope                                        and we could match up

14          Q.     Okay.               So your memory is on having                                                  fired       those                   14   the    different                      lands               and grooves                                  here.           As you can see

15   two     is
                  very conclusive                                                                                                                       15   these       ones have been manufactured                                                                                with           really           large gross

16          A.     Yes.                                                                                                                                 16   lands       so             you can see how you                                                    --    we         would               twist           it.      We
17          Q.     Your           scientific               results         on the two                   that        you         fired                   17   would        put                it    on the microscope.

18   are inconclusive                                                                                                                                   18                                        What         I
                                                                                                                                                                                                                       usually          do            is        I   find        an area                   I       like


19          A.     Correct.                                                                                                                             19   that    has some nice marks                                                on                it        and then                   I   will           use       that


20                            MR.          STRAHAN                       Ill
                                                                                    pass the witness.                                                   20   area     and then                          rotate               the other one.                                    And then                       I   will



21                                              RECROSS-EXAMINATION                                                                                     21   rotate      it            to    the next                   one and                  rotate                   it   and        trying                  to


22   BY MR. WESTFALL                                                                                                                                    22   match            it
                                                                                                                                                                                       up.


23          Q.     Starting                to   get the idea                        we      shouldnt               go out and                           23                                        Projectiles                 are a              little              bit       more            difficult


24   buy Hi-Point                 firearms.                 Is that            --    I
                                                                                          mean         is    that     because                           24   because                    they            do have so many other surfaces.                                                                             Breech

25   the    gun       is     so       cheap          that         you couldnt even do two out                                           of              25   traces           --
                                                                                                                                                                                       or sorry the head                                         of        the            cartridge                     case
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                                                                                                                                                                                 157                                                                                                                                                                  159
1    theres           just             one nice               flat          surface                 but with a                                                                          1            Q.     With                    maybe        finding          something                       different                     or    a

2    projectile                   its       a    3-D surface                     to        begin           with              so      it    makes                                       2    different             experience                         or just      thats a closer                        call                I




3    it    difficult         to            see everything                     all      at       once because                                   the       way                           3    guess than how obvious                                              the casings                   were

4    a microscope                            works            its       looking                 at    a    slice.               So were                                                4             A.      Right.                   Theres a number                              of   factors you                             know            if




5    trying          to     look            at    something                   thats looking                               at    slices                   but                           5    youre using the same microscope                                                                 lighting              experience.

6    in    --    but        its        actually             3-D.            So well look                        at        --    so        --                                           6    Theres               --       its       --    theres a              number of                   factors          that               could


7    its     the      focus you have                               to        be very                 careful               of    the focus                                             7    play      into        that yes.

8    and the                lighting.                                                                                                                                                  8             Q.     Okay.                     And as          far       as these                particular                Hi-Points

9                                  And            I
                                                      basically              rotate             one and then look down                                                                 9    not necessarily                               being a           cheap weapon but you said

10   the length                   and the breadth                             of      it       to   see         if    I   can          find             any                            10   something                      about the                 amount             of      usage             of   the        weapon                       would

                                                                                                                                                                                            make




--21
11   areas           that         look           like       they match.                         Then            Ill       rotate               it                                      11                  a difference                         on    how good of a mark                                it        would                make on

12   again and do the same                                             thing       over              and over again                                     until                          12   the bullets                    is       that        correct

13   hopefully                I   find           some         results.                                                                                                                 13            A.     Thats one                           of   the possible                     reasons            a        projectile


14              Q.     About                 how long              will
                                                                              you spend                         looking                   at        a                                  14   may       not         mark               well.


15   bullet                                                                                                                                                                            15            Q.     If        a    gun had been used a                                        lot    would           it    mark

16           A.        It
                             really              depends                on the                 particular bullet.                                   A                                  16   better         or     less you                      think

17   lot    of       times             I   find       that    identifications                             are shorter                                                                  17            A.      I    havent                   read       any studies                     or    done any work

18   because                 if    its       there           its       there.              You            --   its        really               --                                      18   myself but                     I        would surmise                     that       it    would           probably                       mark a

19   you        know              it       pops out               at   you.                                                                                                            19   little    worse.

20              Q.     Yeah.                     Science           speaks                  for       itself                                                                            20            Q.     Okay.                     Which means not as

                A.     Exactly.                                                                                                                                                        21            A.     Not as                    well.
                                                                                                                                                                                                                                                                                                                                                            ff




22              Q.     I    would                imagine               --   well           let       me        just          ask you.                        Do                        22            Q.     Not as                    well.          Okay.        And so any                       kind           of        damage
23   you        see yourself as                              in    your           scientific                   evaluations                              and        in                  23   I

                                                                                                                                                                                                 guess            to       the           interior      of       the   gun             whether            its           a

24   your        scientific                  conclusions                      do you see yourself as being                                                                             24   worn          firing           pin might                  make a difference                             on the                      shell


25   conservative                            middle           of       the       road               liberal                  Or      is        that          --                        25   casings


                                                                                                                                                                                 158                                                                                                                                                                  16D
1    is    there           even such a                       thing           in   the world of                            science                        Are                           1             A.     Thats                    true.


2    the shots               just            called          as    you see                     them                                                                                    2             Q.     Okay.                     And so          if    a    weapon                --    like      whenever                           you

3            A.        I    wouldnt characterize                                           myself as anything                                           in                             3    were competitively                                  shooting               did        you        take a            lot              of   good

4    particular                   just...                                                                                                                                              4    care      of your                   weapons
5               Q.     If    its           there        its       there                                                                                                                5             A.     Yes                 I   did.


6            A.        I    want            to        make        sure           its       there.               Especially                           you                               6             Q.      I
                                                                                                                                                                                                                  mean                    did   you         clean       them            after       every                   use and

7    know            someones                          --   when these                          matters are so important                                                     I         7    that     sort         of       thing           and maintain                     them
8    dont want                    to        make            a mistake.                     I    want           to         make sure                       that          if             8             A.     Yes.

9    its    there            its            there.                                                                                                                                     9             Q.     Were you                        careful             with        them
10                                 MR.            WESTFALL                            Excellent.                          Thank you.                                                   10            A.     Yes.

11                                     FURTHER                    REDIRECT                      EXAMINATION                                                                            11            Q.     Did            you generally                        keep them                    in   cases                so            that      they

12   BY MR. STRAHAN                                                                                                                                                                    12   would          not get                   damaged
13              Q.     I    asked you before about the casings and whether                                                                                                             13            A.     Yes                 I
                                                                                                                                                                                                                                    did.


14   reasonable                        scientific             minds you thought                                           other firearm                           tool                 14            Q.      Do you                      think       those        weapons                   would            have marked

15   mark experts could                                     differ          on    that.              And you were very                                                                 15   really         well

16   solid        on        that.            Theres a great a                                   lot       plenty                of    marks                                            16            A.      I    cant say how                             well   they           would mark.                           It       would

17   with       characteristics                              is   that       correct                                                                                                   17   depend                on a              lot   of    factors but                 I
                                                                                                                                                                                                                                                                                did         take       good care                          of


18           A.       Thats                  correct.                                                                                                                                  18   them           yes.

19              Q.    And with                        less    markings                     whenever                         something                         is                       19            Q.     Okay.                     And so           if   a    weapon was used a                                          lot


20   inconclusive                           if   another               expert were                        to     look           at        it        could                              20   banged                around                  or    dropped               or    was         just       old         do you                     think


21   reasonable                        minds           differ          on the              bullets              because                        of       the lack                       21   it   would            mark as                  well       as a brand                   new            pristine                      nice


22   of    characteristics                            that        you found                                                                                                            22   weapon
23           A.       The fewer characteristics the more                                                                        likely              --   the                           23            A.      It       would depend                          on    manufacturer                         and a                    lot    of


24   harder           it    is     to       make            an     identification                              and         it   is     possible                                        24   other         things.


25   that       someone                      else           may have                identified                       those.                                                            25                                  MR.            STRAHAN                     Ill
                                                                                                                                                                                                                                                                                pass the witness.
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1                               FURTHER                RECROSS-EXAMINATION                                                                          1    rather than           trying       to        cram something                   else       in in   the


2    BY MR. WESTFALL                                                                                                                                2    afternoon.


3              Q.    So thats what                       I
                                                             guess     I    --
                                                                                 my assumption                               was                    3                          The Court               will
                                                                                                                                                                                                                  again        remind you          that        its



4    that      maybe you make conservative                                             more conservative                                            4    very important               that       you      pay close              attention         to    all    the


5    opinions             than        some         other labs              might but               I

                                                                                                         guess what                    --           5    rules that           Ive    read    you          at       the beginning             of this      trial




6    there could                be     a reasonable                                                              You could look                     6    and    that     Ive        reminded             you           of    every   evening            and      that   is
                                                                     disagreement.

7    at    a    bullet         and someone                    else could               look       at         a    bullet.        They               7    that   you absolutely                   must not review or read any                                   report    of



8    could          see a match and you would                                     say            for   me             personally                    8    this   case      in
                                                                                                                                                                                any media whether                              its   on the Internet

9    Im        not going             to call      it   a     match                                                                                  9    whether         its    in   the    newspaper whether                               its    on the radio

10             A.    Thats            correct.                                                                                                      10   or the      TV       and     that       you should                   not discuss          this    case       with



11                             MR.         WESTFALL                    Okay.            I

                                                                                            get        it.        All    right.                     11   anyone          not    even your spouse.                              And thats a very

12   Thank you so much.                                                                                                                             12   particularly difficult                  thing            to    do    but    youre        just    going

13                              FURTHER                REDIRECT                  EXAMINATION                                                        13   to   have       to   say      Im         taking               the   weekend         off   and Im not

14   BY MR. STRAHAN                                                                                                                                 14   going    to talk           about        it
                                                                                                                                                                                                      right        now.        Maybe someday when                            this



15             Q.    And by the same token you                                         could           see one and say                              15   is   over   I
                                                                                                                                                                         can        talk   about          it.           And go on and enjoy your

16   I see enough                     here      to       say    that       its    definitely                     not a         match                16   family      and loved ones                     for        the       weekend and come back                            here


17   as well correct                                                                                                                                17   and be ready                to    go Monday                    morning        at   the     same         time.



18             A.    Thats            correct.                                                                                                      18                         So with that                   I   can excuse you                  at this time.



19             Q.    I
                          mean you              could           do    both.           And where                       you were on                   19   And thank you                for    your         attention             this   week.


20   all   the      bullets           in   this     case including                     the        two            that    you                        20                         Court        adjourned.

21   test      fired       was not enough                        markings               for      you             to                                 21


22   conclusively                    say    one way or the other                                                                                    22

23             A.    Thats            correct.                                                                                                      23

24             Q.    However                                                                --                                                      24
                                            every            single        casing

25                             MR.         WESTFALL                    Object           to       leading.                                           25


                                                                                                                                              162

 1             Q.    What was                the       result     of every              single casing                          that     I




2    have on              that       board with               relation       to that             particular


3    handgun
4              A.    All       the casings                   on the board were                         fired          from the


5    Fort       Worth           --
                                     sorry from the Hi-Point                                firearm.


6                              MR.         STRAHAN                   Okay.             Thank you.                        Ill
                                                                                                                                pass

7    the witness.

8                              MR.         WESTFALL                    Im not going                          to       ask      anymore

9    questions                 Judge.

10                             THE COURT                        May        the witness                       be excused

11                             MR.         STRAHAN                   Yes.         Thank you.

12                             MR.         WESTFALL                    She may.

13                             THE COURT                        Thank            you.

14                             Well take a 15-minute                                  recess.

15                             Recess             taken         from        320         to       331 p.m.




--21
16                             Jury present.

17                             THE COURT                        You may be seated.                                      Ladies          and

18   gentlemen                   Ive       reviewed            the    trial       schedule                   and the

19   progress with the attorneys                                     and Im pleased                               with the


20   progress              that       were making                 and were on track                                     to     being

     weve           completed               a   good portion                     of   the work                   this        week.          And

22   we do have                  probably              another         two        weeks                plus or                 minus a few

23   days           for    everybody                to       have time           to    present everything

24   that       you need              to    hear.            So with that               its       appropriate                    to


25   recess              for   the    weekend                 at this      time        at        330 on                 Friday
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  1   THE    STATE          OF    TEXAS


  2   COUNTY       OF       JOHNSON

  3                               I      Pamela          K.    Waits         Official            Court     Reporter

  4   in    and    for       the       413th       District            Court       of    Johnson          County

  5   State       of    Texas           do    hereby           certify        that       the      above     and


  6   foregoing             contains          a    true        and     correct          transcription             of    all

  7   portions          of       evidence          and        other.    proceedings               requested        in


  8   writing          by    counsel          for      the      parties           to    be    included       in    the


  9   volume       of       the       Reporters               Record         in    the       above-styled          and


 10   numbered          cause           all       of   which         occurred           in    open       court    or    in


 11   chambers          and       were       reported           by     me.


 12                               I    further           certify         that      this          Reporters        Record

 13   of    the    proceedings                truly           and    correctly           reflects          the


 14   exhibits              if    any        admitted           by     the    respective             parties.

 15                               WITNESS           MY    OFFICIAL HAND                  this     the     -ýý      day

 16   of                                 2012


 17


 18
                                             ----      ----
                                             ----------------------Pamela
                                                     K Waits Texas CSR 4991
 19                                          Expiration Date    12/31/13
                                             Official Court Reporter
20                                           413th   Judicial District
                                             Johnson County Texas
21                                           204  S.  Buffalo Avenue
                                             Cleburne               Texas     76033
22                                            817        556-6041


23


24


25
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  1                                       REPORTERS               RECORD

  2                                    VOLUME       43    OF     75   VOLUMES


  3                            TRIAL       COURT          CAUSE       NO.     F45059


  4                    COURT      OF    CRIMINAL          APPEALS           NO.    AP-76768

  5    STATE    OF   TEXAS                                             IN    THE    DISTRICT      COURT


  6    VS.                                                             JOHNSON       COUNTY       TEXAS


  7    MARK    ANTHONY     SOLIZ                                       413TH       JUDICIAL      DISTRICT

  8




  9


----------------------------------------------------------10
                                JURY TRIAL


11                                      GUILT/INNOCENCE                 PHASE


12


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 14


 15


 16


 17                          On    the    5th       day     of    March           2012   the     following

 18    proceedings        came      on   to     be   heard        in     the      above-entitled          and


 19    numbered      cause     before         the    Honorable              William      C.    Bosworth

 20    Jr.     Judge     presiding            held        in   Cleburne            Johnson      County

 21    Texas

 22                          Proceedings             reported           by     Machine        Shorthand    and


 23    Computer-Aided             Transcription. FILED                 IN

                                                COURT OF CRIMINAL APPEALS
 2 4


                                                           JAN 2 2 2013
 25


                                                         Abel Acosta     Clerk
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22


23


24


25
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  9   JAY KNIFFEN                           215                                                        43


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      282     2   pill    bottles       various      pills                79    80         43
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 19   313     Photo      8x10                                             82    82         43
      314     Photo      8x10                                             82    82         43
20    315     4   swabs     2    straws                                   92    92         43
      315-A       Sack                               Record     only      92    92         43
21    316     4   CDs                                                     92    93         43
      316-A       Sack                               Record     only      92    93         43
22    317   Marlboro pack                                                 92    93         43
      317-A   Sack                                   Record     only      92    93         43
23    318   Small wood jewelry               box   drawer                 93    93         43
      318-A       Sack                               Record     only      93    93         43
24    319   1 Gold-colored earring                                        94    94         43
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25    320   Vial of dark liquid                                           94    94         43
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  1   320-A   Envelope                                Record        only    94    94        43
      321   Vial of clear               liquid                              95    95        43
  2   321-A   Envelope                                Record        only    95    95        43
      322   Keyless remote              button                              95    95        43
  3   322-A   Envelope                                Record        only    95    95        43
      323   Orange shirt            with    stripes                         96    96        43
  4   323-A   Sack                                    Record        only    96    96        43
      324   Dairy Queen            sack     ketchup       packets           96    96        43
  5   324-A   Sack                                    Record        only    96    96        43
      325   1 CD                                                            97    97        43
  6   325-A   Envelope                                Record        only    97    97        43
      326     Shoeprint          impression                                 99    129       43
  7   326-A  Envelope                                 Record        only    99    129       43
      327   Shoeprint impression                                            99    99        43
  8   327-A  Envelope                                 Record        only    99    99        43
      328   Cell Phone Accessories                  Charger    package      100   100       43
  9   328-A   Sack                                    Record        only    100   100       43
      329   Green cigarette               lighter                           100   100       43
 10   329-A   Sack                                    Record        only    100   100       43
      330     TexasLottery           $1    Scratch    Off                   101   101       43
 11   330-A    Envelope                               Record        only    101   101       43
      331   LiftMaster Security                  opener                     101   102       43
 12   331-A    Envelope                               Record     only       101   102       43
      332     Swab                                                          102   102       43
 13   332-A     Envelope                              Record     only       102   102       43
      333   1   CD                                                          103   103       43
 14   333-A     Sack                                  Record     only       103   103       43
      334     Box    with    Mylar impression                               139   139       43
 15   334-A     Paper       wrapper          Record              only       139   139       43
      335   2   printlift cards                                             142   143       43
 16   335-A   Envelope with envelope                  Record        only    142   143       43
      336   Shoeprints                                                      145   146       43
 17   336-A   Sack                                    Record     only       145   146       43
      337     Envelope                                Record     only       188   189       43
 18   337-A     Small
                    Envelope               with    swab                     188   189       43
      337-B     Small
                    Envelope               with    swab                     188   189       43
 19   337-C   Small Envelope               with    swab                     188   189       43
      337-D   Small Envelope               with    swab                     188   189       43
 20   337-E   Small Envelope               with    swab                     188   189       43
      337-F   Small Envelope               with    swab                     188   189       43
 21   337-G   Small Envelope               with    swab                     188   189       43
      338   Large Envelope                            Record     only       191   191       43
 22   338-A   Medium Envelope                         Record     only       191   191       43
      338-A-1   2 Dobbers                                                   191   191       43
23    339  Medium Envelope                sealedRecord           only       203   204       43
      340     Medium Envelope  sealedRecord only                            203   204       43
 24   341     Official Laboratory Report Lopez                              205   205       43
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25    343     Official Laboratory Report Lopez                              205   205       43
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  6   20    Photo   8x10                                           110    110      43


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 1                                                P R 0 C E E D                 I   N G                                      1   individuals                 incarcerated                  in    the      jail    up here           to    the

 2                       Open             court         Defendant              present                                       2   courthouse                  to    speak          with their               attorneys              and     to    do

 3                       Jury not present.                                                                                   3   whatever              they        needed                 to do.          We      also transported                    to        the

 4                       THE COURT                        Is     the State ready                   to   proceed              4   T.D.C.          units.           We          bench-warranted                          back       from the T.D.C.

 5                       MR.         STRAHAN                     Yes       sir.                                              5   units.          We      did       mental            health        commitments.

 6                       THE COURT                        Defense              present            and ready                  6           Q.      Variety             of   duties

 7                       MR.         WESTFALL                         Yes Your             Honor.                            7           A.      A     variety            of duties.


 8                       THE COURT                        Defendant                 present                                  8           Q.      So you              first      worked           there           then the school

9                        MR.         WESTFALL                         Hes      here.                                         9   resource              officer            and then the                    last    few years youve been

10                       THE COURT                       Jury          ready                                                10   on    patrol

11                       THE BAILIFF Yes                               sir.                                                 11           A.      Yes.

12                       THE COURT                       You may bring them                             in.                 12           Q.      Okay.             And how does                           patrol       work          Are there a                    lot



13                       Jury present.                                                                                      13   of   deputies               out     on        patrol       at   a given time                  in    Johnson

14                       THE COURT                       Thank you.                   You may be seated.                    14   County
15                       Please           call     your next witness.                                                       15           A.      We          have more                    officers         on duty           basically          during

16                       MR.         CHAMBLESS                         State         calls   Deputy           Truitt        16   the     first     two       shifts           than        we do deep                   nights but              we have
17   Johnson          County Sheriffs                    Office.                                                            17   an    overlapping                   shift       now which                  really       helps out a             lot      too.


18                       THE COURT                       Come            all   the     way around               here.       18           Q.      You say deep                             nights.           What hours does                      that


19   Please         raise         your    right        hand.                                                                19   cover

20                       Witness sworn.                                                                                     20           A.      Presently                it    covers          from        1045            until    8    in   the

21                       THE COURT                       Thank you.                   Have a            seat.               21   morning.

22                       MR.         CHAMBLESS                         You might             pull       the   microphone    22           Q.      Okay.             So are you saying thats the                                       shift      that


23   to   where you can speak                           into     it   in front        of   you     there.                   23   has the           least          staffing         for      the Sheriffs                Department

24   Thank you.                                                                                                             24         A.        A     lot    of     times.

25                                                                                                                          25           Q.      Okay.             Now           back on June 30th                            of    2010 were you


                                                                                                                        9                                                                                                                                                      11

1                                                CYNTHIA              TRUITT                                                 1   working           as a           patrol        officer         for       the    Johnson             County
2                  Having          been        first
                                                        duly       sworn            testified       as follows              2    Sheriffs            Department

3                                          DIRECT EXAMINATION                                                               3          A.        Yes          sir.



4    BY MR.         CHAMBLESS                                                                                               4            Q.      And         did      you receive                  an assignment                     from        I
                                                                                                                                                                                                                                                     guess

5           Q.     Please           state your           name.                                                              5    dispatch            or from              some            other    source              to    go     to    a residence                     in



6           A.     Cynthia          Truitt.                                                                                 6    Godley Texas

7           Q.     And       Ms.        Truitt         what      is   your      occupation                                  7          A.        There            initially       had been a                     call   dispatched               to


8           A.     Im    a   patrol        officer       for      the    Johnson             County                         8    back up a Godley                              officer.


9    Patrol        Division.                                                                                                9            Q.      Okay.

10          Q.     How       long have you worked                              as a     patrol          officer             10         A.        For         agency             assist.


11          A.     Four years now.                                                                                          11           Q.      What time are we                            talking             about       in     the    morning

12          Q.     Okay.           And are you a                  certified          peace         officer                  12   approximately

13          A.     Yes       sir.                                                                                           13         A.        This        was          right      at that       over           --   hour overlapping

14          Q.     And has              that   been your duties throughout                                    your          14   shift    change.                 And so             I    was    just       coming            off    shift      but       it




15   time    with     Johnson             County Sheriffs Department                                                        15   came         in   and        I   was close and                       I   went ahead and took                             it.




16          A.     No.       Ive        held other         positions.                                                       16           Q.      Okay.

17          Q.     What           are    they                                                                               17         A.        The Godley                     unit       came back on and advised                                       I




18          A.     Started          out Transport Division                           for   three        years               18   guess myself                      or     dispatch              that       that    was not going                     to   be

19   worked         as   an       S.R.O.          Since          then         Ive    been         in Patrol.                19   the address                  that        we needed                to      go to we needed                       to       go out

20          Q.     S.R.O. whats that                                                                                        20   on    FM        2331         at     --   I
                                                                                                                                                                               dont remember the exact address.

21          A.     School           Resource            Officer.                                                            21           Q.      All    right.            Was        it    14356 FM 2331

22          Q.     Okay.           Transport            is well          maybe obvious but                                  22         A.        That         sounds             right.


23   just   tell    us   what        that      involves.                                                                    23           Q.      All    right.            Weve             heard          from Detective                  Cedillo              of


24          A.     Well       I    worked         Transport             Division.            It    was                      24   the     Fort      Worth Police Department                                        that       he     and another

25   basically       working             with the        jail.        We       brought            those                     25   officer         Detective                Pate were already there
 --8
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                                                                                                                                                 12                                                                                                                                                                                   14
    1           A.                Yes.                                                                                                                 1     Sheriffs                        Office two                                     to    three           times before                  I     made
 2              Q.                And when you got                                     the residence
                                                                                  to                              in
                                                                                                                         Godley were                   2     entry.

 3       they       there                                                                                                                              3             Q.         Okay.

 4              A.                Yes          they were.                    They were outside                     the gate           at               4             A.             I       looked                   around.

 5       the roadway.                                                                                                                                  5             Q.         What was the                                                                       you saw when you walked
                                                                                                                                                                                                                                            first
                                                                                                                                                                                                                                                     thing

 6              Q.                What happened                              when you               first     arrived                                  6     in
 7              A.                When           I    first       arrived they                 told       me what was            --                    7             A.         Id never                              been                   in    the       house before so when                                   I




         what they                               was going on                          that      the               female         that                 8                                                             noticed                      was everything                     was
                                        felt
                                                                                                         elderly                                             first
                                                                                                                                                                      thing                  that            I
                                                                                                                                                                                                                                                                                                    all


 9       lived      at that                  residence                  had been shot and                        killed        by two                  9     cluttered.


10       people                   or shot            and robbed                      by two people               that    they    had                   10            Q.         Okay.

11       apprehended                             the         day before.                                                                               11            A.         Or messy.                                          We        all     have our own                        definition            of       it


12                                                   And so what
                Q.            Okay.                                                  did     you and Detectives                   Cedillo              12    but things                      werent                               right.

13       and Pate do                           at that            time                                                                                 13            Q.        All           right.

14             A.             I

                                   got       my latex               gloves.                 We     went onto the property                              14            A.         I           walked                    pretty                 much            straight        through                  and was
15                                     asked them                              go ahead and check
               foot.                                                                                                     the
         by                        I                                    to                                                      front      of          15   glancing                        around listening                                            just in      case there was someone
16      the     house and                             I
                                                           checked              the garage                  because       the garage                  16    there.         And when                                           I   walked             toward             the    front           of the          house              I




17      door        was                up.                                                                                                            17    saw a white female                                                                      face          down between
                                                                                                                                                                                                                                       lying                                                          a chair            a

18             Q.             Okay.                                                                                                                   18    table          with her                              head close                          to      the    wall.

19             A.             We            met again                at      the       end     of       the   garage and they                         19             Q.        Okay.                         And what was her condition

20      advised                   me                                saw an open door on the back                                           the        20                       When
                                            that          they                                                                        of                             A.                                  I

                                                                                                                                                                                                                 approached                               her      and bent over her                           to       try to

21      house.                                                                                                                                              check
                                                                                                                                                      21                   for              signs                    of breathing something                                              to    tell       me   that

22             Q.             Okay.              So they had gone                              to       the   front of    the                         22    she might                                        be alive                              didnt
                                                                                                                                                                                             still                                            I
                                                                                                                                                                                                                                                                  see any.               I    bent over

23      house you went                                     to     the    garage                                                                       23    her      and                    saw a huge pool                                          of      blood        under               her
                                                                                                                                                                                        I
                                                                                                                                                                                                                                                                                                      --   under             her

24             A.             Right.                                                                                                                  24    face or under                                her head.

25             Q.             And then the three of you met somewhere around                                                                          25             Q.        Did you                               see any signs                            that      she was breathing                                or



                                                                                                                                                 13                                                                                                                                                                                   15
 1      the    garage                                                                                                                                  1    still    alive

 2             A.             Right.             At the             end        of    the garage.                                                       2             A.        No              sir               I   didnt.


 3             Q.             Then what happened                                                                                                       3             Q.                                  What happened then
                                                                                                                                                                               Okay.

4              A.             They           told          me       that       they         had seen an open door on                                   4             A.    As soon as                                              I
                                                                                                                                                                                                                                       was sure               that      there            werent any
 5      the    back of the house so we went through                                                               the cyclone                          5    signs                                        backed                             away        from        her almost stepping                                      on
                                                                                                                                           --                             of life                I




6       the gate                  for       the cyclone                   fence             there       and saw the open                               6    the      shell                                           that              had been on a rug there kind of
                                                                                                                                                                                            casing

7       door.                                                                                                                                          7    close         to            her and                           I       backed             away from that turned                                     around

8              Q.             Now            the Jury               has seen a                    lot    of photographs               of               8    and walked                         out the                                 back door and contacted                                        my   sergeant.

9       the layout                      of the house.                             there        a pool         as you go                                9
                                                                             Is                                                                                      Q.        Is           that         --
                                                                                                                                                                                                                     youre                   talking          you       but         is       that

10      through                   the gate                on      the     --                                                                          10    collectively                      all        three                         of   you
11             A.         Yes.                                                                                                                        11             A.        It           would                    have been                       --      Im     not    real          sure         how close
12             Q.                                side                                                                                                 12            me                       were although                                                              see the
                          --
                                       right                                                                                                                to            they                                                                       they         did                          shell       casing
13             A.         As you go through the gate theres a pool kind                                                                               13    too      because                             had almost stepped
                                                                                                                                                                                                     I
                                                                                                                                                                                                                                                                        on     it    and Im not sure
14      of   in front                  of   to       the     right           and then on the left-hand                                                14    which         one did but they warned                                                                  me     Look out                        theres a

15      side     is   the covered                                 patio      where the back door                                                      15    shell
                                                                                                                         is.
                                                                                                                                                                          casing.

16             Q.     All               right.            Did      you and the other two                          officers       go                   16             Q.    Okay.                         And so                             did     the three             of you leave the

17      to   the covered                         patio            area                                                                                17    house
18             A.     Yes.                                                                                                                            18             A.    Yes.

19             Q.     All              right.             Now        as you                were there          at that      time                      19             Q.    And where                                              did       you      go
20                            us and                                                         us    what your                                          20
        just   tell
                                                     very slowly                     tell                           --
                                                                                                                          you                                        A.    I            called                   my               sergeant              there        on the back patio and

21      did what your impressions were and so on.                                                                                                     21    then the three                               of us walked                                   back        off   the property                     and

22             A.                 advised                 them       that with               an open door were                                        22                       the gates                                  as           we went and                      waited.
                                                                                                                                                            closing
                          I




23      going       to            go     in    the house.                                                                                             23             Q.                                  And why                                                               Whats
                                                                                                                                                                           Okay.                                                             did        you wait                                      the reason

24             Q.     Okay.                                                                                                                           24    for     that

25             A.     I           was the                 first    one         in.     I    announced            myself                               25            A.     We                 had                    to       close               the   --    I   had     to    close the crime
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                                                                                                                                         16                                                                                                                                              18
    1    scene so                that         my shift              sergeant could contact                            all    the               1                                    THE COURT                     Please              have a          seat.


 2       admin        that         he needed                        to    contact.                                                             2                                                        BRANDON                BLANSIT
    3            Q.    Okay.                  Is            the procedure                   or the        process                              3                                            been
                                                                                                                                                                  Having                                        duly       sworn           testified            as follows
                                                       it
                                                                                                                                                                                                        first



 4       protocol           thats followed                           that       no one enter the crime scene                                   4                                                       DIRECT EXAMINATION

 5       until      other detectives                               or   officers          assigned            with     that                    5    BY MR. CHAMBLESS

 6                                                                                                                                             6           Q.         Please                                     name.
                                         --
         responsibility                                                                                                                                                                     state       your

 7             A.      Yes.                                                                                                                    7           A.         Brandon                    Blansit.


 8               Q.    --
                             get         there                 Is    that       --                                                             8           Q.         And             Mr. Blansit               what        is
                                                                                                                                                                                                                                 your       occupation
 9             A.      That is                    that        is    the   policy.                                                              9           A.         Im a                             officer    for      the              of Mansfield.
                                                                                                                                                                                      police                                        City

 10            Q.      Is that               what you had                       in    your        mind                                         10          Q.         Okay.                 How        long     have you been a                       police             officer

                       Yes.
                                                                                                                                                                      Going on seven and a
 11            A.                                                                                                                              11          A.                                                                  half   years.          This          will      be my
12             Q.     And          is        that           what you            did       until    others           arrived                    12                      on my eighth
                                                                                                                                                    --
                                                                                                                                                          going                                           year.

13      from the            --                                                                                                                 13          Q.                               What        are your current                    duties
                                                                                                                                                                      Okay.

14             A.     Thats what we                                 did.                                                                       14          A.         Patrol                also included              crime          scene work and
15             Q.      Okay.                           show you a photograph                                  thats       marked              15                                          And Ive recently taken on the task
                                              Ill
                                                                                                                                                    negotiations.                                                                                                          of

16      States         Exhibit                227.            Do you            recognize                whats shown here                     16    becoming                a coordinator                       for   a crime-free multi-housing

17             A.     Yes.                                                                                                                    17
                                                                                                                                                    program.

18             Q.     What               is       --     what        is   shown here                                                          18           Q.         In   June                                       June 30th of 2010
                                                                                                                                                                                                specifically                                                        did       you
19                    This                   where                  walked                             the other          room and                  have crime scene
               A.                   is                         I
                                                                                     up    into                                               19                                                   responsibilities                   as   part       of   your duties
20      found the white                             female                                                                                    20               Mansfield                    Police
                                                                     lying.                                                                         with                                                  Department
21             Q.     Is     this        the             position         that        she was            in   and     is    this              21           A.     I    did            sir.



22      basically           exactly what you saw when you walked                                                            in                22           Q.     And what                        kind     of training           have you received                              in



23             A.     Yes.           Theres more                            detail         than        what     I

                                                                                                                    actually                  23    that       area
24      saw because                            had
                                         I                   left
                                                                    my flashlight                 in
                                                                                                         my car and           the             24           A.     Related                    to    crime        scene          training       alone             quite           a

25      house was kind                                      dim.                                                                              25
                                                    of                                                                                              bit   actually.                  Ive        gone through a                   --   an accredited


                                                                                                                                         17                                                                                                                                              19
               Q.            that        the                               of    Ms.       Weatherlys body when                                     program                                       Sirche
 1                    Is
                                                         position                                                                              1
                                                                                                                                                                       through                                  Laboratory                 fingerprint

 2      you got there                                                                                                                          2    laboratories                     in     North Carolina.

 3             A.     Yes           it       is.                                                                                               3                                THE REPORTER                                   Im sorry
4              Q.     Okay.                  If
                                                    you would               look       just at         the very        edge        of          4           A.     Sirche                   Laboratories                fingerprint laboratories.

5       the    photograph do you see an item there                                                                                             5           a
                                                                                                                                                    Its         company                     that    specializes                in   equipment               that         is


6              A.     Thats              that               shell    casing.                                                                   6                            the crime
                                                                                                                                                    brought           to                                scene         forensics             world          if   I    would
7              Q.     All        right.             And              that                 on the rug a few                                     7    use    that        word.
                                                                                                                                                                                                                                    you learn the theories
                                                               is
                                                                            just                                                                                                            During         that   class

8       feet     or   apparently                         a few       feet       from her               body                                    8    behind        fingerprint                     development the                      different            tools that


9              A.     Its just                a     few       feet        from her body.                                                       9    are    used            to                                                    and                       evidence.
                                                                                                                                                                                    develop            fingerprints                        collect


10                               MR.              CHAMBLESS                           Okay.            Offer        227                       10           Q.     Okay.                   And           there         another               guess crime scene
                                                                                                                            at this                                                                is                                  I




                                                                                                                                                          maybe more than one other crime scene person
11      time.                                                                                                                                 11    or                                                                                                                          that   you
12                               MR.              WESTFALL                           Your Honor 403                    substantially          12    work        with in              Mansfield             Police          Department
13      more        prejudicial                     than       probative              and cumulative.                                         13           A.     Yes                there        is   two.      At the time of                   this     case on
14                               THE COURT                                Objection               is   overruled.            227    is        14    June 30th                   I
                                                                                                                                                                                     worked            with     Max        Courtney.               Here recently over

15      admitted.                                                                                                                             15    the    last       year           weve          hired        a secondary                 or a      third         one now
16                               States                     Exhibit        No.       227 admitted.                                            16    and her name                           is   Courtney          as       well.


17                               MR.           CHAMBLESS                              Pass the witness.                                       17           Q.     Okay.                    Now         on June 30th 2010 approximately
18                               MR.           WESTFALL                              No   questions.                                          18    900         did    you and Max Courtney                                      receive          a   call      or a request

19                               THE COURT                                May        the witness              be excused                      19    to    go and work on a crime scene
20                               MR.           WESTFALL                          She may.                                                     20          A.      We                did.


21                               MR.           CHAMBLESS Yes                                                                                  21           Q.                                   And where                  were you asked                                go
                                                                                                  sir.                                                            All       right.                                    --                                            to          to

22                               THE COURT                                Thank you.                   You may be excused.                    22    14356 FM 2331 a                                                            house              Johnson
                                                                                                                                                                                                   location           of   a                 in
                                                                                                                                                                                                                                                                           County
23                               Witness excused.                                                                                             23          A.      Yes                sir.



24                               THE COURT                                Please           raise       your     right       hand.             24           Q.     Okay.                   Did you leave together                            with      Max           or

25                               Witness sworn.                                                                                               25    separately
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                                                                                                                                                                             20                                                                                                                                                                 22
 1                A.     No         Max             left       prior to              me.        He called                          me          and           I                     1   acres.              The residence                                is
                                                                                                                                                                                                                                                               mostly constructed                                  of brick.


 2    responded                     to    the             police           department gathered                                                                                     2   Its                wood                                     on               Its    somewhat                           a
                                                                                                                                              necessary                                         got                         siding                       it.                                        of             larger


 3   equipment                      that        I   think             that       we would need and                                             I
                                                                                                                                                   responded                       3   house.                  Its    secured                      by a fence.                      It   has an          internal


 4   separately.                                                                                                                                                                   4   fence and also has a couple                                                         of flag                                       were out
                                                                                                                                                                                                                                                                                           poles          that


 5                Q.     Now             what kind of equipment                                                did           you         bring           with                      5   in    front         of    the         house as                        well.


 6   you                                                                                                                                                                           6            Q.         Okay.              Now                  as        part     of   your           work       did           you and/or
 7            A.         Well we have equipment                                                  that           is
                                                                                                                             pretty           well                                 7   Max       Courtney                    develop                     a sketch                   or a diagram                    of the      inside


 8   gathered                 altogether                        all        within         --    contained                          in    a    box                                  8   of the             residence

 9   or      --   it    includes               fingerprint                      brushes tapes.                                     It    includes                                  9            A.        There             was a sketch                              yes.


10   different                collection                   vials            boxes.              Could                   be a number of                                            10            Q.        Okay.

11   things.             Different                   types of powders.                                     Theres a number                                         of             11            A.        There              is    a sketch.

12   things.             Tweezers                         to    collect              you know small trace                                                                         12            Q.         I   want          to     show you whats marked                                               as States

13   evidence                 collections                         bags paper bags.                                                                                                13   Exhibit            228 and ask you                                            look                         and
                                                                                                                                                                                                                                                               to               at that                       if
                                                                                                                                                                                                                                                                                                                   you
14            Q.        Okay.                  So you had a number of items with you and                                                                                          14   recognize                 that            or      not.


15   you were going there with the                                                        intention                     of    assisting                                           15            A.        Yes           I   do.


16   Johnson                  County                in     evaluating                      processing                          this potential                                     16            Q.        What              is    States                 Exhibit            228
17   crime             scene             is    that            correct                                                                                                            17            A.        This         is     a    final            sketch            of    the residence.

18            A.        Yes          sir.                                                                                                                                         18            Q.        All        right.             Is    this           a sketch of the                      inside            of the

19            Q.        All    right.               Approximately                              what time                       did        you get                                 19   Nancy Weatherly                                   home                  there       at       14356 FM                  2321
20   there             at that       location                                                                                                                                     20            A.        Yes.

21            A.         10    --    about                 1030.                1048             I
                                                                                                          believe                  is    what                                     21            Q.        And does                       it   show the layout of the garage the

22   time          I   checked                 in     on the crime scene                                       log.                                                               22   living         room             kitchen                     and the bedrooms

23            Q.        What was                          the     first
                                                                                thing          that        you               did        or    as you                              23            A.        Yes.

24   go through your thought                                                process             and                     guess                 later                               24            Q.        And do you                                                                 was
                                                                                                                                                                                                                                              think            this       is --
                                                                                                                                                                                                                                                                                                   helpful               to   you
                                                                                                                    I
                                                                                                                                                                                                                                                                                             it




25   documented                      what you did what was                                                     --       kind            of walk            us                     25   in   your          work          to       make a sketch                              like         this


                                                                                                                                                                             21                                                                                                                                                                 23
 1
     through              your mental journey as                                               you begin                       this.                                               1            A.        Yes          it    is.



2             A.        Okay.                  When we                      respond              to        crime               scenes obviously                                   2                                  MR.          CHAMBLESS                                  All         right.     Thank you.

3    the      most important                               part            is   to   preserve                   and protect any                                                   3                                  MR.          WESTFALL                                 No objection                   to       228 Your
4    physical             evidence                        that        is    at    the scene.                            It    also includes                                       4    Honor.

5    the physical                    evidence                         that      is   outside                   of your                  scene as                                  5                                  THE COURT                                    228      is       admitted.

6    far     as outside                   of a residence.                                                                                                                         6                                  States                   Exhibit               No.     228 admitted.

7                               When                  I   first        arrive         on scene one of the                                                                         7             Q.        BY          MR.          CHAMBLESS                                    I    want      to   jump ahead                       just       a

8    first
                  things        I   do         is    that         I    establish a location                                        of     where                                   8    little    bit       and come back                                     to   where we                 are.         Ill        show       this


9    Im      going            to    park             my vehicle                      to    where                        Im going                   to    set up                   9    on the overhead                                  here.            Can you see it

10   my -- as we                    kind of                would                refer to             it   as a command                                    post.                   10            A.        Its        much               larger           on my screen than                                --
                                                                                                                                                                                                                                                                                                                   okay.       We
11   While             Im     looking                for       these             areas Im ensuring                                            that        Im                      11   are looking                    at     the         same                  thing       actually.              Yes were                    good.

12   not going                to    disturb                 or you know inadvertently                                                         damage                or            12            Q.        All    right.             I    will       start           at this          end where the

13   destroy             any type of evidence                                         that       might                   be        there.                                         13   garage              is.       Just          is     this          --     does        this          demonstrate                     or   show

14                              On         this           case             in   particular                     Max showed                               up                        14   the layout                    lets        see east west north south                                                           Do you
15   prior to           me.          He had                    already found a designated                                                          area as              to        15   have          --   well          I   think             it   would             be     more           helpful             to    maybe
16   where the vehicles                                    were going                     to     be parked                              at.        He                             16   start     here.

17   conducted                  a search                       of that           area so                   I   didnt               necessarily                                    17            A.        Yes.

18   have          to    worry about                           that        on     this         case.                    Max had already                                           18            Q.        Okay.              This             shows three bedrooms so                                                I

                                                                                                                                                                                                                                                                                                                         guess           that


19   taken             care of           it.                                                                                                                                      19   gives         us        an     orientation.                             The east side                   is   on the               right


20                             As were walking                                       up    to    a        scene we obviously                                                      20   west side on the                                 left        north           up     to       the top        of     the        house

21   are observing                        everything                        and you know                                     the         case           in       whole.           21   is   that          correct

22           Q.         All    right.               Describe                    just      generally from the                                                                      22            A.        Yes          that         accurately                       depicts              that      yes.

23   outside            what         you            were looking                          at.                                                                                     23            Q.        And then with the northeast                                                     bedroom there                        is    a

24           A.         Theres a residence.                                          Its       somewhat                            atop            a    hill                      24   bathroom                  accessible                         from            that    bedroom                 is        that       correct

25   on a large acre                           of     land             I    would          say            maybe 10 or 15                                                          25            A.        That         is.
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                                                                                                                                                            24                                                                                                                                                                     26
 1           Q.        And         it       shows the                  different             closets              for       each                                  1   it.    I
                                                                                                                                                                                  do remember there being a cat                                                        at       one time around

 2   bedroom                                                                                                                                                      2   the house.                       The         exterior of                     the        house was                like           I
                                                                                                                                                                                                                                                                                                               said

 3           A.        Yes.                                                                                                                                       3   pretty           well           kept up and                   clean.


 4           Q.        Then there                       is    a    main hallway.                            And coming going                                     4               Q.     Okay.                 Were            there               any animals present on the

 5   south         I

                            guess we come                              into       the dining                     room and                  living                 5   outside               of   the          house

 6   room area.                        Now            how many doors outside                                            doors              are there              6              A.     There were some animals yes.                                                             Going            back                to    the

 7   of    this    house                                                                                                                                          7   size of the residence                                    or the                  lot    there     was enough there

 8           A.        On     the             exterior             walls          of   the       house                                                            8   to    contain               a        donkey a couple                                   horses         I
                                                                                                                                                                                                                                                                                believe.                       I   dont

 9           Q.        Yes.                                                                                                                                      9    recall           really          if    she had any cows but a couple                                                       horses                   and

10           A.        There                --   well         including                the two double                            doors          at               10   a     donkey                I   do          recall      them being                        there.


11   the     back door a                          total        of three.                                                                                         11              Q.     Okay.                 Begin as you                              think        back on           it    with your

12           Q.        Okay.                The        --     this         is   the    back door                      or    the two                              12   observations                          and when you entered the Nancy Weatherly

13   double            doors                you       just        referred             to                                                                        13   home.                 Kind of walk                      us from                   that    beginning                part.


14           A.        Yes             sir.                                                                                                                      14              A.     The designated                              entry                point       for this       residence                             we
15           Q.        And         this          would be the                      front         door                                                            15   established                      it    at    the       back door where                            you see the two

16           A.        Yes             sir.                                                                                                                      16   double            doors.                    In    any crime scene we                                      try to      designate                       a

17           Q.        Okay.                And then theres also                                       I

                                                                                                            guess           if    the      --                    17   entrance               and             exit to          where                    anyone        that       comes                 in           has     to


18   if   the garage                    is
                                                 open an               entryway                  from the               garage                                   18   come             in   through                    that    one door anyone                                  that        exit           has        to    go
19           A.        Yes.                                                                                                                                      19   out through                      that        same            --    same entrance.
20           Q.        Okay.                And so the dining area                                          living          room and                             20              Q.     Okay.

21   then       theres             access                --                                                                                                      21              A.     We            established                   that               our entrance                and           exit              was

22           A.        --    to    the garage.                                                                                                                   22   going            to    be        at     the           back door.                   When we                 walk        in obviously

23           Q.        --    to    the           garage             this         door and                        its    open                                     23   you can see the                                  --   this   diagram                    that     we have here                                  you
                                                                                                            if




24   storage                area            utility     room.                   Okay.                                                                            24   walk        into       the            larger           area        of        the        living   room            the dining

25                            Did             you.make                     any observations                            as        you                             25   room and the                           kitchen.              As         I
                                                                                                                                                                                                                                                       noted these                rooms were                              pretty




                                                                                                                                                            25                                                                                                                                                                     27
 1
     approached                        the       house again walking                                        us through                     your                   1   well        contained                       altogether.                     There wasnt much separation

2    mental            process                   as    you began                   to       go from the                     --    I   think       the            2    between these                               rooms.            If   one walked                     into       the       living                  room
 3   parking                area towards                      the          house                                                                                 3    he could               easily               have access                           to    the dining           room and                           to    the

4            A.        The driveway                           is   a       dirt    gravel              driveway.                      There                      4    kitchen.               Everything                      was         in            view including                the furniture

5    were some wet areas as                                            I    walked           up        to        the driveway                     from           5    the dining                 room table and even some parts                                                             of    the               kitchen.


6    recent        rainfall                 that      we had                had.        Outside                   I    didnt           really                    6               Q.     What was the condition                                                of the        living       room area

7    notice        anything                      that    was           irrelevant                --    or relevant                    to    the                  7               A.     The condition                          of the                  living    room area was                                     pretty


8    case         with        the exception                            of       some         I
                                                                                                  believe               some               tire                  8    well        in   complete                        disarray.                  It    was what would                       be referred

9    tracks        that       Max had                       already excluded                                from       --   from the                             9    to    as ransacked                               or tossed.                      The cushions                were knocked                                 off


10   case.         Nothing nothing                                  that        was         real           relevant              to    the      case             10   of the couches.                              There           were several things                                 that               it       just


11   on the outside                          of the house.                                                                                                       11   appeared                   that         had been disturbed.

12           Q.        Okay.                And        tell       us then              about           the        house               itself                     12              Q.     Okay.                 Did           you see as you walked                                    in      were you

13   and     just           your        personal                   observations                       in    the        house            before                   13   able        to    see Nancy Weatherly

14   you began                to        do any processing.                                                                                                       14              A.     Yes.

15         A.      Are            we         talking           about the outside                                 of    the       house            or             15              Q.     And where was she and what was her                                                                       --        how was she

16   the     inside                                                                                                                                              16   situated              in        the     --       in   the    home
17           Q.    Well                first      the outside.                                                                                                   17              A.     Ms. Weatherly                              was positioned                           on the          --        it           would

18         A.      The outside                          of the house.                        On            the outside                  of      the              18   be on the south side                                    of    the table                    I   believe.            Do we have

19   house             it   was a well-kept                            residence.                      It   seemed                    that                       19   the...


20   someone                 did        care          for     the residence.                               There        was a pool                     that      20              Q.     Yes.

21   was on the                   --    I

                                             guess            that         would            probably                  be the southeast                           21              A.     May            I    show you this                                If
                                                                                                                                                                                                                                                              you     want        to     look                  at


22   side     of   the        house with a pool house                                                 that       was        fenced              in.     I        22   that.


23   remember noting                               that       the pool                 was        --       was taken care                         of   as        23              Q.     Okay.                 Show you whats marked                                              States                   Exhibit


24   well.        There           were some items on the back porch                                                                    that                      24   229.            Do you recognize                              this

25   included               a cat           bowl looked                         like   it    had some cat food                                    in             25              A.     I
                                                                                                                                                                                            do             sir.
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                                                                                                                                   28                                                                                                                                                                               30
 1          Q.     And what               is   added or                  different             about     229 and what                    1   that      it   was            I

                                                                                                                                                                                   guess ransacked                                                  or tossed.             You see the

 2   is   229                                                                                                                            2   body of Nancy Weatherly                                                              there by the dining                                  table.            Walk

 3          A.     This is              again a          final       sketch               of   the residence.                            3   us through                    other things                                   that          you saw                 in   the         different


 4   This includes                 furniture bedroom                                 furniture sinks            and                     4    rooms           that          you were                              in.



 5   kitchens          and bathtubs.                          includes                positions          of    the                       5          A.           The kitchen                                 there                wasnt much disturbance




--16
                                                         It




 6   furniture         and then shows                         --    we do have                   that    one up there                   6    there.          I    found                      a   pill       organizer                        that         was atop one                        of


 7   as    well.       This        is
                                        including             the        furniture.                                                      7   counter              tops and                             I    believe                it    was          --   I    cant       recall


 8                          MR.         CHAMBLESS                              Okay.            Thank you.                              8    without             looking                         at    notes               as      to        what day was missing but

9                           Offer 229.                                                                                                  9    there          were some                                 pills          in    the          pill        organizer.               I    believe

10                          MR.         WESTFALL                         No          objection Your Honor.                              10   there          was some food                                        in       a       sink.             But generally speaking

11                          THE COURT                         Admitted.                                                                 11   the kitchen                   was                   --        didnt           appear                   disturbed              as the             living


12                          States             Exhibit             No.        229 admitted.                                             12   room or other rooms                                                 within            the house.

13          Q.     BY        MR.         CHAMBLESS                              Okay.            Im    trying       to   focus          13                             As we move on                                               --    would             you        like       for     me             to


14   from the          --   or focus           on the              living        room and the dining                                    14   continue

15   room area.                  Lets     see      here.             Is   that        where           the focus          is   on        15          Q.       Yes.                  And                this           would be the hallway

     this   now             Can you            see                                                                                      16          A.       Yes.

17          A.     Yes           sir.    Yes       I    can         see        it.                                                      17          Q.       --
                                                                                                                                                                      going                      past the kitchen                                   area
18          Q.     All      right.       Is this        the        back door                   that   you                               18          A.       Yes.                  Going                    into          the hallway the only                                     thing            that


19   referred          to                                                                                                               19   I   did    note          in       the hallway                                was            the thermostat                          for     the            air


20          A.     Yes           sir.                                                                                                   20   conditioner.                          It        was            --   I    believe                  it    was set on 72

21          Q.     And        this      would          be the            --    what area would                  this          be        21   degrees and                                it   was             70           degrees                    in   the        household                     if    I




22          A.     The dining room area.                                                                                                22   remember                  right.


23          Q.     All      right.       And the area down here what                                           is    this               23          Q.       All       right.


24          A.     I   believe           youre pointing the                               living      room area.                        24          A.           If
                                                                                                                                                                      you continue                                     you can go                          into      a guest

25          Q.     Okay.            Where was Ms. Weatherly                                                                             25   bathroom.



                                                                                                                                   29                                                                                                                                                                               31

 1          A.     At the dining                room table                       see where              the chair         is             1          Q.       All       right.                     This           would                  be a bathroom                            just to       the

2    kicked        out the chair on the south side                                                That       would        be            2    right      and behind the kitchen                                                           is         that   correct

3    the south side                 of the      table.                                                                                  3           A.       That              is            correct                  yes.

4           Q.     Okay.                                                                                                                4           Q.       What                   did           you notice                            if     anything                about the

5           A.     She was               laying         in    between                 the chair          and the table                  5    bathroom

6    on the      floor.                                                                                                                 6           A.       This              bathroom                              didnt              appear                 disturbed.                When we
7           Q.     All      right.       Was       she         --    what was the                      position      of                 7    work crime scenes we do process bathrooms                                                                                                   including

8    her    body                                                                                                                        8    toilets.            This          toilet                 was processed.                                       The sink was

9           A.     Her face her head was pointing                                                --   that    would           be        9    processed.                        I    observed                              the      bathroom                     --   or the bathtub.

10   toward        the      --   toward         the north                 --   toward            the west.           Her                10   The bathtub                           had some dead                                         crickets               in    it   as     if    its


11   legs    were pointed toward the                                     east.         She was           laying          on her         11   probably                 not a                  used bathroom.

12   stomach           with        her face toward                        the north              side    of    the house.               12          Q.       Okay.                           Now             there are three                               bedrooms.                     And on the

13          Q.     What was she wearing                                                                                                 13   other          diagram                          youve referred                                  to      northeast                   northwest                    and

14          A.     She had on a multicolored                                          pajama           bottom        pants              14   west bedroom                                    is       that           correct                        This       would         be the

15   with    a white             T-shirt.                                                                                               15   northeast

16          Q.     Okay.            Was        there          any        --
                                                                               anything               on her    feet      that          16          A.       Yes               yes.

17   you recall                                                                                                                         17          Q.       The northwest                                           --

                                                                                                                                                                                                                                                                                                                         C
18          A.     No.                                                                                                                  18          A.           Northwest.

19          Q.     Did      you see any apparent                                     or   visible injuries                              19          Q.       --       and west

20   about her           body           as   she        lay    there                                                                    20          A.       Yes               sir.



21          A.     Yes.                                                                                                                 21          Q.       Walk                  us through.                                I

                                                                                                                                                                                                                                   guess              this      would             be the

22          Q.     And what was                    --    what did you                      see                                          22   master              bedroom                          here

23          A.     There          was an apparent                             bullet       defect       at    the    crown              23          A.       That              is            the master                           bedroom.

24   of   the head.                                                                                                                     24          Q.       All       right.                     What               did          you          see when you walked                                           in



25          Q.     Okay.            Now        you       told        us about the                     living   room                     25   there
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                                                                                                                                                                             32                                                                                                                                                               34
 1            A.            The room was again ransacked.                                                                         The mattress                          to         1          Q.     All        right.        Now             Officer               Blansit                   if
                                                                                                                                                                                                                                                                                                      you would
 2   the      bed            as     you can see the bed here was tossed over                                                                                            to         2   lets    go    to        this the             bedroom                    opposite                           I

                                                                                                                                                                                                                                                                                                      guess one             of   the

 3   the      --    that          would            be toward the north side                                                       of       the       house          or             3   available               bedrooms                  here the northwest                                            side     the west

 4   toward the outside                                 wall.             In     the          bathroom                            I    checked                   that             4    side        north side                of    the house.

 5   bathroom                     as well           it    seemed                      to          be        irrelevant                     to   the case.                          5          A.     Uh-huh.

 6   I    didnt         find       anything                significant                            in       the bathroom.                                                          6           Q.     What observations what                                                  did         you           see
 7                                 In   the closet                        if
                                                                                youll                 slide       it    up        just          a                                  7          A.     These observations                                       were           pretty well                   consistent

 8   little    bit           theres           an entrance                            to       the closet                      here              where                             8    with    the     same observations                                       that      I    saw             in       the master

 9   the door swings                           outward.                         In    the closet                            this        one piece                  of             9    bedroom.                 The mattress was tossed.                                                      It
                                                                                                                                                                                                                                                                                                      appears             that


10   furniture inside                         the closet                        at   --
                                                                                              against                  the north                     wall                         10   somebody                  was attempting                               to   locate               something                     underneath              a

11   right         there           some            drawers                      were pulled out on                                          that.           There                 11   mattress.                The drawers                         in   the nightstand                                 beside            the    bed

12   was                          a few        pair of              shoes                 in there.                           didnt             appear                            12   were pulled                            Again the drawers                                              on the dresser across




--24
               quite                                                                                                    It                                                                                         out.


13   that      anything                 else        had             really            been disturbed                                       in   that                              13   the    hall    were pulled                       out.         Im sorry

14   closet.                                                                                                                                                                      14          Q.     Okay.

15                                 On        the north                   wall         as well                 that            piece of                                            15          A.     Yes.            That          is    a double opening                                         door     for        a

16   furniture               there           the drawers                             were pulled out on                                         it        and                     16   closet.        It       didnt      appear disturbed didnt appear                                                               that


17   several                miscellaneous items thrown                                                        into           the           floor.           Same                  17   anything            was pulled                    out.            There           were some                         picture              frames

18   thing         with           the nightstand                          on the north side                                           of   the            bed                     18   in there.           There was                     a.   smaller               TV        that            I       dont necessarily

19   things             were pulled out of                                 it    and thrown                            into           the       floor.                            19   believe       was           --    was            involved.


20                                 The pillows                       it        shows there                             to    be some                                              20          Q.     Now             the     final           bedroom                    is   what you                     --   on         the

21   pillows            on the sketch                          there             in       the bed.                      There               were                                  21   other sketch                  has      been labeled the west bedroom and                                                                        tell



22   pillows            stacked               against                the south                             wall        just prior to                                              22   us    what you saw here                                 if
                                                                                                                                                                                                                                                     anything                     is    significant.

23   entering                into       the bathroom.                                They appeared                                      neatly neatly                             23          A.     This          room kind                  of     appeared                          to     me as more                    of   a

     stacked                 against           the        wall.                Also           with the                  bed                the sheets                             24   of   a storage              room            for her.               I    saw a treadmill some boxes

25   on the             --   this       would            be the south side of the bed the                                                                                         25   that    were            filled    with           --   filled           with      clutter                   is   what      it




                                                                                                                                                                             33                                                                                                                                                               35
 1   sheets             were pulled back on the bed but no sheets were                                                                                                            1    appeared                as.      In    addition                   to    that the closet                            was open.

2    pulled             back on the                     right         side.                                                                                                       2    Inside the closet                      it   had         plastic              totes              that            were     filled


3             Q.        Okay.            Was             there                 any apparently                                 obviously                     missing               3    with miscellaneous                           items.


4    items         in this              bedroom                                                                                                                                   4                              Laying            right       out            in front            of         the closet               on

5             A.        Yes.                                                                                                                                                      5    the floor           I    saw what                 I   believe               is    a older cassette                                 tape

6             Q.        And what was that                                                                                                                                         6    or cassette               tape        holder.                 The cassette                             tape         holder has

7             A.        Right           in   front         of the                bed              the piece of                             furniture                              7    metal       latches              on    it    is       what secures                              it.        The latches were

8    seen there was a small entertainment                                                                              center.                  On         top    of              8    open.        And the cassette                                tape           was            laying               more or            less    right

9    that     you could see                         --     if
                                                                    you could imagine where you have                                                                              9    in   the entry             of    the door.

10   your      TV            at   your        home and when you go                                                          to        clean               around        your      10          Q.     Okay.              Lets            go down now                          to        the next                sequence




--22
11   area          if
                        you        lifted
                                                   your         TV up you would see                                                        that           theres                  11   and would                that     be the actual                             processing                          of the crime              scene

12   no dust imprints or no dust                                                 settled                   around                 where your TV                                   12   and where                 you begin and go                                  to different                        locations           and you

13   was       actually                 laying           at.                                                                                                                      13   do    that    work

14                                Here         this        is       what              I   observed.                           I       observed                                    14          A.     Thats              correct.


15   that     there           was a base                        to        what            I   believe                  was a TV                           that    had             15          Q.     Okay.              Talk about the                             back door the entrance                                         at


16   been removed                            off    of    the stand.                              I   found             a R.C.A.                          manual                  16   the    back door and what you did                                                     if    anything about

17   that     was            laying          there.             32-inch                       I       believe                is       what           it   was.                    17   processing                and      collecting                     of evidence                          from        that        point


18            Q.        Was         there also                      --    was there any                                     indication                     of a                   18   specifically.


19   cable         connection                      in    that            area do you recall                                                                                       19          A.     At the             back door numerous                                             law enforcement

20            A.        I    do not          recall            about                 cable connection.                                          Id        have                    20   personnel                and people had entered and exited                                                                this       door.      I




21   to    probably                look        at   my notes                              but          I   dont             recall.                                               21   ruled       that        door out as                   far     as being processed                                         due        to


              Q.        All       right.       Anything                         else about                        the master                                                      22   due    to    the         possibilities of                     contamination                                     in that        door.

23   bedroom the northeast                                           bedroom                               that        you recall                                                 23   So the door                 itself     was not processed                                              just        based on the

24            A.        With        the exception                               of    a blood                     stain               that      was                               24   entrance            and          exits that             had been made                                          in that    area.

25   found         on        the        bed        that        --    that            we           looked                at nothing                         else.                  25          Q.     Okay.
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                                                                                                                                                   36                                                                                                                                                           38
 1              A.     And again                     right      there               in that          area       of    the                                1   transfer               these these impressions                                               over.       And you know
 2    walkway                for      any kind of shoe wear impressions.                                                                                 2   its    not always                      just that                     easy       just to transfer               a

 3              Q.     As you go                  into    the      back door past the back door                                                          3                                    Theres some times you                                                   do not         transfer
                                                                                                                                                             fingerprint.                                                                                      just

 4    what           activities             did   you      --   what            did        you        look      at    and what                           4   that    substance                          from your                      skin to       the surface.

 5        did   you do           at that          point                                                                                                  5           Q.     I


                                                                                                                                                                                    guess what Im thinking and Im asking you                                                                         if




 6              A.      Coming               into    the        back door youre obviously                                                               .    you would                      think            the       homeowner                    had handled                  this       a       lot    of


 7        looking       for      the things               that    we had                   mentioned                  earlier                            7   times and here youre saying there had been apparent

 8        signs of disturbances signs                                               forced                                                                   movement.
                                                                           of                         entry anything                                     8                                     Why            is       it    that        youre not seeing                   latent           prints

 9    that       would           lead        one     to    believe                  that    either             one has been                              9   everywhere

10    handled               or   suspected                to    have been handled.                                                                      10           A.    Well and                           latent               prints         are                      made up                   of
                                                                                                                                                                                                                                                          primarily

11                               If
                                       you look           right        here           at   the two double                                               11   about        95 percent                          of       water.               When you               transfer          these            oils


12    doors theres two pieces of                                           furniture.                 Those are showing                                 12   and these substances about 95 percent                                                                    of    them are water

13    a table           and then                  right    beside               the table                 here       on the         --                  13   and youre only                               really             dealing             with     about you know 5

14    that       would           be on the west side                                 is    a small chest.                          saw                  14   percent            of the                                Different               environments                 could
                                                                                                                                                                                                   oils.
                                                                                                                                                                                                                                                                                            dry
                                                                                                                               I




15    that       the chest                 had been opened.                               Things were thrown about                                      15   these        oils          up        to      where they                        just   do not develop.

16    in    the area of the chest.                              That            was processed                         with         black                16   Different              substance                          --    or surfaces                  do            not take             the
                                                                                                                                                                                                                                                               just

17                                                                                                                                 any                                                                                       where
      powder.                Its      a    fingerprint           powder                   to try          to   develop                                  17   transfers              of       the         oils         to                      either          one     they absorb

18    kind of          fingerprints.                                                                                                                    18   into    the actual                     surface                       itself    to    where you have                     to


19              Q.     What was the                       result           of   that                                                                    19   possibly use a                         different                      type of         method           that    --   a chemical

20              A.     There               was no         fingerprints                    developed.                                                    20   method             that              could           be used                   to bring       those        prints        out           of    the

21              Q.     Okay.               Was       there       an item inside the chest                                          that                 21   surfaces.                  I
                                                                                                                                                                                            mean                  a     number of things could occur as                                                far


22   you looked                  at        specifically                                                                                                 22   as the environmental                                            --    environment                 that   these

23              A.     Yes            there       was           there               was a                      and a photo                              23                                  are                         where               the            could                                    up
                                                           --                                                                                                                                                 to                                   oils
                                                                                                     tray                                                    fingerprints                                in
                                                                                                                                                                                                                                                                        simply dry

24   case a photo case                               is   what.        I   believe              it   was or an album                                    24   or be disturbed                             or as               I
                                                                                                                                                                                                                                  said       a    number of things can
25   case                              have a smooth process                                         or    smooth surface                     on        25
                     that    did
                                                                                                                                                             happen             as          to     why you dont have those                                          prints.




                                                                                                                                                37                                                                                                                                                              39
 1   it    that      was processed                        with     powder                  as        well.                                               1           Q.    So was                       it    surprising                    or not surprising                to      you
2               Q.     Okay.               And did         that        yield          anything                 that    was                              2    that    when you processed                                                                 this   wooden            chest              and
                                                                                                                                                                                                                                       initially


3    usable                                                                                                                                             3    items including                            the photo                           the    smooth surface
                                                                                                                                                                                                                                       --
                                                                                                                                                                                                                                                                                      photo

4               A.     No        it    did not.                                                                                                         4    album was                       it
                                                                                                                                                                                                   surprising                         or not      surprising that                you        did


5               Q.     Okay.               You know we                                      a world                    CSI and                          5    not                              immediate
                                                                            live                                                                                                any
                                                                                      in                         of                                                 find                                                          latent         prints

6    all    of       that.       Tell       us about            that.           I

                                                                                     mean you                   get the                                 6           A.     Not              surprising.


7    impression from                            TV   that       you can               just           walk       in   and       find                     7           Q.     Okay.                   Take us                        into      the    living      room and              tell       us

8    everybodys                       prints      on every kind of surface.                                          Tell   us                          8    what you               did           as         far   as            collection         of     evidence             and

9    about           that.                                                                                                                              9    processing                     in     the        living              room area.

10              A.     Yes            unfortunately                thats              not exactly                    how    it     is                   10          A.     The              living            room one                       of    the    focal      points          that       I




11   in    the crime               scene world.                   In       order           to    develop              some           of the             11   focused                on here                  in    the            living     room was the entertainment

12   things            you       do have             to    have a general                             understanding                      of   how       12   center.            I   had seen an open area                                               for    a   TV      the    TV was
13   a     fingerprint                is   transferred            to       a surface.                      Basically                                    13   missing.               I       observed                     a       hammer laying on                     top       of   the

14   your        fingerprints                   secrete         inorganic                  and organic                    substances                    14   entertainment center                                            saw some markings                             on a      wall           mount

15   through            your           glands including                             eccrine           glands sebaceous                                  15   that    was            actually                  fixed              to   the entertainment                     center.                 Also


                                                                                      you have                                                                        below the entertainment                                                                                               CD case
16   glands             and        different          glands               that                                 that      secrete                       16                                                                                       center        was another
                                                                                                                                                             right

17   these           substances.                     And also               in       general               just      when you                           17   or photo               case                                                          what kind                case
                                                                                                                                                                                                    I

                                                                                                                                                                                                          forget                 exactly                              of               that          it




18   wipe your face                        or    your     hands youre                           transferring                these                       18   was      but another                             album case                      that        was                                        below
                                                                                                                                                                                                                                                                   laying       directly

19   oils       to    your       fingers.            And then when you touch a surface                                                                  19   the entertainment                                center.                   These items were processed                                          for

20   it    is   transferring                the substances                           to    that       surface.                                          20   fingerprints                   as      well.               The hammer was collected                                      as a

21                               So        generally            speaking you have                                    to   have some                     21   actual       piece of physical                                        evidence               and was processed                               with a

22   kind of substances                            or     something has                              to   be    secreting                from           22   different              method                   at    a        later date.


23   your        fingertips                or   from your              fingerprints                       in   order      to                            23          Q.     Okay.                   And what was the                                  --    do you know what took

24   transfer a              latent          print    or transfer                    that       substance                 to that                       24   place with the                        hammer what method was used                                                       with           that


25   item.           You have               to    handle                   you know                                                                     25   later
                                                                                                                            ways
                                                                  it                                      in   certain                    to
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                                                                                                                                                                   40                                                                                                                                                                    42
 1           A.       The method                               that       was used with the hammer                                                      is               1               A.          The brown                         folder did                    not    have any                   latent        prints

 2    called       a cyanoacrylate                                    method or also                                better          known as                             2   on     it    that                were developed.

 3    super        glue.             The active                           ingredients                        in
                                                                                                                   super glue                      is                    3               Q.          Okay.               Front door.                             Tell      us     what you saw what

 4    cyanoacrylate.                            What             that              does          is    it        affix   --    or   it    will                          4    you         did at               the        front              door            location.


 5    attach        to                                                             amino acids and proteins                                             and              5               A.          On            the inside                         of the                  door                        what
                            your acids                          your                                                                                                                                                                                               front                  really


 6    fatty      acids          that           secrete                from your                       --     from        you fingertips                                 6    brought                     my        attention                          to   the    front      door        is    that      there            were

 7    and     it   will         create               this       white               kind         of    ash color look on                                                 7   some boxes                             that           were scattered                            near the                 front    door.            They

 8    the    fingerprint                    and           it   will       show your actual                                    ridges.               Its                 8    would              be on the                         --   that                would        be on the north side                              of    the

 9    a fuming              method                   is        what           it    is.                                                                                 9    front        door.                    There               were some boxes                               that       were scattered

10           Q.       Was            the         hammer                            did     it    have a wooden                            handle                        10   that        appeared                        to        me             that       they         were once stacked.                                  Thats

11           A.       It    did          have a wooden                                    handle yes.                                                                   11   really            what brought                                  my attention                   to     the     front         door.            I




12           Q.       What was                        the        result of that                             super glue processing                                       12   processed                             the   front                   door with black                    powder on the                             interior


13   of the        hammer                      later            do you recall                                                                                           13   and         exterior                   side           of        the door.

14           A.       No        --       no     fingerprints                             were developed.                                                                14               Q.          Did           that    result in                        any ridge             detail        that      you

15           Q.       Okay.               Was                  that       surprising                       to     you                                                   15   could             develop

16           A.       No.                                                                                                                                               16               A.          No.

17           Q.       Okay.               Was                  there anything                              that      came up                       from your            17               Q.      Was                there              any             indication            of     damage               to    either           the

18   processing                     of the entertainment center or                                                            this       CD case                        18   front        door or the door from the                                                       back      off        the      patio

19   that     you          refer         to                                                                                                                             19           A.              I   did        not    find                  any signs of forced entry                                    no.


20           A.       No.                                                                                                                                               20               Q.      The dining                            room area the area around                                               Nancy




                                                                                                                                                                   --41
21           Q.       Okay.                 Did       you         find              any         identification                      possible                            21   Weatherlys body                                           tell            us about            that.


22   identification                      of    the          homeowner                            there             in    the       living           room                22           A.          The dining                            room area the table was                                           --   was         filled



23   area                                                                                                                                                               23   with miscellaneous items                                                           such as papers and bags and

24          A.      Yes.                                                                                                                                                24   purses              and tabletop                                    crafts         and       arts.      The chairs as you

25           Q.       Okay.               What                 did        you            find        and what                 did        you do with                    25   see here set up was exactly                                                              where         --
                                                                                                                                                                                                                                                                                         appears               as



                                                                                                                                                                                                                                                                                                                                         43
 1   those         items                                                                                                                                                1    depicts                     the       way     that                  it    was when               I   found         it.




2           A.      We              found a                 work badge an                                    I.D.        badge.                I   believe              2                                      I    found a                      checkbook                  a     pen and                a    pair        of

3    it   was      to      Lockheed                        Martin.                   I    believe                thats        who         it       was.                 3    reading                     glasses                  or eyeglasses.                            Right         on        top of the table

4    Yes Lockheed                              Martin            is       who she was employed                                                     with.                4    as     if    the chair                     that           is        kicked            out      if
                                                                                                                                                                                                                                                                                  you put             that    chair

5                                                                     them                                                         powder                 and           5                       up                  where                             would
                                I

                                     processed                                            with        fingerprint                                                            slide        it                  to                            it                     normally          go         I     found          a

6    did    develop                  I
                                         believe                 a        latent                print        on them.                I   do not                         6    checkbook                             like       I    said a                   pair of        reading             glasses               and a

7    know the extent or what happened                                                                      with         that       print           as   far   as        7    pen         sitting               right       there                      at    the    table.          There was pooling

8    it   being       identified                     or        not.                                                                                                     8    of blood                    on top           of           the table                  right     here as             well.         The

9           Q.      So you                    did     --
                                                               you were able                                to     establish              a        latent               9    pooling                     of   blood               --
                                                                                                                                                                                                                                       yes.

10   print    from          one           of         the        identification                         cards                                                            10           Q.          Okay.

11          A.      Yes.                                                                                                                                                11           A.          Yes.               The pooling                                      blood                             of the
                                                                                                                                                                                                                                                             of                   goes         off                       table


12          Q.      Okay.                 Tell        us what else you found                                                  in   the             living               12   into        this            chair          here            that               he   is   pointing            at.        And then

13   room area what you collected what you                                                                                did.                                          13   from         into            the chair                     it
                                                                                                                                                                                                                                                      pools       off     the blood            and goes                   into


14          A.      There were some miscellaneous                                                                        pills       I   think            some          14   the     floor.


15   including              some hydrocodone some                                                                Tylenol           ER      that         were            15           Q.          Okay.

16   bagged some                              pill    bottles.                     There was also a coffee cup on                                                       16           A.          I       found a large                                 amount             of blood         surrounding                         the

17   top    of     the coffee                    table.               I       recall            there being                    some                Justin               17   victim             and the pooling                                            of the blood             went underneath                             the

18   Roper         boots             in       the      living                 room.              There              was a black glove                                   18   table            and on underneath                                             the      --   the chest thats against

19   that     is --        was there but                              I   dont believe                             that       it   was                                  19   the     wall.


20   relevant              to   the         case where                               I    found             it     underneath                       a                   20           Q.          Was                there              any blood spatter                            in    the          area

21   cushion.               See.                                                                                                                                        21           A.          There                  was             there               was some blood spatter                                       yes.


22          Q.      Did         you process                               a     brown                folder          about          --    that                          22           Q.          And               is   this           --        is    there         any     indication                that     it




23   containing                 a    file       on horses                                                                                                               23   was from the                               bullet              or other               source other origin

24          A.      Yes.                                                                         -                                                                      24           A.          I       believe              the blood                         spatter           that   we have                 the

25          Q.      And what was the                                           result            of    that                                                             25   blood             initially                was pooling                             onto the           table       top.           The blood
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 1    then             will    flow.           If
                                                    you       can follow me with                              this for just             a               1   just    tell       us   what some of the items                                           that       you collected
                                                                              down the side of the table and




--13
 2    minute the blood                                will     flow                                                                                     2   were.

 3    it   will        go      into          the     chair.                                                                                             3           A.        In   the dining                  room area                       in    each one of the pools

 4                                   Once blood                    starts            pooling               into    the chair            the             4   of    blood as               I

                                                                                                                                                                                             explained                       earlier          on the table                        on the

 5    blood             that        continues                 to    flow           into    the chair               will    cause                        5   chair        and        in       the    floor            we        collected              a     swab of the

 6   a     --     it    will    splash               into     the blood                   and cause a                                                   6   blood.            In   addition               to        that atop the                    table        there             were

 7   spattering.                         I   found very                  little     bit    of        spattered            blood       in                7   miscellaneous                      pills.           I    did      not        know what these                                 pills


 8   the chair                   okay.              That blood flows                             into      the     floor       and                      8   included               but they           were packaged                                                           and they are
                                                                                                                                                                                                                                                     together

 9   creates                   a pool          of    blood          into          the     floor.                                                        9   just    miscellaneous                         pills
                                                                                                                                                                                                                         that       were collected                            atop the

10                                   I       believe         that        the       victim            at    one time was                                10   table.           While           searching                  through                this     table             I
                                                                                                                                                                                                                                                                              came              across

11   sitting             in    the           chair     while the                  blood excuse                      me         while        the        11   a     bullet.


12   blood              had been pooling                             into          the table                pooling            into   the              12           Q.        Okay.           Where                 was the               bullet          in    relation


     chair              and then once the blood pooled                                                      into    the floor              she         13           A.        What was               the            bullet          or    where                 Im            sorry.


14   fell       into          the        floor      and splashed                         into        the pool         of       blood                   14           Q.        --   in relation             to        the       body           of     Nancy Weatherly

15   which               caused                a blood spatter                       pattern               that    went onto the                       15   Where was the                          bullet           fragment

16   north             wall.                                                                                                                           16           A.        The     bullet         was on top                          of   the table               somewhat

17              Q.        Okay.                And        that     would                be on         this wall           here        is               17   underneath                   a green               table mat.                     It    had come out and gone

18   that          correct                                                                                                                             18   underneath                   a    table        mat.

19              A.        Yes.                                                                                                                         19           Q.        Okay.           Did you                find       a cartridge                    casing

20              Q.        All    right.             Was        that          --    was there a way                         to                          20           A.        Yes.

21   determine                      if       that   was        in        fact       blood                                                              21           Q.        And where was                             it    found

22              A.        Yes                a presumptive                        test    --                                                           22           A.        We     found           it    on the              --   it    would            be on the                     --    that


23              Q.        Okay.                                                                                                                        23   would            be the east side of Ms. Weatherly                                                     in         a    --
                                                                                                                                                                                                                                                                                         just

24              A.        --    to       determine             whether                    that        is   blood yes.                                  24   between the table and come out                                                         just     a    little           bit.        In


25              Q.        All    right.             Around               the dining                  room table and                                    25   that    general              area there                     is    where we found the cartridge


                                                                                                                                                  45                                                                                                                                                             47
 1   around               the            body        of      Nancy Weatherly was there any                                                              1   case.

 2   fragments                   that          appeared                   to      be fragments of the body                                  of         2            Q.        Did    you do any processing                                           in    the     hall            bathroom

 3   Nancy Weatherly                                                                                                                                   3           A.         The     hall         bathroom yes.                               The         hall    bathroom                         was

4               A.        Atop the table and then                                          if   you look over toward                                   4    processed               with        black               powder.               The         toilet       seats                 were

5    the kitchen                         on    that split           wall           right        --   come down                  just    a              5    processed.                   The       toilet            flush          handle           was processed.                                  The

6    little        bit.
                               Right there                   in that              general             area we             did    find                  6    countertops                  were processed.

7    several                  different             little    pieces               of     off-white           material            that                 7            Q.        Did    you obtain any                            latent              prints       from              there

8    we         believe             were bone fragments.                                                                                               8           A.         We     did       obtain               a    latent          print       on the           flush              handle

9               Q.        Okay.                And was one of those fragments the one on                                                               9    of the       toilet.



10   top of the table tested                                       a presumptive                           test     done on            that            10           Q.        In   the master                       bedroom               and bath what                             did         you do
11   fragment by                             you    or       Max Courtney                                                                              11   in    that       area
12              A.        The one on top of the table was a presumptive                                                                                12          A.         The master bedroom processed                                                         all        the handles                  and

13   test       that           was done by Max Courtney.                                                                                               13   all   the drawers                  that        had been pulled out of the

14              Q.        And what was the result                                                                                                      14   furnitures.              Processed                       the blood                     stain       that       was found on

15              A.        It   tested               positive.                                                                                          15   the mattress cover.                                It    was the box springs cover                                                 is



16              Q.        All    right.                                                                                                                16   what        --    the sheet             that            lays       over the               box       spring.                  There

17              A.        Tested               positive            for      blood.                                                                     17   was a            really      small blood                         stain       there.            We       tested                it    as

18              Q.        For        blood                                                                                                             18   well.        In    the    bathroom we processed                                                the      bathroom                        the   same
19              A.        Yes.                                                                                                                         19   as    we         did   the other               bathroom with black powder.

20              Q.        Okay.                And so there was                            --        on    this    fragment            that            20          Q.         Okay.           The northwest                              and west bedrooms what                                            did


21   was on top of the table                                        it     tested          positive           for     blood           on               21   you do            in   those           rooms

22   the        --     what appeared                          to    be a bone fragment                                    is   that                    22          A.         Can you              slide            that       up    for           me      please

23   correct                                                                                                                                           23          Q.         Yes.

24              A.        Yes.                                                                                                                         24          A.         The northwest                          bedroom the one on top again we

25              Q.        Okay.                Did     you continue                       collecting               items And                           25   processed               them or the pieces                                   of furniture                 that          the drawers
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                                                                                                                                          48                                                                                                                                            50
 1   had been pulled out the bed searched                                                                  around        the    bed             1   through           270 as       well.


 2   looked            for   anything                   irrelevant            to     the        investigation                                  2           A.     Witness complied.

 3   there.        We         spoke                   briefly          about a small                   TV    that    I    found     in          3          Q.     Do you recognize                       these            photographs

 4   the    --    in    the       closet.               I   did        look   at that            and processed                                 4           A.     I   do.


 5   it   visually           processed                       it    by excluding                  it    that   I    dont                         5          Q.     263 through                 270 what               are       they
 6   believe           that       it    had been handled                              in       quite       some time                           6           A.     263 through                 270        these           are photographs                        of


 7   simply because you could see                                               that           there        was a palm                          7   evidence           that   was collected                     at   the        scene including                          the

 8   impression               on top                  of    the        TV     but there                was a       layer of       dust         8    bullet       the casing the tape                          cassette.               I

                                                                                                                                                                                                                                          may have              to


 9   that    had            settled              on top of             this   palm impression.                                                 9    refresh           my memory on some of them but yes.
10          Q.         In   the        west bedroom                           did     you process anything                                     10          Q.     Do    they       fairly         and accurately                      show the evidence

11   that    was worth mentioning                                        at this           time                                                11   that   you        collected          on       that    date June 30th                         2010
12          A.         In   the        west bedroom.                          Southwest                     bedroom            right           12          A.     They       do.


13   here                                                                                                                                      13                       MR.        CHAMBLESS                             All    right.         Offer       238 through

14          Q.     Theres a northwest and then below that the                                                                                  14   270    --
                                                                                                                                                                 230 Im           sorry           230 through                  270.

15   west bedroom.                                                                                                                             15                           Pause            in   proceeding.

16          A.     Yes.                Yes            this        bedroom was                    --    I   collected       the                 16                       THE COURT                         The Court               will         take a 15-minute

17   cassette               tape holder                      processed                it       with black          powder the                  17   recess        at this     time.


18   latches and was able                                         to   develop             a    latent      print    on one         of         18                       Recess                taken       from           1006         to       1026 a.m.
19   the    latches.                                                                                                                           19                       Jury not present.

20          Q.     As a           result              of your           work         did        you and Max                                    20                       THE COURT                         Thank you.                      You may be seated.

21   Courtney collect                             I
                                                      believe            24 items of evidence                             on    that           21                       MR.        WESTFALL                      I
                                                                                                                                                                                                                     can        state          the objection                   I




                                        house




--9
22   date        from the                                                                                                                      22   have        basically         for   the record              onto the record                           and then he

23          A.     Yes.                                                                                                                        23   could       offer       these       in    front      of   the        Jury.


24                            Pause                    in   proceeding.                                                                        24                       THE COURT                         All   right.           State          is   present             and

25          Q.         Now             in    the       house were these                                items       that   you                  25   ready


                                                                                                                                          49                                                                                                                                            51

 1   collected               is   it
                                        your           custom            to   give             them a number or                                 1                       MR.        CHAMBLESS My                                 witness              is
                                                                                                                                                                                                                                                          making           --      is   in


2    designation                   each of the items of evidence                                                                               2    the process              of   talking         on the phone                   in       the hallway.                   Other

 3          A.     Yes            sir.                                                                                                         3    than that           were ready but we can do                                      this      part.


4           Q.     Okay.                And with respect                             to    the        house were they                          4                        THE COURT                         All   right.           Defense              is    present

5    numbered                 by the              initials             BRB      slash            1 BRB              slash       2 and          5    and Defendant                  is   present.

6    so    on                                                                                                                                  6                        Go        ahead.           Any objections                         to   the    263       to       270
7           A.     Yes            sir.                                                                                                         7                        MR.        WESTFALL Yes                                 Your Honor.                     For the

8           Q.     Okay.                    If
                                                 you would               Officer               Blansit        if
                                                                                                                   you                         8    record       --
                                                                                                                                                                       no Im        sorry from                230         to


     would        look        at       these.               Theyre marked                             States Exhibits               238        9                        MR.       CHAMBLESS                     270.


10   sic     through                   262 and                    ask   you     if
                                                                                      you recognize                      each     of           10                       THE COURT                         230        to    270.           Im     sorry.


11   those.                                                                                                                                    11                       MR.        WESTFALL 235                                Your Honor we object

12          A.     Witness complied.                                                                                                           12   under       403         cumulative              substantially                     more       prejudicial              than

13                            Sotto voce discussion.                                                                                           13   probative.


14          Q.     Theyre marked                                   230 Im            sorry             230 through             262.            14                       244 245 246 247 we                                      object          403
15          A.     Yes            sir.                                                                                                         15   substantially            more        prejudicial             than probative                           and

16          Q.     And are these photographs                                                   of the       evidence                           16   cumulative.

17   evidentiary              items                   potential          evidentiary items                         that    you                 17                       250 through                 256 403                    substantially                more

18   collected              that        day June 30th 2010                                      at     Nancy Weatherlys                        18   prejudicial         than probative                   and cumulative.

19   house         in       Godley Texas                                                                                                       19                       And no objection                        to   the other                 ones        that      I   did


20          A.     Yes            sir.                                                                                                         20   not    specifically           name.

21          Q.     And do these                             --    and they show                        by   placement            and           21                       THE COURT                         May        I    see the pictures                       please

22   exhibit       number the items                                    that   you          either          processed           or              22                       Pause            in       proceeding.

23   collected                                                                                                                                 23                       THE COURT                         The objections                       are overruled.

24          A.     They            do.                                                                                                         24   230 through              270 are admitted.

25          Q.     Okay.                If
                                                 you        would        look        at    these           marked         263                  25                       States               Exhibit          Nos.        230     -   270 admitted.
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                                                                                                                                                  52                                                                                                                                                                               54
 1                          MR.                CHAMBLESS                        Thank you.                                                              1           A.    Yes same item                                          close-up                        photograph.

 2                          THE COURT                                  You may             bring          in   the    Jury.                             2           Q.        What             is    it    that            --    what information                                          do you gather

 3                          Jury present.                                                                                                               3   from the           end             of    the cartridge                                                         like       this                      there
                                                                                                                                                                                                                                                 casing                                                    Is



 4                          THE COURT                                  You may be seated.                             Yes             sir.              4   anything            significant                                Does            it        tell
                                                                                                                                                                                                                                                                you what                      caliber             or

 5          Q.     BY          MR.               CHAMBLESS                      Officer               Blansit             I
                                                                                                                              want        to            5   type of

      show you two items                                   that    have already been admitted                                             first         6         A.          Couple                different                    things.                    Number one                                it    is    a

 7   224     in   the     plastic                     baggy and 224-A the packaging.                                                  Do                7   fired      cartridge                case.                 Well                indicating                        its       fired           because

 8   you     recognize                        that                                                                                                      8   of the primer                  cap has the                               --    where the hammer would                                                          hit



 9          A.     Yes               I    do.                                                                                                           9   the primer cap.                           It    is       a 9         millimeter                           Luger             FC            Federal

10          Q.     What                  is    that                                                                                                    10   Cartridge.               It    has             its       brand                its        caliber                 and the type of

11          A.     That          is           the 9 millimeter cartridge                              case          that          was                  11   cartridge           that           it   is.



12   found        in    the house.                                                                                                                     12                            THE COURT                                       Can you                          --    can you switch

13          Q.     Okay.                      And         did   you     collect          that                                                          13   positions so the Court Reporter                                                                 can            at least               see the

14          A.     I    did.                                                                                                                           14   witness.            If
                                                                                                                                                                                     youll stand                                on the other side of

15          Q.     And         that              being          on June 30th 2010                              is   that                               15   Mr.     Chambless.

16   correct                                                                                                                                           16                            THE WITNESS                                             Oh             Im             sorry.                Okay.

17          A.     Yes           sir.                                                                                                                  17                            THE COURT                                       And look                          at    the Court Reporter

18          Q.     Now           I       show you whats marked                                    States             Exhibit                           18   and the Jury when youre                                                  talking.                     That           will            help a           lot.



19   twenty             225                    the plastic              and then the packaging                                                         19         A.      Again                 the               the primer                                           here                   the center
                                                                                                                                                                                                                                                       cap
                   --                    in                                                                                                                                                                --                                                                         in



20   marked 225-A.                               Do you recognize                        that                                                          20   has an        indication                       that            it   had been                         fired           from the                   hammer
21          A.     Yes           I       do.                                                                                                           21   striking          the primer cap.                                    On        the outside                                the        lettering

22          Q.     And what                         is    that                                                                                         22   indicates           the        caliber of                           the       bullet                or the           cartridge.                       The

23          A.     Its    the                 fired       bullet that         was located                   atop          a                            23   Luger        is    the type                    of     cartridge                      that            it    is and the FC

24   table        dining             room table                   inside       the house.                                                              24   indicates           the        make                   Federal                    Cartridge.

25          Q.     All    right.                 If
                                                      you would step down                                 for just            a                        25         Q.      Show you                         a couple                       of         other                                                      here.
                                                                                                                                                                                                                                                                       photographs



                                                                                                                                                  53                                                                                                                                                                              55
 1   minute.            These photographs                                 here                    this      one has a                                       These              believe are                           marked                      16 and                                     refer to              States
                                                                                         first                                                          1                 I

                                                                                                                                                                                                                                                                            they

2    number by              it           and whats the reason                               for       the yellow                  number               2    Exhibit       225.             All                             What are we looking                                                   at   here
                                                                                                                                                                                                     right.

3           A.     It   indicates                     the item          number.              As       I
                                                                                                          briefly                                      3          A.      This            is    the        fired                bullet           that            was found on top                                     of


4    explained           earlier                      each piece of property                              or evidence                 has              4    the   table.


5    a item       that     is            --    or     a   number         that       is   relevant              to that                                 5          Q.      All    right.               Where was                                 it    found                on the table

6    piece of property                                and       that    was    --    indicate              No.      1         that                     6          A.      It   was found underneath                                                         a tabletop                       mat.               You can

7                 be the                                                                              was marked                                            see
     would                               first      piece of evidence                      that                                                        7             this      green mat here theres                                                        --        kind       of         folded              back.

8    inside       the house.                                                                                                                           8    It   was found underneath.

9                         MR.                  HEISKELL                  Your Honor could he explain                                                   9          Q.      Do you have                                --     do you have an explanation                                                                   Was
10   what exhibit explain                                  to   the Jury        at this point                   what                                   10   the   --   was the                 bullet             under the                           mat when                         it   was            fired      and

11   exhibit      number.                                                                                                                              11   ricocheted               or        was           it      the          mat placed over                                           it    by things

12          Q.     BY          MR.               CHAMBLESS                      Would             this         be    --       its    BRB-01            12   being        moved around                                           Do     you            have any                        --
                                                                                                                                                                                                                                                                                             any thoughts                        about

13   marked            as States                      Exhibit          224.    And what                   is   the    location                         13   that

14   of   this    item      here                                                                                                                       14         A.      Um.

15          A.     Thats                 in    the dining               room area                just      beside             the                      15         Q.      Any idea why                                it        was found where                                       it    was
16   dining room               table                  on the      floor       mat or the rug                    that          is                       16         A.      There could be one reason                                                                   is    the table could                              have

17   there.                                                                                                                                            17   been ransacked                            or tossed.                           Like             I
                                                                                                                                                                                                                                                                 said there                       were

18          Q.     Okay.                                                                                                                               18   miscellaneous papers                                           and            stuff         atop the                      table.                The purse

19          A.    That         --         if   you         want me         to further             explain                 I                            19   had been dug through.                                                Its      very possible                                that           the        --   that


20   will   where         it     is.                                                                                                                   20   the   mat was folded over the                                                   bullet                after          it     had been

21          Q.    Yes.                                                                                                                                 21   fired.


22          A.    You see the mark here on the leg                                                        that      would             be               22         Q.      Okay.                And              is   this         a closer-up                               view                  And why                  is



23   your    --   that     would                      be your southeast                     leg to         the      table.                             23   the   ruler        used             in    these                     photographs

24          Q.    Okay.                   And then               this    closer-up               is   same item                      is                24         A.      Well we put scales                                              in         the photograph                                   to    show

25   that   correct                                                                                                                                    25   relevant           size            to    depict the exact size                                                  of    what             this
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                                                                                                                                                           56                                                                                                                                                        58
 1    bullet         is.                                                                                                                                         1           Q.        And        I
                                                                                                                                                                                                       believe               its       marked           BRB-23                   is   that


 2             Q.         And        --                                                                                                                          2   correct

 3             A.         Yes.                                                                                                                                   3           A.        That           is    correct.


 4             Q.         And then               finally          the       --   I

                                                                                     guess           the     most near                                           4           Q.            Now         on        the backside                     here         is    that        the actual

 5    dimension                  of       this   bullet          here                                                                                            5   latent       print

 6            A.          Yes         close-up             photograph                     indicating                 an                                          6           A.        Yes            thats the actual                        latent       print               with the tape

 7    approximate                     size.        With          the scale as a close-up                                           you can                       7          on
                                                                                                                                                                     lift         it       yes.

 8   actually              see your numbers.                                                                                                                     8           Q.        All                       So     this                the    latent
                                                                                                                                                                                             right.                                    is
                                                                                                                                                                                                                                                                print            developed

 9            Q.          Now         you indicated                        you found             a cartridge                       --    I                       9   from the               latch          of the cassette                        case from the photographs

10   mean             a cassette                 case        in    the west                bedroom                    is       that                             10   and the               latent          print       is    BRB-23                is    that       correct

11   correct                                                                                                                                                    11           A.        That           is    correct.


12            A.          Yes.                                                                                                                                  12           Q.        And        did         you       actually              develop           that            latent           print


13            Q.          This       is    marked 266.                      What          is    --   what            is        this                             13   that     day June 30th 2010 yourself
14            A.          Its    a    case cassette                         tape     case            that        was found                        in            14           A.        I   did.


15   the       back northwest                       bedroom                   just        more or            less              right          after             15           Q.        All   of        the items of evidence                               were                                  about
                                                                                                                                                                                                                                                                                talking

16   the entry              of       the room.                   was                           there        outside                           the               16   from the              house from Nancy Weatherlys house
                                                            It               laying                                                of                                                                                                                                                             did    you take
                          As
17   closet.                     I   said        earlier         the latches                   were open on                             it.                     17   possession                   of       all     of those                 items       that    day
18            Q.          Is this         the    position             it    was      in    before           it       was                                        18           A.        Yes.

19   processed                   by       you                                                                                                                   19           Q.        And        did         you secure those items                                      in     the Mansfield

20            A.          Yes        sir.                                                                                                                       20   Police        Department                          safely
21            Q.          And the two latches appear                                       to    be up and open                                     is          21           A.        Yes.

22   that      correct                                                                                                                                          22           Q.        And how do you do that                                            Whats                  yalls            procedure

23            A.          Yes.                                                                                                                                  23   in     doing that

24            Q.          Whats             different            about           these          this    photograph                                              24           A.        In this          case numerous pieces                                         of        evidence they

25   here                                                                                                                                                       25   were taken                 to         our      Crime Scene office                               its         a secured



                                                                                                                                                           57                                                                                                                                                        59
 1            A.          The photograph what makes                                             this different                          is    I                  1   office        and put                  into       the secure                 office        where                 if    some         of

2    had brought the case                                                                        and set
                                                           into       the kitchen                                         it
                                                                                                                                up on top                       2    the property                     had        to    be processed                       later           it    would            be

 3   of    the dining                 room table                 to    where          I   could        better                  process                          3    readily           available                 to us.


4             The latches were closed down                                                to   where                 could process                              4            Q.        Okay.               Now weve                     got       some                                            here        that
                                                                                                                                                                                                                                                               photographs
     it.                                                                                                         I




5    them.           It    has a scale                in    the photograph                           showing                    where the                       5    show each of the items                                        I    think      that    are            marked                 BRB-1

6    fingerprint                was developed.                                                                                                                  6    through               24     that           were collected                     within           the         house            is    that


7             Q.          Okay.           And then               finally         this      one marked                           States                          7    correct




--19
8                                                                                                                                                               8            A.        Im
     268.                                                                                                                                                                                    sorry.                Repeat               that.


9             A.      Again whats been implemented                                                     into          this picture                               9            Q.        BRB-1 through 24 are those the numbered                                                                          items

10   is    the Tent No.                     23    indicating                the item            number showing                                         a        10   that     were collected                           within           Nancy Weatherlys house
11   little    bit        more        of    a close-up                     without        a scale            of       the                                       11           A.        Yes.

12   fingerprint that                      was developed.                                                                                                       12           Q.    All       right.              All    right.          This       one here and what

13            Q.      Okay.               Thank you.                   Go ahead and have                                       a   seat.                        13   are     we        looking              at     here
14                               Did you           collect            the cassette                   case            itself                                     14           A.    The                                      case.
                                                                                                                                                                                                cartridge

15            A.          No.                                                                                                                                   15           Q.                            And         this    would              be    Item No.                 1
                                                                                                                                                                                       Okay.                                                                                               is   that


16            Q.      Show you one                         of the           latent        fingerprints within                                                   16   correct

17   States               Exhibit          215      within            an     envelope.                 Would                   you take                         17           A.    Yes.

18   the item out                    and see          if
                                                           you recognize                        it    please sir                                                18           Q.    That           shows                its    position             in                                       to   the
                                                                                                                                                                                                                                                         relationship

              A.      Yes.                                                                                                                                      19   at     the top the                --     is    that      the dining                room table

20            Q.      Do        you recognize                     that        item                                                                              20           A.    Yes            it    is.



21            A.                                                                                                                                                21           Q.        Leg of the dining                               room
                           do.                                                                                                                                                                                                                    table.            All
                                                                                                                                                                                                                                                                               right.
                      I




22                    What                          item thats                                                                                                  22                              Now youve
              Q.                                                                                                                                                                                                               got BRB-2 marked                                  down here
                                            this                                           of the       collection
                                      is
                                                                                 part                                                                                                                                                                                                                     at   the

23   of    latent          prints          within     States                215                                                                                 23   bottom.               What             is --      what are we seeing                                       Whats             the

24            A.     That            is   the     lifted
                                                             fingerprint that                        was on the                                                 24                         of this          item
                                                                                                                                                                     purpose

25   cassette              tape           holder.                                                                                                               25           A.    These are                        hair fibers that                    were found on the
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 1   floor in         close            proximity              to         the    victim.                                                                   1
                                                                                                                                                              apparently as you look                                          at       it

 2             Q.     Okay.             And were these collected                                                    as    well                            2         A.    To hold a TV.

 3             A.     They were.                                                                                                                          3         Q.    And there was no TV there

 4             Q.     The next item BRB-3 where                                                          was          this within             the         4         A.        No                there          was       not.


 5   house and what are we looking at                                                                                                                     5         Q.    The hammer was collected                                                             is    that        correct

 6             A.     If
                             you
                                       --    if    youre looking                      at        --       this        is   a                               6         A.    Yes                        it    was.

 7   newspaper                     article.             And         if   you look               to        the        left     of this                     7         Q.        Item No.                       6     where was                     this         found
 8   newspaper                     looking              at this           paper you                       will       see the dining                       8         A.        In      the                 floor    on the couch                      --       near the            couch          in


 9   room           table.          Thats where                          this    paper                   is    in    --   relevant            to          9   the   living           room.

10   the dining                  room         table.          And your kitchen                                      is    over      to                   10         Q.        It
                                                                                                                                                                                    appears                       to    be a       number                 of       pills
                                                                                                                                                                                                                                                                            in     a      plastic

11   your       --    to     your           right.                                                                                                       11   bag
12             Q.     Okay.                                                                                                                              12         A.    Yes.

13             A.     Yeah             here            you     go.                                                                                       13         Q.    Okay.                            Item No.           7        where was                    this     found
14             Q.     And back here                            it    would           be          is       it    to    the north                          14         A.        Its           a         prescription                bottle          that         was found on

15   side       of the dining                       room table                                                                                           15   the   --   on the couch.

16             A.     Yes.                                                                                                                               16         Q.    All              of          these       items           we            say      1    through                7   they

17             Q.     Okay.             All         right.          So between                           the dining              room                    17   would      --
                                                                                                                                                                                   theyre referred                                to    as       BRB-1 2 3 4 5 6                                  7
18   table          and the wall                       is   that         the approximate area                                       were                 18         A.    That                       is    correct yes.

19   looking           at                                                                                                                                19         Q.    This                   was collected                         as well                is   that     true

20             A.     Yes.                                                                                                                               20         A.    Yes.

21             Q.     A      piece           of        newspaper                                                                                         21         Q.    Now 8                             what        is    8   here

22             A.     Yes.                                                                                                                               22         A.    8           thats                 at    the    base               of   the entertainment

23             Q.     Why           was           it   collected                                                                                         23   center.              Its          another                CD album                   photo             album             that     was

24             A.     It     had a shoe impression                                         a     shoe impression on                                      24   collect     --        or          it        was not collected                          it   was processed.

25   it   --                                                                                                                                             25         Q.    All              right.            Why         was           it    not collected



                                                                                                                                                    61                                                                                                                                                                63
 1             Q.     Okay.                                                                                                                               1         A.    Did not develop                                     any           fingerprints                   or   evidential


2              A.     --     that      was developed.                                                                                                     2   value      on         it.




3              Q.     All        right.           Item No.               4     what are we looking                                   at                   3         Q.    So               it     was processed                             but not collected                             but given

4    here                                                                                                                                                4    a   number No.                               8
5              A.     Youre looking                           at    a Band-Aid.                           I    dont know                 if               5         A.    Yes.

6    the Jury               is   able        to actually                  see the               hair fibers that                         are             6          Q.    No.                   9
7    around           the         Band-Aid but                           this is      --       this            is   hair fibers               on          7         A.    Pill              capsules.                    These were found on top                                            of   the

8    top       of    the     table.                                                                                                                      8    coffee     --        coffee                   table       in    the                         room as            well.
                                                                                                                                                                                                                                            living

9              Q.     All        right.           Additional                  hair fibers                 --                                             9          Q.    All             right.             Those were collected

10             A.     Okay.                                                                                                                              10         A.    Yes.

11             Q.     --     that      were collected                           is   that            --                                                  11         Q.    Okay.                            Now         whats marked                           as your             exhibit         BRB-10
12             A.     Yes.                                                                                                                               12   where      was                    this        found        and what was                          done
13             Q.     --     the purpose                     of     this             Okay.                                                               13         A.    That                    was also found on top                                       of    the coffee               table      in


14             A.     Yes.                                                                                                                               14   the                   room.                              a coffee                                     had a
                                                                                                                                                                    living                                   Its                             cup       that                           liquid

15             Q.     This might                       be a    better            view of                  that.                                          15   sample          in          it.




16             A.     Yes.                                                                                                                               16         Q.    And the                           result of             the processing                           was what

17             Q.     Your No.                    5    what         --        where        --    what                is   the    location                17         A.    No               --         no    fingerprints                    developed.

18   of this within                 the           house                                                                                                  18         Q.    All             right.             So        this   was processed but also                                             like


19             A.     Thats on the entertainment center                                                                  in   the   living               19   No.   8    not collected

20   room.           Its         the   hammer.                                                                                                           20         A.    Not collected                                 right.              Photograph                     only.

21             Q.     Okay.             Would               this         be on the                   I

                                                                                                          guess the                                      21         Q.    BRB-1 1 what                                   are       we         seeing               here Where was                            this


22   southern               end of the house                                  next   to     the           garage                                         22   found
23             A.     Yes.                                                                                                                               23         A.    The Lockheed                                   Martin               name badge                         it    was found             in



24             Q.     All        right.           And       this         is   the entertainment                                                          24   the chair             in          the         living      room.               This photograph                            was where                  I




25   center.           It    appeared                   to    be         --    what was                   it
                                                                                                                being used                    for        25   had developed                                 or processed                      the      name badge and                             then        I
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 1
     photographed                              it   on top of the countertop                                         or the        --    Im                    1          Q.       Did you take                      a    sample                of this     as     well

 2   sorry        --    coffee             table              where the photograph                                         was taken               at.         2          A.       Yes         sir.



 3         Q.          All    right.                 Was            this        a    --    was a           latent          print                               3          Q.       States           --    BRB-15 what                            are      we      looking             at
 4   developed                 from                 this       item                                                                                            4          A.       A     blood        spatter                 pattern           on the west                  wall.


 5         A.          There was.                                                                                                                              5          Q.       Okay.            16    is        --   what are we looking                                 at   here
 6         Q.          And          did             you develop                      that           latent      print       and         collect                6          A.       Thats the              fired. bullet.


 7   the     latent          print             yourself                                                                                                        7          Q.       Okay.

 8         A.          Yes           sir.                                                                                                                      8          A.       It   was found on top of the                                      table        in    the dining

 9         Q.          Okay.               I        believe              Ill
                                                                                just           represent             to    you     its                         9   room.

10   already            been admitted                                    into       evidence               as       BRB-1        1.                           10          Q.       17 what               is    --    what            is    17
11         A.                                                                                                                                                             A.              the                                 material
                       Okay.                                                                                                                                  11                   Its              off-white                                     that     was          --    a

12                                                                                                                                                                                                        was done on
           Q.          But         that             is   a    latent            print          you        yourself                                            12   presumptive                  test                                            that     and concluded                          that      it




13   developed                from the                        --
                                                                    appears                    to   be an           I.D.    card Lockheed                     13   was     positive             for      blood.               Thats what we believe                                   to    be bone

14   Martin says N.A. Weatherly                                                      or        Nancy            is    that    correct                         14   fragments.




 67-1
15         A.          Yes          sir             that       is       correct                                                                               15          Q.       This    was on top                         of    the dining             room table                      is   that


16         Q.          The card                      itself         was not collected                               once you                                  16   correct

17   obtained            the          latent                 print                                                                                            17          A.   Yes            on      top       of       the dining               room       table            as      well.


18         A.          No          sir.                                                                                                                       18          Q.   Was             it   collected

19         Q.          BRB-12 where                                      is    the    position                 of   this                                      19          A.       It   was collected yes.

20         A.          Its    in      the dining                         room on the dining room table                                                        20          Q.   Another                                                    of the       same            exhibit
                                                                                                                                                                                                      photograph                                                                        is      that


21   atop the table                       where the blood pool                                           is.                                                  21   correct

22         Q.          All    right.                                                                                                                          22          A.   Yes.

23         A.          Its    going                  to      be     on the                --    that     would             be on the                          23          Q.       BRB-18 where was this What was                                                                 the   location               of

24   west       wall.                                                                                                                                         24   18
25         Q.          So     it    would                 be        at         the   west side                 of    the table                                25          A.   These are                      in    the        --    between              the dining                  room and


                                                                                                                                                         65
     west       wall         on      the            edge            of         the dining                room table                                            1   the kitchen             on the floor                                    near the                                          is
                                                                                                                                                                                                                               just                          refrigerator

2          A.          Correct.                                                                                                                               2    where these were found                                      at.        Its    the      same          material as                   to


3          Q.          And what                      did       you do with this                                                                                3   what was found on top                                      of    the    table.


4          A.          Photographed                                        and then we swabbed                                                                4           Q.   Also apparently                                                       be bone                      nature
                                                                    it                                                           it     to                                                                                    appear            to                          in


5    collect       a sample.                                                                                                                                  5           A.   Yes            it    does.

6          Q.          Okay.              BRB-13 what                                are            we    looking           at                                6           Q.   Okay.                Were            these            collected

7          A.          This        is     the pooling                           of   the blood                 in    the chair           on                    7          A.   Yes         they were.

8    the   west side                    of          the      table.                                                                                           8           Q.   BRB-19 what                               is   the location                 of this           and what                is



9          Q.          What           is        the          relationship                      of   this to          the blood               we               9    the    exhibit         BRB-19
10   saw     in    the previous                              photograph                                                                                       10          A.   Its        again near the dining                                      room          kitchen              area.

11         A.          The blood on the previous                                                    photograph                was atop the                    11   Thats on the rug                       that           is    in    the dining            room area.                      19     is



12   table      where              the blood                       was pooling                       or flowing              off of          the              12   also                                   another                   white                                                            be
                                                                                                                                                                           representing                                                          fragment believed                              to


13   table      into         the      chair.                                                                                                                  13   bone fragments.

14         Q.          Okay.              Did            you also                collect             a    sample of this                                      14          Q.   All       right.          Now              20 and 21 where                              is   the       location


15         A.          Yes.                                                                                                                                   15   of   21
16         Q.          By a        swab                                                                                                                       16          A.   This        would              be         in   the guest                bathroom                  in   the       main

17         A.          Yes.                                                                                                                                   17   hallway          as    youre going toward the north side                                                        of   the

18         Q.          Finally States                               --     I
                                                                                mean BRB-14 what                                   is   the                   18   house.

19   location           of    this                                                                                                                            19          Q.   Okay.

20         A.      This            is     right              below the                table              on the west side                                     20         A.    And thats obviously                                        on the         toilet    in       the guest

21   near the           west            wall             of    the         table.              This       is   where                                          21   bathroom.

22   Ms. Weatherly                         had been located                                         at   where             her face           was             22          Q.   Did you obtain                            and         collect         a    latent                      from
                                                                                                                                                                                                                                                                        print

23   thats      on the              floor.                                                                                                                    23   this toilet          lid

24         Q.          Her head was                                                  area                            correct                                  24               From the                                                   would          have
                                                                   in     this                      is    that                                                           A.                              toilet          lid          I                            to refer to                  my
25         A.      That            is     correct.                                                                                                            25   notes.      I        do not        recall.
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                                                                                                                                               68                                                                                                                                             70
 1          Q.     All       right.            22 BRB-22                                                                                              1   CD        an audio CD                 that       I
                                                                                                                                                                                                                believe                 was found            in   a pickup.

 2          A.     This            is --       Im     sorry.              Go        ahead.                                                           2           Q.     In    a    Tundra            pickup

 3          Q.     Go        ahead.                  Is    this      also           in    the guest                bathroom                          3           A.     In    a    Tundra            pickup                   yes.

 4          A.     It    is       yes.                                                                                                               4           Q.     Okay.            Were          going                  to     talk     about      that     in just      a

 5          Q.     What has                     --    what has happened                                  here What                       are   we    5    minute.


 6   looking            at                                                                                                                           6           A.     Okay.            These again are                                   latent      prints     that        have

 7          A.     That            is    the        flush       handle              of     the     same             toilet     in                    7    been developed                       off   of        a Tundra pickup.                          They were

 8   the guest           bathroom and a                                   latent           print    was developed                        on          8    processed.

 9   the    flush       toilet           --    on the           flush           handle.                                                              9                             THE COURT                                 What was the States                         Exhibit


10          Q.     And            Ill    represent                to       you       its     been admitted                       as                  10   number on those packets

11   BRB-22.             And            did     you yourself                          collect           that       latent        print               11                            MR.    CHAMBLESS                                     Its    215       1   through          10
12   that    day                                                                                                                                     12   Judge.

13          A.     Yes.                                                                                                                              13                            THE COURT                                 Thank you.

14                           THE COURT                               It    was            exhibit       --    it   was admitted                      14          Q.     BY         MR.       CHAMBLESS                                   Now         lets    focus       just for       the




--24
15   as States            Exhibit               something                      else.         The Medical                     Examiner                15   moment            on      these        three.                  I   believe          they were taken from the

16   No.    is   22.         You said                 --       258        is   the States Exhibit                                                    16   house         is    that       correct

17   correct                                                                                                                                         17          A.     Okay.            Yes.

18                           MR.           CHAMBLESS Yes                                         sir.                                                18          Q.     Okay.            What numbers                                are      they What                 are your

19          Q.     BY             MR.          CHAMBLESS                             States             Exhibit           258       is   BRB-22      19   exhibit       numbers

20   and so the               --       would          the       latent          print        be BRB-22                                               20          A.     My         exhibit       numbers                      will      be BRB-22 BRB-21 and

21          A.     Yes.                                                                                                                              21   BRB-11.

22          Q.     Okay.                Thank you.                        23 weve                 looked             at   already.                   22          Q.     Okay.

23   This    would            be the             print          developed                   from the               latch     of the                  23          A.     Do you want me                           to


     cassette           case              is   that        correct                                                                                   24          Q.     Yes.          Tell      us   where                    they       came         from.

25          A.     Yes             sir.                                                                                                              25          A.     Okay.            BRB-1         1       is     from the                I.D.     card the Lockheed


                                                                                                                                               69                                                                                                                                             71

 1          Q.     Go back                    just briefly                to    our diagram.                        It   was                         1    Martin       badge             I.D.    badge.                       BRB-21           is     on the      lid   to    the

 2   found       in     the west                bedroom which                               is
                                                                                                 just        past the dining                         2    toilet.      And BRB-22                    is    on the                  flush       handle of the             toilet.



 3   room on the                   left        is    that       correct                                                                              3           Q.     Okay.            And then youve previously                                           spoken           that


4           A.     That            is    correct.                                                                                                    4    BRB-23 was the                       latent          print           developed                by   you        from the

 5          Q.     This           photograph 260 what are we looking                                                             at                  5    handle        of    the cassette                     case                is   that    correct

6    here                                                                                                                                            6           A.     That        is   correct.


 7          A.     Its       in        the master                bedroom.                                                                            7           Q.     All    right.          Those are the four                                   latent   prints


8           Q.     Okay.                And there appears                                  to    be a focus here.                                    8    recovered              by   you       from the                      house of Nancy Weatherly                                  is



9    Youve used                    a     ruler.            And what                 is     the purpose                    of this                    9    that      true

10   photograph                                                                                                                                      10          A.     I   do     recall       that           yes.


11          A.     The            --    an apparent                       blood           stain    that            was located                       11          Q.     Okay.            All    right.           If
                                                                                                                                                                                                                             you     would          be kind enough                 to


12   on     like    I
                        said the                --    the       box spring cover.                                                                    12   open        this too.


13          Q.     Okay.                And          is    this   a closer                  picture          of that                                 13          A.     Whats             in    it

14   apparent            blood            stain                                                                                                      14          Q.     These are the                      hairs.                  First      its     marked        BRB-02.

15          A.     Yes            sir.                                                                                                               15   Do you see                the   --    what            is           contained              within   BRB-02

16          Q.     And was                     that       --   was a            cutting           of    that        stain                            16          A.     Loose            hair fibers.


17   obtained           and recovered                            by you and Max Courtney                                         that     day        17          Q.     Okay.

18          A.     Yes            sir.                                                                                                               18          A.     Do you want them open

19          Q.     If
                        you would
                                                      --
                                                               youve already                      identified                                         19          Q.     Would            you open                   it       and see           if   thats    what        it




20   BRB-23.             Would                 you take the                     latent           prints        out of        this                    20   contains           within       that please.

21   package             and            lets talk              about these                      for just           a minute.                         21          A.     Witness complied.

22          A.     Oh         I
                                   see          its        stapled             to   it.     Just        go through                                   22          Q.     Okay.

23   these                                                                                                                                           23          A.     Yes you can see                                  the       hairs.


24          Q.     Yes            lets just                go through                     these.                                                     24          Q.     Okay.            Contained                       within         BRB-02 weve seen                            a

25          A.     This           is    going             to   be a            print that          was          lifted     off      a                25 picture         of    it    but these                  are loose                 hairs        collected          by you
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                                                                                                                                                                         MARCH
                                                                                                                                         72                                                                                                                      74
         and Max Courtney                                     day                        correct                                                                                    some
                                                   that                       that                                                                 testified      this                                       capsules                       correct
    1                                                                    is                                                                    1                             is
                                                                                                                                                                                           Tylenol                              is   that


    2           A.            Correct.                                                                                                         2          A.     Yes.

    3           Q.            Okay.        If
                                                you would            be kind enough                            to    open    this              3          Q.     Would you be kind enough                            to   open that please.
 4       also             believe          also contains                 hairs           marked                BRB-04.                         4
                     I
                                                                                                                                                          A.     Witness complied.
 5              A.            Witness complied.                                                                                                5          Q.    These were collected                         as   well    by    you and Max
 6                                   MR.        CHAMBLESS                      Offer States Exhibits                             271           6   Courtney         on       that    date       is   that    correct

 7      and 272 which are                              hairs       marked            BRB-02 and -04 the                                        7          A.     Correct.


 8      packaging                       271-A and 272-A.                                                                                       8                       MR.          CHAMBLESS                  Offer the exhibit                  BRB-06
 9                                   MR.        WESTFALL                  No        objection                  as offered         Your         9   the capsules               as States          Exhibit       No.   275         the packaging             as

 10     Honor.                                                                                                                                10   275-A.


 11                                 THE COURT                      Admitted.                                                                  11                       MR.          WESTFALL                 No objection             as offered          Your

12                                  States         Exhibit          Nos. 271              -    272 admitted.                                  12   Honor.

13                                  States         Exhibit          Nos.        271-A 272-A                                                   13                       THE COURT                     Admitted.

14                                  admitted           for    record          purposes                   only.                                14                                                              275 admitted.
                                                                                                                                                                       States           Exhibit        No.

15             Q.         BY            MR.     CHAMBLESS                      Ive       shown you whats marked                               15                       States           Exhibit        No.    275-A admitted                for


16      BRB-03.                 Would           you be kind enough                            to    open            that    please            16                       record         purposes          only.

17      sir.                                                                                                                                  17          Q.    BY      MR.          CHAMBLESS BRB-07                            I   believe       you
18             A.         Witness complied.                                                                                                   18   testified      is   a             bottle     that    was found          in    or on the
                                                                                                                                                                             pill


19                                   Sotto voce discussion.                                                                                   19   couch area.                                                                                      and see
                                                                                                                                                                             Will    you be kind enough                   to     open       that


20             Q.         Weve            seen a         picture          of   it    I   believe               on                             20   whats contained                   therein.


21      photographs.                      This     is   the        newspaper                  that           was collected          by        21          A.    Can          cut                     that
                                                                                                                                                                         I

                                                                                                                                                                                     through

22      you and Max Courtney                                  is   that       correct                                                         22          Q.    Yeah.

23             A.         Yes.                                                                                                                23          A.    Witness complied.
24                        And youve                                                                                                           24                                                                  you and Max Courtney on
               Q.                                 told        us the          location          of           that    which                                Q.    And     this        was collected            by
25      was where                                                                                                                             25   that    date June 30th                  is   that    correct


                                                                                                                                         73                                                                                                                      75
 1             A.         In    the dining             room area beside the dining                                         room                1          A.    Yes.

 2      table.                                                                                                                                 2                       MR.          CHAMBLESS                 Offer       BRB-07 as States

 3                                  MR.       CHAMBLESS                        Okay.            I   offer           the   BRB-03               3   Exhibit      276      the packaging                 as 276-A.

 4      which            is   the       newspaper as 273 and the packaging                                                   as               4                        MR.          WESTFALL                 For the record            only
 5      273-A.                                                                                                                                 5                       MR.          CHAMBLESS                 For the record                only.

 6                                  MR.       WESTFALL                    No        objection                 as offered          Your        6                        MR.          WESTFALL                 No objection             as offered          Your

 7      Honor.                                                                                                                                7    Honor.

8                                   THE COURT                      Admitted.                                                                  8                        THE COURT                     Admitted.

9                                   States                          No.       273 admitted.                                                   9                                                               276 admitted.
                                                   Exhibit                                                                                                             States          Exhibit         No.

10                                  States                          No.       273-A admitted                                                  10                                                              276-A admitted
                                                   Exhibit                                                           for                                               States          Exhibit         No.                                  for


11                                  record       purposes            only.                                                                    11                       record         purposes          only.

12             Q.         BY         MR.        CHAMBLESS BRB-05                                         I   believe       you                12          Q.    BY     MR.          CHAMBLESS BRB-09                             youve        testified         is


13                                  a   hammer.               Would           you be kind enough                                              13   some                                           Would
        testified                                                                                                                open                                                                          you be kind enough
                               is                                                                                           to                                 Tylenol        capsules.                                                              to   open
14      that    package                  and see              thats the             hammer                            was                     14
                                                                                                              that                                 that    please
                                                         if                                                                                                                  sir.



15      collected              by       you     that    day.                                                                                  15          A.    Witness complied.
1.6            A.         Yes.                                                                                                                16                       MR.          CHAMBLESS                 Offer       BRB-09            Tylenol

17                                  MR.       CHAMBLESS                        Okay.           We             offer   the    hammer           17   capsules as States                      Exhibit      277       packaging            as   277-A        for


18      as     274            packaging           as    274-A            his    marking                      BRB-05.                          18   the    record.


19                                  MR.       WESTFALL                    No        objection                 as offered         Your         19                       MR.          WESTFALL                 No   objection          as offered          Your

20      Honor.                                                                                                                                20   Honor.

21                                  THE COURT                      Admitted.                                                                  21                     THE COURT                       Admitted.

22                                  States                         No.        274 admitted.                                                   22                                                             277 admitted.
                                                  Exhibit                                                                                                            States            Exhibit         No.

23                                  States        Exhibit          No.        274-A admitted                         for                      23                     States            Exhibit         No.   277-A admitted                 for


24                                  record       purposes            only.                                                                    24                     record           purposes          only.

25             Q.        BY         MR.       CHAMBLESS BRB-06                                       I       believe       you                25          Q.    BY     MR.          CHAMBLESS                 Okay.        BRB-12 13 14 and
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                                                                                                                                                     76                                                                                                                                                          78
 1    15    Ill   show these                   to          you.          And could you                          tell    us    what                         1    would          open        that           and        tell    us     if   that       contains                      that


 2   these        are these               four              exhibits                                                                                       2    particular           item.


 3          A.         This       one here BRB-13                                    is     the top one.                     Its    the                    3           A.      Yes         it        does.

 4   blood        swab            that    was collected                             off of           the chair          in    the                          4           Q.      This        would               be BRB-18                      is   that    correct

 5   dining        room            table.                                                                                                                  5           A.      That        is        correct.


 6                            About          to       sneeze.                                                                                              6           Q.      Can you place those                                       in there.


 7                            The next one BRB-14                                              -is      a blood        swab                                7           A.      Witness complied.

 8   collected           off       of   the     floor             next         to    the           table.        And the                                   8           Q.      Finally                BRB-19                 if
                                                                                                                                                                                                                                  you would be kind enough                                                 to


 9   next       one      is       BRB-15 and                        it    is   collected                  off    of the       wall.                        9    open        that     and see                   if   it   contains             the items                 that                 were

10          Q.         Okay.            Now          Ill    show you whats marked                                            as     12.                   10    collected            by    you on                   that     date.


11   Would         you        tell      us     what              that         is    please               sir.                                             11           A.      Going                 to   put       this     one         in   there       first.              I        cant

12          A.     This           is    the blood                  stain           swab             that    is   collected                                12    get the other                   one        out.           Theres more.                     Yes.

13   off   --   off    the table               the top                   of    the   table.                                                               13           Q.      Does                   contain             the item             that    was collected                                  by
                                                                                                                                                                                                it




14          Q.     All       right.       Does               it    indicate           its            packaging               only                         14   you on          that        date
15   at this      time                                                                                                                                    15           A.      Yes         it        does.

16         A.      Im sorry                                                                                                                               16                          MR.                 CHAMBLESS                           At    this    time                  we         offer     BRB-17
17          Q.     Does                 indicate                  that        what                 contains            here                               17   the packaging                         as    279-A                    record
                                                                                                                                                                                                                             for                    purposes the bone
                                   it                                                     it                                   is



18   packaging                only       at this            time                                                                                          18   fragment as 279.

19         A.      Okay                packaging                   only            yes.                                                                   19                          Offer               BRB-18                  the packaging                    as              280-A            for


20          Q.     But        BRB-12 was a swab from the blood as you                                                                                     20   record          purposes                    the           bone fragments as 280                                          within         a clear

21   described                     that      correct                                                                                                      21
                              is
                                                                                                                                                               plastic         bag.

22         A.      Yes            that          correct.                                                                                                  22                          BRB-19 as States                                    Exhibit         281                                              as
                                          is
                                                                                                                                                                                                                                                                           packaging

23                            MR.        CHAMBLESS                                   Okay.               Offer         these these                        23   281-A         for     record               purposes.

24   being the           --                                                                                                                               24                          MR.             WESTFALL                           To each Your Honor object

25                            Sotto voce discussion.                                                                                                      25   under        403        substantially                         more         prejudicial                   than                 probative



                                                                                                                                                     77                                                                                                                                                          79
 1                            MR.        CHAMBLESS                                  Offer               278      States            Exhibit                 1   and cumulative.

2    278        which         I
                                   represent                 to     be the four swabs taken                                        by                     2                           THE COURT                                   Objection           is    overruled.                           The

3    Officer Blansit                    from the                  Nancy Weatherly                               house         on June                     3    exhibits         are admitted.

4    30th 2010.                   Theyre marked                                as    BRB-12 13 14 and                                     15              4                           States                   Exhibit            Nos.         279    -    281           admitted.

5    within       States             Exhibit               278.          The packaging                           were         offering                    5                           States                   Exhibit            Nos.         279-A 280-A 281-A

6    for   the record                  only the              swabs themselves were offered                                                     for        6                           admitted                      for     record            purposes             only.

7    all
           purposes.                                                                                                                                      7            Q.      BY      MR.                CHAMBLESS                           If
                                                                                                                                                                                                                                                   you would take a look
8                            MR.        WESTFALL                               Your Honor we have                                    --      we have      8    at     BRB-20.              And youve                        testified          these        were collected

9    no objection                  as offered with the                               --        I   mean          with the                                 9    by     you on         that            date.


10                                      that                 ever         comes                          pass                                             10                                                                                        and see
     understanding                                                                                 to             that       its                                                           you would                        open          that
                                                if     it                                                                                                                             If                                                                                          if    it




11   necessary                theyll         be separated.                                                                                                11   contains         the item                  that           was      collected.


12                           THE COURT                              Admitted.                                                                             12          A.       These were collected                                      by both          of us.                       These are

13                           States             Exhibit                  No.       278 admitted.                                                          13   the     pills    that       were on top                        of   the        --   these      are the                         pills


14         Q.      BY         MR.        CHAMBLESS                                   All           right.       Show you whats                            14   that    were on top                        of   the dining                room         table         that                 were

15   marked            as States               --      BRB          exhibits                   17 18 and 19                        which                  15   miscellaneous                         pills      that        were collected                   together.                          One
16   youve        testified             these              are fragments                            of   material        that        were                 16   pill   was      in this               one.

17   found        in   the        house         at different                       locations.                                                             17          Q.       Show you whats marked                                               States          Exhibit                    No.

18                           First        BRB-17                    if
                                                                          you would open that                                                             18   BRB-24           if
                                                                                                                                                                                     you would                           open      that       and see              if    it            contains            the

19   please.                                                                                                                                              19   item     you spoke about.

20         A.      Witness complied.                                                                                                                      20                          Sotto voce discussion.

21         Q.      Youre holding                            in
                                                                  your         hand the contents                              of                          21                          MR.             CHAMBLESS                               At   this    time                   we         offer     BRB-20

22   BRB-1        7     is    that      correct                                                                                                           22   as States             Exhibit               282           packaging                 as 282-A                       for        record

23         A.      Correct yes.                                                                                                                           23   purposes.

24                           Pause             in
                                                       proceeding.                                                                                        24                          MR.             WESTFALL                           No objection                      as offered                       Your

25         Q.      Show            you    whats marked                                as States                   BRB-18                if   you          25   Honor.
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                                                                                                                                            80                                                                                                                                              82
 1                        THE COURT                         Admitted.                                                                             1          Q.        Tell    the Jury something                            of        what you did what you

 2                        States                  Exhibit       No.           282 admitted.                                                       2   did    as    far       as processing                     for   evidence.

 3                        States                  Exhibit       No.           282-A admitted                       for                            3          A.        Um      in relation                to   fingerprints                   I
                                                                                                                                                                                                                                                  processed               the

 4                        record                 purposes               only.                                                                     4   outside           vehicle                                 door        handles door frames
                                                                                                                                                                                              including

 5                        MR.         CHAMBLESS We                                           also      offer    BRB-24 as                         5   windows gas caps with black powder then                                                                 tried    to


 6       States     Exhibit         283 and              the packaging                             as    283-A       for                          6   attempt           latent          fingerprints.

 7       record.                                                                                                                                  7          Q.        Okay.            Show you some                       photographs                       marked 271

 8                        MR.         WESTFALL                               No    objection                 as offered             Your          8   through 290                  --    Im going              to   have          to    change               that   now.            Have

 9       Honor.                                                                                                                                   9   you seen these photographs                                          before         this       moment            in       time
10                        THE COURT                         Admitted.                                                                            10          A.    Yes.

11                        States                  Exhibit       No.           283 admitted.                                                      11          Q.    And do these photographs                                                         and accurately
                                                                                                                                                                                                                                       fairly

12                        States                  Exhibit       No.           283-A admitted                       for                           12   show the Toyota Tundra                                   and parts of the Tundra                                that          you
13                        record                 purposes               only.                                                                    13   processed               for       evidence               on   that     day
14          Q.     BY         MR.       CHAMBLESS                                 And just again we                        --   I   think        14          A.    Yes.

15   they     were already admitted but the                                                                                                      15                           Sotto voce discussion.
                                                                                             latent      prints      that       you
16   recovered            from the                 house        I       believe              theyre          marked            BRB-11            16                           Pause                in
                                                                                                                                                                                                         proceeding.

17   21 22 and 23                   is       that    correct                                                                                     17                           MR.            CHAMBLESS                      Offer            284 through               314          at this


18          A.     That        sounds              right    yes.                                                                                 18   time.


19                        MR.         CHAMBLESS                               And we                offer      those       as       well.        19                           MR.            WESTFALL                     Your          Honor            I   looked         at      these

20   I    think    theyve already been offered                                               and admitted                 as   part              20   pictures          over the              break and               I   have no objection                          to    them.

21   of    States        Exhibit         215          but   I       make             those             specific      requests                    21                           THE COURT                         Thank you. Admitted.

22                                                                                                                                               22                                                                 Nos.     284              314 admitted.
     at this time.                                                                                                                                                            States               Exhibit                               -



23                        MR.         WESTFALL                              May         I    have       just   a   moment                        23          Q.    BY         MR.            CHAMBLESS                      All        right.        Now            the items

24                        THE COURT                         Yes               sir.                                                               24   that   were collected                        from        Nancy Weatherlys vehicle

25                        Sotto voce discussion.                                                                                                 25   instead           of   being            designated              BRB              were they used                     --   did




                                                                                                                                            81                                                                                                                                            83
 1                        MR.         CHAMBLESS                               I    offer         all    of   the prints                           I   they     use the             initials         BMC
                                                                                                                                                                                                   BMC.




--11
 2   those        are    BRB-1 1 21 22 23 as                                       well           as    BMC-01 02 11                             2           A.    Yes we                    did


 3   36 and             37 which                 contains       two           latent             prints a      total      of                     3           Q.    And then                   1
                                                                                                                                                                                                   through and                I    believe           theres           27       of


 4   ten    latent       prints.             I   think   theyve already been admitted.                                                           4    these       exhibits               is   that       correct

 5                        THE COURT                         Okay.                                                                                5           A.    Correct.

6                         MR.         HEISKELL                              have them as admitted                                                6           Q.                              with No.          1 what                  shown here on
                                                                                                                                                                   Starting                                                       is
                                                                        I




 7   Judge         under 215.                                                                                                                    7    States       Exhibit              284
8           Q.     BY         MR.       CHAMBLESS                                 Following              the evaluation                of        8           A.    Its       a photograph                      of a       latent        print       latent          print

9    the    house         of   Nancy Weatherly                                    did       you go you and Max                                   9    from the          front       door the               exterior          door            of   the        driver side.


10   Courtney            go    to   a    location           and look                        at   her vehicle a                                   10          Q.    Were you                    able       to


     truck                                                                                                                                       11          A.    Im         sorry.              Passenger               side.


12          A.     Yes we             did.                                                                                                       12          Q.    Were you                    able       to   obtain        a     latent          print       from       this


13          Q.     How         long      were you               at          the    house               roughly       do you                      13   area
14   recall                                                                                                                                      14          A.    I    do believe so yes.                            Yes.

15          A.     10     hours          I       believe.           I
                                                                            can    find          out    for   you    if                          15          Q.    And so               it    would        be marked                   BMC          dash        01          is   that


16   you need me                to.                                                                                                              16   correct

17          Q.     Roughly.                  Im not asking exactly but                                        just                               17          A.    That        is       correct.


18   roughly        it   was about 10 hours                                                                                                      18          Q.    What            is        shown on           this      photograph
19                 About                 hours yes.                                                                                                                          gonna be also on the passenger
            A.                  10                                                                                                               19          A.    Its                                                                                       front    door

20          Q.     Okay.         What kind of vehicle                                       was it                                               20   handle.           Its    a    latent          --   latent       print        development.

21          A.           was a Toyota Tundra green                                                forest       green                             21          Q.    All       right.           And        did                                        collect         the
                                                                                                                                                                                                               you        personally
                   It




22   pickup.                                                                                                                                     22   latent      print       on        that       day
23          Q.     And        did   you process                         the Toyota                  Tundra         for                           23          A.    Yes.

24   evidence            as    well                                                                                                              24          Q.    It    would               be marked              BMC-02               is       that       correct

25          A.     Yes.                                                                                                                          25          A.    02         correct.
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    1           Q.             BMC-03 would have been a swab                                                                       that   true                              Q.                           293 BMC-1 1 what
                                                                                                                                                                                       Okay.                                                                          please sir
                                                                                                                              is                             1                                                                                          is
                                                                                                                                                                                                                                                             that

 2             A.              Yes            a    swab            of    the            exterior          door handle.                                       2              A.         Its    the        --
                                                                                                                                                                                                               indicating           the      liquid          sample from a
 3              Q.             BMC-04 what                               are        we            looking          at                                        3       Dairy       Queen cup                         that   was found                in    the       car.

 4                                                               some CDs
               A.              Looking                  at                                        that   were found                  in   the visor          4              Q.        Now            how many Dairy Queen cups were found                                                        in   the

 5       interior               the       interior                of the            vehicle.                                                                 5       truck

 6             Q.              All    right.                Is    this        a     I
                                                                                            guess a            better         picture                        6              A.        Two.

 7       of   that                                                                                                                                           7              Q.        And where were they found

 8             A.              Yes.                                                                                                                          8              A.               the                     on the backside
                                                                                                                                                                                      In                 back                                                of   the center

 9             Q.              There              are actually                          I
                                                                                            believe            one two               three                   9       console            where the cup holders are                                       for       your consoles.

10       four      DVDs correct                                                                                                                             10              Q.        Okay.              So they were                   in   the    cup holders for                       I




11             A.          Yes.                                                                                                                             11                                                                    back seat
                                                                                                                                                                     guess passengers                                in   the

12             Q.          And theyre marked                                                BMC-04             is    that      true                         12              A.        Correct.


13             A.              Correct.                                                                                                                     13              Q.        BMC-12 what does                              this          represent
14             Q.              BMC-05 what was BMC-05                                                                                                       14              A.        A     straw from the                     cup the actual straw                          that    was
15             A.              Its    a       swab of the                      exterior              door          handle           on the                  15       removed from the cup.

16      driver side.                                                                                                                                        16              Q.        So                 correct
                                                                                                                                                                                              is    it                    to    say      that      you collected              liquid

17             Q.          Okay.                   BMC-06 what                                is   this       and where was                  it             17       from the Dairy                      --   from the            cup and also the straw and
18      located                                                                                                                                             18                    marked each                                                      and now 12
                                                                                                                                                                     youve                                            either       as        11                              for   the         straw
19             A.          Its        the          front          console                   of the       --    center console                               19       is   that    correct

20      of    the    vehicle.                          BM-6 sic                     is
                                                                                            showing            the       cigarette                          20              A.        That         is    correct.


21      lighter.                                                                                                                                            21              Q.        13 what                 is   shown here

22             Q.          Okay.                                                                                                                            22              A.                                                           the
                                                                                                                                                                                      Its    going            to    represent                      liquid          that   was
23             A.         And the                      --    well the                   cigarette             box and the                                   23       collected             from          the Dairy             Queen cup.

24      cigarette                lighter               is    what             its       representing.                                                       24              Q.    The second                         one
25             Q.         There                        a Marlboro                                                                                           25                    The second
                                                  is                                        Light    cigarette                package        just                           A.                                       one        correct.




                                                                                                                                                       85                                                                                                                                              87
 1      below        --
                                just      above the placard marked                                                   6    is       that   correct            1              Q.    You can see the other one                                         just          on top of     it    is


 2             A.         Correct                                                                                                                            2              correct
                                                       yes.                                                                                                          that


 3             Q.         BMC-07 what was that                                                                                                               3              A.    That             is.



4              A.         This            is      a    tray        or a shelf                      a drawer              to    a jewelry                     4              Q.        14 what                 is   shown here

5       box    that             was found                         in    the                 shoved                 between the                               5                                                                                               was collected
                                                                                  --                          in                                                            A.    Is
                                                                                                                                                                                            representing                   the straw              that                                        from

6       console the center console                                                          of the vehicle                and the                            6   the        cup on the cup No.                                 13 cup.

7       passenger                     side             seat.                                                                                                 7              Q.    The BMC-15 what                                  is   shown here
8              Q.         Okay.                   And            this    shows a                    different            further-back                        8              A.    The keyless                        remote         entry.

9       view of the                   same item                          is    that           correct                                                        9              Q.    Okay.

10             A.         That            is      correct.                                                                                                  10              A.    For the                vehicle.


11             Q.         BMC-08                       is    --   what            is        that                                                            11              Q.    It      was collected                    as     well

12             A.         08         is   also going                      to        be a           swab of the                 interior                     12              A.    Correct.


13      front      door              front             driver            driver              --    lets       see passenger                                 13              Q.    BMC-16 what                             are     we                         here
                                                                                                                                                                                                                                         seeing

14      side    door.                                                                                                                                       14              A.    16                                                                              collared
                                                                                                                                                                                             is
                                                                                                                                                                                                   representing                   a polo          shirt                       shirt

15             Q.         All        right.             Is       BMC-09                     a gold earring                    recovered                     15   that       was found on top of the headrest                                                  of    the   driver     seat
16      within      the          vehicle                                                                                                                    16        believe
                                                                                                                                                                 I

                                                                                                                                                                                           yeah           driver          seat.


17             A.         It    is.                                                                                                                         17              Q.    Okay.                  BMC-17 what was                           collected              under      this


18             Q.     And where was                                      it    found                                                                        18   number
19             A.         It    was found                         in    the       front            passenger                  seat.                         19            A.      Thats going                        to   be a Dairy Queen sack                              that     I




20             Q.         Okay.                                                                                                                             20   found           in    the        bed of the               truck.


21                        Under the                                                                                      where the
              A.                                            front        passenger seat                             is                       --             21              Q.    Is       that      a    better          view     of that          same sack
22      where        it        was found.                                                                                                                   22            A.      Yes.

23             Q.         BMC-10 was                               it    also a               swab                                                          23              Q.    BMC-18 what                             is   this

24            A.      Yes                 a    swab               of    the                 BMC-10             would           be     a   swab              24                    Thats a                                          on the                          side    door
                                                                                  --                                                              of                      A.                              latent          print                    driver


25      the    interior               driver                door handle.                                                                                    25   exterior             door handle or                       exterior          door.
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                                                                                                                                                              88                                                                                                                                                    90
 1          Q.         Okay.                I   think            I
                                                                      misspoke                 earlier.           I       said                                      1   what youre speaking                                          to
 2   BMC-11                  but       BMC-1 8                       is   actually             the    third latent                       print       that           2             A.        Yes.

 3   was         --   that    weve spoken                                  about          from the truck                             is   that                      3             Q.        Okay.                 It   was collected                       as well              the        packaging

 4   correct                We         have BMC-01 02 and now                                                             18                                       4    is   that          true

 5          A.         Yes         that               is   correct.                                                                                                 5             A.        Yes.

 6          Q.         And was                       this       latent                     recovered                       by you on                               6              Q.        Now BMC-23                                   what                            item




--16
                                                                              print                                                                                                                                                                 is    this


 7   that     date June 30th                                     2010                                                                                               7             A.        Its        a green                lighter that                was found                 in      the center

 8          A.         Yes         sir           it    was.                                                                                                         8   console.

 9          Q.         19 what                       are        we        seeing          here                                                                      9             Q.        And             it    was collected                     as         well

10          A.         A    CD          audio                   CD        that    was          found         in           the pocket                  of           10             A.        Yes.

11   the lower center                                console.                                                                                                      11             Q.        Okay.                 BMC-24 and                        apparently                   25 as well what

12          Q.         Okay.                Is       that        --    that      appears               to    be           to   the        right                    12   is   --    what was collected                                     here
13   of the driver                                                                                                                                                 13             A.        24     is
                                                                                                                                                                                                                 representing                  the       lottery           ticket          that   was

14          A.         Thats correct                                                 side yes.                                                                     14   found                   the                                                  floorboard. and then 25
                                                                     driver                                                                                                                in               front        passenger                                                                             is



15          Q.         BMC-20 what                                   is   shown here                                                                               15   the       garage               door opener.                           You can

            A.         Its    a    shoe impression on the Nerf bar step                                                                        rail                16             Q.        Might be                    better           seeing           it       here




--6
17   thats            going       into           the            truck.        The         exterior           side of the                                           17             A.        There                 you        go.         Yeah        you            can see           it    there.


18   truck        on the          driver                   side           the step             rail    thats               a    shoe                               18             Q.        All    right.               BMC-26 whats shown here
19   impression.                                                                                                                                                   19             A.        Its        representing                       an       oily        spot some form                       of


20          Q.         Okay.            And 21 what                               is     BMC-21                                                                    20   transfer                that         was on the passenger                                        side window.

21          A.         21    is    on the passenger side of the                                                           vehicle.                 Its             21             Q.        All    right.               Was          a    swab obtained                         from         this      area
22   an impression                          that           --    a block             pattern            believed                    to    be a                     22             A.        Yes.

23   shoe impression                                  of    some            kind.                                                                                  23             Q.        Finally                    BMC-27 whats shown here
24          Q.         Okay.            So on the                          driver        side         you had a                     --    the                      24             A.        A CD                 that    was pulled out of the actual CD player

25   impression               that              was more                     visible           on     this     is          a   different                           25   of   the           vehicle.




                                                                                                                                                              89                                                                                                                                                    91
 1
     pattern           than       on the                   driver           side                                                                                   1              Q.        All    right.               So     it    was when                       --   before        it   was

2          A.          Thats            correct.                                                                                                                   2    pulled             out         it    was         --
                                                                                                                                                                                                                               apparently                  had been inserted                           as     if




3           Q.         You say                  it    was             a block            pattern                                                                   3    to   play            is    that           correct

4          A.          Yes.                                                                                                                                        4              A.        Yes             it    was.

5           Q.         BMC-22 what                                   is   shown here What                                      was collected                       5              Q.        So you had                        to     push the                  I
                                                                                                                                                                                                                                                                    guess the button                     to


           A.          That       is        a    CD case                    charger             --    Im     sorry.                  A                             6    to   eject           it    is       that        correct

7    cellular          phone charger                                  that    was found                 in     the             --    in   the                      7              A.        Correct.

8    back seat of the                            truck.               We         did     not locate                   the actual                                   8              Q.        All    right.               And         this      is   the         CD        that    was         in   the

9    charger            though                                  the case.                                                                                          9    player                    the time
                                                 just                                                                                                                                      at                                that    you       did       this            processing               is   that


10          Q.         So    its       the            plastic              packaging                  that   was collected                                         10   correct

11   is   that        true                                                                                                                                         11             A.        That            is    correct.


12         A.          Correct yeah.                                                                                                                               12             Q.        All                               you would be kind enough                                              open
                                                                                                                                                                                                                        If                                                                    to
                                                                                                                                                                                                   right.


13         Q.          Is   that        because                       you        did     some          --    what as                      far       as             13   this.          I   believe                it   contains               multiple              exhibits          marked             3
14   your attempt                      to       obtain                prints      from the inside                              of    the                           14   5 8 10                    12        and        14.


15   truck            how do you go about that                                                                                                                     15             A.        Witness                     complied.

16         A.          In   this        in           this       case we used what                                     I

                                                                                                                           briefly                                 16             Q.        What                 is    contained              within               the packaging                  that    you

17   mentioned                earlier                  the super glue                           method the fuming                                                  17   just      opened
18   method where we                                       actually           fumed             the     interior                of the                             18             A.        Swabs.

19   truck.           And you can see a                                     little       bit    there        on the C                     --   I                   19             Q.        And             is    items        BMC-12                and 14 what are they

20   keep        calling          it    CD case Im                               sorry         --    on the               cellular                                 20             A.        14     is        going            to    be a straw from the Dairy Queen

21   packaging                the               phone charger                            packaging                    where              its       kind of         21   cup.

22   a white           ash look color on the plastic and thats the                                                                                                 22             Q.        Okay.                 And         12
23   results that             you get when you fume an                                                      item.              There               you go.         23             A.        12     is        going            to    be straw from a Dairy Queen cup.

24         Q.          Okay.            So the whitish                               I

                                                                                         guess          tint          to       the                                 24             Q.        Okay.                 Place            all   of    those               in    here.

25   red    --    what appears                              to        be   like      the       plastic         over                 the red              is        25             A.        Witness                     complied.
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                                                                                                                    92                                                                                                                            94
 1                       MR.        CHAMBLESS                       Judge             at this   time Your                 1                       THE WITNESS                     Earring.

 2     Honor we would                     like to offer        four       swabs which are marked                          2                       MR.         CHAMBLESS                 Offer       BMC-09                 a gold earring

 3     BMC-3 5          8    and 10 and then the two straws marked                                                        3   as States          Exhibit            No.   319   the packaging                  as 319-A.

 4     BMC-12          and    14.         Theyre marked                   appropriately          within      the          4                       THE WITNESS                     Correct.

 5     smaller boxes here.                                                                                                5                       MR.         CHAMBLESS                 For record                 purposes.

 6                       And so Ive marked                          those       items States                              6                       MR.         WESTFALL                No    objection.

 7     Exhibit    315 dash                3 5 8 10             12    and       14.     The boxes        for               7                      THE COURT                     Admitted.

 8     record     only the envelope                      for   record          only and the items                         8                                                            319 admitted.
                                                                                                                                                  States             Exhibit    No.

 9    themselves            for           purposes.                                                                       9                                                            319-A admitted
                                                                                                                                                  States                        No.
                                    all
                                                                                                                                                                     Exhibit                                               for


10                       MR.        WESTFALL                    No       objection        as offered         Your        10                       record            purposes     only.

11     Honor.                                                                                                            11                      THE WITNESS                      Liquid sample.

12                      THE COURT                        Admitted.                                                       12          Q.    BY     MR.          CHAMBLESS                                 the
                                                                                                                                                                                           Is    this              liquid    sample
13                       States             Exhibit      No.        315 admitted.                                        13           was collected
                                                                                                                              that                                  by    you from the Dairy Queen                          --    one of

14                       States             Exhibit      No.        315-A admitted              for                      14   the Dairy         Queen cups found                       the rear
                                                                                                                                                                                  in                         cup    holder         area      of


15                       record           purposes         only.                                                         15   the    Tundra
16           Q.   BY     MR.         CHAMBLESS                       Be kind enough               to   open     this     16          A.   Yes         it    was.

17    one please             sir.                                                                                        17                      MR.          CHAMBLESS                Offer        States           --    offer


18           A.   Yeah           audio       CDs.                                                                        18   BMC-11            the        liquid    sample as 320 and the packaging                                         as

19           Q.   Weve           seen a          picture       of   this.       Are these the four                       19   320-A       for   record         purposes.

20    DVDs        or   CDs       that     were on the               visor      of the    Tundra        and               20                      MR.          WESTFALL                No    objection              Your Honor.

21    collected        by you and Max Courtney                                 that    date                              21                      THE COURT                     Admitted.

22           A.   Correct.           That would            be the           cigarette       case.                        22                      States              Exhibit    No.    320 admitted.

23                       Pause             in    proceeding.                                                             23                      States              Exhibit    No.    320-A admitted                      for


24                      MR.         CHAMBLESS                       Offer       whats marked            as               24                      record             purposes     only.

25    BMC-04 as States                     Exhibit       316         being the four             DVDs      the            25          Q.   BY      MR.         CHAMBLESS                 What        is       this   item


                                                                                                                    93                                                                                                                            95
 1
      packaging         as       316-A       for       record       purposes BMC-06 as 317                                1          A.   Liquid           sample from the Dairy Queen cup the
 2    and the packaging                    as     317-A     for      record.                                             2    second                       Queen cup.
                                                                                                                                           Dairy

 3                      MR.         WESTFALL                    No       objection        as offered         Your        3                       MR.         CHAMBLESS                 Offer        BMC-13                as States

4     Honor.                                                                                                             4    Exhibit     No.     321 and             the packaging               as 321-A.

 5                      THE COURT                       Admitted.                                                        5                       MR.         WESTFALL                 No objection Your Honor as

6                       States             Exhibit       No.    316        -   317 admitted.                             6    offered.


 7                      States             Exhibit       No.    316-A 317-A admitted                                     7                       THE COURT                     Admitted.           Admitted.

8                       for      record         purposes            only.                                                8                                                      No.
                                                                                                                                                 States             Exhibit            321       admitted.

9            Q.   BY     MR.         CHAMBLESS                      If
                                                                         you would          be kind enough               9                       States             Exhibit     No.    321-A admitted                      for


10    to   open this please                     sir.                                                                     10                      record             purposes     only.

11           A.   Witness complied.                                                                                      11                      THE WITNESS                     This       is   going        to    be the keyless

12           Q.   What        is    BMC-07                                                                               12   remote.

13          A.    A    shelf       from a jewelry              box jewelry drawer.                                       13                      MR.         CHAMBLESS                 Offer the             remote          that    was

14           Q.   Okay.          This      was collected                 by you.         You indicated                   14   collected         by Mr.        Blansit      as States            Exhibit       No.         322      his

15    it   was found on the passenger                           side        between         the seat      and            15   marking       BMC-1            5   the packaging             as     322-A        for        record.

16    the    console        is     that    correct                                                                       16                      MR.         WESTFALL                 No   objection            as offered               Your

17          A.    Yes.                                                                                                   17   Honor.

18                      MR.         CHAMBLESS                       Offer       BMC-07          the drawer         as    18                      THE COURT                     Admitted.

19    318     the packaging                 as 318-A.                                                                    19                      States             Exhibit     No.   322 admitted.

20                      MR.        WESTFALL                    No        objection       as offered       Your           20                      States             Exhibit     No.   322-A admitted                      for


21    Honor.                                                                                                             21                      record          purposes        only.

22                      THE COURT                       Admitted.                                                        22          Q.   BY      MR.         CHAMBLESS                 What            is   contained            within      that


23                      States             Exhibit       No.    318 admitted.                                            23   exhibit

24                      States             Exhibit       No.    318-A admitted                  for                      24          A.   Its    going         to    be the polo-styled             collared              shirt


25                      record                            only.                                                          25          was found on the headrest                         of the                       side
                                          purposes                                                                            that                                                                  driver                   seat        I
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1    believe.                                                                                                                 1                         THE BAILIFF Yes                             sir.




2          Q.    And        this    was collected            by     you on      that        date from                         2                         THE COURT                          You may           bring          the Jury          in.




3    within     the      Tundra          of    Nancy   --    that   being       Nancy Weatherlys                              3                         Jury present.

4    vehicle        is     that    correct                                                                                    4                         THE COURT                          Thank you.             You may be seated.

5          A.    Correct.                                                                                                     5           Q.     BY     MR.            CHAMBLESS                     Okay.             We         were      --   we had

6                          MR.     CHAMBLESS                     Offer the polo             shirt        BMC-16               6    talked       about the items                      that    you had collected                         from the


7    as States             Exhibit       No.    323    the packaging                 as 323-A.                                7    house        of    Nancy Weatherly                        and we were                    at    the   end      of   the


8                          MR.     WESTFALL                  No     objection         as offered                  Your        8    items or marking                     the items            that    you      had collected                   from     her


9    Honor.                                                                                                                   9    truck       the     2003 Tundra.

10                         THE COURT                  Admitted.                                                               10                        Would               you look         at   whats marked as BMC-20

11                         States          Exhibit     No.    323 admitted.                                                   11   open        that    and see               if
                                                                                                                                                                                  you recognize             that            please       sir.




12                         States          Exhibit     No.    323-A admitted                 for                              12          A.     Witness complied.

13                         record        purposes          only.                                                              13          Q.     What            is   BMC-20
14         Q.    BY         MR.     CHAMBLESS What                        is   this                                           14          A.     Its    going           to        be a dust impression with class


15         A.    This        is   the Dairy       Queen sack             that       was     found            in               15   characteristics                    with        chevron       characteristics                   on    a dust


16   the   bed   of        the    truck.                                                                                      16   impression.

17         Q.    Okay.                                                                                                        17          Q.     Where was                    this     impression taken                     from what               part


18         A.                                                                                                                 18               truck
                 Ketchup packaging.                                                                                                of.the


19                         MR.     CHAMBLESS                     Offer    BMC-17             being the Dairy                  19          A.     It   was on the                   exterior       step     rail   of    the        driver


20   Queen sack as States                        Exhibit      No.    324       the packaging                      as          20   side    of    the    vehicle.


21   324-A      for      record      purposes.                                                                                21          Q.     All   right.           Was         this    impression            made             by    you
22                         MR.     WESTFALL                  No     objection          as offered                 Your        22          A.     Im sorry

23   Honor.                                                                                                                   23          Q.     Was         this       impression              made        by    you
24                         THE COURT                  Admitted.                                                               24          A.     It   was developed                        by   me   yes.

25                         States          Exhibit     No.    324 admitted.                                                   25                        MR.           CHAMBLESS                      Okay.         Right.              That      was a


                                                                                                                         97                                                                                                                                      99

1                          States          Exhibit     No.    324-A admitted                 for                               1   critical     distinction              there.            Thank you.

2                          record        purposes          only.                                                              2                         THE WITNESS                             Sorry.


3          Q.    BY         MR.     CHAMBLESS                      Show you whats marked                                      3                         MR.           CHAMBLESS Wed                               have            to   stop      and ask         if




4    BMC-19           if
                           you could open that please                           sir.       What         is                    4    you had been warned here or something.

5    BMC-1      9                                                                                                             5                         Offer the impression as States                                            Exhibit     326

6          A.    Be the audio CD                  that      was     found       in   the center                               6    his    marked         BMC-20 and the packaging                                           as 326-A.


7    console.                                                                                                                  7                        MR.           WESTFALL                    No     objection                as offered          Your

8                          MR.     CHAMBLESS                     Offer    BMC-19             a    CD         as                8   Honor.


9    States      Exhibit           No.    325     packaging          as   325-A            for   record.                       9          Q.     BY      MR.            CHAMBLESS                      BMC-21                if   you would           open

10                         MR.     HEISKELL                 No   objection           as offered              Your             10   that   and see                if   you     recognize           that     item.


11   Honor.                                                                                                                   11          A.     This here              is        a dust    impression.                It   was taken on

12                         THE COURT                  Admitted.                                                               12   the side           exterior          step        rail   on the passenger                       side    of the


13                         States          Exhibit     No.    325 admitted.                                                   13   vehicle.


14                         States          Exhibit     No.    325-A admitted                 for                              14          Q.     Okay.

15                         record        purposes          only.                                                              15          A.     That        I    did   develop.

16                         THE COURT                  At    this    time the Court               will                         16                        MR.           CHAMBLESS                      Thank you.                    Offer      this    as    his


17   recess      for       lunch.        Be back and ready                to    go     at   115.                              17   marked             BMC-21             States            Exhibit     offered              as    327     packaging

18                         Recess             taken    from      1157     a.m.        to    118 p.m.                          18   as    327-A         for       record           purposes.

19                         Jury not present.                                                                                  19                        MR.           WESTFALL                    No     objection                as offered          Your

20                         THE COURT                  State      present        and ready                                     20   Honor.


21                         MR.     CHAMBLESS                     Ready.                                                       21                        THE COURT                           Admitted.


22                         THE COURT                  Defense         present          and ready                              22                        MR.            CHAMBLESS Show                             you whats marked                          --    Im

23   Defendant             present                                                                                            23   sorry.


24                         MR.     WESTFALL                  Yes.     He       is    Your Honor.                              24                        THE COURT                           Admitted.


25                         THE COURT                  Jury    ready                                                           25                        States                    Exhibit No.       327 admitted.
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                                     States         Exhibit       No.           327-A admitted                                                                                                    marked and offered
                                                                                                                                                           garage             opener
    1                                                                                                               for                                1                                   is                                                 as States          Exhibit      331

 2                                   record       purposes                only.                                                                    2       for    all
                                                                                                                                                                        purposes the packaging                                    for   record as 331-A.

 3              Q.        BY         MR.         CHAMBLESS                          Show you BMC-22                          if    you             3                             MR.        WESTFALL                         No objection Your Honor.

 4       could       open that please                          sir.                                                                                4                             THE COURT                           Admitted.

 5             A.         Cell        phone chargers                                  were found                    the   back                     5
                                                                          that                                 in
                                                                                                                                                                                 States              Exhibit           No.        331   admitted.

 6       seat            the                                                                                                                       6
                    of               vehicle.                                                                                                                                    States              Exhibit           No.        331-A admitted              for


 7                                   MR.        CHAMBLESS                           Offer   these            his     mark         is               7                             record           purposes                 only.

 8       BMC-22                States            Exhibit       328 offered                 for    all
                                                                                                          purposes the                             8              Q.     BY          MR.     CHAMBLESS                             Show       you    now BMC-236.                   If


 9      packaging                    328-A               record                                                                                    9
                                                  for                     only.                                                                            you would open that and ask                                       if
                                                                                                                                                                                                                                  you recognize               that    item.

10                                   MR.        WESTFALL                   No objection Your Honor.                                               10              A.     Its    going           to   be the swab                   of   the          substance
                                                                                                                                                                                                                                              oily

11                                   THE COURT                  Admitted.                                                                         11       that    was found on the                                                                      window.
                                                                                                                                                                                                            right         front    passenger
12                                   States        Exhibit        No.           328 admitted.                                                     12              Q.                   So                        a     swab contained
                                                                                                                                                                         Okay.                    this     is                                        within      a    box
13                                   States        Exhibit        No.           328-A admitted                      for                           13       a small           box which               is   the appropriate                 container             for   the

14                                   record       purposes                only.                                                                   14       swab         of     the   oily    spot          on the          front    windshield             is   that


15             Q.        BY          MR.        CHAMBLESS                           Show you whats marked                                         15       correct

16      BMC-23.                      you would            open            that        and see             you recognize                           16                     Uh-huh yes                                                           window yeah.
                                If                                                                   if                                                           A.                                      front      --
                                                                                                                                                                                                                           right-front

17      that    item.                                                                                                                             17                             MR.       CHAMBLESS                              Offer as      his exhibit           26    the

18             A.        Be the green                   lighter that                was found             in    the center                        18                             marked as 332-A                                               the
                                                                                                                                                           packaging                                                       for     record                exhibit      as    332
19      console.                                                                                                                                  19                    the    swab               the
                                                                                                                                                           being                           of              oily      spot contained                 within      the    box
20                                  MR.         CHAMBLESS                       I    offer   the green               lighter                      20       which        is    offered       for      record            purposes.

21      which        is   his         mark BMC-23 marked                                  now      as States              Exhibit                 21                             MR.       WESTFALL                          No     objection.

22      329     for      all
                                purposes the packaging                                     for   record         as 329-A.                         22                            THE COURT                            Admitted.

23                                  MR.         WESTFALL                   No         objection           Your Honor.                             23                            States               Exhibit           No.    332 admitted.

24                                  THE COURT                   Admitted.                                                                         24                            States               Exhibit           No.    332-A admitted                  for

25                                  States         Exhibit       No.            329 admitted.                                                     25                            record            purposes                only.


                                                                                                                                            101                                                                                                                                   103
 1                                  States         Exhibit       No.        329-A admitted                          for                            1             Q.      BY      MR.        CHAMBLESS                              Hand you now BMC-27.
 2                                  record        purposes                only.                                                                    2       What         is    BMC-27
 3             Q.        BY          MR.        CHAMBLESS Show you now BMC-24.                                                                     3             A.      It
                                                                                                                                                                               appears            as the         CD        that    came       out    of    the      case
4       Would            you open                that   and     tell       us       if
                                                                                         you recognize                that                        4        the   CD           audio   CD          player          in      the Toyota          Tundra.

 5      item.                                                                                                                                     5                             MR.        CHAMBLESS                              His   mark BMC-27 offered                       as

6              A.        Be a         lottery ticket           found            in       the floorboard of                                        6        States                      333
                                                                                                                                                                         Exhibit                     for   all    purposes the packaging                              marked
7       the pickup.                                                                                                                               7        as    333-A         for   record          purposes.

8                                   Sotto voce discussion.                                                                                        8                             MR.        WESTFALL                          No    objection         Your Honor.

9                                   MR.         CHAMBLESS                       Okay.            Lottery        ticket       his                  9                             THE COURT                            Admitted.

10      mark        is   BMC-24 marked                         as States                   Exhibit        and offered                  as         10                            States               Exhibit           No.   333 admitted.
11      States           Exhibit            330    for         purposes the packaging                                     marked                                                                                             333-A admitted
                                                                                                                                                                                States
                                                         all                                                                                      11                                                 Exhibit           No.                                    for

12      as   330-A          for       the record.                                                                                                 12                            record          purposes                  only.

13                                  MR.         WESTFALL                   No objection Your Honor.                                               13             Q.      BY      MR.        CHAMBLESS                             Finally      if   you would locate
14                              THE COURT                      Admitted.                                                                          14       BMC-01 02 and                     18.


15                              States             Exhibit       No.        330 admitted.                                                         15             A.     01      02    and         18
16                              States                                      330-A admitted
                                                   Exhibit       No.                                                for                           16             Q.      18 yes            sir.



17                              record            purposes            only.                                                                       17             A.     Okay.

18           Q.          BY          MR.        CHAMBLESS                           Show you whats marked                                         18             Q.     Have you located those

19      BMC-25.                If
                                     you would open that please                                    sir.                                           19             A.     Yes.

20           A.          Be the garage                   door opener.                                                                             20             Q.     What are BMC-01 02 and                                      18
21           Q.          Okay.                  was found                 believe           next        to   the                                  21             A.     Theyre          latent            prints          fingerprints that              were
                                           It                         I




22      lottery ticket                      the                 the                 behind       the                                              22
                                                                                                          passenger
                                      in          floor of                 --
                                                                                                                                                           developed            off of      the       driver         side         door passenger                side door

23      seat      is     that        correct                                                                                                      23       handle and the passenger                                    side door handle                  of   the pickup.

24           A.          That                                                                                                                     24                                  And were those developed                                           you on
                                     is    correct.                                                                                                              Q.     Okay.                                                                       by                 that


25                              MR.             CHAMBLESS                       Okay.        Your mark BMC-25 the                                 25       date June 30th                  of     2010
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                                                                                                                                                   104                                                                                                                                                                 106
 1              A.    Yes              they were.                                                                                                         1   company                      in   Florida.               I   cant            think           of        their    name           right

 2              Q.     Okay.             Now            collectively                        all   of the items                    that                    2   now            but Ive                 gone through                          a    --    more or less                      its    an

 3    were taken or processed                                         from the                    Tundra and from the house                               3   advanced                      photography                          school.

 4    of   Nancy Weatherly was                                                retained                  and possessed                    by you          4              Q.        What               do you do                         the           advanced                 photography
                                                                        it                                                                                                                                                       in



 5    and transferred                        to   a secure                        location              at     the Mansfield                              5   school

 6    Police          Department                    at      the         end            of   your         work                                            6              A.            In   the       advanced                    photography                          school            you do more
 7            A.      Yes.                                                                                                                                7   toward              taking             photographs                           of    the close-up                     photographs

 8                            MR.            CHAMBLESS                                     Okay.              Pass the witness.                          8    what          is        known as examination-quality photographs                                                                       to    where

 9                                                 CROSS-EXAMINATION                                                                                     9    they          can be              basically                  viewed               from a one-to-one                             ratio       to


10    BY MR. WESTFALL                                                                                                                                    10   where              if
                                                                                                                                                                                       you have                 --
                                                                                                                                                                                                                      say         youre taking                         a photograph                   of      a

11              Q.    Officer            Blansit                 Im Greg Westfall.                                                                       11   fingerprint                    you would                     be able                   to   take         that      photograph                   in


12            A.      Hello.                                                                                                                             12   a    way       to        where the person who was analyzing                                                                    the

13              Q.    How              long have you been doing crime scene work                                                                         13   fingerprint                   would              be able                to   take the                  known         fingerprint


14            A.      Started            in   2007 2008                                I   believe             it   was.                                 14   and have them                              at     the exact                  same                 size.       And         in   order        to      do

15              Q.    So coming                    up       on        five         years                                                                 15   that          you            would          have         to        put your scales                            in   there        and

16            A.      Yes.             Im    trying              to think.                  Ive     been working                                         16   properly take the photograph                                                      with the               right      lighting           and

17    with      Max        for         the   last       two           and a                half    years.              I   was                           17   it   involves                 some of those                             things.


18    assigned             to      the       unit       a couple                   years            prior to that                 but                    18             Q.        And not shake                             it   around

19    wasnt near as involved                                      or active                   as    I    was        till    Max came                     19            A.         Im sorry

20    along.                                                                                                                                             20             Q.        And not shake                             it   around
21            Q.      Right.             How           long you been with Mansfield                                                                      21            A.         Oh            yeah.           A     lot        of those                 photographs                       require       a

22            A.      This         is    going          on my eighth year                                      in   the      Patrol                      22   tripod         actually.                   The human                         just           cannot            hold the           camera

23    Division.                                                                                                                                          23   still
                                                                                                                                                                        enough                  in   order           to     get those                     kind         of    photographs.

24            Q.      And so youve been                                       in       Crime Scene                         for five      years           24             Q.       Yall           did      --
                                                                                                                                                                                                               yall        did         several                  photographs                  with

25            A.      Been involved                          in    it        yes.                                                                        25   fingerprints in this                              case


                                                                                                                                                   105                                                                                                                                                                 107
 1            Q.      Did       you do            --        do you do                      patrol         also                                           1             A.        Yes.

2             A.      Yes.                                                                                                                               2              Q.       And so you have the technology and                                                                     I

                                                                                                                                                                                                                                                                                             guess the
3             Q.      And then Crime Scene on                                                     like        an as-needed                basis          3    technology                        has       been around                           for       a while           to   be able            to    do

4           A.        Correct                yeah.                                                                                                       4    fingerprint                   examinations                          off      pictures                   hasnt it

5             Q.      And then Max                           this            is   all       he does                                                      5             A.        Yes sure                       yes.

6           A.        Yes.                                                                                                                               6             Q.        You know                                  true         that          we         might apply
                                                                                                                                                                                                                it   is
                                                                                                                                                                                                                                                                                             super

7             Q.      Have you gone                              to     other              schools                                                       7    glue          fumes               to   a     hundred                    different             surfaces               but then out

8           A.        Yes          I    have.                                                                                                            8    of      all   of that              we           might         only get                 one fingerprint

9             Q.      Like         what                                                                                                                  9             A.        Very true yes.                              I
                                                                                                                                                                                                                                 would agree                          to that.


10          A.        Well             in-house              training.                     We       are fortunate                   to                   10            Q.         But thats                   what makes                         finding              a   print     all      that


11    have Max Courtney                                as our Director                             of         Crime Scene and he                         11   more important doesnt it

12    is   able       to   put on numerous                                   different              classes.                 And     just                12            A.         Im sorry

13    training         side-by-side                     with          him          does count                       for training in                      13            Q.         I    mean              so     its        the        finding             the         print      thats

14    itself.                                                                                                                                            14   important                     not the             fact       that         we           didnt           find    the        prints      on

15                            In       addition             to    that             Ive        gone through                                               15   the other things                                right

16    conferences                      and    different                 schools                   through             --    that    is   put             16            A.        Yes.

17    on through the University                                         of        West            Virginia.                Theyre                        17            Q.         Because                     its    really            not       much we can read into

18    week-long              classes               that          you can go through                                        that   are just               18   the      fact           that      we        didnt            find        prints             isnt that              true

19    you know               the theory                     of    crime                scene            protection                and                    19            A.        Yes.

20    collection             of    evidence                  and processing                                   the evidence.                              20            Q.         Because you know                                         if    I   --    if    I   handle        this


21                            In       addition             to    that             I
                                                                                           have gone through                                             21   remote and                        set      it    down and you                               super glue               it       and you           find


22    latent         print    training             to       develop                    prints       and somewhat                                         22   no      fingerprints                    on there                    I

                                                                                                                                                                                                                                       mean you                       just    saw me handle

23    analyze          the         prints         to    a    certain                   level.           Other         trainings                          23   it

24    include         through                the       --   cant             think          who          it    was through                               24            A.        Correct.

25    right      now.         It       was a       --       its    photography                                classes        through           a         25            Q.        Obviously                     the         prints          didnt           take
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                                                                                                                                      108                                                                                                                                           110
 1             A.      Thats correct yes.                                                                                                    1   accurately               depict           what they              show
 2              Q.     And so but when we                                find       a   print   on      something                            2          A.     Yes             sir.



 3   then           that      is   significant                                                                                               3                                MR.        WESTFALL                    Thank you.                 Let     me       get        them

 4             A.      Correct.                                                                                                              4   in.



 5             Q.      And the same                          thing      about contact                DNA            I

                                                                                                                        mean you             5                            Your Honor we move                                 for    the admission                      of


 6   tested           several                 places         inside         that    Tundra        for    contact              DNA            6   Defendants                    13 through                  20.

 7   didnt           you                                                                                                                     7                            MR.            CHAMBLESS No                             objection.

 8             A.      I    did.                                                                                                             8                            THE COURT                            Admitted.

 9             Q.     And            in       fact     Max         I

                                                                        guess was the one who                                did             9                            Defendants                       Exhibit         Nos.     13     -   20 admitted.

10   it     but      you knew                   that       the    oily      spot     in   the   back was being                              10                            MR.         WESTFALL                       Thank you Your Honor.

11   swabbed                  for       contact            DNA         as    well                                                           11          Q.     BY             MR.        WESTFALL                    Im going            to    come             back        to    the

12            A.      Yes.                                                                                                                  12   pictures.           I
                                                                                                                                                                          want           to write          down some of the                     stuff      you
13             Q.     And thats the reason why you                                           did     those          swabs                   13   collected.                                 Thanks.
                                                                                                                                                                          Okay.

14   inside          the truck                  right                                                                                       14                            Okay.               Some          of   this     you collected some of                              it




15            A.      Absolutely                     yes.                                                                                   15       think                                           know about.                                    evidence
                                                                                                                                                 I

                                                                                                                                                              you probably                                                   Already           in                           is



16            Q.       Because thats                         for       the    DNA                                                           16   Kniffens            No.        15       and 16 the Bud                     Light        beer       can and Bud

17            A.      Yes           sir.                                                                                                    17   Light       beer        bottle.              Do you remember those                                   Came             out of

18            Q.      And the straw as well you packaged                                                 the straw so                       18   the    bed of Nancy Weatherlys                                          truck.


19   it   could            be tested                for    DNA          both the          straws                                            19          A.     I    dont           recall           those.

20            A.      Yes           sir.                                                                                                    20          Q.     Okay.               Fair                           Hold       on                one second.
                                                                                                                                                                                                enough.                             just




--5
21            Q.      In      the D.Q.               cups                                                                                   21                            I   dont guess youve seen them                                         just      a     Bud

22            A.      Yes.                                                                                                                  22   Light       bottle           and Bud                Light     can.        Do you see them                       in    your

23            Q.      Do you remember those                                                                                                 23   records            anywhere
24            A.      Oh           yes.                                                                                                     24          A.     Can you give me                             just      a   minute            I

                                                                                                                                                                                                                                               just    dont

25            Q.      And you know                               DNA        that    comes out            of    something                    25   recall      that        at    all.




                                                                                                                                      109                                                                                                                                           111
 1   thats          been           in    somebodys mouth                             is
                                                                                          actually       a    bit       of   a   --          1          Q.     And            in   all     fairness            Ive       never      seen anything

                                                                                    chance                                   DNA




--10
 2   a     little    bit     of a higher                   percentage                             of    finding                              2   that    said you              even touched                      them.

 3   because                we have                 the     cells       inside       our    mouth right                                      3          A.     Okay.

 4            A.      Yes.                                                                                                                   4          Q.     Yeah                so

              Q.      And          like             you     find       cigarette          butts    at   a crime                              5          A.     At    this          time             do not       recall     those        being
                                               if                                                                                                                                               I




 6   scene youre always going                                           to collect          those                                            6   collected           by me.

 7            A.      Correct.                                                                                                               7          Q.     Yeah                the testimony                 was       that     Kniffen          collected

 8            Q.      Because                   a    lot    of    times theres going                    to    be        DNA                  8   them gave them                            to       Gaudet who then                  did       some        fingerprint

 9   inside          those          filters                                                                                                  9   work on them

              A.      Right.                                                                                                                10          A.     Not        even sure who Kniffen                               is.



11            Q.      But once again you know                                             we can        look    at       those              11          Q.     --   for        DNA.             Okay.

12   straws           we can                  test    those        straws           and they can come back                                  12          A.    Yeah.

13   inconclusive                   or        no     DNA          and theres not much we can read                                           13          Q.     So BRB-03 though newspaper                                                page right
14   into      that                                                                                                                         14          A.     BRB-03                    yes.

15            A.     Thats               --   thats         correct.                                                                        15          Q.     Now             this      is         Defendants             13.      And the newspaper

16            Q.      But         when we                  find    DNA        on     the straws thats                                       16   page                              collected                                      here right
                                                                                                                                                             that    you                                  is   this right


17   something                                                                                                                              17          A.    Yes             that       is     the       newspaper           that       was collected

18           A.             is.                                                                                                             18   yes.
                      It




19            Q.     And then the                                            impressions as well                         and                19          Q.    And what
                                                           footprint                                                                                                                       is   this      thing
20   that      was the              last        stuff       yall       put   in    was the        footprint                                 20          A.    Thats                called            an electromagnetic                   dust        lifter.



21   impressions                                                                                                                            21   Would        you         like for            me      to   explain

22           A.      Yes           yes.                                                                                                     22          Q.     Please.

23           Q.      And           let    me        just     do    this.           Im showing           you whats                           23          A.    Okay.                This         is    a   machine          that     is   used        to   --
                                                                                                                                                                                                                                                                you

24   been marked                        for identification                    as    Defendants               13 through                     24   put a film              its    more            of    an aluminum-type                     film      that       will



25   20.       And         just     take-a            look        and       tell    me     do those           fairly         and            25   go over the top                      of   the newspaper.                        Through            electrostatic
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                                                                                                                                                                                             112                                                                                                                                                  114
     1    this    machine the wires                                                          that       you see you connect                                                 one         of              1    of   the two Dairy                         Queen cups

 2        them        to    the               film               itself                 the antenna                       lays           beside                     it.                             2              A.            Yes          sir.



 3                                    Now                             I

                                                                          obviously                     cannot                explain                the in-depths                                  3              Q.            This        one would                   be on        the     driver            side         I

                                                                                                                                                                                                                                                                                                                                 guess
 4        of    how the machine                                                   actually               works                but        what             it        does          is   it           4       and     that                 would        be    on the passenger                              side
 5        causes                                                                      between                        aluminum
                            a    --       a         friction                                                   the                                        foil            or the                    5              A.            Yeah yes                   sir.



 6        film    that        goes                  over                         the top            of    the paper                      and                   sucks             down               6              Q.            So BRB-03-A                              the dust                        from the               newspaper
                                                                                                                                                     it                                                                                                            is                        print

 7              the top of                                                                     And what                           does
          to                                  this                paper.                                                 it                     is
                                                                                                                                                      any dust                                      7       page         right

 8        that         on the paper or on the surface                                                                                                                                                                            Yes
                                                                                                                                                you are                                             8              A.
                  is                                                                                                                that                                                                                                      sir.



 9.       processing                          it    will                  lift        that     dust        and           it       will    stick           to                                        9              Q.            BMC-12                 as    I
                                                                                                                                                                                                                                                                   recall        is    the straw from the

 10       your aluminum                                     foil              or       to    your         --    to   your                film    that                you use                       10       passenger side D.Q.                                    cup
 11      through            a    --
                                              yeah.                                                                                                                                                11              A.        That             is      correct.


 12              Q.         Did           you do the                                    electrostatic                         dust        print           or              did                      12              Q.            Passenger                  back
 13       Max                                                                                                                                                                                      13              A.        Yes.

14               A.         Max               did.                                                                                                                                                 14              Q.        And the passenger                                 back           thats also                   where        that

15               Q.     Okay.                           And the                         print           itself            think               was                                                  15                                was too right
                                                                                                                     I

                                                                                                                                                                                                            oily    spot

16       numbered                  BRB-03-A.                                            Have you seen                                   that     come                      into    evidence        16              A.            I   would            have        to     refer to      my        notes.               I

                                                                                                                                                                                                                                                                                                                          thought            it




17       yet                                                                                                                                                                                       17       was on the                     front        window.             Was         it    on the back

18               A.           dont                  believe.                                                                                                                                       18              Q.        Ive           got the          picture            right    here.
                        I




19               Q.     The               electrostatic                                        print      that       was                collected                         from                     19              A.        Okay.

20       this                                                                                                                                                                                      20              Q.        I

                                                                                                                                                                                                                                     guess you cant                       really       tell     from            this.        Does
21               A.     No no                           I        havent.                                                                                                                           21       that    refresh                 your        memory             at    all

22               Q.     Ill      show you Defendants                                                                17.            This         is    a          print                             22              A.    Thats going                          to         be on the           front.         Its           interior

23       that    came             off of                      the                driver           side         of    the Tundra.                                                                   23                                                  side door.
                                                                                                                                                                                                            front       passenger
24               A.    Yes                                                                                                                                                                         24              Q.                              So passenger                   side but                on the front
                                              sir.
                                                                                                                                                                                                                             Okay.

25               Q.     I   dont know                                            if    its     even possible                             to     see.                  I                            25              A.    Yes                sir.




                                                                                                                                                                                             113                                                                                                                                                  115
 1
         guess         this       is           it       a        little               bit    closer            up.            Is that           the                                                 1              Q.    All              right.        And        that    was what again                                 BMC-26
 2       print                                                                                                                                                                                      2              A.    Thats                   correct.


 3              A.     Yes                    sir.                                                                                                                                                  3              Q.    And then BMC-27 thats the audio CD                                                                      that   came
 4               Q.    Now                    do you do any                                             footprint                 comparison work                                                   4       out of the                   CD      player.

 5              A.     No             I       do not                             sir.                                                                                                               5                                     Now           Ive       looked        again          at         my     notes           and    it




 6               Q.    Dont have any knowledge                                                                       of it                                                                          6                                as though               the two
                                                                                                                                                                                                            appears                                                            latent         lifts       are        identified         as

 7              A.     No.                                                                                                                                                                          7       BMC-37.                      Does         that    mean Max                 took           those
 8              Q.     And then Defendants 19 may be duplicative                                                                                                                 of                 8              A.    Yes uh-huh                               that    is    correct.


 9       something                already in but theres                                                             just this                 avalanche                          of                 9              Q.    And then BMC-18                                                     that                         Thats
                                                                                                                                                                                                                                                                               forgot                     one.                       latent

10       pictures.              So            this                is             BRB-27 and                         this           is    the     CD                 that        was                10               from the                     driver       side        door
                                                                                                                                                                                                            print

11       actually           in   the                CD player                                                                                                                                      11              A.    Exterior yes.

12              A.     Yes                sir.                                                                                                                                                     12              Q.    Yeah                    okay.            Okay.         Now           tell        me     about           those.

13              Q.     And you ejected                                                       it                                                                                                    13       Where were those
14              A.     Yes                sir.                   It       was ejected yes                                         sir.                                                             14              A.    The               latent          prints

15              Q.                                  And were you the one                                                                      took the                                             15                    On
                       Okay.                                                                                                      that                                      latent                                 Q.                     the      driver         side     door where                      were they on the
16       prints       off     of      this                                                                                                                                                         16       door do you remember

17              A.     It     was                  --       it        was fumed.                                                                                                                   17              A.    I           believe there                 was two two of them.                                     Lets see.

18              Q.     Okay.                                                                                                                                                                       18       Sotto voce.                          It   was above the handle                                 if    I   recall


19              A.     Was                I        --       restate                     your question.                                   Im     sorry.                                             19       correctly                on     that       one.         It   was on the                  --   the door frame

20              Q.     Were                    you the                                one         that     developed                       the            latent                prints             20       going       down               to    the door handle.

21       on    this    CD                                                                                                                                                                          21              Q.    Okay.                   So where you might have grabbed                                                     the door

22              A.            was fumed and then later                                                                             believe                           was                           22                   close                              this
                                                                                                                                                                                                            just to                              like
                       It                                                                                                     I                                it                                                                           it




23       followed           up with a dust                                              lift       if   Im not mistaken but                                                                        23              A.    Yeah.

24       that    was not done by me.                                                                                                                                                               24              Q.    All             right.

25              Q.                                  Then these here are actually                                                                 the                placement                      25              A.                    could         see the photo                                 would
                       Okay.                                                                                                                                                                                             If          I
                                                                                                                                                                                                                                                                                       that                          refresh            my
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 1
     memory a                    little          bit       better               but.                                                                                         1          Q.        That        would have had                              to     have happened                          after      she

 2          Q.             Let    me see                     if       I   can     find      it   for      you because                            I                           2   was shot               if   we assume                   that             the blood           was put there                        that


 3   looked            at        them.                Theres                   this.        Thats          2     right                                                       3   day right

 4          A.         Yes                sir     that                would be              2.                                                                               4          A.        Yes and             no.


 5          Q.         Seems                     like        Im            finding          every one except                                18.           1                  5          Q.        Okay.

 6   found        1.         I   found                24.                 Do you have                it    notated               anywhere                                    6          A.        Reason             no         it   could            have been there before the

 7          A.         The            exterior                    doors          and the windows                            were                                             7   mattress              was         flipped.


 8   processed.                           Yeah             two             latent       prints         were developed                                 off      the           8          Q.        I    understand.                    But     I   said           if   we assume                    it   was put

 9   exterior              surface                to       the            front      passenger                 door.             Theres two                                  9   there       that       day.

10   of   them thats been                                     lifted.             One was                 developed                    off           the                    10          A.        Yes okay                  Ill
                                                                                                                                                                                                                                     go with              that.        Sorry.

11   exterior              surface                of       the            front    driver            side door.                                                             11          Q.        And then the                       bullet       underneath                       the       deal you said

12          Q.         Thats                   just exterior                     surface             of the       front               driver                                12   that    the          thing        probably            got        moved on top                          of   the bullet

13   side     door                                                                                                                                                          13          A.        Yes.

14          A.         Yes                sir.                                                                                                                              14          Q.        Which            would             have meant                       that   the        thing           was moved

15          Q.         Okay.                   Then weve got                                that.         Well go with                           that.                      15   after       she was shot

16   And then BMC-20                                    is            the footwear                impression                      on the                  driver            16          A.        That would                    indicate          that yes.

17   side door of the                             Tundra right                                                                                                              17          Q.        And things can get kicked around                                                      in    crime          scenes

18          A.     Yes                    sir.                                                                                                                              18   too

19          Q.         Now                 you also developed                                    a    --    some            sort            of       an                     19          A.        Yes         they can.

20   impression over                              on the passenger side                                                                                                     20          Q.        Do you have any                           idea which                      way the           footprint            was

21          A.     Yes.                                                                                                                                                     21   heading               on    --    that    was on the newspaper or                                                is    Max the

22          Q.         Okay.                   You         --
                                                                      you preserved                       that    and submitted                                             22   person           to    ask about                    that

23   that   as     well                                                                                                                                                     23          A.            dont                        there
                                                                                                                                                                                                  I                recall                     being              enough             detail             to


24          A.             did            sir.                                                                                                                              24   determine that                      but yes              that            would                                   be a       better
                                                                                                                                                                                                                                                                         probably
                       I




25          Q.         Part of the                      --        I

                                                                          guess the              point      of    doing               this           is                     25   question              for    Max.



                                                                                                                                                                      117                                                                                                                                                     119
                                                       what happened the progression                                                                                                                                            me one
                                               out                                                                                                    of                                Q.                         Give                               second.                Did        you do any
 1   to try      to figure                                                                                                                                                   1                    Okay.                                                                                                            of   the

2    events                isnt           it                                                                                                                                2    processing                  on the         stuff that                was recovered                          later          from Tat

3           A.     Yes                    sir.                                                                                                                              3    Man         or       was     that        all     Max also
4           Q.     And                I    cant remember what                                        exhibit       it       is but                   in                     4           A.        From            who
5    the    house there                           is    --            on the back bedroom one of the back                                                                   5           Q.        From Hinojosa Tat                               Man             the       one who had the                         TV
6    bedrooms there                               is    what appeared                                to    be a fresh blood                                   stain         6           A.        No.

7    on the box spring                                                that     true                                                                                         7           Q.        Did your           work with                this                      after       the       truck
                                                        is
                                                                                                                                                                                                                                                            stop

8          A.      On            the sheet                            that     covers            the       box    spring.                    I       dont                   8           A.        With        the exception                       of      helping them carry the TV

     know how fresh                                    was but yes                                                                                                                                           guy who came and picked
9                                                                                                there      was a blood                                                     9    back                 the
                                                 it                                                                                                  stain                                   to                                                                               it
                                                                                                                                                                                                                                                                                    up from our office
10   there.                                                                                                                                                                 10   1   assisted           them         in    carrying               a       TV     to their          --   to their             car

11          Q.    You can                        tell
                                                             something                      is   real       old or          if    its                                       11   and thats              it    yes.

12   pretty      new cant you                                             or   was     it   beyond             that                                                         12          Q.        Okay.            You          did    no   further                   forensic          testing             or

13         A.      It       was             dry.                                                                                                                            13   forensic             work
14          Q.    Okay.                                                                                                                                                     14          A.        No         no.


15         A.      I       cant put                   --                                                                                                                    15                              MR.      WESTFALL                              All    right.       Very           well.          Thank

16         Q.     Okay.                        Yeah.                  Once        its       dry       its    dry        I
                                                                                                                            guess                                           16   you     Officer             Blansit.


17         A.     Yes.                                                                                                                                                      17                              THE WITNESS                                   Yes.

18         Q.     We              have heard evidence                                            in this         case from the                                              18                                            REDIRECT                        EXAMINATION

19   Medical               Examiner                    that               the only          thing          that   would                     have                            19   BY MR.           CHAMBLESS
20   happened                    to        Nancy Weatherly                                  that      would        have caused                                  her   to    20          Q.        Just       a couple                things               want               add to
                                                                                                                                                                                                                                                      I                to                     I

                                                                                                                                                                                                                                                                                                   guess
21   bleed       was the gunshot and we know where                                                                          that             happened.                      21   this   list      here.

22   So    just    the           natural                progression                         of    things          the            --    if    that                           22                              Sotto voce discussion.

23   blood which                          lets        assume                    that        thats          Nancy Weatherlys                                                 23                              BRB-23 what was                                that         do you recall

24   blood       on         that           box        spring.                   Okay                                                                                        24          A.        BRB-23

25         A.     Uh-huh.                                                                                                                                                   25          Q.        Yes         sir.
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 1          A.          Thats the                   latent         lift    on    the cassette               tape            case                        1   determine               when              that         DNA         was put on there

 2   the    latch.                                                                                                                                      2          A.        Im      not able               to     answer            that        question.              I   do not

 3          Q.          Okay.            And where was the cassette                                         case                 that     the           3   know        if    a    DNA               analysis would                   be able           to       determine the                age
 4   latent      lift        was found                                                                                                                  4   of blood.

 5          A.          In    the west                  bedroom             on the        floor.                                                        5          Q.        Okay.                   Now      for       example suppose                              there     was DNA on

 6          Q.          It   was found                   in   one          of   the     bedrooms             in        Nancy                            6   a straw           in   the          Tundra             for     example                just hypothetically.

 7   Weatherlys house                                    is   that        correct                                                                       7   Okay
 8          A.      That            is   correct.                                                                                                       8          A.        Uh-huh.

 9          Q.      And BMC-21 which one was that                                                                                                       9          Q.        And      Ill            represent            to   you         that       the    Tundra           was

10          A.          BMC-21                                                                                                                         10   found           in Fort        Worth.

11          Q.      Yes.                                                                                                                               11          A.        Okay.

12          A.      Thats the shoe                                 print    on the passenger side                                                      12          Q.        Okay.               And so            it   would         --
                                                                                                                                                                                                                                            you would                 have         to   know
13   exterior            step        rail.                                                                                                             13   if
                                                                                                                                                                 you could determine when                                        that       straw            or      when     that       Dairy

14          Q.      Okay.                He asked you about the                                     stain    or        the                             14   Queen cup or                        --
                                                                                                                                                                                                      you     would            have         to    know something                        more

15   apparent                 blood           stain          on the mattress                   in     the   --    I

                                                                                                                       guess the                       15   about           that    to     determine                    when         that        --   how        that       got there

16   master bedroom                                is    that       correct                                                                            16   wouldnt               you
17          A.      Correct.                                                                                                                           17          A.        Yes         sir.



18          Q.      How             big       was that                                                                                                 18          Q.        Could              it   have been put                    in    there           in   Fort       Worth         I




19          A.      Very            small.              Extremely                small.        Weve          got                it   in                19   mean             just   hypothetically

20   scale.        Very small blood                                 stain.                                                                             20          A.        Oh      yes absolutely.
21          Q.      All        right.          A spot                                                                                                  21          Q.        And      it        could         have been put                      in    there          somewhere

22          A.      A        spot.                                                                                                                     22   between                for     example Godley and                                     Fort       Worth

23          Q.      A        very        tiny        spot          is     that    correct                                                              23          A.        Could              have.

24          A.      That            is   correct yes.                                                                                                  24          Q.        All    right.            Theres             just    a    lot    of possibilities


25          Q.      Okay.                Now             could            that    spot of blood              been on                                   25   there           correct


                                                                                                                                                 121                                                                                                                                             123
     that        was                on the mattress or the sheets                                           or   what was                                          A.        Yes      there




--13
 1          --                 it                                                                                                                       1                                               is.



2    it   on                                                                                                                                            2          Q.        All    right.            But     if
                                                                                                                                                                                                                   you found a                   print       on a

3           A.      It       was on the box spring cover.                                                                                               3   cassette              case           in   the     bedroom                of     Nancy Weatherly                             do you

4           Q.     The box spring cover.                                         As you        think        about that                                 4    think       that       would              have significance                      and relevance                         for this


5    is   there         a     way        to    determine                   that    it
                                                                                        happened             that                day      a             5   case
6    week before a year before                                                                                                                         6           A.        Yes.

7           A.      Is        there a              way        to   determine              that                                                          7                           MR.              CHAMBLESS                         Okay.                Pass the witness.

8           Q.     Yes              the time                 that that           spot    of    blood        was put                                    8                                               RECROSS-EXAMINATION

9    there.                                                                                                                                            9    BY MR. WESTFALL

10          A.      I        do not know of a way.                                                                                                     10          Q.        Why                 Lets       assume the                     print       is    Mark Soliz okay

11          Q.     Okay.                 So        it   could           have been put there                           --        it                     11          A.        Okay.

12   could       have caused                            --   she could have had a                           --    if       it        were              12          Q.        And     lets             assume              that   the         DNA            is   a   guy named

     for   example Nancy Weatherlys blood                                                           just    assuming                        it         13                           MR.              WESTFALL                    Whats                 his       name Mike
14   could       have been there a year before correct                                                                                                 14                           MR.              HEISKELL Shadow.
15          A.     It        could        have been yes.                                                                                               15                           MR.              WESTFALL                    I    know Shadow but whats                                    his


16          Q.     Two              years before                                                                                                       16   real    name
17          A.     Yes.                                                                                                                                17                           MR.              HEISKELL                   Arturo Gonzales.

18          Q.     A week before                                                                                                                       18          Q.        BY      MR.             WESTFALL Arturo Gonzales. Have you
19         A.      Yes.                                                                                                                                19   ever heard               that            name He wouldnt have anything to do
20          Q.     Or         that       day                                                                                                           20   with anything                   you did but                    his   name has come                              into


21         A.      Or         that       day yes.                                                                                                      21   evidence.

22          Q.    All         right.          Now             when we              talk       about       DNA               for                        22          A.        Okay.

23   example on a                        --   if     DNA           is     able    to    be developed                       from                        23          Q.        Now           if    Arturo            Gonzaless DNA got on                                     that   straw

24   examination                    by a           DNA        expert they                 find      it   on a         --        on a                   24   and     that       straw got                into        the        back seat              of     Nancy Weatherlys

25   sample.                 Same         question.                       Can you        --    is   it
                                                                                                         possible                    to                25   truck       I
                                                                                                                                                                             guess theres a                             point    at    which           common                sense needs
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 1   to    kind of               --             because                      theres a                  lot     of        common                      sense            that               1
                                                                                                                                                                                             question                was          it   sounds                like   what Im hearing you say                                            is



 2   goes          into          crime                          scene work                        isnt        there                                                                     2    that        to    your         mind you believe                             this       stain theres a very

 3          A.            Theres a                                lot        of    it    yes           sir.                                                                              3   good chance                         that       it    predated              this       incident

 4          Q.            And common                                          sense would                               say    that           unless                Nancy               4           A.         I
                                                                                                                                                                                                                   cannot              put a whole                  lot       of   weight          on    it       if    that


 5   Weatherly                         and                     Mr.      Gonzales                   knew each other then                                               it   would         5   answers               your          question.                   I   cant put a               whole         lot       of    weight

 6    be a        little         bit                 strange                 that        his      DNA would be                                      inside          that                6    on    it.




 7   truck                                                                                                                                                                               7                             MR.             WESTFALL                         It    does yes.

 8          A.             It    would be questionable yes.                                                                                                                             8                              THE WITNESS                                  Okay.

 9          Q.            And                   it        would              be a        little        bit    strange                if       his         DNA                           9                              MR.             WESTFALL                         Thank you.

10   was on                   a beer                           bottle        that        was           in     the bed of                      that         truck                        10                            THE WITNESS                                   Okay.

11          A.            Yes                    sir.                                                                                                                                   11                                              REDIRECT                    EXAMINATION

12          Q.            Perhaps                                not as strange                             as being             inside                   the truck                     12   BY MR.            CHAMBLESS
13   but    still                                                                                                                                                                       13          Q.         The          fact       is theres no                     way         to    date a blood

14          A.            Right.                                                                                                                                                        14   stain            is   that      true

15          Q.            Theres a                                lot    of people                     in     the world                   and             --                            15          A.         Not     to        my knowledge                           no.


16          A.            Absolutely.                                                                                                                                                   16          Q.         The same                  thing              is   true        about        DNA.          If    I   said

17          Q.            --     the coincidences                                           start            to     get layered                       on.                               17   theres            no way              to   date            when DNA                    is   placed          on an item                         is



18                                     So from an evidentiary                                                      standpoint                         is       that                     18   that        correct

19   any less                   significant                             than the                  fact        that           Mark Solizs                                                19          A.         Thats             correct.


20   fingerprint                      was there                                                                                                                                         20          Q.         All    right.            Now             he asked you whats the                                         relative


21          A.            Is     it
                                           any less significant                                                                                                                         21   significance.                       Lets            think       through              this.         Lets    think           or


22          Q.            Its         all             significant                       right                                                                                           22   imagine               that      there            is       say       Arturo            Gonzaless DNA on                                that


23          A.           Yes                     it       is.                                                                                                                           23   straw        in       the Dairy             Queen cup                      in        the    back of the Tundra.

24          Q.            Because                                its     all       evidence                                                                                             24   Just hypothetically                                 okay
25          A.           Thats                            correct.                                                                                                                      25          A.         Okay.



                                                                                                                                                                               125                                                                                                                                                               127
 1          Q.           What do you make                                                  of      the blood                   stain                on the box                          1           Q.         I

                                                                                                                                                                                                                   guess the relevance                                  or the significance                             of   it




2    spring                                                                                                                                                                             2    is   that        at     some point                       that       you would               tend      to    believe              that


3           A.           With                    it       being              so small                  just        one drop and where                                                   3    Arturo           Gonzales                  had sipped from                            that         straw    that           was found

4    it
          was        I

                              really                      dont have a professional opinion                                                                 as        to                 4    in   the     back seat                    of     the       Tundra               in    Fort     Worth            is    that


5    how      it    was transferred or whether                                                                     it   is    a transfer                       off   of                 5    correct

6    a    finger              or      if        it        was her nose                            that        may have been                                    bleeding                 6           A.         Yes          it   would                be easy           to    believe            that yes.

7    or    how           it     became                            there.                Like       I
                                                                                                        said             its    such a small                                            7           Q.         There             is    no way               to   determine                when          that           event

8    spot     that              its              really                hard         to    give          an opinion                        as         to    how        it                8    occurred correct because you cant date                                                                 DNA
9    was     --      how                   it        came               about.                                                                                                          9           A.         Thats             correct.


10          Q.           Well                        it        sounds              like    the         tendency                  is       to         believe                            10          Q.         The        truck         is       --    in   other       words              it   was Nancy

11   that    it
                   actually                               predated                  this      whole incident                                   just        from                         11   Weatherlys                     truck            she owned                  it        and     it    should            have been

12   what Im hearing you                                                     say                                                                                                        12   in
                                                                                                                                                                                                  Godley Texas.                               Can you see that

13          A.           Um                 yes and no                              at    the          same              time.            If
                                                                                                                                                    you would                           13          A.         Oh      yes.

14   allow         me           to          explain                     it     I   would.               Okay.                                                                           14          Q.         But     it     was found                     in   Fort        Worth however.                             So a

15                                    The blood                               stain         is     collected                   for        a         number            of                15   truck       can be              moved
16   reasons whether                                              we         feel        at   the time                    that    it          is     exactly                            16          A.         Uh-huh.

17   relevant                   to    our                      case or whether                              its         not    irrelevant.                       The                    17          Q.         Its    mobile.                    And so theres no way                               to       determine

18   reason              we           collect                     it    is     not only                for evidential                           value            but                    18   when         that       straw or                 that       Dairy          Queen cup was placed                                      in    the

19   its   also            to        exclude                            everyone                  else from the scene.                                                                  19   Tundra correct

20                                    So                  if    we would have                               left        that   there                 behind                             20                            MR.              WESTFALL                         Object            to    the leading                   Your

21   it   would have raised questions                                                                  as         to     whose                 it    is   and why                       21   Honor.

22   its   there                and how                            it   got         there.             And thats the reason                                                             22                            THE COURT                                  Overruled.

23   why we                collect                             things        that         may not come                           across                        as                       23          Q.         BY      MR.             CHAMBLESS                                  Would          that    be       true        or       not
24   immediately relevant                                                    to     our case.                                                                                           24          A.         True.

25          Q.       And                    I
                                                     understand                         that       as        to         relevance                     but        my                     25          Q.         All    right.           The relevance                          and the significance                                of
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 1   the           print      on the cassette              case        is    that          it       puts           if   its                             1                           THE COURT                               Got        to      go around                all    the       way past

 2       Mark Solizs                  it    puts    Mark     Soliz in            her        bedroom                       at    her                    2    the deputy.

 3       house           is   that         true                                                                                                        3                            THE WITNESS                                  All       right          sir.



4                  A.    That        is    true.                                                                                                       4                            THE COURT                               Please              raise        your           right       hand.

 5                              MR.         CHAMBLESS                       Pass the witness.                                                          5                            Witness sworn.

6                               MR.         WESTFALL                  You know                           I    have no                further           6                            THE COURT                               Thank you.                      Have a            seat.


 7   questions.                 Thank you                 Officer      Blansit.                                                                        7                                                        MAX COURTNEY
8                               THE WITNESS                       Youre welcome                                         sir.                           8                 Having                 been          first
                                                                                                                                                                                                                        duly         sworn               testified          as follows

9                               THE COURT                    May       the witness                            be excused                               9                                                    DIRECT              EXAMINATION

10                              MR.         CHAMBLESS                   Yes Your                              Honor.                                   10   BY MR. CHAMBLESS

11                              MR.         WESTFALL                  He may.                                                                          11          Q.     Please                state         your         name.

12                              THE WITNESS                       Is that             a    yes                                                         12          A.     My name                      is    Max Courtney.

13                              THE COURT                    Yes        sir.          Thank you.                                                       13          Q.     Mr.           Courtney whats your occupation

14                              THE WITNESS                       Thank you.                                                                           14          A.     Im the Director                             of   the       Crime Lab and Crime Scene

15                              Witness             excused.                                                                                           15   Search            for   Mansfield                  Police            Department.

16                              THE COURT                    Take           a short 15-minute                                   recess.                16          Q.     Okay.                 The lawyers here are                                     well    acquainted                   with

17   Be back               with       the next witness.                                                                                                17   you     Mr.        Courtney.                     Will       you      tell          the Jury something                            about

18                              Recess             taken     from       211               to        230 p.m.                                           18   your        background                     and Crime Scene and Forensics                                                     and          that.


19                              Jury not present.                                                                                                      19          A.    All        right            sir.     Academically                           I   have a B.S. and

20                              THE COURT                    State          ready                   to   proceed                                       20   an M.S.           in    Chemistry both                              of   them from whats now West

21                              MR.         CHAMBLESS                   Yes Your                              Honor.             I   think   by        21   Texas A                 M     University.


22   agreement Brandon                                  Blansit   has been excused                                         from the rule               22                           I   went           to    work          in   1970            at       the Fort           Worth

23   is       in   the     courtroom               if   thats    okay with Your Honor.                                                                 23   Police       Crime Lab as a Criminalist/Forensic                                                        Scientist.                    I




24                              THE COURT                    Thats           fine         with               me.         Is    that                    24   stayed       there           till    1980.             Took a              full-time            teaching                job      at


25   okay                                                                                                                                              25   U.T.    Arlington                   in    Criminal             Justice.




                                                                                                                                                 129                                                                                                                                                       131
1                               MR.         WESTFALL                  Yes Your                           Honor.                                        1                            In    the          meantime                  I    started             my business                        which

2                               THE COURT                    Defense              attorneys                         are present              and       2    was Forensic                    Consultant                     Services              in      1976.          I    left    U.T.A.

3    ready                                                                                                                                             3    in   86 and             ran Forensic                      Consultant                     Services               as a        private


4                               MR.         HEISKELL              Yes.                                                                                 4    company             doing            forensic               lab     work and also crime scene work

5                              THE COURT                     Defendant                    is         present                                           5    mostly       for police                   departments                      but also             for    attorneys                 and

6                               MR.         WESTFALL                  He         is   Your Honor.                                                      6    investigators                and           others.


7                              THE COURT                     The Court Reporter                                         tells        me   that         7                            I   left     there          in      2005 went and                            took a

8    I   --    that      she     did        not hear       me say 326 and 326-A were                                                                   8    teaching           appointment                         at   Baylor University                          in       the Forensic

9    admitted.                 Its     my recollection                that       that               was        the                                     9    Science            program stayed                              there three                   years went                     to


10   footprint             on the           newspaper.                                                                                                 10   Mansfield              where              Ive      been         for       the       last      three years.

11                              MR.         HEISKELL              No        --   326 Your Honor                                                        11          Q.    Thank you.                          Now           back           in    June        of    2010
12                             THE COURT                   326.                                                                                        12   specifically                June 30th of 2010 were you working                                                           with the

13                              MR.         STRAHAN               --
                                                                        impression on the                                       driver                 13   Mansfield              Police             Department                     at that             time
14   side BMC-20 and the No.                                    326 was admitted                                        for    all                     14          A.    Yes            sir.



15   purposes 326-A was admitted                                        for       record                     purposes                only.             15          Q.    And            did      you receive                    a request                 and was              it
                                                                                                                                                                                                                                                                                    approved

16                             THE COURT                     Thats what                         I    have on my                      --   on my        16   that   you and others come and                                                assist or          process                a    potential


17   notes but the Court Reporter                                     did not              have               --    did        not                     17   crime       scene            in     Godley Johnson                                 County Texas

18   agree.              So     its        admitted.       326 and 326-A                                 is   admitted.                                18          A.    Yes            sir.



19                              States             Exhibit      No.    326 admitted.                                                                   19          Q.    Okay.                  Tell        us approximately                             what time you got                            to


20                              States             Exhibit      No.    326-A admitted                                    for                           20   the    home            of    Nancy Weatherly                                  in   Godley Texas.

21                             record          purposes           only.                                                                                21          A.     I   was logged                      in    there            at    1024 a.m.

22                             THE COURT                     You may bring                               in    the        Jury.                        22          Q.    Okay.                  Tell        the Jury a               little      bit     about your

23                             Jury present.                                                                                                           23   mental        decision-making                                  the processing                        that       you go

24                             THE COURT                     Thank           you.                   You may be seated.                                 24   through            the steps                    that    you take                   and the steps                   that       you

25                             MR.          CHAMBLESS                   State              calls              Max          Courtney.                   25   took    that       morning.
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                        MARK ANTHONY        Z                                                                                                                                                       Page 84 of 109 PageID
                                                                                                                                                                                                            MARCH  5.     5537
                                                                                                                                                                                                                       2012
                                                                                                                                                                    132                                                                                                                                                          134
 1               A.      The            first          I        think important                         thing      is       to try          to                             1   to    say
 2        assess          what you have                                    to    work with without messing                                                                 2             A.    Yes          sir.



 3        something                 up.           So you have                            to       very     carefully              walk            through                  3             Q.    Okay.              So when you were looking                                                 at   and observing

 4        the    scene and see whats here whats there                                                                               and then                               4       her   body and you raised her leg                                          that           was the condition

 5        make some decisions                                              about         how youre                     going        to       actually              go      5   you        observed               at that          time         that         being            about              1030            that


 6     about            processing                          it.                                                                                                            6       morning

 7                                  We          like              to       photograph                   everything                in
                                                                                                                                            place                          7             A.    Yes          sir.



 8     before           we       start            moving anything                                  or changing                    anything.                    And         8             Q.    What            else         did    you notice about Nancy Weatherly
 9     then          we        process                     the         evidence                   collect       the         evidence                    and                9   Any apparent                     injuries to              her          body
10     secure            it.                                                                                                                                              10             A.    Yes          sir.



11                                                                                           you were                                                                                          What
                 Q.      Okay.               It        appears                   that                            at        the Weatherly                                  11             Q.                    did         you notice

12     home           for      approximately                                   maybe nine                   ten        hours                is    that                    12             A.    I    noticed            a defect           in        the     back of her head.

13     approximately correct                                                                                                                                              13             Q.    Okay.              The blood around                            her           body what                      --    do you

14               A.     That            sounds                     about               right       yes      sir.                                                          14   have any observations                                   about           that

15               Q.     And we went through                                              with           Officer        Blansit                I                           15             A.    I    do.


16     believe            there           were 24 items 22                                         of   which          were collected                                     16             Q.    Tell       the Jury about                       that.


17     from the house.                                 And the Jury has seen pictures                                                        of        that.              17             A.    There            was blood on the edge                                        of    the          table.           And        if




18     But as           you         entered                       the.         house          I   want      to     ask           you         about          some          18   I
                                                                                                                                                                                    were facing north                        in   the     living            room and looking                                 at       the

19     of your observations.                                                                                                                                              19   table          this       would          be on the              left        side        of    the table                 so

20                                  First              of         Nancy Weatherly the body as you                                                                         20   thats going                 to     be                           the southwest                               corner            of      the
                                                                                                                                                                                                                           basically


21    first       went in what were your impressions and                                                                                                                  21   table as the table                          sat    in    the dining                 area.                  Theres blood

22     observations                                                                                                                                                       22   up on the corner there the blood has run                                                                    off   the         edge of
23               A.      First thing                              did      was         to try       to    assess how long                                                 23   the table                 dripped           onto the seat of a chair                                        sitting
                                                            I




24        she had been                       there.                    I   raised            her    left
                                                                                                            leg        as        she was                                  24   beneath              it    and then ran                   off of            the chair              and onto the

25     lying         there          a    little            bit         and        it   was where                the         knee was                                      25   floor      beneath               it.




                                                                                                                                                                    133                                                                                                                                                          135
      down.             The knee                                                 bend so when                                          the leg                                                            And also
 1                                                         did         not                                         I       lifted                                          1                                                      in    my opinion when                                    the       body            fell


 2    the        leg    kind            of   came up                           without             well     like           that without                                   2    there          was blood spattered                              from the                floor              up    to   the        wall        by

 3    the        knee bending which                                              told    me         that    rigor           mortis            was                         3    it   and also the                  floor      around             it.




4      present                 and       that              gave me an idea about the time she had                                                                         4              Q.    So        did     you        feel       like    the spatter                       of       the blood                  was

 5    been            there.                                                                                                                                              5    from her             head          falling         onto         the floor

6                Q.     Now              tell          us about                   rigor       mortis         and when does                                                6              A.    That and also the blood                                       just dripping.


 7    rigor.         begin          to    occur                   in       a   body and how long does                                             it   last               7    Dripping             --
                                                                                                                                                                                                          blood-drops                   falling            into    a pool                  of   blood           makes

8     approximately                                                                                                                                                       8    a very                                 amount            of spatter                                                of
                                                                                                                                                                                              fantastic                                                           coming                   off         it.




9               A.      Its     gonna depend                                      on the circumstances                                       and on                       9              Q.    Okay.             What was                 the         --    how was she dressed do

10    the individual                         the            environment                           several        factors.                    So what                      10   you recall

11    we        can      do      is      estimate.                             And      rigor       is
                                                                                                          going            to    start within                             11             A.    She was wearing                            --    I     dont        --    I    can look                 at     the

12   a few hours                        after              death.                And      this       is   just     a        stiffening                 of                 12   colors         and everything but she was                                               basically                 wearing                what

13    the        muscles                     response                                                                             the body.                    And        13             might term as                      pajamas or the equivalent
                                        in                                       to    decomposition                        of                                                 you                                                                                                               thereof.


14    its       going          to   happen                        to       all   of     us.                                                                               14             Q.    Okay.             Now weve                      heard          from               Officer             Blansit


15                               And              it       is
                                                                  complete                anywhere                 from 8              to         12                      15   about          each        of    the items or almost                               all       of    the items                  that


16    hours           after         death and then                                     its    going         to start              resolving                               16   were collected but theres two or three                                                                 I
                                                                                                                                                                                                                                                                                          think        that


17   after        some hours                                so         that      after        24     to    36 hours                    it    should                       17   you were involved with                                  that     we want                     to    address.

18    be        fully    resolved.                                                                                                                                        18                              First       of    all    there            was a newspaper                                  sheet

19              Q.      Okay.                So                        a period              of gradual                                                                   19             was found on the                                              the    house                                    correct
                                                           its                                                         I

                                                                                                                            guess                                              that                                                floor       in                                         is   that


20   onset becoming                                    full        rigor at             between             8    to        12     hours                is                 20             A.    Yes         sir.



21   that        correct                                                                                                                                                  21             Q.    Do                     recall      where             that     was found
                                                                                                                                                                                                         you

22              A.      Correct.                                                                                                                                          22                        was found kind                              on the northeast
                                                                                                                                                                                         A.    It                                        of                                                      edge of the
23              Q.      And then                       at         some           point            from     that            point       between                 8          23   table          and then going more or less between.                                                                And           if    youre

24   and 12 hours some                                             point          between                24 and 36 hours then                                             24   standing             about             to   walk        down the hallway youve got the

25   it    --    the    body no longer has                                             that       condition                 is   that        fair                         25   kitchen             on your            right       and the dining area on                                        your.left
 --6
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 1



 2

 3

 4

 5




 7

 8

 9

10

11


12
     where




     packaging

     recognize
              STATE VS.Document

     and kind of



     not hallway.

     was found.



     Exhibit
             Q.




             A.


             Q.

            A.


             Q.
                       its




                       Okay.

                       273.




                       Yes
                       All


                       This


                       Okay.
                                24-32 Filed
                         MARK ANTHONY




                              that.
                                   a




                              right.
                                    sir.




                                   is
                                        SOL08/02/16



                              not kitchen
                                         I




                                        So




                                        Its
                                            Z




                                  and ask you
                                              guess a no-mans-land



                                               basically




                                               What

                                         the sheet from


                                             Now       did
                                                          and




                                             Show you what has been

                                              --   and attached




                                                               is




                                                                you
                                                                    to




                                                                     that
                                                                         its


                                                                     thats
                                                                                    not dining




                                                                          take a look




                                                                               --
                                                                                    that
                                                                                        where the piece of paper




                                                                                         to




                                                                                       why
                                                                                               it     is




                                                                                              newspaper.

                                                                                               did
                                                                                                               at
                                                                                                                 in



                                                                                                                 area




                                                                                                                some




                                                                                                               the sheet
                                                                                                                         between




                                                                                                                    admitted




                                                                                                                        that
                                                                                                                                  and




                                                                                                                                      see
                                                                                                                                            its




                                                                                                                                           of
                                                                                                                                                if
                                                                                                                                                     there




                                                                                                                                                as States




                                                                                                                                                     you
                                                                                                                                                                136
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                                                                                                                                                                      11


                                                                                                                                                                      12
                                                                                                                                                                           partial




                                                                                                                                                                           look
                                                                                                                                                                                  Q.




                                                                                                                                                                                  A.

                                                                                                                                                                                  Q.

                                                                                                                                                                                  A.


                                                                                                                                                                           preserved.

                                                                                                                                                                           sealed

                                                                                                                                                                           there




                                                                                                                                                                           would
                                                                                                                                                                                  Q.




                                                                                                                                                                           something
                                                                                                                                                                                         it




                                                                                                                                                                                       now.

                                                                                                                                                                                         All
                                                                                                                                                                                             Page 85 of
                                                                                                                                                                                         footwear


                                                                                                                                                                                             Okay.




                                                                                                                                                                                                      I




                                                                                                                                                                                                  right.


                                                                                                                                                                                        be the best way

                                                                                                                                                                                                    we
                                                                                                                                                                                                            5 20125538
                                                                                                                                                                                                        109 PageID
                                                                                                                                                                                                     MARCH


                                                                                                                                                                                                                 If



                                                                                                                                                                                       and see the impression inside

                                                                                                                                                                                             Maybe.

                                                                                                                                                                                         Or would

                                                                                                                                                                                             No     it      would

                                                                                                                                                                                                            dont know

                                                                                                                                                                                              up a long time ago so
                                                                                                                                                                                                                      impression.

                                                                                                                                                                                                                      we open




                                                                                                                                                                                                                 should
                                                                                                                                                                                                                       that




                                                                                                                                                                                                                       If
                                                                                                                                                                                                                                you
                                                                                                                                                                                                                                   destroy the

                                                                                                                                                                                                                                 not destroy




                                                                                                                                                                                                                                       to
                                                                                                                                                                                                                                             I
                                                                                                                                                                                                                                                 that




                                                                                                                                                                                                                                       would would

                                                                                                                                                                                                                                             open
                                                                                                                                                                                                                                                  havent




                                                                                                                                                                                                                                      take out or leave
                                                                                                                                                                                                                                                            would




                                                                                                                                                                                                                                                             it.




                                                                                                                                                                                                                                                              I




                                                                                                                                                                                                                                                            this
                                                                                                                                                                                                                                                                    It




                                                                                                                                                                                                                                                                    looked
                                                                                                                                                                                                                                                                           it




                                                                                                                                                                                                                                                                         could
                                                                                                                                                                                                                                                                                 be possible




                                                                                                                                                                                                                                                                   dont know whats



                                                                                                                                                                                                                                                                         it     be

                                                                                                                                                                                                                                                                     and view this
                                                                                                                                                                                                                                                                                      at




                                                                                                                                                                                                                                                                                      --




                                                                                                                                                                                                                                                                                 within
                                                                                                                                                                                                                                                                                           be

                                                                                                                                                                                                                                                                                            it




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                                                                                                                                                                                                                                                                                                              in




                                                                                                                                                                                                                                                                                                              Is
                                                                                                                                                                                                                                                                                                                 I




                                                                                                                                                                                                                                                                                                            box and
                                                                                                                                                                                                                                                                                                                     it
                                                                                                                                                                                                                                                                                                                          138




13   newspaper                    catch your attention                                       What was                            it   about           the             13   just   open the                  flap            or   what would you recommend

14   newspaper                    that        was      significant                      to   you                                                                      14          A.     I    would               open the                  flap.


15          A.         It    was         in   a    traffic          pattern             that         one would                          use          to               15          Q.     Okay.                   If   you wouldnt mind use these scissors

16   go through                   the        house and                    I

                                                                                thought              it
                                                                                                               likely          that        there                      16   or whatever                    you          think          appropriate                   and          lets just              open the
17   might            be footwear                  impressions on                             it.                                                                     17   flap   here.

18          Q.         Okay.             Did       you         utilize            a    certain                 process                  with                          18          A.     Witness complied.

19   respect            to that              sheet of           newspaper                           to     attempt                    to   draw a                     19          Q.     Okay.                   The box               is    marked                BMC-03-A                      is    that


20   footwear                impression from it                                                                                                                       20   correct

21          A.         Yes         sir.                                                                                                                               21          A.     Yes              sir.



22          Q.         What equipment                               did        you       use                                                                          22          Q.     All    right.                 And as we open the flap the mylar

23          A.         Its    called              an   electrostatic                         dust          print              lifter.                                 23   sheet        is    inside             and            its    taped        to      the      inside           of    the         box

24          Q.         How does                    that   work                                                                                                        24   is   that    what we                   see
25          A.         Basically               you take a sheet                               of mylar                       film       like     you                  25          A.     Yes              sir.




                                                                                                                                                             137                                                                                                                                                          139
 1   would put on your car but you dont put                                                                      this          on your car                             1          Q.     Okay.                   Now             is   this        something                   that        you did           that


2    because                its    totally          opaque.                     Its     got a             silvered                    side      on                    2    day June 30th or sometime                                                   --   or     sometime other time

3    one side and then a black side on the other so you cant                                                                                                          3           A.     I
                                                                                                                                                                                              did     it     there while                     we were                processing                        the

4    see through                   it    except          just        a        little    bit     of         light.
                                                                                                                               This                                   4    scene.

5    makes a nice                        reflective             surface                 so      that            when you shine a                                      5                           MR.                 CHAMBLESS                             Okay.               Im going                to offer


6    low angle                               across                 youre going                                                         see                           6    the
                             light                        it                                              to readily                                                               I

                                                                                                                                                                                       guess the actual exhibit the mylar impression as
7    impressions                   that        are     on       there.                                                                                                7    334 and            the box as 334-A.

8                             So what you do                              is
                                                                                  you put                 this          dark side                    down             8                           MR.             WESTFALL                              No         objection               Your Honor.

9    onto     the area                  you        suspect               might           have a footwear                                                              9                           THE COURT                                      Admitted.

10   impression                    and then you charge                                       electric                   --    static                                  10                          States                        Exhibit          No.        334 admitted.

11   electricity              several              thousand                    volts         of static                   electricity                                  11                          States                        Exhibit          No.        334-A admitted                            for


12   and you                basically              zap          by        putting             down an antenna                                        on   one         12                          record
                                                          it
                                                                                                                                                                                                                            purposes               only.

13   side    and a probe from the                                        static         electricity                          on the other                             13                          Sotto                 voce discussion.

14   side.        Dust         will
                                             preferentially                     lift   from the surface                                    that                       14          Q.     BY         MR.               CHAMBLESS                             All     of    the        --    is    it    correct

15   youre on onto                       that       mylar film so                        you get a reverse                                                            15   that   all    of the             exhibits                  that       were       retrieved                either            from

16   impression of whatever                                     is   there              in   the           dust.                                                      16   the Weatherly                         house or the Tundra were taken                                                        by yourself

17          Q.         So     is    that       what you                  did           on June 30th                              2010                                 17   and    Officer           Blansit                     back     to       the Mansfield                      Police

18          A.         Yes         sir.                                                                                                                               18   Department                      is    that           correct

19          Q.         Did     you obtain a                     full          or a      partial                footwear                                               19          A.     Yes              sir.



20   impression                                                                                                                                                       20          Q.     At a                          time                                                                      of the
                                                                                                                                                                                                     later                            did    you process                        certain


21          A.         Partial.                                                                                                                                       21   exhibits           specifically                       BMC-19 and 27                            to      find      out        if   there

22          Q.         Okay.             Right there                 in        front of             you             I
                                                                                                                         think             is   a                     22   were any            latent                 prints          on those exhibits

23   box.        If
                       you     would               examine                that          and         tell        us           whats                                    23          A.     Yes          sir.



24   contained               inside.                                                                                                                                  24          Q.     What was                           the       result       of   your         work            in    that        --   on

25       A.           That         is    the mylar               film           on which                   I
                                                                                                                captured                   a                          25   those        two     items                       I
                                                                                                                                                                                                                                guess beginning                          with        BMC-19.
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                                                                                                                                                                                                         MARCH  51     5539
                                                                                                                                                                                                                    2012
                                                                                                                                                              140                                                                                                                                                              142
 1               A.           Okay.                                                                                                                                  1           Q.          Okay.              Looking                    on the bench                          in front      of   you do

 2               Q.           I   believe             this      would              have been on July 19th                                     of                    2     you see an envelope                                         marked                  BMC-40
 3   2010.                                                                                                                                                          3            A.      Yes                 sir.



 4               A.       Yes                 sir.     Ill    catch            up with you here soon.                                                               4            Q.      Would                  you be kind enough                                          to   open that and                     Ill



 5               Q.           Okay.                                                                                                                                 5     ask     if
                                                                                                                                                                                       you recognize                                 those               items.


 6               A.       All           right         sir.                                                                                                          6            A.          Okay.              Im going                     to      note            that    this       envelope             is



 7               Q.       Tell               us     what happened                                 when you processed                            BMC-19              7     sealed.                 All        right            sir.




 8   I     believe                 is    a     CD      that      was found                         within             the    Tundra and                             8            Q.          Do you recognize                                   the items contained                               within          your

 9   also         BMC-27                            another          CD         that              was found                 within      the Tundra.                 9     marking                 BMC-40
10               A.           I   took         one           latent           print        lift    from           BMC-19            and two                         10.          A.          I    do.

11   from             BMC-27.                                                                                                                                       11           Q.      And what are they

12               Q.       Okay.                     Showing               you BMC-19.                                 Is this     the item                          12           A.      These are the four                                         lifts        I   took from the Sylvania

13   which            you processed                              on July 19th                             2010                                                      13    television               set.


14               A.       Yes                 sir.                                                                                                                  14           Q.          If
                                                                                                                                                                                                  you would be kind enough                                                   to    place those                in



15               Q.       Okay.                     And now               I    show you BMC-27 States 333                                                    is     15    here appreciate                                it     the        lifts.



16   this        the item                     that     you processed                               on July 19th 2010 and                                            16           A.          Do you want the jacket                                                  also

17   obtained                      two         latent          prints                                                                                               17           Q.          No.         I    want             to    ask you                  to      look over           here.         If
                                                                                                                                                                                                                                                                                                             you

18               A.       Yes                 sir.                                                                                                                  18    can kind                of    stand             up and look                         at this            item      this


19               Q.       Okay.                     Showing               you now                   certain             items.          Theyre                      19    television               here.                 Its       been admitted                            into    evidence            in this


20   marked                       as     BMC-36 BMC-37-A and                                                 37-B.                                                  20    case         Ill        represent                    that.          Is         this        the    television           on

21                                      Beginning                with           BMC-36 would you examine this                                                       21    which        you             did      the super glue processing                                                and obtained                    these

22   and         tell             us    if    you recognize                        that            item                                                             22    four    latents               marked                     BMC-40
23               A.           I   do.                                                                                                                               23           A.          It
                                                                                                                                                                                                  appears                     to     be.


24               Q.       What                 is    BMC-36                                                                                                         24                                 MR.          CHAMBLESS                                        Okay.         Offer the four                  prints


25               A.       The                latent          print    I       lifted        from the                  CD         BMC-19.                            25    as   335 and the packaging                                                     as   335-A              for    record        purposes.



                                                                                                                                                              141                                                                                                                                                              143
 1               Q.       Okay.                     Thank you.                   And now                     if
                                                                                                                      you would          look          at            1                                 MR.          WESTFALL                                  No       objection            Your Honor.

2    these            marked                        BMC-37-A                   and           B.                                                                     2                                  THE COURT.                                   Admitted.

3                A.       All           right         sir.                                                                                                          3                                  States                   Exhibit              No.         335 admitted.

4                Q.       What                 are     they 37-A and 37-B                                                                                           4                                  States                   Exhibit              No.         335-A admitted                     for


5                A.       These are two                           latent              print          lifts        I   took from the                                 5                                  record                 purposes                    only.

6    CD          in   Item               27 BMC-27.                                                                                                                 6            Q.          BY         MR.              CHAMBLESS Were                                            you also brought by

7                Q.       All           right.        Thank you.                           Now          to    go back              in   time                        7     Garit Bennett                        from the Sheriffs                                     Department              a    certain            item

8    to     --
                  specifically to                            July         6th 2010 did someone                                          from the                    8     which        Im going                      to        show you marked as States                                               Exhibit


9    Johnson                       County              Sheriffs                Department                             bring      you    a Sylvania                  9     209          If
                                                                                                                                                                                                  you would                    take a look                       at this object.                 Do you

10   flat        screen                 television              set                                                                                                 10    recognize                this

11               A.       Yes                sir.                                                                                                                   11           A.      All           right         sir.



12               Q.       Okay.                     And       specifically                        was     that         Garit       Bennett             of           12           Q.          Do you recognize                                   that          particular                piece

13   the         Johnson                      County            Sheriffs                   Department                                                               13           A.          It   appears                     to     be the jewelry box                             that    was brought

14           A.           Yes                sir.                                                                                                                   14    to   me      by         Garit             Bennett                on July                   8th.


15               Q.       Okay.                     What        did           you do with regard                                 to that   item                     15           Q.      July            8th

16           A.           We             --     I   fumed the surfaces with a cyanoacrylate                                                                         16           A.      2010 yes                             sir.



17   fuming               wand.                     And cyanoacrylate                                is
                                                                                                             super           glue.       So        I   fumed        17           Q.          Now             collected                 from the                      Tundra weve                    identified


18   it.     Its      a           wand              that     heats            up   the super                          glue causes             it                    18    that    you and                    Officer                 Blansit              collected              this     item your

19   to     come                  out as a             fume and                       it     deposits across                        the                             19    marking                 of    BMC-07                       States               Exhibit           318.         Let     me show                 you

20   surface.                      If   there are               latent             prints that                    are       present        on                       20    that.


21   the surface                             then the super glue                                   will      stick          to   the    latent                      21           A.      Yes                 sir     I    collected                      this.


22   prints           so           that        youve            got a           visual              image              of   them.                                   22           Q.      All           right.            Now           on       that          date July 8th                      did   you

23               Q.     What was the                             result            when you                           did that      process             to          23    examine                 these two items                               and whether                        --   and what were your

24   the television                                                                                                                                                 24    observations                        about                them             if    anything

25           A.           I
                                  got four            partial             prints.                                                                                   25           A.          First           off     I    tried        to     develop                   latent          prints    and
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                                                                                                                                                             144                                                                                                                     146
 1   was unsuccessful.                                       I    used the same fuming wand as                                                 I    had            1    as States              Exhibit        No.   336    the packaging                    as 336-A.

2    used             before.               And          I   then           just did          a physical                comparison                      of         2                           MR.      WESTFALL                 No        objection           Your Honor.

3    the    drawer States                                    Exhibit             318      with           the cabinet which                                         3                           THE COURT                  Admitted.


4    is    what                                                                                                                                                    4                           States          Exhibit     No.       336 admitted.

5           Q.          Maybe                 it    would                 be     helpful        to       open         this    up here.                             5                           States          Exhibit     No.    336-A admitted                    for


6    Tell       you what                      lets just                   take     that       out.                                                                 6                           record         purposes      only.

7           A.          The cabinet                              is   States 209.                                                                                  7          Q.     BY          MR.     CHAMBLESS                    I    want        to   ask   you on July

8           Q.          Okay.                 If
                                                    you would                     tell    us        what your                                                      8    19th   of        2010      did       you evaluate            certain           of   the items       that


9    observations                       were                 first         about         this       item and then                        the                       9    were       collected            for   possible     fingerprint                 impressions

10   drawer             that           you had obtained                                  from the Tundra.                                                          10         A.     Yes         sir.



11          A.          I   noticed                 there             were four empty slots four                                                                   11         Q.     Did       you examine BRB-05 the                              hammer
12   drawers                in     States 209.                             And the drawer                        in    States            318                       12         A.     I    did.


13   just       fit    into       those                 slots.            And also the construction                                      of                        13         Q.     And what was the result

14   318 and the drawer                                          still     found         in   209 were the same same                                               14         A.     No        prints.


15   lining            same            finish                same handles                           everything.                                                    15         Q.     Okay.           BRB-06          a   plastic          bag      I   think      with    pills



16          Q.          Okay.                                                                                                                                      16   inside      did        you      examine that

17          A.          So indistinguishable from the drawer thats                                                                        in                       17         A.     I    did.


18   the    cabinet.                                                                                                                                               18         Q.     And what was the result

19          Q.          Now             Ill        represent                   that      the jewelry                  box was                                      19         A.     No        prints.


20   found             in   a     Dodge                  Stratus               and the drawer was found                                        in   a              20         Q.     BRB-07              did    you do the same                   for       that

21   Tundra.                Of course thats the item you recovered                                                                       from the                  21         A.     I    did.


22   Tundra                 is    that         correct                                                                                                             22         Q.     The result

23          A.          Yes            sir         thats              correct.                                                                                     23         A.     No        prints.


24          Q.          On         a   certain                   date          were you provided                             what you have                         24         Q.     BRB-09              a    plastic    bag      with         pills    did    you examine

25   marked                 I
                                 believe                 as           BMC-31                  Ill    show you whats been                                           25   that


                                                                                                                                                             145                                                                                                                     147
1    admitted                   as States                        Exhibit          211.         Would             you take                a look         at         1          A.     I    did.


2    these.                                                                                                                                                        2          Q.     And the result

3           A.          All       right            sir.                                                                                                            3          A.     No        prints.


4           Q.          Do you recognize                                       what had been                      in    the packaging                              4          Q.     BMC-23              a    lighter     what        --   did    you examine that

5    GB-31                                                                                                                                                         5          A.     I    did.


6           A.          I   do.                                                                                                                                    6          Q.     And what were the results

7           Q.          And what                        is   that                                                                                                  7          A.     No        prints.


8           A.          States 211                           is       a   pair     of    Nike            athletic       shoes            that                      8          Q.     BMC-24              a    lottery ticket              did   you examine that

9    were submitted                                to    me on Tuesday                               July        13th 2010 by                                      9          A.     Yes         sir.



10   Garit            Bennett.                                                                                                                                     10         Q.     And what was the                     result          on    that    date

11          Q.          Okay.                 Now                on the bench                       to   your         left   there        is       an              11         A.     No        prints.


12   item         marked                BMC-39.                           Would          you be kind enough                               to       open            12         Q.     BMC-25              a door      opener               did   you examine               that    item

13   that             and       tell    us         if
                                                        you recognize                         that        item.                                                    13         A.     I    did.


14          A.          Yes            sir.                                                                                                                        14         Q.     And what was the results

15          Q.          What            is         BMC-39                                                                                                          15         A.     No        prints.


16          A.          This           is     known                   test     impressions                   I   made         with                                 16         Q.         BMC-04          four       DVDs        did       you    examine           that    item

17   a device               called                 an Identicator which                                   are     known shoe                                       17         A.     Yes         sir.



18   print            impressions from                                    that    pair of           shoes         I
                                                                                                                      just    looked                               18         Q.     And what was the result

19   at.    I     think           it
                                       may be 207                              but   I   wouldnt swear                        to   it.                             19         A.     4     there        were no         prints.


20          Q.          All       right.                Could             you remove                     that    from the                                          20         Q.     And BMC-06 a Marlboro                                 Light       cigarette     package

21   packaging.                                                                                                                                                    21   did   you examine that

22          A.          Witness complied.                                                                                                                          22         A.     Yes         sir.



23          Q.          On what                    date            did       you develop                   this       impression                                   23         Q.     And what was the result

24          A.          On        July             13th.                                                                                                           24         A.         No    prints.


25                                 MR.             CHAMBLESS                              Okay.             Offer the impression                                   25         Q.         Mr.   Courtney we               live   in    a CSI world                 here and
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 1   this        seems            puzzling.                       Is    it   surprising                to    you                                                1
                                                                                                                                                                     gloves         when theyre                                    in   a crime          scene because                        it    has           been

2            A.        No         sir.           That            we      didnt get               prints           on     any       of                           2    on    television                       a      lot.       But also             just      we dont                   get clean

 3   those                                                                                                                                                      3    touches                 on       good               surfaces.                 We        have smudges.                          They dont

4            Q.       Thats                 right.                                                                                                              4    make good                        contact                 with         it.     Sometimes they wipe                                      their


5            A.        Not        at        all.                                                                                                                5    prints         down.                       Its     not ever                 really     possible              to     know why we

6            Q.        I
                            mean                 I
                                                     thought                 you could                just        look    at                                    6    didnt get                    prints.


7    something                    and see a                       print.           I
                                                                                        mean           it    seems         like         that.                   7            Q.      Okay.                        One         final      thing          the class                 --   what        is       the

8            A.        One             might           think            that       from watching                        television.                             8    difference                   between class and                                     individual                characteristics                      on

9    Its    not       --        not     my           world.                                                                                                     9    a    shoe impression

10           Q.        Okay.                 Did       you release                       all    of the items collected                                          10           A.      Class                      characteristics                        are those               traits       that    are

11   from the               house and from the Tundra                                                    to Garit         Bennett               on              11   built      into             the        shoe by the manufacturer.                                             The shoes we

12   July        20th            2010                                                                                                                           12   looked          at           there                that    I   last identified                      by   number have a

13          A.        Yes              sir.                                                                                                                     13   bunch          of           squiggly                   lines        on them.                 Those squiggly                            lines      are

14           Q.        Okay.                 With          the exception                        of     the four           latent                                14   X    millimeters apart                                   and the angles                        bend          at    a   certain


15   prints       from the television                                        and you released                            that       to                          15   angle.          Thats because                                      the manufacturer                           chose           to           make     it




16   Garit        Bennett                    I
                                                     believe on                 October                18th        of    2011            is   that              16   that      way.               Okay.

17   correct                                                                                                                                                    17                                 And then                        individual           characteristics                      are going

18           A.       Yes              sir.                                                                                                                     18   to   be imperfections                                    in    the manufacture                            process             and more

19           Q.        Now              some questions                                  that    we have                 talked          about                   19   generally                    going                to     be the defects                      that         happen          like             you

20   earlier               is   there            --   when you                  think          about              DNA         is   it                           20   step on                 a piece                   of    glass and put a cut                             in   the out           sole.


21   possible               to    date               when the                 DNA         was placed on an item                                                 21   These are                     actually                   going          to    show           up.        Those are                  individual


22          A.         No         sir.                                                                                                                          22   characteristics                                   which        are random and can be used                                                   to


23           Q.        Not        possible                                                                                                                      23   identify                a   particular                   shoe.

24          A.         No         sir.                                                                                                                          24           Q.      Do you have an                                      opinion            as      to    the class

25           Q.        It       could            be put here                   just five              seconds             ago           five                    25   characteristics                               of       the    shoes from                 GB-31 Show                            you which


                                                                                                                                                          149                                                                                                                                                                 151

 1   years        ago no way                            to       tell                                                                                           1    ones.          These shoes the class                                               characteristic                      of this              item

2           A.         Right.                                                                                                                                   2    States              Exhibit                  211 and                the class characteristics                                      on the

3            Q.        Okay.                 Fingerprints                       same question                                                                   3    mylar impression                                       you obtained from the newspaper                                                      at    the

4           A.         Same                 answer.                                                                                                             4    Weatherly                     house do you have an opinion                                                         about       that

5            Q.        Same answer                                                                                                                              5            A.      I       have                to     say        first         off   to    qualify           this


6           A.         Same                 answer.                                                                                                             6    opinion                 that this                  was a very cursory examination                                                      I   did.


7            Q.        In       other            words you cannot date theres no time                                                                           7    I   did    not          do       it        with        the thought                 that        I   was going             to


8    stamp            with        fingerprint                      impressions                                                                                  8    actually                do a               full    comparison.                     Based on a                      limited


9           A.        Time             is        a    factor           to     some            extent              but    for    the      most                   9    observation                            I    did        not     see anything                        that    would cause me                           to


10   part        its        going            to       be    all        these            other things                    the                                     10   conclude                    that            those             shoes          did   not        make           that      print.


11   environment how many people are touching                                                                              it      how hot           it         11           Q.      But              is        that        something                  that       would           have to               I




12   is    how dry                it    is           the   medium                      that    its     placed            on        the                          12   guess undergo                                     further          evaluation                 if    someone             were                to


13   medium                 that        its          placed            in.     All       those           things          go     in to                           13   testify        as           to    that

14   that so               that        five          years from                 now you                     could       have a           perfect                14           A.      Correct.


15   latent       print.               In        fact       if    its        on paper you might get a                                                           15                                 MR.                 CHAMBLESS                            All     right.         Thank you

16   print       after           50 years and then you might not get one 5                                                                                      16   Mr. Courtney.

17   minutes                after        the person touched                                     it.                                                             17                                 Pass the witness.

18           Q.        It       seems                like        its    almost            rare         or unusual                  to                           18                                 THE WITNESS                                         Yes        sir.



19   actually               develop                   a latent               print      from a crime                     scene                                  19                                                      CROSS-EXAMINATION

20          A.        Well              its          not    nearly as usual as                                I
                                                                                                                   would        like                            20   BY MR. WESTFALL

21   for    it   to        be.     We                have a            lot    of       cases          where we do not get                                       21             Q.        Hi Max.

22   prints.                                                                                                                                                    22           A.          Hi.


23           Q.       What              are           some             of     the factors                   that    contribute                to                23             Q.    Tell             me more                      about the                shoe impression. Youve

24   that                                                                                                                                                       24   been doing                        it       for quite               a while          havent                you
25          A.        Well              one           of    the         factors           now          is    that       people           wear                   25           A.          I       have.
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 1         Q.        Sir            just               tell    us generally                         what the                   --   what                                         1           Q.     Okay.                         Tell    the Jury                  what you have found                                        there.


2    the                                                                                                                                                                         2           A.
                     guess the theory                                                                                                                                                                     that                as sharp                   as the focus
           --   I                                                             is.                                                                                                                   Is                                                                                        will
                                                                                                                                                                                                                                                                                                     go        at this


3          A.        Well                    a     person                 lets        say           in   this        case steps                                                  3    point

4    onto a piece of                                   newspaper                    with dust                  on      their             shoe.           They                    4           Q.     Yeah                  I
                                                                                                                                                                                                                                  know              Im        trying          to.            Right        there.


5    leave      an impression here which                                                             is       going            to    be the                                      5           A.     All        right.                    Right           here        is   a    --       that     chevron                  has


6    impression                         --   if
                                                       my      right          hand were a shoe my                                           left        hand                     6    been broken off probably                                                  in    wear.                  Exact placement                                 of


7    would be the impression                                                   that        it       leaves.            Theyll be mirror                                          7    where        that        broke                     is     random.                   Okay.               So     if
                                                                                                                                                                                                                                                                                                          you           did       it        50

8    images              of    each other                                in   dust         on the surface.                               Okay.                                   8    times       and you damaged                                             one     of      those             chevrons                     it     wouldnt

9                                  The class characteristics                                                    the chevrons                            --                       9    be the same place on                                          that         shoe.              So we             start             getting              now

10   theyre          really                  not squiggly lines theyre                                                 really                                                    10   individual             characteristics                                  which           will           tend to           if       youve

11   chevrons.                     The chevrons                                on there have                           their             own shape                        and    11   got a       sufficient                      number                 of    them            will          tend         to    identify


12   size so thats going                                           to     get transferred onto                                      there.              So                       12   that    as the           shoe                    that         made            the impression.

13   we    look          at    the                shoe or                 test      impressions from the                                         shoe                            13          Q.     I    would                    suspect                that        both       of           them could be

14   ideally             as    I        made                  in   the other one where                                         I

                                                                                                                                    put the                                      14   evidence               class                  characteristics                           and            individual




--24
15   impressions                         on the paper.                              So          I   look        at     the          test                                         15   characteristics

16   impressions here versus                                                   the impression                              I       see on the                    --
                                                                                                                                                                      oh         16          A.     Both            of            them could be evidence.                                                 One           of   them




--4
17   okay yeah.                                                                                                                                                                  17   could        be    proof.


18         Q.        Do you need a laser pointer                                                                 Do you have one                                                 18          Q.     Okay.                         And         it   would            be     like          the     funnel

                                                                                           me




--3
19         A.        I   dont have one with                                                          no         sir.                                                             19          A.    The funnel

20         Q.        Would                        it       help     you        to     have               one                                                                     20          Q.    The          --            I

                                                                                                                                                                                                                                  guess so many so much                                                   of different


21         A.        Sure.                                                                                                                                                       21   forensic           evidence                         is       kind       of like         that.             Youve               got the

22         Q.        All       right.                       So     tell       us about               the class                                                                   22   gunshot            residue                       that         one of them                         is   one way one                               of    them
23   characteristic.                                                                                                                                                             23   I

                                                                                                                                                                                          guess evidence and proof or

           A.        Okay.                        Here we have these chevrons                                                            or zigzag                               24          A.     Right.


25   lines      and the distance                                          between                    those           is        a class                                           25          Q.     I
                                                                                                                                                                                                         mean                      you          would          see class characteristics                                                    being



                                                                                                                                                                           153                                                                                                                                                                         155
1    characteristic.                               The angle                     at    which                  they     turn          is    a class                               1    testified         about                     in     court

2    characteristic.                               The width of the shoe                                         at this point                     is        a                   2           A.     Sure

     class characteristic                                          and here and here.                                          The length                    is       a          3           Q.     --    if   somebody                             found             a   footprint


     class      characteristic.                                     The placement                              of the logo there                                                 4           A.    As long as they                                       --   Im      sorry.


5    the   size          of        it    is       also           a class            characteristic.                                 So    all    of                              5           Q.    Well              if           someone                     found a           footprint                 at        a    scene

6    these          are there                           by manufacturers                                 design.                    And youre                                    6    that    had the class characteristics                                                         as the            same shoes                                 the

7    going      to       see those                             in    the surface                         if    the surface                  --     if                            7    defendant                was wearing you                                        would              expect            to       see           that


8    the impression                                    is     distinct         enough youre                                    going        to     see                           8    testified         to     in    court

9    some           or   all            of       these             class         characteristics                               there.                                            9           A.    As long as they                                       limited their                       testimony                  to    not

10         Q.        I

                         guess as you say                                             it   would               be a mirror image                                                 10   saying       that this                       is     the       shoe yes.

11   once you                 lifted               it       up                                                                                                                   11          Q.     Okay.                         This         is   --   it   was a            footprint                  made            by the

12         A.        Right.                      Yes             sir.                                                                                                            12   same type                of     shoe or shoe                                  with      the            same         class


13         Q.        Now                     look             back here on the                                heel.                That    sort         of                       13   characteristics


14   would          indicate                      the          way a person walks                                      I

                                                                                                                               guess right                                       14          A.     Right.


15         A.        Yes                 sir.                                                                                                                                    15          Q.     Now              this                is    from States                     Exhibit               336.           This                is



16         Q.        Would                       that          be what you would                                     call           an    individual                             16   one     of   the footwear                                    impressions                      I
                                                                                                                                                                                                                                                                                         guess             prints            that            you

17   characteristic                                                                                                                                                              17   made         right

18         A.        Actually                              no.      It    would            be what               I   would                call     a                             18          A.     Right.


19   wear       characteristic.                                     Its       not     good enough                                  for                                           19          Q.     You used                             that       for       the     comparison

20   identification                          of        a shoe.                                                                                                                   20          A.     Yes             sir.




21         Q.        Okay.                       Can you see anything                                           in     here              that    you                             21          Q.     So how long does                                           it   take       for           you     to        look          at        it




22   might consider                                    a    individual              characteristic                                                                               22   and decide                that                it    matches                   the class                 characteristics

23         A.        Yes                 sir            right       here.                                                                                                        23          A.     Um           Ive                identified                --
                                                                                                                                                                                                                                                                     oh       class

24         Q.        Oh              okay.                    Let        me go             put       that       on         the overhead.                                         24   characteristics

25         A.        All       right                    sir.                                                                                                                     25          Q.     Right.
 --2
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 1




 3

 4

 5

 6

 7


 8

 9
     long.


     in
            A.




          court


     significance

     at least
                   If




     you say oh yeah

     oh no

     got    to


            Q.
                   be
                        Well




                        it
                             I




                            looking.




                        Would
                                     expect
                                            Z




                                     were going




                                     zigged when
                                                at




                                               of




                                     really careful
                                                       the




                                                      it
                                                         to testify




                                                    you be
                                                                I




                                                            Because
                                                                    would




                                                                     this
                                                                         level


                                                                           to




                                                                                 looks

                                                                                it




                                                                                 about
                                                                                      I




                                                                                     do a

                                                                                          in




                                                                                      should




                                                                                qualified
                                                                                            did




                                                                                               court


                                                                                          probably
                                                                                                      it



                                                                                                    written
                                                                                                            it




                                                                                               sometimes you look

                                                                                                      the




                                                                                                      that.
                                                                                                                 as
                                                                                                                     didnt take very




                                                                                                                 same.

                                                                                                            have zagged.



                                                                                                           to testify
                                                                                                                          report

                                                                                                                          to


                                                                                                                      spend
                                                                                                                               the
                                                                                                                                            or




                                                                                                                                        several




                                                                                                                                    And then you see




                                                                                                                                    about the
                                                                                                                                                    testify




                                                                                                                                                          at




                                                                                                                                                          So youve
                                                                                                                                                                   hours

                                                                                                                                                                   it        and
                                                                                                                                                                                        156
                                                                                                                                                                                                  1



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                                                                                                                                                                                                  8

                                                                                                                                                                                                  9
                                                                                                                                                                                                       would

                                                                                                                                                                                                       the




                                                                                                                                                                                                       been
                                                                                                                                                                                                              Q.

                                                                                                                                                                                                       Jose Ramos



                                                                                                                                                                                                              bag over there

                                                                                                                                                                                                              A.

                                                                                                                                                                                                              Q.




                                                                                                                                                                                                       the step side

                                                                                                                                                                                                              A.
                                                                                                                                                                                                                        Yes

                                                                                                                                                                                                                         Now
                                                                                                                                                                                                                             Page 90 of
                                                                                                                                                                                                                         Which would




                                                                                                                                                                                                                       Officer




                                                                                                                                                                                                                         It   was
                                                                                                                                                                                                                                        109 PageID
                                                                                                                                                                                                                                     MARCH  5.




                                                                                                                                                                                                                                         sir.
                                                                                                                                                                                                                                             is




                                                                                                                                                                                                                                             its
                                                                                                                                                                                                                                                   5543
                                                                                                                                                                                                                                                2012



                                                                                                                                                                                                                                                   the person

                                                                                                                                                                                                                        be those black Nike shoes the same ones




                                                                                                                                                                                                                                             Blansit


                                                                                                                                                                                                                                             of


                                                                                                                                                                                                                                              Officer
                                                                                                                                                                                                                                                     the
                                                                                                                                                                                                                                                        got a

                                                                                                                                                                                                                                                                  that
                                                                                                                                                                                                                                                                      be




                                                                                                                                                                                                                                                                       BMC


                                                                                                                                                                                                                                                                 Tundra the
                                                                                                                                                                                                                                                                            --    if




                                                                                                                                                                                                                                                                                   those
                                                                                                                                                                                                                                                                                        we assume




                                                                                                                                                                                                                                                                                       number but

                                                                                                                                                                                                                                                                             got the footwear




                                                                                                                                                                                                                                                                      Blansit that
                                                                                                                                                                                                                                                                                                      shoes came from these




                                                                                                                                                                                                                                                                                                   driver


                                                                                                                                                                                                                                                                                                      --     it
                                                                                                                                                                                                                                                                                                                           that this




                                                                                                                                                                                                                                                                                                                         side

                                                                                                                                                                                                                                                                                                                        was
                                                                                                                                                                                                                                                                                                                               it    might

                                                                                                                                                                                                                                                                                                                                    impression
                                                                                                                                                                                                                                                                                                                                                   is




                                                                                                                                                                                                                                                                                                                                                   have
                                                                                                                                                                                                                                                                                                                                                        that     are




                                                                                                                                                                                                                                                                                                                                                                off
                                                                                                                                                                                                                                                                                                                                                                       158




                                                                                                                                                                                                                                                                                                                                                                       in




10   individual                       characteristics                                     and shoe                    print         impressions                                                   10   photographed                            only.              He was                    the       one               that        found     it     and the

11          A.          Ive               testified                      to     it    before                yes            sir.                                                                   11   one    that            took the photographs                                               of   it       I        believe.

                        Were                                        asked                      do any analysis                                                                                                          And that                                                                 one BMC-20




--22
12          Q.                                   you                                  to                                                      like        that               in                   12          Q.                                         I   think          is    this                                                      which          is



13   this   case                                                                                                                                                                                  13   pictured               in       Defendants                           17
14          A.          I        was            not.                                                                                                                                              14          A.         Yes             sir.




15          Q.          Now Im                             going                to    go ahead and show these                                                                to   you             15          Q.         I    dont know                          if    we can               --    ah         there              was a

16   because                         its       almost impossible                                           to        see.         That mylar                            is    hard                16   footwear                   impression there as well                                                   right

17   to   see.                                                                                                                                                                                    17          A.        Yes              sir.



18                                        Is    this                Defendants                             16         is   that         a     picture                    of                       18          Q.        And             yall            preserved                      it

19   the mylar                        where you can kind                                               of    see the footprint                                                                    19          A.         Photographically.

20          A.          You can kind                                       of        see        it.        Yeah you can see                                             it                        20          Q.        And             did         you do something                                       else                 Didnt        you           lay


21   very    well                    there.                                                                                                                                                       21   down a                film       on         it   or something                             and

            Q.          But               this         is           the       same thing                              I

                                                                                                                           guess              its         got                                     22          A.         I    dont            think              we     got anything                               if    we         did.    Hold

23   that    little                  white            dot                                                                                                                                         23   on.

24          A.          Yes                    sir.                                                                                                                                               24          Q.         Im            finding               a    passenger                      side impression                              lift.




25          Q.          Let               me          put           this         one on the overhead.                                               This                is                        25   There            may not have been one on                                                       the               driver        side          but thats



                                                                                                                                                                                        157                                                                                                                                                                            159
 1   Defendants                                15      that              I...        And            this         is   off      of       that        mylar                                         1    what        I    was thinking                             of.



2    sheet        that                was the                        electrostatic                          print          off    the         newspaper                                           2           A.        The passenger                                   side.


3           A.          Yes                    sir.                                                                                                                                               3           Q.         Yeah do you have one                                                    that         --
                                                                                                                                                                                                                                                                                                                         you        did     one on the

4           Q.          Do you                        --        do you remember which way                                                                 this print                              4    passenger                       side             but not the driver

5    was facing                                 Could                    you         tell       from             this print              whether                        they                      5           A.         Whats                    the        number on                       that            one
6    were walking                                down the hall walking                                                     back from the hall                                                     6           Q.         B        --   well             BMC-21.

7           A.          They were walking                                                      back from the                            hall.                                                     7           A.         21.            Okay.                Yes            sir        footwear                         impression                 lift




8           Q.          Okay.                                                                                                                                                                     8    from    driver                  side             exterior            step            rail       BMC-20.

9           A.          This                   is   the             --   basically                    the toe               box          of    the                                                9           Q.         20.            Okay.                Its       in    here            somewhere.                               Here         it     is.



10   shoe.             And                its       --
                                                            they stepped                               onto the                   paper                   so       its        on                  10          A.         Okay.

11   the    edge                     of    the paper                            is    the       way              I    remember                      it.                                           11          Q.         Its           really           not       any easier                      to       see than the

12          Q.          This               would                     have been somebody coming                                                                     --
                                                                                                                                                                             coming               12   picture.               So             once again looking                                       at      it         would you say

13   back from those                                        back bedrooms                                                                                                                         13   that   this            has the same class characteristics                                                                       as those

14          A.          I        believe                   so yes                     sir.                                                                                                        14   black           Nike            shoes

15          Q.          And                this            --                                                                                                                                     15          A.         At        first       look              yes         it   does.

16          A.          Can                I    have                just         a        second                 to       review this                     make                                    16          Q.         This           is     a        little        bit   closer               of    it.          Does             that


17   sure     Im                 not           misspeaking                                      Okay.                 Well          I

                                                                                                                                         guess                 I    didnt                         17   appear                to    have the same class                                           characteristics                             as the Nike

18   state       it.             I    believe                   that            its       correct                that      the person                          was                                18   shoes

19   leaving            the                bedroom                         area.                                                                                                                  19          A.         Yes             sir.




20          Q.          Okay.                       And              just        from the                   Max            Courtney eyeballing                                                    20          Q.         Now             I   want            to        show you photograph                                             --   several


21   it   you know                              Im not going                                   to     ask you               to      spend                 several                                 21   photographs                           from a               different                 scene but these are                                           in


22   hours but                        this footprint                                 on the newspaper                                       coming                      back                      22   evidence.

23   from the                        bedroom                        area has the                            same               class characteristics                                              23          A.         Okay.

24   as GB-31 those black Nike shoes                                                                                                                                                              24          Q.         These are from an                                        incident                   that          occurred                before

25          A.          By my                       cursory                     examination                               yes       sir        it     does.                                       25   Nancy Weatherly.
                                                                                                                                                                                              j
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 1          A.    Okay.                                                                                                                       1                                                  REDIRECT                     EXAMINATION

 2          Q.    You probably                                recognize           these.         Do you recognize                             2       BY MR. CHAMBLESS

 3   all    those       people                           Well maybe not the                      patrol               officers                3              Q.         Mr.    Courtney                    lets          suppose           on the one hand                          just


 4   but you recognize                                   Boetcher right                                                                      4        hypothetically                          we had            a    written           and verbal statement                         that


 5          A.    Um          I
                                   --
                                          yeah.                I   dont know him                 well.            Ive    seen                 5   said            On      the morning                       that         I   shot       Ruben Martinez                         I

                                                                                                                                                                                                                                                                                   being

 6   him and dealt with him before.                                                                                                           6       Mark Soliz Jose Ramos was with me.                                                           We         had         this written


 7          Q.    Well over here you see the white                                                        thing         on   that             7   or verbal               statement.

 8   fence                                                                                                                                    8              A.     Okay                 sir.



 9          A.    I    do.                                                                                                                    9              Q.     On        the other                    hand you were shown                           these

10          Q.    And heres the white                                       thing      on the fence again.                                   10   photographs                           here and                lets just               assume     those            class

11          A.    Okay.                                                                                                                      11   characteristics                             are     similar to              Jose Ramos shoes right

12          Q.    And what were                                    circling      around         to    --                                     12              A.     Okay.

13          A.    Hum.                                                                                                                       13              Q.     Lets               assume even                       further that           those        are          in



14          Q.    --    theres another                               footprint.                                                              14   fact        the        shoe impressions                                of       Jose Ramos.

15          A.    Okay.                                                                                                                      15              A.     All       right.


16          Q.    And would you say                                       just       looking         at   it     the    way you              16              Q.     If    Jose Ramos shoe                                     prints      were there          in         the       mud
17   do and the way you can does                                                 that       appear             also     to   be the          17   on the way out from the Ruben Martinez                                                           capital               murder

18   same        class       characteristics                              as those           black         Nikes                             18   would            that       lend support                          to   the statement             of    Mark             Soliz


19          A.    Certainly a                            possibility.                                                                        19   saying           they        were there together

20          Q.    Theres a                         bit     closer         in.                                                                20              A.     Urn            sure.


21          A.    Yes             sir.                                                                                                       21              Q.     Okay.                 And         lets      suppose                 also    that    you had the

22          Q.    And thats from the scene                                            of     Ruben               Martinez a                  22   same            statement                     from        Mark Soliz a                   written      and verbal

23   man who was                     shot                at   the    Texaco           station         before.                                23   statement said I                               was with Jose Ramos.                                  He was with me.

24          A.    All    right                sir.                                                                                           24   I
                                                                                                                                                       had the gun but we went                                           in       together       and we were                       in    the

25                        MR.             WESTFALL                              May     I    have Mr. Courtney                      step     25   house            and we                     stole   from the                house of Nancy Weatherly.


                                                                                                                                       161                                                                                                                                                      163
 1   down Your Honor                                                                                                                          1                               If       the      shoe impression on BRB-03                                      if        indeed

2                         THE COURT                                   Yes.                                                                   2    that       were the shoe impression of Jose Ramos would                                                                           that


3                         MR.             WESTFALL                              Thank you Max.                                               3    corroborate                      and support what Mark                                   Soliz       said   was the case

4                        THE WITNESS                                       Yes        sir.                                                   4    that        he and Jose Ramos were                                               in   the    house     committing                      that


5           Q.    BY         MR.              WESTFALL                          You stand here.                         Now Im               5    offense

6    going       to    show you whats already                                          in    evidence                 as States              6               A.     Yes                sir.



7    Exhibit      17      States                         Exhibit      12 and            States            Exhibit                            7               Q.     Okay.                 Which            is       more          significant     evidence-wise

8    13.     And these                   --        Ill
                                                          represent             to   you      this        is     in                          8    is    it   the class                   characteristic                      of a      shoe or a       fingerprint


9    evidence.                                                                                                                               9    of    an individual

10          A.    Okay.                                                                                                                      10              A.     Class                characteristic                      of   a    shoe       Well a

11          Q.    --    are        on a door                       that    got kicked            in   at         the    home                 11   fingerprint                 would             be.        Fingerprint                  identification         would                be

12   of Vince          Circelli.                                                                                                             12   more absolute                               than    just          using class               characteristics                  of   a

13          A.    All    right                sir.                                                                                           13   shoe.

14          Q.    It   was a              burglary.                                                                                          14                               MR.              CHAMBLESS                               Thank you Mr. Courtney.

15          A.    Okay.                                                                                                                      15                                                  RECROSS-EXAMINATION

16          Q.    And would you say                                    that      these        footprints               on    this            16   BY MR. WESTFALL

17   door are they also consistent                                              with the class                                               17              Q.    Were                 you ever            asked                 to   compare         the    fingerprints


18   characteristics                     of        those           black        Nike        shoes                                            18   from        --   or these                    shoe impressions from the several

19          A.    As     far        as         I     can      tell     first     examination                     yes                         19   different              scenes

20   sir.                                                                                                                                    20              A.     Im        just            now aware of                    their      existence.

21                        MR.             WESTFALL                              Thank you.                                                   21              Q.    And do you have any                                        --       oh okay youre                     just


22                       THE WITNESS                                       All   right        sir.                                           22   aware            of    the existence.                             And you have no idea                            if
                                                                                                                                                                                                                                                                          anyone

23                       MR.              WESTFALL                              Your Honor                 Ill
                                                                                                                  pass the                   23   was ever asked                               to actually               do these

24   witness.                                                                                                                                24              A.     I    dont know.

25                       Thank you Max.                                                                                                      25              Q.    And             I

                                                                                                                                                                                        guess         if   the       comparisons never get done
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 1   then    we                never            know                if
                                                                          they             have evidentiary                                  value or not                1         Q.     And there were several things                                                         that       you     did      send

2    do     we                                                                                                                                                          2    to   the crime                      lab.         Like            for     instance the                   BMC-37              you

3           A.        Right.                                                                                                                                            3    sent    that          to        be         examined

4           Q.        Theres                        certainly                   --        and weve                 heard                 many          times            4          A.     Yes                    sir.



5    while       weve been                                here             that            there could                  be a hundred                                    5          Q.     Those are the                                      fingerprints that                   were on           that     CD
6    surfaces                  that           we          test           for    fingerprints                   but                on the hundred                        6          A.         Right.


7    and     first             we may find                               a fingerprint                                                                                  7          Q.     The dust                           print            the     footprint           you sent            that


8           A.        True.                                                                                                                                             8    stuff to         be        examined                         as well            and somebody                      else       kind     of


9           Q.        And               its         not the                --    the            fact   that        it    is                                             9    did that             analysis.                    Do you have any idea                                   if   they analyzed

10   relatively rare                          makes the time                                     that    we         find           one                                  10   those      other                --       these             other         prints      as      well

11   significant                                                                                                                                                        11         A.         I   dont know                         if       they     did     or      not.


12          A.        Sure.                                                                                                                                             12         Q.     That                   wouldnt have been a bad                                         thing        to    do      would

13          Q.        And you found several fingerprints                                                                                                                13   it

14          A.        We            did.                                                                                                                                14         A.     No                it    wouldnt have.

15          Q.        You developed                                        fingerprints                  on the                   --         on the CD                  15         Q.     Theres not                            --
                                                                                                                                                                                                                                             you dont have any                        control          over

16   that   was                in   the             CD         player of the                           truck                                                            16   what gets tested and what doesnt                                                             right

17          A.        Yes               sir.                                                                                                                            17         A.     Well                    I   think         I    have recommendation                                  authority.             I




18          Q.        And you sent those                                                   to    be examined                                                            18   think      everything                           that        I   asked          to   be done on                  this      case was

19          A.        Yes               sir.                                                                                                                            19   done.

20          Q.        And you swabbed the straw                                                           that           was                 in   the                   20         Q.     Did you ask                               them             to test      that        oily    spot
21   Dixie       --   or         in     the D.Q.                         cup         in      the       back seat                                                        21         A.     That                   what

22          A.        Swabbed                             the        what                                                                                               22         Q.     BMC-26                             the        oily        spot     on the window.

23          Q.        The               straw.                                                                                                                          23         A.     Yes.

24          A.        Oh            I    submitted                          the straw                  actually.                                                        24         Q.     You asked them                                            to test      that

25          Q.        Submitted.                               Who              did          you submit                      it   to                                    25         A.     I       mentioned                         it       yes.



                                                                                                                                                                  165                                                                                                                                                    167
1           A.        Well               I
                                              sent             it    back             to        the    Johnson                     County                               1          Q.     Okay.                       You wanted them                                 to test        it

2    Sheriffs                  Office               through                    Deputy Bennett                            to        take           to   a   lab          2          A.     Yes                    sir.



3    to   do DNA.                                                                                                                                                       3          Q.     So                um          theres                individual              characteristics

4           Q.        To do                   DNA              contact                     DNA         on the            --                                             4    theres class characteristics                                                   but       somebody               has       to   do the

5           A.        Yes               sir.                                                                                                                            5    analysis              to       see         if    we have any                        of   that

6           Q.        And then okay so BMC-37                                                             is       where                     you developed              6          A.     Yes                    sir.



7    the    prints that                       was on the CD                                     that    was             in        the        CD player                  7          Q.     And short ofthat what weve                                                          got     is
                                                                                                                                                                                                                                                                                             you    in   court

8           A.        Yes               sir.                                                                                                                            8    looking              at   it        eyeballing                    it    and saying you know what                                   it




9           Q.        And then BMC-39                                                 tell       us what             that          was.                                 9    looks      similar

10          A.        Thats the                           prints               from the                television.                                                      10         A.     Yes                    sir.



11          Q.        Okay.                                                                                                                                             11                              MR.             WESTFALL                             Okay.            Thank you.

12          A.        Well               hold on.                         39 are the known out sole                                                                     12                              THE WITNESS                                         Yes        sir.



13   impressions from the shoes.                                                                                                                                        13                              MR.             CHAMBLESS                                 No     further           questions.           Thank

14          Q.        Thats why                            I    made                 a mental             note               of        it.                              14   you     Mr.           Courtney.

15          A.        Thats why                            I    looked.                                                                                                 15                              THE COURT                                     May        this    witness             be    excused

16          Q.        And then the                                  --     the            oil   stain    on the passenger.                                              16                              MR.             CHAMBLESS Yes                                         sir.



17   side of the truck                                    why            did     you do a swab of that                                                                  17                              MR.             WESTFALL                             Yes Your                 Honor.

18          A.        Thought                        it   could                have             DNA      in    it.                                                      18                              THE WITNESS                                         Thank you                 sir.



19          Q.        Why               did          you            think            that                                                                               19                              Witness excused.

20          A.        Well               it    was as                     if    someone                  had leaned                            their       head         20                              MS. JACK                              We       call      Sundaye                  Lopez.

21   against          it       like          with          oily hair.                       Its    what       it        reminded me                                     21                              Pause                  in            proceeding.

22   of   when             I
                               saw            it.                                                                                                                       22                              THE COURT                                     Please           raise         your    right       hand.

23          Q.        Okay.                   And yeah                               if
                                                                                           you get a               full-on                   DNA       match            23                              Witness sworn.

24   that   is
                  pretty                powerful                         proof             that        somebody was there                                               24                              THE COURT                                     Go ahead and have                            a   seat.


25          A.        Yes               sir.                                                                                                                            25                              MS.             JACK                  May       I
                                                                                                                                                                                                                                                            proceed Your Honor
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 1                             THE COURT                                   Yes maam.                                                                                I          A.        Once                  its    packaged                    up    theyll            drive       it   over        to


 2                                                             SUNDAYE                     LOPEZ                                                                    2   the Lancaster                           office           and place              it    in        the    Fort     Worth Police

 3                  Having been                            first
                                                                          duly        sworn           testified          as follows                                 3   Property Room.

 4                                                         DIRECT EXAMINATION                                                                                      4           Q.        You said once                                its    packaged                                              piece
                                                                                                                                                                                                                                                                         up.     Is
                                                                                                                                                                                                                                                                                      every

 5   BY MS. JACK                                                                                                                                                    5   of   evidence                    packaged
 6         Q.       Would                      you please                  introduce                  yourself          to            the       ladies             6           A.        Yes              it    is.



 7   and gentlemen                               of    the      Jury.                                                                                               7          Q.        Why               is    that

 8         A.       Yes.                  My name                    is
                                                                          Sundaye                 Lopez and                       I   work           for           8           A.        It
                                                                                                                                                                                              helps               to    maintain                  the   integrity of                 the

 9   the Fort            Worth                  Police          Crime Laboratory.                                                                                  9    evidence.                  If      a     package                is    sealed               it   has tape on               it    an

10         Q.       Would                      you      tell    the        members of the Jury about the                                                           10   initial      a        date and                  that           way you can track a chain                                       of


11   Fort      Worth            Police                 Department                         Crime Laboratory.                                                        11   custody.               You know                      that           the evidence                   has been protected

12         A.       Our             lab         is    part      of        the Fort              Worth           Police                                             12   from        any type                    of    tampering                   or contamination.

13   Department.                           We         consist              of four          different             units.               We           have           13          Q.        Okay.                  Now          when the evidence                                  is
                                                                                                                                                                                                                                                                                     brought           to


14   a Latent            Print                Unit a Firearms Unit a                                       Drug Chemistry                                          14   this   large           complex                      and        is    checked               into        the Property

15   Unit      and the Evidence                                      Screening                   DNA          Unit which                        is    what         15   Control           Area                 is     that       an    area thats                   open         to   the general

16   Im    a    part          of.                                                                                                                                  16   public

17         Q.       Now                  are         all   these           units           centralized              in      one large                              17          A.        No             its      not.        Its       --   we have                security           tags        that


18   building                                                                                                                                                      18   allow us              in   there               so        its   a     --   its    a    secure                 limited


19         A.       Yes             they              are.                                                                                                         19   access           area.

20         Q.       And             is        there also                  a Property Control                           Area                of    that              20          Q.    All           right.             And are there employees                                         that      are

21   building            as     well                                                                                                                               21   specifically                    assigned                 just to that                Property                Control       Area
22         A.       Yes.             Theres another                                   unit within               our    --    within                                22          A.    Yes                 there          are.


23   our building                   called              the Property                       Control            Area and we                                          23          Q.    All           right.             Now          youre an employee                                  of the       Fort


24   receive         our evidence                              from        that            area       and take              it        to    our                    24   Worth        Crime Lab are you not

25   Crime Lab.                                                                                                                                                    25          A.        Right.




                                                                                                                                                             169                                                                                                                                                       171
 1         Q.       Okay.                     Let      me       --    to    give the Jury                       an idea how                                        1           Q.        Do        you           have access                       to   that            area
2    large      a   building                        are    we        talking              about                                                                    2           A.        No         I     dont.

3          A.       Oh          I    dont know.                           Its     a       big    --   we        consider                   it   a                  3           Q.    Okay.                      Do      police              officers         have access                   to     that


4    campus               so        its         a     large         area.                                                                                          4    area

5          Q.       And             in        many ways                    is    it       often       referred          to            as                           5           A.    No             they              do     not.


6    somewhat                  of        a      complex                                                                                                            6           Q.    Do            Prosecutors                         have access                       to that        area
7         A.        Yes             it        is.                                                                                                                  7           A.    No.

8          Q.       But        its             all    centrally             located               under          one large                                         8           Q.    Okay.                      So      certainly             the general                      public      has no

9    building            under                  one large roof                                                                                                     9    access           to this                area

10        A.        Thats                     correct.                                                                                                             10          A.    Right.


11         Q.       If   were going                            to    follow               a piece of             evidence                                          11          Q.    Is        the Property                           Control           Area a secure area

12   when a police                            officer          collects               a    piece of           evidence a                                           12          A.    Yes                 it    is.



13   Crime Scene                          officer              for    instance                  is    it
                                                                                                           initially
                                                                                                                            taken                                  13          Q.    When                      there are pieces                         of evidence                   that      come         in


14   at   times          to    the             Crime Scene                       office                                                                            14   that   are connected                                to    a    particular              case are they                      in    one

15        A.        Yes.                                                                                                                                           15   particular             container

16         Q.       And             is        that     Crime Scene                          office         in    the    same                                       16          A.    Theyre usually grouped                                                  together            by a service

17   building            or    is        it    in    the       Fort        Worth            Police           Department                          in   a            17   number.

18   different           location                                                                                                                                  18          Q.    Okay.                      And         is    there           some        overlap                when we have a

19        A.        The Crime Scene                                       office           is   located           in Fort              Worth                       19   particular             suspect                  commit several                         crimes

20   Police         Headquarters and the Property                                                           is   on a        different                             20          A.    Yes.

21   location.                                                                                                                                                     21          Q.    Okay.                      For instance                       in   this       case when we have a

22        Q.        All       right.                 So once the Crime Scene                                        officer                                        22   stream of crimes over seven                                                 days sometimes evidence                                       is



23   processes                 whatever                     piece of              evidence allows                                it    to       dry                23   stored       in multiple                       --
                                                                                                                                                                                                                             well           sometimes evidence                               is   in



24   does whatever                             they        need           to    do what do                       they       do with the                            24   different             sections                  is    that          correct

25   evidence             from                there                                                                                                                25          A.    That                is     correct.
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 1            Q.              Okay.                So when you want                                   to       take a piece                         of                      1       DNA        Analysts                 and Administrators.

 2     evidence                 out              to     look         at     it    how do you go about checking                                                              2            Q.          Can you                  tell    the Jury                      what your professional

 3     it   out                                                                                                                                                             3   background                         entails

 4            A.              Each submission                                     of   evidence                      by a           Crime Scene                             4            A.          Ive          been doing                     this                                about
                                                                                                                                                                                                                                                               job        for                            11    years now.

 5     officer            or an              officer                 given a tag                      number a unique tag                                                   5        have                                       Tarrant
                                                                                                                                                                                                 testified                                            County                                              times. This
                                                                is                                                                                                                                                        in
                                                                                                                                                                                                                                                                                multiple
                                                                                                                                                                                I




 6     number.                  So                     want a piece of evidence                                                 off of         a    certain                 6   is
                                                                                                                                                                                     my first              time           in   Johnson                     County.
                                             if    I




 7     tag    number                        that        was submitted                            by    an                officer              let    one      of            7                                      assist            the detectives                                                  have
                                                                                                                                                                                                                                                                                      they
                                                                                                                                          I
                                                                                                                                                                                                              I                                                                 if




 8     the Property                          Control                 people                know       that               thats the piece                      of            8   questions                  on          DNA           testing.                  I    assist            Prosecutors                           if
                                                                                                                                                                                                                                                                                                                                 they

 9     evidence                 I    want.                And         I
                                                                            go        to    a   window and they go                                        pick              9   have any questions.

 10    it
            up    for         me and                    bring         it    to        the window.                                                                          10            Q.         Okay.               And you said                                that       you             testified            several

 11           Q.              So you dont even get                                          to    go       retrieve                  it                                    11   times                Tarrant                                          Have you                                                 as     an expert
                                                                                                                                                                                                in
                                                                                                                                                                                                                           County.                                                    testified


12            A.              No        I    dont.                                                                                                                         12   specifically                      in   the area                  of   biology                   or        evidence                  screening
                              Now




 --2
13            Q.                             you mentioned                                 and you                  told        the Jury             that                  13            A.         Yes            I
                                                                                                                                                                                                                       have many times.

14    youre a forensic                                   scientist.                    Can you                 tell        the Jury                what                    14            Q.         And can you                           tell    the              members                      of       the Jury                what

15    that       means                                                                                                                                                     15   serology               means
16            A.              work                in    the biology                     area so                          screen           items          of                16            A.                                                                                                         an item
                                                                                                                                                                                                    Serology                   is
                                                                                                                                                                                                                                     basically                      looking                at                         of
                          I
                                                                                                                I




17    evidence                  for          the presence                             of    body       fluids.                      try to                                 17   evidence               and                            to find              a                                        fluid     on
                                                                                                                                                                                                                       trying                                       biological
                                                                                                                                I
                                                                                                                                                                                                                                                                                                                      it.




18    identify                and characterize                                    those          fluids                  and then                  collect                 18   Well           test       a       fluid       or a        stain        to           see               we can                  identify
                                                                                                                                               I                                                                                                                                if




19    them and send them                                             for         DNA        testing                 if    its       needed.                                19   what           that    stain            may be and                             if    it
                                                                                                                                                                                                                                                                          may be                    of    a   biological

20            Q.          Can you                       tell    the Jury your educational                                                     background                   20   use       in    DNA               testing.

21    that       qualifies                       you      to    do         this.                                                                                           21            Q.         Okay.               And                           a                        of evidence
                                                                                                                                                                                                                                     is    that                part                                            screening

22           A.           Yes.               I    received                 my degree                   in           biology           from           Texas                 22   or    how would                        you explain what                                   it   means                 to       screen               a

23    A          M       University.                         After          graduation                     I

                                                                                                                completed                          an                      23   particular                piece of               evidence

24    on-the-job                                                                                the   Crime Lab.                              And since                    24                       To screen a piece of evidence we look
                                    training                   program                 at                                                                                                A.                                                                                                                           at

25    then                have many hours                                        of                                      education                       DNA               25                                 with our                     with a                  naked                                            we see any
                                                                                       continuing                                                                                                                                                                                     eye see
                                                                                                                                                    in                          something                                            --                                                                        if
                     I




                                                                                                                                                                   173                                                                                                                                                                       175
 1
      testing                 evidence                   screening                         biological                    collection                                         1   blatant             stains.             Sometimes well use alternate                                                                light


      packaging                         so        on       from University                            of       North                Texas           Health                  2   excuse me                     --       an alternate                   light               source                to       better          view a

 3    Science                 Center                   and Cedar Crest College West                                                                Virginia                 3   stain.


 4    University                    and                                                                                                                                    4                                  Once we                                                                                     worthy of
                                                  --
                                                                                                                                                                                                                                      find        something                               that       is



 5                                   THE REPORTER                                               Im sorry                                                                    5   testing              well take a small                                sample                    of        it   using a cotton

 6           A.           Orchid                  Cellmark                  in Dallas.                                                                                     6    swab swab                         our sample.                         And then well perform our                                                    testing

 7           Q.           What                                            Cellmark                                                                                          7   on                  swab
                                             is        Orchid                                                                                                                         this                             not     actually               on            our piece of                         evidence and
 8           A.           Its       a       private             DNA               testing         company.                                                                 8    see       if   we can                  identify            what        that               may             be.


 9           Q.           All       right.              And have you attended                                               several                                        9             Q.         Okay.               Now           when youre                               in     the process                        of

10    seminars                  in          this particular                       area                                                                                     10   under          --    of    conducting                        your test                         are there                  certain



                                                                                                                                                                                                                                                                                                               you take
11           A.           Yes.                                                                                                                                             11                    measures or
                                                                                                                                                                                quality                                               quality               precautions                             that


12           Q.           All                           Can you give the Jury an idea of the                                                                               12                    Yes.                  Were
                                    right.                                                                                                                                               A.                                          very mindful                              of our evidence                              and

13    types          of       seminars                    youve attended                                                                                                   13   the      integrity of                   our evidence.                                Anytime were                              in    a

14           A.           Ive        gone               to     seminars put                       on by the Association                                                    14   laboratory                    we have                 to     wear a                   lab       coat gloves a mask
15    of Forensic                       DNA             Analysts                  and Administrators                                          and thats a                  15   to   cover           our          mouth              just        so       that            we         --        to   protect

16    group              of   DNA                 analysts                from         around              Texas and well get                                              16   ourselves                 from the evidence                                         and also the evidence                                          from

17    together                and discuss the                                    latest         technologies                          the trends                           17   ourselves.

18    in    forensic                science special                                    cases.          I

                                                                                                               go         to    DNA            training                    18            Q.      All      right.           When                  you        check                    a piece of evidence

19    across             the country                           put    on by the Promega                                             Corporation                and         19   out and youre working                                            on       it        in    the lab                   how many

20    basically               we            get together                         and learn the best possible                                                               20                        cases are you working                                                on
                                                                                                                                                          ways                  different                                                                                            in        any given
21    to    collect             evidence                       discuss                 our experiences                               and how                               21   time
22    testing            changes                       over a period                        of    time.                                                                    22            A.      We           have one piece                               of        evidence                       open         at      any time
23           Q.          Okay.                    Can you                  tell       the       members                     of      the Jury about                         23   at   a   time.            We           will     not         have two pieces                                         of   evidence                 open
24    what memberships you hold                                                                                                                                            24   at   the       same               time.


25           A.          Yes.               Im a member                               of    the Association                               of Forensic                      25            Q.      Okay.                 So youre not going                                            to        have multiple
 --3
 2




 4

 5

 6

 7

 8

 9

10
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     1    pieces


          your
                 STATE VS.Document




                A.




                A.


                Q.




          Anthony

                A.


                Q.
                  Q.
                     workspace

                           No
                           --



                           --




                           Okay.

          a series of pieces




                           Yes

                           Okay.
                                   24-32 Filed
                            MARK ANTHONY

                           of evidence




                                Soliz
                                      --



                                     correct
                                            QT. 08/02/16




                                     absolutely




                                                I
                                                 Z




                                                     All




                                                    was.

                                                     And
                                                           is
                                                                 from multiple

                                                                 that




                                                             right.


                                                                of




                                                                lets
                                                                     not.
                                                                            --




                                                                     evidence

                                                     and Jose Clemente
                                                                                Now




                                                                            begin
                                                                                                    cases open and out on




                                                                                            were you asked

                                                                                             in




                                                                                            first
                                                                                                    connection

                                                                                                      Ramos


                                                                                                     with      --
                                                                                                                           with
                                                                                                                                to   review

                                                                                                                                     Mark
                                                                                                                                                    176
                                                                                                                                                           1



                                                                                                                                                           2


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                                                                                                                                                           9

                                                                                                                                                          10
                                                                                                                                                               like




                                                                                                                                                               for




                                                                                                                                                               the




                                                                                                                                                               those
                                                                                                                                                                       that.




                                                                                                                                                                      contact

                                                                                                                                                               from the


                                                                                                                                                                      Q.


                                                                                                                                                                      trigger


                                                                                                                                                                      A.

                                                                                                                                                                      Q.




                                                                                                                                                                      A.
                                                                                                                                                                                     All




                                                                                                                                                                                         I
                                                                                                                                                                                             Page 95 of


                                                                                                                                                                                                And on

                                                                                                                                                                                                DNA

                                                                                                                                                                                             grips.


                                                                                                                                                                                               right.


                                                                                                                                                                                               area

                                                                                                                                                                                             collected




                                                                                                                                                                                swabs were collected

                                                                                                                                                                                     That
                                                                                                                                                                                                        109 PageID
                                                                                                                                                                                                     MARCH




                                                                                                                                                                                                     would
                                                                                                                                                                                                            5. 20125548




                                                                                                                                                                                                                       two
                                                                                                                                                                                                                           this


                                                                                                                                                                                                                    from the




                                                                                                                                                                                                                           be
                                                                                                                                                                                                                                  one




                                                                                                                                                                                                                     How many swabs
                                                                                                                                                                                                                                        trigger
                                                                                                                                                                                                                                               I




                                                                                                                                                                                                                                  swabs from the

                                                                                                                                                                                     And can you show the members of the Jury where



                                                                                                                                                                                                                                 this    area
                                                                                                                                                                                                                                               on
                                                                                                                                                                                                                                                   collected


                                                                                                                                                                                                                                                          area excuse




                                                                                                                                                                                                                                                      States


                                                                                                                                                                                                                                                      right
                                                                                                                                                                                                                                                               did




                                                                                                                                                                                                                                                                 in
                                                                                                                                                                                                                                                                      swabs from




                                                                                                                                                                                                                                                                      you



                                                                                                                                                                                                                                                                      trigger




                                                                                                                                                                                                                                                                      Exhibit


                                                                                                                                                                                                                                                                      here.
                                                                                                                                                                                                                                                                                   me

                                                                                                                                                                                                                                                                              collect




                                                                                                                                                                                                                                                                                  area.




                                                                                                                                                                                                                                                                                   29.
                                                                                                                                                                                                                                                                                          and also



                                                                                                                                                                                                                                                                                          from
                                                                                                                                                                                                                                                                                                        178




11                                    MS. JACK                             May             approach            this    witness            Your            11          Q.             Okay.                     And how many swabs                                did                          from
                                                                                                                                                                                                                                                                        you       collect
                                                                                       I




12        Honor                                                                                                                                           12   the    grip                   area
13                                    THE COURT                                  Yes you may.                                                             13          A.             I       also collected                       two      swabs from the                     grip   area.

14              Q.     Okay.                         Ms.        Lopez             lets       begin        first     with     what has                     14          Q.             Can you show the members                                                  of     the Jury       where you

15        already          been admitted                                  into     evidence               as States              Exhibit                  15   attempted                       to collect                       contact        DNA.

16        29.     And           it    came                 to    the court                 sealed         in   States           Exhibit                   16          A.             On        the sides                        where you have the textured rough

17        29-A.        Do you                        recognize                  States            Exhibit       29-A                                      17   area.

18              A.     Yes                  I       do.                                                                                                   18          Q.             All right.                      Can you show the Jury                                   Im going         to


19              Q.     How do                          you       recognize                  that                                                          19   hold       it.




20              A.     I    see my                        lab        number and my                        initials     --                                 20          A.             Its       these                 sides        right        here       and the back.

21              Q.     Okay.                                                                                                                              21          Q.         The sides and the back




--8
22              A.     --        on the box.                                                                                                              22          A.         Yes.

23              Q.     And what was your                                          lab        number            in   connection            with            23          Q.                                            And                                                       swab from
                                                                                                                                                                                 All           right.                            did   you also            collect       a

24        these        items                                                                                                                              24   the    magazine                               which              has been admitted                      into    evidence            as

25              A.     Our             lab            number was FW10-04242.                                                                              25   States                Exhibit                   75-A


                                                                                                                                                    177                                                                                                                                                 179
 1              Q.     And does                            it   also bear your                       initials       after       that                       1          A.         Yes                 I       did.


2         lab   number                                                                                                                                     2          Q.         And how many swabs                                                did    you take from the
3               A.     Yes                 it       does.                                                                                                  3   magazine
4               Q.     All           right.               And States                       Exhibit        29 was what                  item               4           A.             I
                                                                                                                                                                                             collected                one swab from the magazine.

5        of evidence                   to            you                                                                                                   5          Q.         Can you                        tell        the    members                of   the Jury the           location


6               A.     This            was a Hi-Point                              pistol.                                                                6    of the           swab
7               Q.     Okay.                        And was                it    Item       8443-03                                                        7          A.         Yes.                    I   took          it   from the

                A.     Let            me             refer to             my      notes           real fast.                                              8                                    MS.             JACK               If
                                                                                                                                                                                                                                       you         can stand up and show the
9               Q.     Would                        that        jog your           memory                                                                 9    Jury        if   thats                    all    right           with    Your Honor.

10              A.     Yes.                                                                                                                               10                                   THE COURT                                Yes maam.
11              Q.     Okay.                                                                                                                              11         A.          I           collected                it    from the               back edge and the

12              A.     Could                        you repeat                  that       number please                                                  12   crevices.

13              Q.     Sure.                        Lab No.               10-04242 Offense                           No.     66785 Tag                    13          Q.         So when you say the back                                                   edge            where        my finger
14       8443        Item             03                                                                                                                  14   is
                                                                                                                                                                    right       there

15              A.     Thats                        correct.                                                                                              15         A.         Yes.

16              Q.     All           right.               And        is   that     the 9 millimeter Hi-Point                                              16          Q.        And the crevice

17       pistol      which             is           now admitted                       into       evidence           as States                            17         A.         Yes.                     And those would be areas                                      of contact.


18       Exhibit       29                                                                                                                                 18          Q.        All           right.            And             did    you also            collect      a    swab from

19              A.     Yes             it           is.                                                                                                   19   one    of        the            live           rounds             that    was         --   that    was contained

20              Q.     All           right.               And can you                      tell     the   members of the                                  20   within           States                       Exhibit            29-A
21       Jury     what evidence you collected                                                       from States              Exhibit       29             21         A.         Yes              I           did.


22              A.     From                     this       item           attempted                 to collect         contact                            22         Q.         All                             Can you                            the    members            of   the Jury
                                                                                                                                                                                              right.                                    tell
                                                                      I




23       DNA         so     I    would                    look       at    the item               and attempt               to   collect                  23   from which                       bag             if
                                                                                                                                                                                                                      you can the swabs collected                                        In


24       contact       DNA                      from areas                      where theres going                         to    be a    lot   of         24   other       words which round

25       friction.         So you would go                                       for   the grip trigger                     areas                         25         A.         This one.
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                                                                                                                                        180                                                                                                                                                                                                     182
 1          Q.         When you                         say this               one          youre         indicating                           1              Q.     All       right.                Can you                                 tell          the        members                            of       the Jury

 2   States                Exhibit              74-A             is   that     correct                                                         2   how you go about screening                                                                          a piece                   of fabric                    or material

 3          A.         Thats                   correct.                                                                                        3   I   think        you        mentioned                                    earlier that                              you begin                          with               a   visual


 4          Q.         This        is           the     swab           --     this   is     the round           that    you                   4    inspection.                   What happens                                                     next

 5   swabbed                 in    an attempt                         to    get contact             DNA                                        5              A.     Once             I   made                         the              visual              inspection                               I
                                                                                                                                                                                                                                                                                                         can                identify


 6          A.         Thats                   correct.                                                                                       6    on here               just        looking                           at        it    there are                       some                    stains.                      So   I




 7          Q.         All     right.                 Now             Ms.     Lopez           Im showing you                                   7   wanted                to   know what those                                                      stains              may be                            so       Ill       take a

 8   whats been marked                                           as States             Exhibit           337.     Do you                      8    small            sample                of       it    and perform                                        a presumptive                                         test          for


 9   recognize                States                   Exhibit              337                                                               9    blood            to   see         if    I   can                     identify                     blood.                  If    I   do            find          that


10          A.         Yes             I       do.                                                                                            10   theres blood                       on            here                     I        will        collect              it    with              either                   a

11          Q.         How do you                            recognize               this     exhibit                                         11   cutting           or a swabbing.

12          A.         I    also           see our                lab       number and my                   initials        and               12                               Also                 it   was requested                                                on         this that                    I     collect


13   signature               on            here.                                                                                              13   contact               DNA.             So             to            do that                         I   want            to     take               a    swabbing                        of


14          Q.         And what was your                                      lab     number                                                  14   this        item           this fabric                          item and                                try        to    avoid                   any           of the

15          A.         Our         lab           number was FW10-04242.                                                                       15   stained               areas.                Because contact                                                        DNA             is
                                                                                                                                                                                                                                                                                               usually                      skin cells


16          Q.         And where are your                                      initials                                                       16   which            you        cannot                    see with your                                       visual                   eye                so       youre going

17          A.     Theyre                       written               on    this     Submitted              By        and also                17   to   want          to      take a                    swabbing                                  of       an area around                                         the stains

18   on the        seal.                                                                                                                      18   so     I    wanted            to try to                             avoid the blood                                       stains.


19          Q.     All        right.                 And can you                     tell    the    members of the                            19              Q.     So         first          of all                   you do a                            visual                inspection

20   Jury    what States                               Exhibit             thirty    --     Im sorry        --    337                         20              A.     Yes.

21   contains               or     contained                      at    the time            you collected               it                    21              Q.     All      right.                And then next                                            is        that           when you                              test


22          A.     Yes.                    This        is    the envelope                    that    I
                                                                                                          placed        my                    22   for    blood

23   samples                that           I    collected              from a blue                 bandanna a white                           23              A.     Yes.

24   towel        the        handgun the magazine and the                                                        live   round.      I         24              Q.     Okay.                And             I            believe                      you mentioned                                        that           there             was

25   placed them                           in   this        envelope               for      storage.                                          25   a    test        that      you do thats a presumptive                                                                              test           for          blood.



                                                                                                                                        181                                                                                                                                                                                                     183
1           Q.     Okay.                        So     it   contained                each of the swabs the two                                 1   What does                    that           mean
2    swabs from the trigger the two swabs from the grip the                                                                                   2               A.     A     presumptive                                       test             is       a chemical                              color              change

3    swab from the                              live        round and the swab from the magazine                                              3    test            and what               it       does                 is            its         going               to     give               us       an idea                     if




4    each of those were placed                                                inside of States                   Exhibit      337             4    were on the                       right track.                                      If     I    see a brown or a red                                                     stain


5    is that      correct                                                                                                                     5    on something                            I   think                    it
                                                                                                                                                                                                                                  may be blood Im                                                   going               to


6           A.     Thats                       correct.                                                                                       6    perform               a presumptive                                           test.


7           Q.     And             in           addition               did     you review a                --    or   did    you              7                                And depending                                                      on       that        test               if    I
                                                                                                                                                                                                                                                                                                     get a

8    look    at    what was collected                                         from the         Dodge             Stratus      a blue          8    positive              result then                               I    know Im going                                            to       need                to        do some

9    bandanna                 and a white towel as well                                                                                       9    further testing                        to identify                                   it   as blood.                           If   I

                                                                                                                                                                                                                                                                                               get a

10          A.     Yes             I           did.                                                                                           10   negative               result               I        can stop                             right           there.


11          Q.     And what was the purpose                                                   in   looking         at   these                 11              Q.     All      right.                Now                      so something                                        may look                         like          blood

12          A.     I       was             trying           to    identify           some body             fluids       maybe                 12   but        it
                                                                                                                                                                   may not                in            fact                be blood

13   contact               DNA.                                                                                                               13              A.     Thats                correct.


14          Q.     All        right.                                                                                                          14              Q.     So        this        is           a test                        its         kind           of    a     first             step           to


15          A.     And blood.                                                                                                                 15   see whether                       or not                   it       may be blood
16          Q.     Now                     beginning                  first    with States                Exhibit       82                    16              A.     Yes.

17   which       Ill
                            represent                       was removed from States                                   Exhibit                 17              Q.     Okay.                And what                                     --     does               it   have a                        particular


18   82-A and do you recognize                                                  States         Exhibit          82-A                          18   name
19          A.     Yes             I       do.                                                                                                19              A.     The one we use                                                   is     called               the leucomalachite                                                 green

20          Q.     How do you                               recognize                States         Exhibit        82-A                       20   test.


21        A.       It       also               has     that           unique         lab     number and my                                    21              Q.     All      right.                And                 did             you                conduct                this              test            the

22   initials     on         it.                                                                                                              22   leucomalachite                              green                        test             on            some             of        the spots                         on the blue

23          Q.     All       right.                  So      is   States Exhibit                    82 the blue                               23   bandanna                    that        appeared                                      to        be       blood

24   bandanna                 that              you         screened               for      evidence                                          24              A.     Yes         I    did.


25        A.       Yes.                                                                                                                       25              Q.     Were            they                positive                             for          blood
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                                                                                                                                                                                      MARCH
                                                                                                                                                184                                                                                                                                            186
 1            A.           Yes                they were.                                                                                               1          A.      Thats             correct.


 2            Q.           All    right.                  When you have                             a presumptive           that      is               2          Q.      Why             did    you take a cutting

 3     positive                 for   blood whats the next step                                                                                        3          A.      I
                                                                                                                                                                              was able                 to identify            human blood on                       this        item.


 4            A.           If    we have enough                                        of a   sample         there well         try to                 4          Q.      When you                     said        you were able                      to identify         human

 5     characterize                               that    as       human blood.                       So well perform                 the              5   blood         did    you          go about                  testing             the       same way            that
                                                                                                                                                                                                                                     it
                                                                                                                                                                                                                                                                                     you

 6     next       test          thats                called             a       human         trace    test.       And thats                           6   tested        the    bandanna
 7     what        I
                       did        on              this     bandanna.                                                                                   7          A.     Yes          I    did.


 8            Q.           What were the results                                                                                                       8          Q.     What determines when you take a swab versus when

 9           A.            It   was                positive             for           human       blood.                                               9   you take a cutting
 10          Q.            And so                    did     you take a                      swab of some            of   the blood                   10          A.     The material                        of    the item          will       determine.               If    its


 11    stains          on States                          Exhibit                    82                                                               11   a   thick     item such as a towel                                   I   will    make            a   cutting.            If



 12          A.            Yes                I    did.                                                                                               12   its    a    thin    item or something                              that        cant be cut then                      I




13           Q.            Okay.                   And            did       you        collect      those     swabs                                   13   will   take        swabbings and thats what                                           I    did    with the

14           A.            Yes                I    did.       I
                                                                  collected                 two     swabs from the                                    14   bandanna.

15    stain.                                                                                                                                          15          Q.     All                      Thank you very much.                                     And     Ms.
                                                                                                                                                                                right.                                                                                         Lopez
16           Q.            And those were also contained                                                    within       States                       16   Im     going        to   ask you                  to    go ahead and open States                                         Exhibit


17     Exhibit             337            is        that          correct                                                                             17   337         please.

18           A.            Thats                   correct.                                                                                           18          A.     Witness complied.

19           Q.            All    right.                  And       did              you    also take        some        further                      19          Q.     Okay.              Now              Ms.       Lopez Im showing                           you whats
20    swabs            for        contact                    DNA purposes                                                                             20   been marked                    for identification                        purposes               as 337-A.                Is



21           A.            Yes            I       did.                                                                                                21   337-A the envelope                                containing             the     two swabs               from the

22                         And do you swab over the blood when you take                                                                               22
             Q.                                                                                                                                            trigger       area       of      the Hi-Point                    handgun
23    those            samples                                                                                                                        23          A.     Yes         it    is.



24           A.            No.        I

                                                  try   to    avoid the stained                        areas.                                         24          Q.     Im showing you whats been marked                                                          as States

25           Q.            Did        you do                 that               in   this   case                                                      25   Exhibit       337-B.              Is that           the envelope                                         the two
                                                                                                                                                                                                                                             containing



                                                                                                                                                185                                                                                                                                            187
 1           A.            Yes            I
                                                  did.                                                                                                 1   swabs         from the                front       and back textured                             grip   area of the

 2                         And when those swabs were collected were they
             Q.                                                                                                                                        2   Hi-Point           handgun
 3    placed               into       States                  Exhibit                 337                                                              3          A.     Yes         it    is.



 4           A.        Yes            they were.                                                                                                      4           Q.     Im showing                                 whats been marked                             as States
                                                                                                                                                                                                         you

 5           Q.            Okay.                   Now            with               regard    to    the white       towel                             5   Exhibit       337-C.               Is this         the envelope                   containing             the         one
 6    that    was found                              in   connection                        with the blue          bandanna                           6    swab from the magazine

 7    in   the         Dodge Stratus do you recognize                                                        States       Exhibit          83          7          A.     Yes         it    is.



 8           A.        Yes            I           do.                                                                                                  8          Q.     Im now showing                                you    whats been marked                                as States

 9           Q.            How do you                             recognize                  States     Exhibit      83                               9    Exhibit       337-D.              Is this          the envelope                   containing             the         swab

10           A.        By         the              initials        that              are placed        on    the    towel.                            10   from the crevice                      of the            live     round
11           Q.        Okay.                       And youre looking                                inside the      plastic     bag                   11          A.     Yes        it     is.



12    that    contains                            States           Exhibit              83 and you see your black                                     12          Q.     Im showing                     you         whats been marked                             as States

13    markings                                                                                                                                        13   Exhibit       337-E            for identification                                                 And
                                                                                                                                                                                                                                    purposes.                       is        this


14           A.        Yes            I           do.                                                                                                 14   the envelope                   that     contains                 the two         swabs from the

15           Q.        And can you show the members                                                           of   the   Jurywhere                    15   bandanna
16    those       would               be                                                                                                              16          A.     Yes        it     is.



17           A.        Theyre located                                       right       here      on the tag        of    the                         17          Q.     And what are the                              --   what does the word H.T.O.

18    towel.                                                                                                                                          18   stand       for

19                                MS.               JACK                    I    would        ask you        to   stand    up    if                   19          A.     H.T.       is     a abbreviation                     we          use        for   the    Human              Trace

20    thats       okay with Your Honor.                                                                                                               20   test which           is        the     one we use                   to                          human     blood.
                                                                                                                                                                                                                                     identify

21                                THE COURT                                          Yes maam.                                                        21   The symbol next                        to          is   a    positive.           That           means weve
                                                                                                                                                                                                        it
                                                                                                                                                                                                                                                                                         got

22           A.             can recognize                                   my initials             right   here underneath                           22   human         blood            positive            on       this    sample.
                       I




23    the tag          of        the              towel.                                                                                              23          Q.     Okay.             So States                   Exhibit        337-E contains                     the

24           Q.        Okay.                       So you know                         that    thats        one and the same                          24   swabs        of    the blood                from the               bandanna
25    towel       from which                                                                                                                          25                 Thats
                                                          you took a cutting                                                                                      A.                      correct.
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 1          Q.         Okay.            Im showing you whats been marked                                                         as                1          Q.      So you were present when he collected                                                          all   of


 2    States           Exhibit              337-F       for identification                                              Does                       2   this
                                                                                               purposes.

 3   this     envelope                 contain               the      swabs from the blue bandanna                                      for        3          A.      Yes              I
                                                                                                                                                                                           was.

 4   contact           DNA purposes                                                                                                                4          Q.    You made him                                follow       all    the      rules

 5          A.         Yes        it    does.                                                                                                      5          A.    Yes.

 6          Q.         And        lastly           Im        showing              you whats been marked                                            6          Q.      Not      that              he wouldnt have anyway but he did

 7   as States              Exhibit               337-G            for identification                purposes.                   Is                7          A.    Yes he                       did.


 8   this   the envelope                          containing                the   cutting        from the white                                    8          Q.      He    collected                        those     stubs        and       that      was done            in



 9   towel       that       you         collected                                                                                                  9   your presence                         and they were turned                             in   to    the       Fort    Worth

10          A.         Yes        it    does.                                                                                                     10   Property           Control                  Area          is   that    correct

11          Q.         Now             in   each       of     these            smaller       envelopes                  A                         11          A.    Yes                they were.

12   through            G    if       we were                to feel        inside       what would you                                           12          Q.    All    right.                 And Im showing                        you whats been

13   feel                                                                                                                                         13   marked         as States                         Exhibit       338      for identification


14          A.         Feels           like       theres a               swab inside            of   it.                                          14   purposes.               Do you recognize                              this       exhibit

15          Q.         So when we say a                                  swab          what does a swab look                                      15          A.    Yes            this           is    the envelope                that      Ken Robertson

16   like                                                                                                                                         16   placed       the stubs                      in.



17          A.         Like a          Q-tip.                                                                                                     17          Q.    Okay.                   In    your        presence
18          Q.         Just a          scientific             Q-tip                                                                               18          A.    Yes.

19          A.         Yes.           Thats what                          is a                             when we                                19          Q.    Can you please
                                                                                  sterile      Q-tip                                                                                                             open up States                        Exhibit      338.
                                                                    it




20   start.                                                                                                                                       20          A.    Witness complied.

21                           MS. JACK                         All        right.   Your Honor                 at this                              21          Q.    Within                  States            Exhibit        338        is   there another

22   time the State                     would          offer             States        Exhibit       No.    337         the                       22   envelope

23   larger       envelope                   for     record              purposes and States                                                      23          A.    Yes            there               is.



24   Exhibits           337-A through G and                                    their    contents            for   all                             24          Q.    All    right.                 Do you          recognize              the       initials        on the

25   purposes.                                                                                                                                    25   back here


                                                                                                                                            189                                                                                                                                    191
 1                          MR.             WESTFALL                           No objection Your Honor.                                            1          A.    Yes            I       do.         Thats Ken Robertsons                              initials.



 2                          THE COURT                                 Admitted.                                                                   2           Q.    Okay.                   And          this    is   the    same            G.S.R.          kit   that    was

 3                          States                 Exhibit               No.    337 admitted                for                                   3    collected          or   the stubs                      that     were collected                   in    your

4                           record                purposes                 only.                                                                  4    presence

5                           States                 Exhibit               Nos.     337-A through               337-G                               5           A.    Yes.

6                           admitted.                                                                                                             6           Q.                            Can you please go ahead and
                                                                                                                                                                    Okay.                                               open States
7           Q.         BY     MS.            JACK Now                          were some G.S.R. stubs                                             7    Exhibit      338-A.

8    collected           from the                 bandanna                  as    well    when you had                      it   out              8           A.    Witness complied.

9    and were processing                                it    in    the        Crime     Lab                                                      9           Q.    And        did           I
                                                                                                                                                                                                 just        remove          the contents                from States

10          A.     Yes            there were.                                                                                                     10   Exhibit      No.        338-A and place them                                     in   a clear           plastic     baggy
11          Q.     All      right.            And who                 did      the G.S.R.        testing          on the                          11   marked States                         Exhibit            338-A-1

12   blue     bandanna                                                                                                                            12          A.    Yes.

13          A.     The stubs were collected                                        by Crime Scene                       Officer                   13                        MS.              JACK               Your Honor                   at this     time the State

14   Ken Robertson.                                                                                                                               14   will   offer   States Exhibits                             338 338-A                  for    record

15          Q.     And were the same                                      quality      assurance             measures                  in         15   purposes and States                                      Exhibit      338-A-1           for      all
                                                                                                                                                                                                                                                                purposes.

16   place       when         you-all              collected                the G.S.R. stubs as when you                                          16                        MR.              WESTFALL                        No     objection                Your Honor.

17   were                                                                                      DNA swabs                                                                   THE COURT
                                                                                                                                                                                                                                                                                         III




                 collecting                 all   of   the other               contact                                      the                   17                                                                  Admitted.

18   samples of the blood the cuttings                                                         type of        thing                               18                                                                   No.     338-A-1
                                                                                        that                                                                                States                       Exhibit                                   admitted.

19         A.      Yes.           I    made            Officer            Robertson            wear        his    gloves                          19                        States                       Exhibit       No.     338 and 338-A admitted

20   his   mask and                     his lab coat.                                                                                             20                       for             record            purposes.

21          Q.     Was he happy                              about         that                                                                   21          Q.    BY         MS.               JACK And                   Ms.     Lopez              did    you also screen
22         A.      Probably                   not.                                                                                                22   some        clothing                 in    connection                with these             two       Defendants

23         Q.      All   right.              But       youre kind                 of   the     one     in   charge                                23          A.    Yes        I           did.


24   of the      lab at that                 point                                                                                                24                        MS.              JACK               May     I    have       just       a   moment Your
25         A.      I
                       was             yes.                                                                                                       25   Honor        to    move                   all   the      clothing           up   there
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 1                                 THE COURT                                        Thats         fine.                                                   1          A.         Yes                   I   do.


 2          Q.           Now                       did    you screen some K-Swiss                                         shoes K-Swiss                   2          Q.         How do                          you recognize                       this        packaging

 3   shoes       in           connection                             with Offense                   No.     68309 Item No.                                3          A.         I

                                                                                                                                                                                    recognize                         my          initial        and the unique                   lab   number.

 4   8449-04                                                                                                                                              4          Q.     All       right.                     And does                   it    also         bear the          Crime Scene

 5          A.       Yes                       I
                                                    did.                                                                                                  5   officer       that          seized these                               shorts from                     the   Defendant

 6          Q.       All           right.                 And how                    did    you go about screening                                        6          A.     Yes                   it          does.

 7   States              Exhibit                     171                                                                                                  7          Q.     And would                                 that         be    Officer               Presney

 8          A.           I    looked                     for    --       I    did    a   visual     examination                 for                       8          A.     Yes.

 9   stains      on               this              and then proceeded                              with an               L.M.G. test the                 9          Q.     Okay.                             Now          when you screened                               these        shorts       what

10   presumptive                                   for   blood.                                                                                          10   did    you look for

11          Q.       All           right.                 So what kind of stains                                 were you                                11          A.         I
                                                                                                                                                                                    was looking                              at    these           shorts            for   blood.

12   looking                 for                                                                                                                         12          Q.     All                                  And         did     you          find         the
                                                                                                                                                                                      right.                                                                          presence          of


13          A.       I       was looking                             for           blood      stains        so       I   was looking                     13   blood

14   for    red-brown                               stains.                                                                                              14          A.     I       did       not.


15          Q.       Now                           there are                  some         purple        markings            on these                    15          Q.     And               did              you         find     any signature                     or    any     writing         on

16   shoes.                  Do you know what these are for                                                                                              16   these       shorts

17          A.       Yes.                          Those are my markings.                                                                                17          A.     Yes                   I       found a             --   the           writing        in   the white

18          Q.       Why                       did       you make purple markings on these shoes                                                         18   section               the grayish-white                                    section                some handwriting                    in



19          A.       Because                              I   like purple.                    No.    I    circled         the stains                     19   marker.

20   that    were on the shoes.                                                                                                                          20          Q.     Okay.                             And Im showing                            you      some marking                  on these

21          Q.       Okay.                          All       right.              You    circled         what appeared                  to               21   shorts.               Where                      Im showing                        you      which        is       towards       the

22   be stains                         what are stains                                                                                                   22   bottom        of the shorts                                         the grayish-white
                                  or                                                                                                                                                                                        in                                              area      is     that


23          A.   Yes.                                                                                                                                    23   the    writing          that                    you indicated

24          Q.       Did           you do the presumptive                                                test    for      the   presence                 24          A.     Yes               it          is.



25   of blood                on these                         stains                                                                                     25          Q.     What does                                 it    say

                                                                                                                                                   193                                                                                                                                                      195
 1          A.   Yes                               did.                                                                                                   1          A.             wrote                     that          appeared                 to        say Kilo          G.

                                                                                                                                                                                                                                                               G
                                           I
                                                                                                                                                                            I                                         it




2           Q.   And were they positive                                                                                                                  2           Q.     And do you know what the                                                                  would        stand       for

3           A.   No                they                  were                not.                                                                        3           A.     No.

4           Q.   All              right.                  So there was no need                                  to       do any                          4           Q.     Now                       did       you         write        that       on there

5    further     testing                                                                                                                                 5           A.     No            I
                                                                                                                                                                                                  did not.


6           A.   No.                                                                                                                                     6           Q.     So        that                    was already on there when you screened

7           Q.   All              right.                  And        I       didnt       ask you this but                                                7    this   piece           of           evidence

8    looking             at       States                      Exhibit              171-A which                  is   connected           to              8           A.     Yes.

9    States      Exhibit                            171 do you recognize                                   the           packaging                       9           Q.     Is       that                 right

10          A.   Yes                   I           do.                                                                                                   10          A.     Yes.

11          Q.   How do you                                     recognize                   the     packaging                                            11          Q.     Okay.                             Now          the next item would                             be the black

12          A.   I
                             recognize                         the unique                   lab     number and my                      initials          12   T-shirt       is       that                 correct             0330-02
13   again.                                                                                                                                              13          A.     Thats                         correct.


14          Q.   All              right.                  So         once again these precautions                                        are             14          Q.     All       right.                    All        right.        Now              looking          at   States

15   in   order              to   maintain                      the chain of custody                                 and make           --   and         15   Exhibit       134 which                                 is    connected                     to   the packaging                 thats

16   to   make               sure                  that       were                testing     the exact pieces                    of                     16   marked                134-A do you recognize                                                 the       packaging

17   evidence                 that                 go with the exact case                                                                                17          A.     Yes               I           do.


18          A.   Thats                             correct.                                                                                              18          Q.     How do                             you recognize                       it

19          Q.   All              right.                 Now                 beginning            with the black                shorts                   19          A.     Again                         I

                                                                                                                                                                                                               recognize                 the       lab     number and my

20   your tag                number one zero                                        --   or   0330-01 the black shorts                                   20   initials.



21   purportedly belonging                                                   to   whom                                                                   21          Q.     All       right.                    And so              is   that        the        way    that       you   can

22          A.   Mark                          Soliz.                                                                                                    22   tell   that       this          is          the        same           shirt that             you screened                 for


23          Q.   And Im looking                                               at    States        Exhibit            132 and the                         23   evidence

24   packaging                    in               connection                     with     this exhibit              marked       132-A.                 24          A.     Yes.

25   Do you      recognize                                    this           packaging                                                                   25          Q.     All       right.                    And can you                        tell    the       members            of   the
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 1   Jury       what you found when you screened                                                                   Mr. Solizs black                             1   Ramos.

 2   T-shirt                                                                                                                                                    2          Q.     Okay.                            And Im showing                                   you      whats been admitted

 3         A.            I   was able                         to identify           human            blood          on       this item.                         3   into    evidence                              as States                           Exhibit       136 and the packaging

 4         Q.            All right.                          And was         that       with the presumptive                                                    4   associated                   with                   it       as 136-A.                    Do     you recognize                         the

 5   test                                                                                                                                                       5   packaging

 6         A.            Yes                I    did         the presumptive                    test          and then             I                            6          A.     Yes.                        I
                                                                                                                                                                                                                   recognize                          the     lab    number and my                               initials.



 7   followed                it   with the                        Human        Trace           test.                                                            7          Q.     Okay.                            And each                           of    these       bags are open now but

 8         Q.        All          right.                     And when you found the presence                                                 of                 8   at   the time               that                   you receive                          them            are they            all    sealed

 9   blood          and           that             it        was human blood what                                  did       you do next                        9          A.     Yes                    they                    are.


10         A.            I   collected                        a    cutting      from the             item.          I    collected                             10          Q.     And when you                                                   return       them          to   the Property                      Control

11   the   --   I    collected                               the   entire      stain         as a sample.                                                      11   Area         are they likewise                                                sealed          as    well

12         Q.            Do you know about how                                               big   the        stain          was                               12          A.     Yes                    they                    are.


13         A.        Yes.                       The          stain       was very             small.          I    have       it   in
                                                                                                                                             my                13          Q.     Okay.                            Can you                        tell     the    members of the Jury what

14   notes          that          it    was .2 centimeters by .2 centimeters.                                                                                  14   your examination                                             of        Mr.     Ramoss               black         denim shorts showed

15         Q.            Okay.                    So not a large amount                                  at   all                                              15          A.     Upon                        examination                                of   this     item       I   found            a cotton

16         A.            No.                                                                                                                                   16   ball    inside              the                --    the closet                         sorry      --    the pocket                    of this


17         Q.            But           you          collected               the     stain        as a cutting                                                  17   item and the cotton                                                    ball       tested        positive          for        human blood.

18         A.        Yes                    I    did.                                                                                                          18          Q.     Okay.                            And what                           did     you do as a result

19         Q.        Okay.                        Now              you mentioned                   that           the    Fort      Worth                       19          A.     I    collected                                 that            entire       cotton         ball.


20   Crime Lab has an Evidence                                                     Screening Serology                                  DNA                     20          Q.     And            that                   --            did that             become            Item No.                 0330-04-A

21   section.                At        that             time was the Fort Worth Crime Lab                                                                      21          A.     Yes                    it       --
                                                                                                                                                                                                                        yes                 it   did.


22   conducting                        DNA analysis                                                                                                            22          Q.     Now                     with                   regard               to    Item     0330-05 can you                                tell



23         A.        No.                                                                                                                                       23   the    members                                of    the Jury                      what       that       item or those                        items

24         Q.        Now                        with          regard      to    Item         0330-03 what would                                   that         24   were

25   be                                                                                                                                                        25          A.     Those were black                                                     T-shirts          collected               from            Jose


                                                                                                                                                         197                                                                                                                                                                       199
 1         A.        That item                               is   a white       sleeveless                shirt         collected                               1   Ramos.

2    from       Mark              Soliz.                                                                                                                       2           Q.     Okay.                            Now                     you say black T-shirts.                                    Why do you
3          Q.        Im showing                                    you whats already been admitted                                                             3
                                                                                                                                                  into              say black T-shirts                                                plural

4    evidence                  as States                                        133 and              the packaging                                             4                  Whenever                                             opened               the                                 found                      there
                                                                   Exhibit                                                                                                 A.                                                     I

                                                                                                                                                                                                                                                                    package                 I                    that


5    associated                        with             it    marked         as States               Exhibit             133-A.              Do                 5   were two T-shirts                                             one inside of another as                                       if   it   were

6    you recognize                                the         packaging                                                                                        6    taken        off    as           one                 item.


7          A.       Yes                 I       do.                                                                                                            7           Q.     Now Im showing you whats been marked                                                                                             as States

8          Q.        How do you                                    recognize            that                                                                   8    Exhibit       135 and                                the packaging                              associated                  with        it    as

9          A.       The                lab         number and my                             initials.                                                         9    States        Exhibit                          135-A.                        Do you          recognize                  this      packaging

10         Q.        Okay.                       So          this    is   the      same         T-shirt that                 you                               10          A.     Yes.                    I

                                                                                                                                                                                                                  recognize                           the     lab   number and my                                initials.



11   screened                                                                                                                                                  11          Q.     And once again was                                                          this     sealed              when you received

12         A.       Yes.                                                                                                                                       12   it

13         Q.       All           right.                 Can you            tell    the        members                  of   the Jury                          13          A.     Yes                it           was.

14   what your                    results                    were                                                                                              14          Q.     Okay.                           And                 it    was sealed once again when you

15         A.        I       did       not              find       any    blood or stains                     that       could           be                    15   returned           it       to        the Property                                   Control         Area              is   that       correct

16   blood      on           this               sample              --
                                                                         sorry          on    this    item.                                                    16          A.     That               is            correct.


17         Q.       Okay.                        And so was there any necessity                                               to       take a                  17          Q.     Okay.                            Did            you screen these items                                        for   evidence

18   cutting                                                                                                                                                   18          A.     Yes                I            did.


19         A.       No              there                    was     not.                                                                                      19          Q.     Can you                               tell               the    members               of   the Jury                 what you

20         Q.       Or            to            swab anything                                                                                                  20   found

21         A.       No.                                                                                                                                        21          A.     I    found                       --        I
                                                                                                                                                                                                                                 performed a presumptive                                         test        on a

22         Q.       Okay.                        Now               looking         at   Item No.              0330-04                  all                     22   stain       that        was located                                          on   this     item and               it    was a very

23   right      can you                          tell        the    members of the Jury what                                       item       that             23   weak        positive                          presumptive.                                And based on my experience                                           I




24   would          be                                                                                                                                         24   know        that        I
                                                                                                                                                                                                can get                                better            results       from       DNA            testing            than      I




25         A.       These are black denim                                                shorts collected                      from           Jose             25   can     trying to identify                                             something                as      human.               So on             this
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 1   particular               item                     I
                                                            made             the choice                just to collect                    the                     1   size    was 2 centimeters                     by        1   centimeter             and     I       collected

2    presumptive                                positive                 and skip the human                                    blood                             2    that    entire      stain.


3    confirmation.                                                                                                                                               3           Q.     Okay.         And was           that          taken      from the        front          of his


4           Q.          Okay.                        So the                 rest   of the            sample would not be                                         4    blue    jeans the back                   of   his       blue     jeans What was the

5    consumed                      in            further                 testing                                                                                 5    location       of that       cutting

6          A.           Thats                        right.                                                                                                      6           A.     Let   me check and                    see.         That item            was collected

7           Q.          Okay.                        And            did      you    collect              that           sample                                   7    from the       front       side the           front         of   the blue jeans near the

8          A.       Yes                     I    did.                                                                                                            8    pocket.

9           Q.      And                 did            that           become                  Item No.                  0330-05-A                                9           Q.     Okay.         Was      there          a       second          cutting    that         was taken

10         A.       Yes                     it       did.                                                                                                        10   from the blue              jeans

11          Q.      Was                     that            a       cutting        that            you took                                                      11          A.     Yes     there was.

12         A.       Yes.                                                                                                                                         12          Q.     And where was                   that          cutting        taken    from

13          Q.      And                 did            you also                collect              some                hairs    off of        these             13          A.     That    was         collected             from the back               side           of the

14   two    T-shirts                    as            well                                                                                                       14   jeans.

15         A.       Yes                     I    did.                                                                                                            15          Q.     And would            that       have been Item 8449-03-AA

16                             MS.                     JACK                  Okay.             May         I
                                                                                                                have a moment Your                               16          A.     Yes     it   was.

17   Honor                   Im missing one piece of evidence.                                                                                                   17          Q.     Did   you      bring       the packaging                      with   you         that   was

18                             Pause                                in   proceeding.                                                                             18   used when you collected                             each         of   those        cuttings

19         Q.       Okay.                            Ms.            Lopez Im showing                                    you whats been                           19          A.     Yes     I    did.


20   admitted                into                evidence                    as States                 Exhibit                 172 and the                       20          Q.     Okay.         Now         when you send an item                            off for         DNA

21   packaging                 associated                                   with    it        as States                   Exhibit        172-A.                  21   testing       are those            samples many times retained                                       by the      lab


22         A.       Okay.                                                                                                                                        22   that   did    the    DNA          testing

23         Q.       Okay.                            Do you                 recognize                the        packaging                 States                 23          A.     Yes     they        are.


24   Exhibit            172-A You can open                                                     it
                                                                                                     up    if
                                                                                                                    you need             to.                     24          Q.     Was     that        the    case       in      each of these cuttings                          from

25         A.           I

                            recognize                               my       initials          on    this       item           and the                           25   the    Defendants                clothing



                                                                                                                                                           201                                                                                                                               203
1    unique             lab    number.                                                                                                                            1          A.     Yes.

2          Q.       Okay.                            So these are one and the same pants as                                                                      2           Q.     So when the Medical                             Examiners            office          did   their


3    were collected                                   from            Mark Soliz                                                                                 3    DNA         testing        were the items or your samples returned                                             to


4          A.       Thats                            correct.                                                                                                    4    the    Fort    Worth        Property           --   to        the     Fort    Worth      Crime            Lab
5          Q.       Okay.                            And            did      you perform or conduct                                      some                    5           A.     For these           samples               all    we      received        back from the

6    evidence                 screening                               on Mr. Solizs blue jeans                                                                   6    Medical        Examiners                office      was packaging.                     They           retain     the

7          A.       Yes                     I    did.                                                                                                            7    actual       samples         in their laboratory.


8          Q.       Can you                                tell      the      members of the Jury what your                                                      8           Q.     And Im showing                   you          whats been marked                            as States

9    results        were                                                                                                                                         9    Exhibit       339 and States                  Exhibit            340.        Do you recognize

10         A.       I
                            was able                            to identify                   human             blood          on    this      item.             10   both of these              exhibits

11         Q.       Okay.                            And when you were able                                               to   identify         Human            11          A.     Yes     I    do.


12   blood was                     it           a     little         bit     was         it    a    lot         Can you give                                     12          Q.     And how do you recognize                                 them
13   the Jury an                    idea                                                                                                                         13          A.     The unique            lab       number and my signature.

14         A.       I       tested                    many               stains          on         this   item and                  I

                                                                                                                                         got                     14          Q.     Okay.         And there appears                          to   be   quite         a    few stamps

15   presumptive                                positive                 on quite a few.                            I   chose two              to                15   on each        of   these         envelopes or stickers

16   collect.                                                                                                                                                    16          A.     Yes.

17         Q.       All        right.                       The sizes of the stains were the                                                                     17          Q.     Would         those        be   typical            or   characteristic                of

18   sizes small or                                  can you give the Jury an idea                                                  of   what       size         18   evidence         labeling          by the Tarrant                     County Medical                  Examiners

19   they   were                                                                                                                                                 19   Office

20         A.       They                        --   well             there        was         quite            a       bit   of staining                        20          A.     Yes     they        are.


21   on    this     item.                        The           --    do you want                     to    know the size of the                                  21                       MS.      JACK             Your Honor the State would                                    offer


22   ones       I   collected                                                                                                                                    22   States        Exhibit       339 and States                       Exhibit         340   for         record

23         Q.       Yes                 please.                                                                                                                  23   purposes         only.


24         A.       Okay.                            The            first    item         I
                                                                                              collected                   8449-03-A the                          24                       MR.      WESTFALL                         May      I    see it

25   sample                 that        I        collected                   was 2            --    Im     sorry.              The       stain                   25                       MS.      JACK             Sure.
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     1                                MR.        WESTFALL                              No objection Your                         Honor.                     1    Medical                Examiners Office whether                                          its       LINT     regardless             of

    2                                 THE COURT                          Admitted.                                                                       2       what laboratory                         it   is     do each of those                              laboratories

     3                                States                                 Nos.        339            340 admitted                                     3
                                                               Exhibit                             -                                  for                        employ the same kind of security                                                       precautions          that       the       Fort

    4                                 record                                                                                                                     Worth Crime Lab
                                                         purposes                 only.                                                                  4                                                    strives           to        employ         in
                                                                                                                                                                                                                                                                   every    case
    5          Q.           BY         MS.        JACK                 Ms.        Lopez            for clarification                                     5                 A.        Yes         they do.

    6     purposes theres nothing                                        in       these        envelopes right                                           6                 Q.        Every        effort         is   made                to    preserve            that    chain of

    7          A.           No.            Its just            packaging.                                                                                7      custody                from the beginning                                 to    the     end
    8          Q.          The actual samples are retained                                                    at   the Tarrant                           8                 A.        Yes      thats            correct.


    9     County Medical                          Examiners office                                                                                       9                 Q.        There        and back

 10            A.          Yes             thats          correct.                                                                                       10                A.        Yes.

 11            Q.           Is that             often the            case          with    biological               samples                              11                                  MS.     JACK                  Okay.                With     that        Your Honor               I




 12            A.          Yes.                                                                                                                         12      believe                                  the witness.
                                                                                                                                                                                      Ill   pass

 13            Q.          Why             is   that                                                                                                    13                                  MR.      WESTFALL                                  Thank you Your Honor.

 14            A.          They            --   the       lab that           tests       the       sample wants                     to                  14                                                      CROSS-EXAMINATION

 15       store       it   so     that          they           can     test       it
                                                                                       again       if   its    necessary.                               15      BY MR. WESTFALL

 16            Q.          And         let      me ask you                    this.       When samples                          are                     16                 Q.        Hello Ms. Lopez.

 17       tested           many             times              do the     individuals                   that       conduct          the     DNA         17                A.         Hi.


 18       analysis              make            every           effort     to          leave   enough               samples              that    in     18                Q.         Would                                                                         what contact           DNA
                                                                                                                                                                                                   you please                    tell          the Jury

19       event        the        Defense                  wants         to        retest they             can                                           19      is
20                         Yes                                                                                                                          20
               A.                          they      do.                                                                                                                  A.         Contact         DNA             is   what we                refer        to     you often hear
21             Q.          Okay.                So       its    not    just        theres evidence                        just for                      21      it    as    touch            DNA.               And        its       if    somebody                 touches        an item
22       the State              to     test theres evidence                                that         the        Defense            can               22            evidence               and a
                                                                                                                                                                of                                             friction         is        created            and the skin cells
23       test                                                                                                                                           23      sweat           cells        transfer            onto       that               item thats what we                   refer

24           A.            Yes         thats             correct.                                                                                       24      to                               DNA.
                                                                                                                                                                      as contact

25             Q.          If   they        choose               to.                                                                                    25                Q.     And so from a                                                                             touch
                                                                                                                                                                                                                      fingerprint                  if
                                                                                                                                                                                                                                                         you       just




--11
                                                                                                                                                  205                                                                                                                                                    207
                           Thats                                                                                                                                                                                                                      come
 1           A.                             correct.                                                                                                     1
                                                                                                                                                                something then somebody                                               could                         along    and swab              that

 2                                    MS.       JACK                 May      I    have a moment Your Honor                                              2      and get               like   a    full        DNA         match out                of    that
 3       May      I
                      approach                   the witness                  again Your Honor                                                           3                A.     Youre not                    likely       to    get a           full    DNA         profile      out

 4                                    THE COURT                         Yes maam.                                                                       4       of    a    fingerprint              but         you leave DNA behind when you do
 5           Q.            Ms.        Lopez Im showing                                  you whats been marked                                   for      5      touch           an      item.


 6       identification                    purposes               as States               Exhibit             341        States                         6                 Q.     I
                                                                                                                                                                                      guess         its        possible              though              huh
 7       Exhibit           342 and States                            Exhibit            343.       Do you            recognize                           7                A.          would                                               a                                would
                                                                                                                                                                                                   say probably                                partial       profile                 be
                                                                                                                                                                                 I




 8       each of these exhibits                                                                                                                         8       possible.

9            A.            Yes         I   do.                                                                                                          9                 Q.     Okay.            Well           did       you            --   were you the person                      that

10           Q.            How do you                      recognize                   them                                                             10      all   the gunshot                  residue                got sent               to     or   did that

             A.            These are my                         official          laboratory                                                            11                A.     No.
                                                                                                         reports.

12           Q.            And were these the summary of the evidence                                                                                   12                Q.            some
                                                                                                                                                                                --                  of that           go        straight to               Kelly          Belcher
13       screening               and your                  results that                 you    just testified                  to   this                13                A.    That         went             straight to                 the T.C.M.E.

14       Jury                                                                                                                                           14                Q.    The what

15           A.            Yes.            Can       I   make          sure            my signature                 is   on those                       15                A.    Tarrant            County                 Medical               Examiner.

16           Q.            Please.                                                                                                                      16                Q.    Oh          okay.

17           A.            Okay.            Yes           they       are.                                                                               17                A.    Trace Area.

18                               MS.            JACK              Your Honor                   at this         time State                               18                Q.    And          in   fact          there       --        Im                     to     round          Im
                                                                                                                                                                                                                                                trying                       --


19       would        offer           States Exhibits                      341 342 and 343                               into                           19      sorry.

20       evidence               for                                                                                                                     20                      Thats okay.
                                       all
                                                purposes.                                                                                                              A.


21                               MR.            WESTFALL                          No     objection                 Your Honor.                          21                Q.    Give         me      a        second            to        round         this up.          Theres
22                               THE COURT                              Admitted.                                                                       22      several          different               labs      that         do         DNA          right

23                               States                                                             343 admitted.
                                                         Exhibit         Nos. 341              -                                                        23             A.       Yes          there            are.

24           Q.            BY         MS.        JACK             And when samples are sent                                           off to            24                Q.    And due              to        some        circumstances                            back    in    Tarrant

25       other labs                   believe                   asked you this whether                                          the                     25
                                                                                                                         its                                    County the Crime Lab stopped                                                    doing              for   a while        and
                                  I                        I


                                                                                                                                                                                                                                                              it
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 1   then        Orchid Cellmark                         was one                  of    the places            that           did    the           1          Q.         And            this                is   the         one          actually        that         has the          --       has

 2   DNA         for     the       county right                                                                                                   2   the black              denim shorts and the pants the                                                                 clothing             of   both

 3           A.     No         I       dont know                if    Orchid            Cellmark             has done any                         3   Ramos and Soliz

 4   testing        for    the County.                                                                                                            4          A.         Yes                it        is.



 5           Q.     Okay.               How         long have you been working                                               there                5          Q.     And who                                 did        you submit                    that   to
 6           A.     I    work           for    the Fort              Worth             Police       Department.                                   6          A.     The                cuttings                      from the                  shorts

 7           Q.     Okay.               For        how long                                                                                       7          Q.     Yes.

 8           A.     Ive        been there                      for 11        years.                                                               8          A.     After                    I   collected                    my samples                     I   submitted                  those

 9           Q.     11     years and you dont                                      realize that              Orchid                               9   to   our      Fort       Worth                            Property                 Room           and then they were                                later


10   Cellmark             has done work                              for   Tarrant            County                                             10   outsourced.                            Those items were                                    later      outsourced                      to   the

11           A.          dont work                  at   Tarrant                 County           so        dont        --                       11   Tarrant           County                          Medical               Examiners                     Office          for   DNA            testing.




--22
                                                                                                        I                     1
                    I




12   dont know who does                                  testing            for        them.                                                     12          Q.         So you wouldnt have received                                                             the        report          back
13           Q.     Okay.               Did        you know                 that       University             of       North                     13          A.         No.

14   Texas does DNA testing                                                                                                                      14          Q.     Could                        I    see any UNT reports                                   that           you might have

15          A.      Yes.                                                                                                                         15          A.     Yes.                     These are the two UNT reports                                                       that       I
                                                                                                                                                                                                                                                                                                 have

16           Q.     And youve submitted                                      stuff to            University             of North                 16   and these are from the items from the                                                                      --    I    mean        the

17   Texas                                                                                                                                       17   samples collected                                         from the                 bandanna and the towel and the

18          A.      Yes            I    have.                                                                                                    18   weapon.

19          Q.     And Tarrant                      County Medical                            Examiner does DNA                                  19          Q.         Is   there                     any difference                           to    these
20   testing                                                                                                                                     20          A.     Let        me                     check.                 There          should          be.


21          A.     Thats                correct.                                                                                                 21          Q.     I
                                                                                                                                                                         see                different                       dates         but    I    dont see

            Q.     Youve submitted                                   stuff to          them                                                      22          A.     One                is            titled          Forensic               DNA         Report and the other

23          A.     Yes.                                                                                                                          23   is   titled       Forensic                            DNA             Report             No.     2.    I   dont know                      at   the

24          Q.     And now                     I

                                                   guess             yall        do     DNA        testing             in-house                  24   moment what                                the difference                            is   in    there       in       the    UNT            reports.


25          A.      Not     yet.             Were              in    the process                  of setting            it
                                                                                                                              up.                25          Q.     Let        me show you                                          a    picture        here          really fast.               This



                                                                                                                                           209                                                                                                                                                                    211

 1          Q.     Okay.                Do you           find         out the           results             when you send                         1   is   already            in           evidence                         as States                 Exhibit         93.        You would

2    stuff    away                                                                                                                               2    have no reason                                       to   --     to    know what                  that      is

3           A.      If   we        request           the testing                       well receive                a    DNA                      3           A.     No             I       dont recognize.

4    report.                                                                                                                                     4           Q.     But        this                    is   the truck                    of a    fellow          name            Jorge

5           Q.     So you know then                                  that        all   the       DNA        that       was on                    5    Contreras Carvajal                                             and       it       would        be your               lab   No.

6    those        pants            that      Mark        Soliz             was wearing                  was        his       own                 6    10-04352-2.                                Would you please                                    look    for that for               me.

7           A.      Im not              --   did    Tarrant                County do the                     DNA             testing             7           A.     Whats                             that        number again

8    on     that    item                If   Tarrant            County             did       the testing               we                        8           Q.     Here.

9    didnt request                      that       one         so     I    wouldnt have received                                  the            9           A.     Okay.                            That         --        this     report          shows the swabs                             five


10   DNA         report        for that            item.             The report                  that   we     received              was         10   swabs.

11   from        UNT.                                                                                                                            11          Q.     Yes.

12          Q.     Just            because           you package                            the    stuff     up        that                      12          A.     Okay.                            Okay.

13   doesnt mean                        that       youre going                    to    get the report                  back                     13          Q.     Do        you                     have             it   there with               you
14          A.     No       unfortunately                            not.                                                                        14          A.     Yes                I
                                                                                                                                                                                                 do.


15          Q.     Here            is    one of your reports                                that   was       just       put                      15          Q.     Okay.                            Now             does           it   look        like   you submitted                        those

16   into    evidence.                                                                                                                           16   five   swabs            to                 the University                           of    North       Texas

17                         MR.               WESTFALL                        I   dont have a clue how                               to           17          A.     Yes                I         did.


18   work        that.                                                                                                                           18          Q.     Did you get a                                       report            back dealing                     with those                five


19                         THE COURT                                 Just        input        select.         It
                                                                                                                   says                          19   swabs

20   input.        Its    right          on the          front.             Little      gray button                says                          20          A.     No         I           did             not.


21   input       select            just      push        it.                                                                                     21          Q.     So you submitted                                                the evidence                 to        the University

22                         MR.               WESTFALL                        Okay.            Very good.                                         22   of North           Texas                        to        be     DNA              tested         and they             just       never sent

23          Q.     BY       MR.              WESTFALL                            This       is   one of your reports                             23   it   back         they           just                never             sent         you a report

24   that    was         just          put   in                                         _
                                                                                                                                                 24          A.     For        some reason they                                                did    not    do the              testing             on

25          A.     Yes.                                                                                                                          25   that    item.
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1    is   already          in      evidence                   as States                           Exhibit          93.    You would                      1    evidence                --    thats from                          inside        the         interior         of that


2    have no reason                          to    --    to    know what                               that     is                                       2    truck.        And then the contact                                            DNA           from            Sammy Abu-Lughods

3           A.      No         I       dont recognize.                                                                                                   3    Dodge Stratus which once again                                                                 its      in   evidence                 Ill




4           Q.      But        this          is   the truck                       of    a   fellow            name        Jorge                          4    just   tell    you contact                              DNA             from        inside             the    car.


5    Contreras Carvajal                                 and         it       would                be your           lab   No.                            5           A.      Okay.

6    10-04352-2.                       Would            you please look                                   for that        for    me.                     6           Q.      Those two things apparently even though                                                                            you

7           A.      Whats                   that    number again                                                                                         7    submitted                   them they were never tested

8           Q.      Here.                                                                                                                                8           A.      Okay.

9           A.      Okay.                   That    --        this           report shows the swabs                                    five              9           Q.      Is that                       true

10   swabs.                                                                                                                                              10          A.      We            did             not receive                 a     report             so    I   have     to         assume

11          Q.      Yes.                                                                                                                                 11   they werent tested                                     by UNT.

12          A.      Okay.                   Okay.                                                                                                        12                                MR.              WESTFALL                             Pass the witness Your Honor.

13          Q.      Do you have                          it   there                with           you                                                    13                                                      REDIRECT                   EXAMINATION

14          A.      Yes            I       do.                                                                                                           14   BY MS. JACK

15          Q.      Okay.                   Now         does                 it   look            like   you        submitted          those             15          Q.      Did           you know                    that           the        bandanna                  and the towel                  that


16   five   swabs              to          the University                          of   North             Texas                                          16   were also found                                   in   the Stratus                 were tested

17          A.      Yes            I       did.                                                                                                          17          A.      Yes                they were.

18          Q.      Did        you get a report back dealing with those                                                                     five         18          Q.      And they were tested                                            by the Medical                       Examiners

19   swabs                                                                                                                                               19   Office

20          A.      No         I       did    not.                                                                                                       20          A.      Yes.                 And they were also tested by the University

21          Q.      So you submitted                                     the evidence                          to   the University                       21   of   North             Texas                  Health Science                        Center.

22   of   North         Texas               to    be         DNA              tested               and they              just   never sent               22          Q.      And                so while three                         swabs were not other items                                          in




23   it   back          they       just           never sent                       you a report                                                          23   the car        that               contained                   blood           were tested

24          A.      For        some               reason                they did not                          do    the   testing       on               24          A.      Yes.


25   that    item.                                                                                                                                       25          Q.      Okay.                         And do you know whether                                          or not the



                                                                                                                                                   212                                                                                                                                                           214
            Q.                                    Please                                                        Worth           Lab                           bandanna                     came back                    to        the        Defendant                     that         was         his
                    All                                             go            to                    Fort                                              1
 1
                                                                                        your
                                                                                                                                                                                                                                                                                   it
                            right.


2    No.     04242.                                                                                                                                      2    blood

3           A.      Okay.                                                                                                                                3           A.      I       would                  have       to       look        at   --   I   would have                    to     look


4           Q.      Did        you           find       it                                                                                               4    at   UNTs              report                 to       know.            Their       report doesnt say.

5           A.      Yes            I       did.                                                                                                          5           Q.      Does                     it   give a profile

6           Q.      Is    there a form                         in       there               showing             three       swabs of                     6           A.      Yes                 it        does.

7    contact            DNA            going        to        University                          of    North       Texas        as    well               7                                MS.              JACK                All    right.         Thank you.

8           A.      The swabs                       that       I    collected                       from the             bandanna the                     8                                Ill
                                                                                                                                                                                                       pass          the witness Judge.


9    handgun the magazine                                           and             live          rounds                                                  9                                                 RECROSS-EXAMINATION

10          Q.      No         9102-10 9102-11                                          and 9102-12.                                                     10   BY MR.         WESTFALL

11          A.      Yes.               I    see     that.           I    have               it.                                                          11          Q.      But           we have no                           profile          for      the two            automobiles

12          Q.      And those are not from the bandanna                                                                     and whatnot.                 12   the contact                       DNA              because               it    was never tested or sent back

13          A.      No.                                                                                                                                  13   to   you right

14          Q.      Those are contact                                        swabs from the car right                                                    14          A.      No             I
                                                                                                                                                                                                 dont have a UNT                                  report             for   those         items.


15          A.      I    believe              theyre from a                                 Dodge             Stratus.                                   15          Q.      So on Jorge Carvajal Contreras some Crime Scene

16          Q.      A     Stratus                 exactly.                        The car               that    belongs          to    --                16   officer       took the time                             to collect                 five      swabs you took the

17   weve          got    it       up here              --
                                                              Sammy Abu-Lughod.                                                                          17   time     to    send                     it   to    North          Texas and nothing happened                                                is




18          A.      Okay.                                                                                                                                18   that    right

19          Q.      And            is      this    another                        situation              where           UNT     just                    19          A.      I
                                                                                                                                                                                     --
                                                                                                                                                                                           apparently                       I    didnt receive                       a     report.


20   never         did    the testing                         never sent                          you a report                                           20          Q.      And then on Sammy Abu-Lughod some other Crime

21          A.      No we                   did     not get a report                                   from        UNT on        this                    21   Scene          officer                       took the time                    to collect             contact         DNA              from


22   item.                                                                                                                                               22   inside        the           car properly submitted                                           it   to    you you                 did


23          Q.      So the                  DNA         the contact                               DNA         from the          case                     23   everything                   you were supposed                                      to      do you             sent        it    to   UNT
24   involving            Jorge Carvajal                                --        which            is    in   evidence           Ill                     24   and     it
                                                                                                                                                                            just          vaporized                     nothing                  happened

25   just   tell        you you dont know this but                                                        its      in                                    25          A.          I   didnt                 get a      report.
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 1          Q.             Okay.      Which means nothing                        happened right                               1          Q.        All    right.          How was                 it        that   you came             to    come

 2                                          theres          no vaporization.                                                  2               how was                             you were called                                  there
            A.                                                                                                                    out                                                                                        out
                           Hopefully                                                                                                     --                          it   that


 3                             MR.       WESTFALL                   Thank you Your Honor.                                     3          A.        Lieutenant               Gaudet                called            me      out   to     that location.


 4                            MS. JACK                 I    have nothing           further.        I   would                  4          Q.        All    right.          And what was the purpose                                           of   your

 5   ask     this          witness       be    excused.                                                                       5   coming               out    there

 6                            THE COURT                       May       the witness       be excused                          6          A.        To work a homicide.

 7                            MR.        WESTFALL                   She may.                                                  7          Q.        All    right.          What            time          did    you get there
 8                            THE COURT                       Thank you.           You may be excused.                        8         A.         825.

 9                            Witness excused.                                                                                9          Q.        Did you           go alone               or         were you with someone                              else

10                            THE COURT                       Do you have              another         witness               10          A.        I    went    with        Detective                       Dalton.

11                            MS. JACK                 Yes Your               Honor.     We     call                         11          Q.     All       right.          What            did    you          do once you arrived

12   Detective               Jay    Kniffen.                                                                                 12         A.      We            walked            down the driveway                            and went              to    the   back

13                            Witness sworn.                                                                                 13   of the residence then                                   the back             yard.         Met with other

14                            THE COURT                      Thank        you.                                               14   detectives              there.           We         went          in       the    house         for    about a

15                            MS. JACK                 Thank         you Your           Honor.                               15   minute.               Lieutenant              Gaudet wasnt done videotaping so we

16                                                     JAY KNIFFEN                                                           16   all   had     to       back        out of the residence                                until    he got

17                 Having             been     first
                                                            duly    sworn        testified    as follows                     17   finished.


18                                            DIRECT EXAMINATION                                                             18          Q.     All       right.          Once he finished videotaping                                            the

     BY                JACK                                                                                                                   scene what                                          do




 2T8--1
19          MS.                                                                                                              19   crime                                     did           you

20          Q.         Detective            could          you please          introduce        yourself          to         20         A.         It   was decided                       that    me and              Detective               Dalton      go   to


21   the ladies              and gentlemen                   of    the   Jury                                                21   Fort    Worth               P.D.        and speak                 with           detectives           there.


22          A.         My name           is
                                              Jay          Kniffen.                                                          22         Q.      Who            decided            that

23          Q.     And can you                 tell        them how youre employed                                           23         A.      Captain              Fuller.


24          A.         I   work with the Johnson                         County Sheriffs               Office                24         Q.      All       right.          So you were asked                                to drive          to   Fort

25   as a        detective.                                                                                                  25   Worth


                                                                                                                       216
            Q.     All       right.      What do you do as a detective                                                        1         A.      Right.


2           A.     Crimes against                      persons assaults                  manslaughters                       2          Q.      What was the purpose                                          of going        to    Fort          Worth
3    aggravated                assaults things                    like   that.                                               3          A.      Pick up              initial
                                                                                                                                                                                  reports                   that    they had            in



4           Q.     So are you responsible                               for   responding        to      a    crime           4    reference              to    Mr.        Soliz       and        to         look    at     the victims

5    investigating                 the   crime and apprehending                           the    individual                  5    vehicle.


6    responsible                                                                                                             6          Q.      All       right.          When            you got              to    Fort    Worth who                   did


7           A.     Yes.                                                                                                       7   you    talk           to
8           Q.     Okay.            How       long         have you been with the Johnson                                    8          A.      Detective                  Rhoden.

9    County Sheriffs Department                                                                                              9          Q.      Where            did        you speak with                          him
10          A.     Eight years.                                                                                              10         A.      At the          Fort        Worth               Police             Department.

11          Q.     Are you a                                                            the State                                       Q.      Did you take                                     he take
                                            certified         police     office    in                        of              11                                                  --       did                        you     to


12   Texas                                                                                                                   12   Ms.    Weatherlys truck

13          A.     Yes.                                                                                                      13         A.      Yes he               did.


14          Q.     How many                  years         all   told    have you been                 in   law              14         Q.      Do you know where                                      it    was stored            at    the      time
15   enforcement                                                                                                             15         A.      It      was     at        the   Fort        Worth Police impound 2500

16          A.     Almost             12.                                                                                    16   Brennan               Street.


17          Q.     Okay.            Were you on duty on June 30th of                                        2010             17         Q.      All       right.          Can you               tell        the     members             of    the Jury

18          A.     I       was.                                                                                              18   what you               did   once you saw her truck

19          Q.     All       right.      Were you asked                   to     respond      to       14356                 19         A.     Took photos                      of        the    vehicle.                While      I
                                                                                                                                                                                                                                        was taking

20   North        FM 2331                                                                                                    20   photos        of       the vehicle                  I   noticed              that      there     were a few

21          A.     Yes.                                                                                                      21   items       in        the   bed         of that         vehicle              one was a black                      pair of


22          Q.     And can you                 tell        the    members         of    the Jury        what                 22   pants.        There           was a           pair        of     gloves             in   there        and a

23   that   address               is                                                                                         23   24-ounce               Bud     Light          beer            can empty open and a Bud                                       Light


24          A.     That.       address          is     the residence              of a homicide                              24   beer bottle also                        empty and open.

25   victim.                                                                                                                 25         Q.      Did you              collect              those             items     at that      time
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1           A.        Not        at that time.                     What we                 did       we ended up                                        1           Q.    All     right.


2                          and then about an hour                                                    they        wanted              us    to           2           A.     Blow out the bed.
     leaving                                                                       later


                                                                                                                                                                                                     Im showing you whats been marked
     go back and                                                             get Ms.                 Weatherlys
3                                     collect              --
                                                                actually                                                                                3           Q.     Detective                                                                                                 as


4    vehicle          and tow                   it    back        to    Johnson             County Sheriffs                                             4    States        Exhibit           214-A.             Do you                recognize         States           Exhibit



5    Office.                                                                                                                                            5    214-A

6           Q.        All       right.           And who towed                        it   back        to        the       Johnson                      6           A.     Yes.


7                                               Office                                                                                                  7           Q.    And what                        that
     County               Sheriffs                                                                                                                                                                   is




8           A.        Reids Wrecker.                                                                                                                    8           A.     Its        Item No.             15 Bud                Light      beer    can and              Item


9           Q.        All       right.           Did        you escort her truck back                                      into                         9    No.    16 Bud              Light         beer        bottle.



10   Johnson                   County and                       into    Cleburne                                                                        10          Q.     Okay.             So      is    214-A the packaging                           that       contained


11          A.        Yes we                    did.                                                                                                    11   both the beer                  bottle         and the beer                     can
12          Q.        And         is      the Sheriffs                   Department                   in       this        building                     12          A.     Yes.


13   as a matter of                        fact                                                                                                         13          Q.     And were both                        of     these           empty when you collected

14          A.        Yes         it      is.                                                                                                           14   them
15          Q.        All       right.           Was            the truck        towed to                  I
                                                                                                                 guess the                              15          A.     Yes.


16   bottom           level               the        same         level    this       courtroom                       is   on                           16          Q.     All    right.          So they were                        pretty   light

17          A.        Uh-huh.                                                                                                                           17          A.     Right.


18          Q.        All                        Where             is    the opening                  to       where the                                18          Q.     All    right.        And so you were the detective
                                right.


19   truck       was towed                           into                                                                                               19   that    collected              both          of   these            items       and placed them

20          A.        It       would be the north                          side.           We        call        it    the                              20   in   214-A

21   north sally but                           its        kind of the north side                       of        the                                    21          A.     Right.


22                                                                                                                                                      22          Q.     Okay.             Did      you        collect             any other items                of
     building.


23          Q.        All       right.               How        far     away from               this   courtroom                         was            23   evidence            from          the    truck

24   her truck                 then                                                                                                                     24          A.     We          collected               the black              pair of     pants.        Theyre

25          A.        A hundred yards 75                                   something                   like            that.                            25   more        like    a     --   a wind             pant         I   think.      And then we


                                                                                                                                                  220                                                                                                                                     222

1           Q.        All       right.               So thats where                    you process                         evidence                     1    collected           --    there         was a            pair       of   black     gloves         that      we

2    like   a    truck                                                                                                                                  2    also    collected.


3           A.        Thats where we processed                                              that       vehicle or                                       3           Q.     Did you             collect           anything              else

4    actually              I   didnt process                       it    but thats              where             it   was                              4           A.     No.


5    processed.                                                                                                                                         5           Q.     Okay.             How          long        were you there                    at    the   truck

6           Q.        All       right.           Andis             that    when you collected                                                           6           A.     The         first    time           for    maybe 30 35 minutes.                               The

                                                                                                           and the black                                     second            time physically                                                                      another      20
7    the beer                  can        the beer bottle the gloves                                                                                    7                                                             at   the truck           probably

8    pants                                                                                                                                              8    minutes.


9           A.        No         thats not                      where      we    collected                 it.         We      --                       9           Q.     All    right.          Do you remember about what time

10   we     --   once we went back once                                          it        was decided                     that          we tow         10   you     arrived           back          in   Cleburne                   with Ms.      Weatherlys truck

11   the vehicle                 back                to   Johnson          County                I   collected               those                      11          A.     I   believe          it    was around 530.

12   items then.                  If      we would have                     left           them       in       there           they                     12          Q.     All    right.          Once you had those                              items        of   evidence


13   would have blown out the back of the bed                                                                    of    the vehicle                      13   in
                                                                                                                                                                   your    possession what                             did        you do       with      them
14   and took a chance                                    on     losing    them             so thats                   why we                           14          A.     We          took     them back                       to    the   Johnson           County Sheriffs

15   collected                 them then.                                                                                                               15   Office.


16                               MS.           JACK               Okay.          May        I

                                                                                                approach                   this                         16          Q.     All        right.      Where               is    that

     witness Your Honor                                                                                                                                                                                                1102 East
17                                                                                                                                                      17          A.     That         is     located           at                            Kilpatrick           Street      in




18                               THE COURT                              Yes you may.                                                                    18   Cleburne.


19          Q.        Was            it    a    pretty           windy     day                                                                          19          Q.     And when you place evidence                                             in
                                                                                                                                                                                                                                                        storage          there       is




20          A.        I        cant remember.                                                                                                           20   it   a secure            facility


21          Q.        You were                       just       worried     if   these               items             were         in   the            21          A.     Yes.


22   back        of       the truck                   driving           down the road they might get                                                    22          Q.     And are the                    --    all    of       the evidence             --   are    all




23   lost                                                                                                                                               23   pieces        of    evidence                 sealed                and    security         precautions            taken


24          A.        Well you know going 70 miles an hour down the                                                                                     24   to    make         sure        that      theyre               protected

25                                                                                                                                                      25                 Yes.
     highway they could get                                        lost.                                                                                            A.
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 1           Q.         All   right.           And          did that          conclude           your                                           1              Q.        Okay.                 And was               this     a secure           car
 2    involvement                      in   this        investigation                                                                           2             A.         Yes             it   is.



 3           A.         Yes        it       did.                                                                                                3              Q.    All       right.                   Now      when youre transporting

 4           Q.         All   right.           Now               on    September 24th of 2010                             did                   4   somebody                    that               is   under        arrest or            in   custody       is   it   part of

 5    you meet Mr. Soliz                                                                                                                        5   the protocol                                the      Johnson
                                                                                                                                                                                         of                                   County            Sheriffs     Department               to


 6.          A.         I   did.                                                                                                                6   turn        on the videotape

 7           Q.         Okay.               Did     you also meet                     Mr.   Ramos                                               7             A.     Yes.

 8           A.         I   did.                                                                                                                8             Q.     All       right.               So there was nothing                          different         about

 9           Q.         Were you asked                                to   transport both              prisoners          to                    9   this particular                           transport

10    Johnson               County                                                                                                             10             A.         No.

11           A.         Yes        I
                                        was.                                                                                                   11             Q.     Okay.                    And they were transported                                together
12           Q.         All   right.           And can you                    tell    the    members of the                                    12             A.         Right.


13    Jury        how you went about doing                                         that.                                                       13             Q.     They were                           in
                                                                                                                                                                                                               custody
14           A.         Well we               just          transported               me and           another                                 14             A.     Yes.

15    detective               Detective                  Ketchum              or     Deputy           Ketchum we went                     to   15             Q.     Were                     you asking              them any questions

16    Fort     Worth               Tarrant              County             Jail      picked       up    the   two                              16             A.     No.

                             and                   Ramos                                               and were going                                                Were
17    Mr.    Soliz                      Mr.                            for   our charges                                                       17             Q.                              they being              interrogated               in
                                                                                                                                                                                                                                                      any    way




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18    to    bring           them back               to      Johnson            County.            I   dont     really      have                18             A.     No.

19    a time       on that but we                            arrived          at   Tarrant            County       Jail                        19             Q.     Were                     you asking              them any questions                      designed           to


20    placed them                      in    custody got                    their     belongings put them                                      20               any kind                            incriminating               response
                                                                                                                                in                  illicit                                   of


21    the vehicle                  and then escorted                           them         back       to   Johnson                            21             A.     No.

22    County.                                                                                                                                  22             Q.     Is    there                any expectation                      of    privacy      in   the       back

23           Q.     Okay.                   Now         at       the time          that    they       were    in   Tarrant                     23   seat        of   a     patrol               car
24    County they were being held on                                                 capital      murder charges                     is        24             A.     No.

25    that    correct                                                                                                                          25             Q.     All       right.               Have you reviewed                           the videotape               from



                                                                                                                                      224
             A.     Correct.                                                                                                                    1   this       transport

2            Q.     And were they being brought                                             to   Johnson           County        to            2              A.     I    have.

3     stand       trial       on        capital          murder charges                     here                                               3              Q.     And have you reviewed                                          a   transcript          of the

4            A.     Yes.                                                                                                                       4                               of this
                                                                                                                                                    videotape                                       transport

5            Q.     Were you                       in   a    marked           patrol        unit                                               5              A.     Yes             I
                                                                                                                                                                                              have.

6            A.     Yes we                   were.                                                                                             6              Q.     And         I
                                                                                                                                                                                          want          to talk       to      you    specifically           about       some
7                                             And was there videotape                                                                               comments                                                          makes.
             Q.     All       right.                                                                   capabilities                            7                               that             Mr.      Soliz                          Is that       okay
8     within      that        patrol           unit                                                                                            8              A.     Yes.

9            A.     Yes.                                                                                                                       9              Q.     All       right.               Do you           recall         Mr.    Soliz      making           some
10           Q.     All       right.          And were both Defendants                                      transported                        10   comments about a man pawning                                                        some straps
11    together                                                                                                                                 11             A.     Yes.

12           A.     Yes.                                                                                                                       12             Q.     What                  is   straps slang for

13           Q.     All       right.          Were you                     driving    or    were you           the                             13             A.     Guns.

14    passenger                                                                                                                                14             Q.     So hes                                      about a                                     some guns
                                                                                                                                                                                                talking                             boy pawning                                    is



15           A.     I
                            was the passenger.                                                                                                 15   that       right

16           Q.     Can you                  tell       the      members              of   the Jury         where                              16             A.     Yes.

17    Mr.    Soliz          was seated                      in   connection               with    where       you were                         17             Q.     All       right.               And        that     they        were going          to   get him

18    seated.                                                                                                                                  18   on        capital      murder too                           is    that     right

19           A.     Okay.               I
                                             was        in   the       front       passenger            seat of the                            19             A.     Thats                    right.


20    vehicle.              Mr.    Soliz           was       directly          behind        me        in   the                                20             Q.     And         did            he      tell    Mr.          Ramos         All    weve       got       to   do

21    passenger                seat.                                                                                                           21   is   play        dumb                     play      dumb          till    the   end
22           Q.     Okay.               And was the other deputy driving                                                                       22             A.     Yes.

23           A.     Yes.                                                                                                                       23             Q.     At the                   end       of     the videotape               --    and about how long

24           Q.    And was                    Mr.       Ramos               seated         behind       him                                    24   is   the        drive       from Tarrant                         County          to    Johnson           County
25           A.     Correct.                                                                                                                   25             A.     20        miles.
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 1              Q.    Okay.                How     fast        do you drive              How      long    does       it




 2       take    to drive          that       drive

 3              A.    I   think        it   was probably                   40 minutes something

 4       like   that.


 5              Q.    All       right.       So        its    a    pretty   lengthy       video

 6              A.    Right.


 7              Q.    At the           end        of   the         video do you          recall     Mr.   Soliz


 8       indicating             that       Godley was a city

 9              A.    Yes.

10              Q.    And        that        he    was         familiar      with   Godley
11              A.    Correct.

12              Q.    And        that       he was             familiar      with   Keene

13              A.    Yes.

14              Q.    And        that       he     knew Johnson                 County
15              A.    Right.


16                              MS.         JACK             Ill    pass    this   witness        Your

17   Honor.

18                              MR.         HEISKELL                  No    questions            Judge.

19                              THE COURT                           May    the witness           be excused

20                              MS.         JACK Yes                  Your Honor.

21                              THE COURT                           Thank you.           You may be excused.

22                              Witness excused.

23                              THE COURT                           This   would    be appropriate                  place

24   to     break         until       --    recess           until   tomorrow morning.                    So   if




25   youll           remember               all    the       instructions          Ive    given     you and


                                                                                                                            228
 1   I

          keep repeating                     to    you       at     the    end of each day not                 to


2    watch           TV         not    to    read        newspapers not                  to   get   on the

3    Internet             Ill    allow       you        to    go home         again       this    evening.

4    And well see you                         bright           and early       in   the morning.               Thank

5    you.            Be   in    recess            until      845.

6                               Court adjourned.

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  1   THE    STATE          OF    TEXAS

  2   COUNTY       OF       JOHNSON

  3                                I     Pamela         K.    Waits           Official            Court     Reporter

  4   in    and    for       the       413th       District             Court       of    Johnson          County

  5   State       of    Texas          do     hereby          certify          that       the      above     and


  6   foregoing             contains          a    true       and       correct          transcription             of    all


  7   portions          of       evidence          and       other       proceedings               requested        in


  8   writing          by    counsel          for      the        parties          to    be    included       in    the


  9   volume       of       the    Reporters                 Record           in    the       above-styled          and


 10   numbered          cause          all        of   which           occurred          in    open       court    or    in


 11   chambers          and       were      reported              by   me.


 12                                I   further          certify           that      this          Reporters        Record

 13   of    the    proceedings                truly          and       correctly          reflects          the


 14   exhibits              if    any       admitted              by    the    respective             parties.

 15                               WITNESS          MY    OFFICIAL HAND                    this     the./            day

 16   of                                 2012.


 17


 18
                                            Pamela    Waits  K.                    Texas       CSR    4991
 19                                         Expiration Date                         12/31/13
                                            Official Court Reporter
 20                                         413th  Judicial District
                                            Johnson County Texas
 21                                         204 S.  Buffalo Avenue
                                            Cleburne          Texas            76033
 22                                          817         556-6041


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 24


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